    Case 2:90-cv-00520-KJM-SCR               Document 7038           Filed 01/28/21         Page 1 of 405


                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF CALIFORNIA


RALPH COLEMAN, et al.
    Plaintiffs


v.                                                                  No. 2:90-CV-0520 KJM DB


GAVIN NEWSOM, et al.
     Defendants


                     SPECIAL MASTER’S REPORT ON HIS
         EXPERT’S ANALYSIS OF THE CALIFORNIA DEPARTMENT OF
      CORRECTIONS AND REHABILITATION’S ANNUAL SUICIDE REPORT
                    JANUARY 1, 2015 – DECEMBER 31, 2015
    AND HIS EXPERT’S REVIEW OF SUICIDES COMPLETED IN THE CALIFORNIA
            DEPARTMENT OF CORRECTIONS AND REHABILITATION
                    JANUARY 1, 2016 – DECEMBER 31, 2016


        Attached are: (1) the California Department of Corrections and Rehabilitation’s Annual

Report on Suicides in the California Department of Corrections and Rehabilitation January 1,

2015 – December 31, 2015 (hereinafter “2015 CDCR Report”), see Appendix A attached

hereto; 1 (2) the Coleman Special Master’s Expert’s Analysis of the California Department of

Corrections and Rehabilitation’s (CDCR) Annual Suicide Report January 1, 2015, through

December 31, 2015, see Appendix B attached hereto; and (3) the Coleman Special Master’s

Expert’s Report on Completed Suicides in the California Department of Corrections and

Rehabilitation from January 1, 2016, through December 31, 2016 (hereinafter “2016 Special




1
 References to the 2015 CDCR Report contained herein are to the version of the report as posted on CDCR’s
website, unless otherwise noted. See 2015 CDCR Report available at https://cchcs.ca.gov/wp-
content/uploads/sites/60/SR/2015-Annual-Suicide-Report.pdf.

                                                       1
    Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21          Page 2 of 405


Master’s Report”), see Appendix C attached hereto. 2 The Special Master’s expert 3 has authored

seventeen prior reports on completed suicides by CDCR inmates, the most recent of which was

filed on March 29, 2016, covering completed suicides between January 1, 2014 through

December 31, 2014. ECF No. 5428.

         The Special Master created an internal Suicide Report Workgroup to direct and guide the

development of the review of the 2015 CDCR Report and the Special Master’s analysis of

suicides completed from 2016 through 2019. The Workgroup is comprised of Lindsay M.

Hayes, M.S., Jeffrey L. Metzner, M.D., Sharen Barboza, Ph.D., Kahlil A. Johnson, M.D., and

Kerry C. Hughes, M.D., who authored the last Special Master’s suicide report in 2014.

Analysis of the 2015 CDCR Report was completed by Sharen Barboza, Ph.D., and Kahlil A.

Johnson, M.D., nationally recognized experts on mental health care and suicide prevention in

correctional settings. Sharen Barboza, Ph.D. also authored the 2016 Special Master’s Report.

In preparation for the 2016 Special Master’s Report, Dr. Barboza, with support from other

experts, conducted in-depth clinical reviews and assessments of the health care records and

CDCR death review reports for all CDCR inmate suicide deaths during that year.

         As indicated above, this filing includes two reports on inmate suicides among the CDCR

population: one written by CDCR, see Appendix A, and one by the Special Master’s expert. See

Appendix C. This filing also includes the Special Master’s Analysis of the 2015 CDCR Annual

Report. See Appendix B.


2
  Because the Special Master oversaw the drafting of the 2015 CDCR Report, he has provided both the report and
his expert’s critical analysis of the report rather than duplicate efforts and draft a separate report for 2015. In
contrast, neither the Special Master nor his expert oversaw or were involved with the drafting of CDCR’s 2016
suicide report. Accordingly, the Special Master’s expert reviewed CDCR’s 2016 inmate suicides and drafted a
report that is consistent in format and scope with the Special Master’s prior reports.
3
 Members of the Special Master’s staff who are mental health experts are referred to collectively as “the Special
Master’s expert.” Where applicable, the Special Master’s suicide prevention expert, Lindsay Hayes, is referred to as
“the Special Master’s suicide prevention expert.”

                                                          2
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 3 of 405


       In 2016, the Special Master began meeting with the then-Secretary of the CDCR about

ways to reduce the Special Master’s monitoring responsibilities. These discussions led, for

instance, to the piloting of the Continuous Quality Improvement Tool (CQIT) in ten facilities

and the formation of a plan to develop and implement the desert transfer policy. See ECF No.

6296 (order regarding desert institution transfer policy). The Special Master’s annual suicide

report was included as part of these broader discussions about the scope of the Special Master’s

responsibilities. As documented in prior orders and reports from the Special Master, Dr.

Raymond Patterson, one of the Special Master’s suicide prevention experts, “left his assignment

with the Special Master [in 2013] ‘because of his frustration arising from the defendants’

repeated failure to implement his recommendations.’” See ECF 6212 at 13 (quoting Coleman v.

Brown, 938 F.Supp.2d 955, 971 n.26 (E.D. Cal. 2013)). It was clear at that time that the Special

Master and parties had to redouble their efforts to improve the efficacy of CDCR’s suicide

prevention efforts.

       To aid in this effort to reduce inmate suicides— and to support opportunities to reduce

the scope of the Special Mastership — the Special Master offered to permit CDCR to write the

2015 annual report under his supervision and in coordination with his expert. If CDCR’s report

was consistent in format and scope with the Special Master’s expert’s prior reports, the Special

Master also agreed to consider recommending to the court the delegation of his authority to draft

the annual suicide report to CDCR going forward.

       As will be demonstrated in more detail below, the defendants had every opportunity to

collaborate with the Special Master on the 2015 report and ultimately reduce the scope of the

Special Master’s monitoring responsibilities. When faced with the opportunity to self-monitor

and report, it became clear that defendants were only willing to take on the responsibility for



                                                3
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 4 of 405


suicide review and reporting on their terms. CDCR improperly altered the standard by which

suicides are deemed foreseeable and/or preventable. Defendants were subsequently given an

opportunity to utilize the court-approved definitions of foreseeable and preventable. They

refused and, as a result, the Special Master has re-assumed responsibility for drafting suicide

reports beginning with the 2016 annual report. The Special Master has also provided his

expert’s critical review of the 2015 CDCR suicide report.

       A number of factors contributed to the significant delay in completing the 2015 annual

suicide report. The primary contributing factor was defendants’ refusal to commit to using

court-approved standards to conduct their foreseeability and preventability analysis, a core

component of the annual report. In addition to refusing to use the court-approved definitions,

CDCR also discontinued determinations regarding foreseeable and preventable suicides in their

case reviews. In order to bring the record in this case up to date, the Special Master intends to

complete and send to the parties in draft form suicide reports for calendar year 2017 by February

28, 2021; calendar year 2018 by May 31, 2021; and calendar year 2019 by September 30, 2021.

       On December 11, 2020, the Special Master provided the Coleman parties with draft

versions of this report, the Special Master’s Expert’s Analysis of the CDCR Annual Suicide

Report January 1, 2015, through December 31, 2015, and the 2016 Special Master’s Report. In

accordance with regular practice for the Special Master’s compliance reports, the parties were

given 30 days to submit to the Special Master any comments or objections to the draft reports.

Plaintiffs’ counsel submitted their comments to the 2016 Special Master’s Report on January 11,

2021. See Letter from Michael S. Nunez, Esq. to Special Master Lopes (January 11, 2021),

attached hereto as Appendix D. On January 11, 2021, defendants submitted their comments and




                                                 4
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 5 of 405


objections to the draft report. See Letter from Nicholas Weber, Esq. to Special Master Lopes

(January 11, 2021), attached hereto as Appendix E.

       Plaintiffs’ Response to the Draft Reports

       In their January 11, 2021 response, plaintiffs offered three comments regarding the 2016

Special Master’s Report. First, plaintiffs requested the 2016 Special Master’s Report be revised

to include yearly comparison data regarding inmates with prior medical conditions who

committed suicide. Appendix D at 2. Plaintiffs also requested yearly comparison data regarding

foreseeability and preventability determinations. Id. Finally, Plaintiffs requested that the

Special Master provide a breakdown of suicides by sexual orientation in future annual suicide

reports. Id. at 2-3.

       The Special Master’s expert intends to include comparison tables regarding inmates with

prior medical conditions as well as foreseeability and preventability determinations beginning

with the 2017 annual suicide report. Regarding plaintiffs’ third recommendation, information

regarding inmate sexual orientation is not available to the Special Master’s expert to conduct the

comparison plaintiffs’ request as part of the annual suicide report.

       Defendants’ Response to the Draft Reports

       Defendants provided comments and objections to each of the three draft reports.

Defendants’ responses, organized by report, are outlined in further detail below.

       Defendants’ Comments and Objections to the Special Master’s Report

       In their response to the Special Master’s Report on his Expert’s Review of the 2015

CDCR Report and the 2016 Special Master’s Report, defendants’ repeat legal arguments

regarding foreseeability and preventability of suicides made in prior proceedings. See Appendix

E at 2-6. Notably, defendants do not suggest at any time that the Special Master authorized



                                                 5
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 6 of 405


CDCR to use modified definitions of foreseeable and preventable, nor could they, as the Special

Master does not have the authority to modify existing court orders. The relevant factual record,

which is discussed in detail herein and the substance of which defendants do not dispute, is

clear. Contrary to defendants’ assertion otherwise, there was no agreement to change the

definitions of foreseeability and preventability. Contra Appendix E at 4. Given the court’s

desire to avoid clogging the Coleman docket with legal arguments not invited by the court or

accompanied by a motion, no further response to the defendants’ discussion of foreseeability and

preventability is warranted.

       Defendants also commented on the Special Master’s expert’s critique of CDCR’s use of

statistics in the 2015 CDCR Report. See Appendix E at 6-9. After careful review and

consideration, the Special Master has incorporated clarifications in the discussion of statistics

where appropriate. See infra Section I.C.

       Defendants’ Comments and Objections to the Special Master’s Expert’s Review of
       the 2015 CDCR Report

       In their comments to the Special Master’s Expert’s Review of the 2015 CDCR Report,

defendants reiterated certain concerns regarding the expert’s critique of CDCR’s use of statistics

and rankings. See Appendix E at 9-11. Defendants also object to the expert’s observations

regarding suicide among Caucasian inmates, those in Special Housing Units, and segregated

housing. See id. at 11-12. Further, defendants take issue with the expert’s criticism of the lack

of case reviews in the 2015 CDCR Report. See id. at 12. Finally, defendants argue in favor of

their preferred definition of “rigor mortis” and reiterate their arguments regarding foreseeability

and preventability. See id. at 12-14.




                                                 6
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 7 of 405


       After careful review and consideration, the Special Master has clarified relevant portions

of his expert’s review of the 2015 CDCR Report where warranted. See Appendix B at 3, 3 n.2,

4, 5, 5 n.6, 6, and 9.

       Defendants’ Comments and Objections to the Special Master’s Expert’s 2016
       Annual Suicide Report

       The defendants’ responses to the Special Master’s expert’s 2016 Annual Suicide Report

were similar in scope and substance to the comments and objections previously discussed.

Defendants repeated objections regarding the calculation of the total inmate population, see

Appendix E at 14, and the foreseeability and preventability definitions. See id. at 15-16.

Defendants raised several statistical discrepancies and urged the Special Master’s expert to

validate the numbers in the draft report. See id. at 14-15. Defendants objected to a section of

the expert’s report which discussed suicides occurring outside of normal work hours for mental

health clinical staff. See id. at 15. Finally, defendants objected to the Special Master’s expert’s

recommendations and argued that the draft report’s recommendations overlapped or conflicted

with the recommendations of the Special Master’s suicide prevention expert, Mr. Lindsay Hayes

(“Mr. Hayes”). See id. at 16-19.

       After careful review and consideration, the Special Master has revised and clarified

relevant portions of his expert’s 2016 Annual Suicide Report where warranted. Specifically, the

section regarding suicides occurring during “normal” mental health clinician work hours has

been removed. The Special Master and his expert have reviewed each of the recommendations

contained in the draft report and have not found any recommendations which exceed or conflict

with Mr. Hayes’ suicide prevention recommendations. However, in consideration of the

concerns defendants’ raised, the final version of the 2016 Special Master’s Report includes the




                                                 7
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 8 of 405


Special Master’s expert’s observations and conclusions rather than recommendations. See

Appendix C at 29-32.

I.     BACKGROUND

       A.     Suicide Prevention in Coleman

       Suicide prevention has been a key issue since the early stages of this matter and continues

to be a predominant challenge. See ECF No. 1229 at 1 n.1 (“Suicide prevention and policy

became an issue subject to monitoring by the special master in late 1998 when the court

approved the parties’ agreement for merger of Gates v. Deukmejian … into this action… .”); see

also Coleman v. Wilson, 912 F. Supp. 1282, 1297 (E.D. Cal. Sept. 13, 1995) (discussing the

Magistrate Judge’s findings regarding suicide prevention). The Special Master’s expert has

authored and filed with the court seventeen prior reports on completed suicides. In addition, the

Special Master’s suicide prevention expert has also conducted several audits and re-audits of

CDCR’s suicide prevention practices. See, e.g., ECF No. 6879-1.

       In 2009, after referral from this court and the Plata court, a three-judge panel of the Ninth

Circuit Court of Appeals considered a prison population reduction order. In its opinion and

order, the panel described CDCR’s mental health system as “woefully and constitutionally

inadequate,” ECF No. 3641 at 6, and brought light to the problem of inmate suicides: “Seriously

mentally ill inmates languish in horrific conditions without access to necessary mental health

care, raising the acuity of mental illness throughout the system and increasing the risk of inmate

suicide.” See id. at 7 (emphasis added). Throughout the opinion and order, the high rate of

inmate suicides in CDCR facilities, see id. at 86-87 (comparing California’s inmate suicide rate

to the national average), and the nexus between ongoing Eighth Amendment violations and

suicide risk were discussed. See id. at 86 (“All of the above problems, caused by crowded



                                                 8
    Case 2:90-cv-00520-KJM-SCR               Document 7038            Filed 01/28/21        Page 9 of 405


conditions, ultimately contribute to unacceptably high numbers of both preventable or possibly

preventable deaths, including suicides, and extreme departures from the standard of care.”); see

also id. at 100 (“[C]rowding worsens many of the risk factors for suicide among California

inmates and increases the prevalence of mental illness throughout the prison system.”). The

Special Master’s expert’s analysis of preventable suicides was also highlighted. See id. at 86-87.

Ultimately, the ongoing problems associated with inmate suicides in CDCR were cited as

evidence in support of the panel’s population reduction order. See id. at 86-88, 100. 4

        Suicide and suicide prevention remained key issues during proceedings surrounding

defendants’ 2013 motion to terminate this matter. The court noted that “inmate suicides [were]

occurring at virtually the same rate” as the time of the Three-Judge Court decision. ECF No.

4539 at 33-34. The high rate of inmate suicides and the high percentage of completed suicides

that were deemed foreseeable or preventable were evidence of the “ongoing violation of the

Eighth Amendment rights of members of the plaintiff class.” Id. at 34. The court also discussed

an “ongoing pattern of repeating inadequacies” in CDCR’s suicide prevention efforts as well as

the Special Master’s expert’s recommendations for improvement, which the court noted “ha[d]

been repeated periodically since 1999.” Id. at 40. The court’s discussion of suicide prevention in

the 2013 order concluded as follows:

        [F]or over a decade a disproportionately high number of inmates have committed
        suicide in California’s prison system. Review of those suicides shows a pattern of
        identifiable and describable inadequacies in suicide prevention in the CDCR.
        Defendants have a constitutional obligation to take and adequately implement all
        reasonable steps to remedy those inadequacies. The evidence shows they have not
        yet done so. In addition, while defendants represent that they have fully
        implemented their suicide prevention programs, they have not. An ongoing
        constitutional violation therefore remains.


4
 Affirming the Three-Judge Court’s population reduction order, the Supreme Court noted ongoing problems with
suicide prevention. See Brown v. Plata, 563 U.S. 493, 504, 506, 519, 520 (2011); see also ECF No. 4539 at 32-33
(discussing the Supreme Court’s opinion in Brown v. Plata).

                                                       9
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21     Page 10 of 405


Id. at 43.

        Following the Special Master’s expert’s report on inmate suicides during the first six

months of 2012, the court ordered the establishment of a Suicide Prevention Management

Workgroup (SPMW). ECF No. 4693 at 5-6. Its purpose was to target and resolve the lingering

barriers to reducing the elevated rate of suicides among CDCR inmates in a significant and

lasting way. Following a series of meetings in 2013, the SPMW quickly reached a consensus

that it needed an audit of current suicide prevention practices in all 34 CDCR prisons in order to

accurately identify the existing issues and conditions on which the group should focus its efforts.

The court granted the Special Master’s request to appoint Lindsay Hayes to his staff as a suicide

prevention expert on October 2, 2013. ECF No. 4857. At the direction of the Special Master,

Mr. Hayes conducted an initial audit of all 34 CDCR institutions, from November 2013 through

July 2014. Mr. Hayes’ report on his findings and recommendations was filed on January 14,

2015. ECF No. 5259. On February 3, 2015, the court ordered the defendants to adopt the

recommendations in that report and “to work with the Special Master in the [SPMW] and

otherwise as may be necessary on the development of strategies and the implementation of the

changes and practices contained in the recommendations” within the Hayes Report. ECF No.

5271 at 3.

        In the intervening years, Mr. Hayes has completed several re-audits of CDCR’s suicide

prevention practices, see ECF No. 6879 at 2-5, the most recent of which was filed on September

23, 2020. ECF No. 6879-1. In the court’s September 3, 2020 order, it noted that defendants

have “for over five years…been under court order to adopt and implement the twenty-nine

recommendations that remained after Mr. Hayes’ second re-audit.” ECF No. 6846 at 22. In light

of this significant and ongoing deficiency, the court was clear that “defendants must complete



                                                10
    Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21          Page 11 of 405


any outstanding work on these recommendations before [the Special Master’s suicide prevention

expert’s fifth re-auditing] round begins.” Id. Moreover, Mr. Hayes’ 29 recommendations were to

“be completely and durably implemented to allow comprehensive assessment of their efficacy in

reducing the ongoing number of foreseeable and/or preventable inmate suicides” in CDCR

institutions. Id. In his September 23, 2020 report, the Special Master recommended the

defendants be deemed in compliance with 11 of Mr. Hayes’ recommendations, leaving 18

recommendations yet to be fully implemented. ECF No. 6879 at 27. 5 The court adopted the

Hayes Report in full on December 3, 2020. ECF No. 6973 at 12. 6

           B.       The 2015 Report Writing Process

                    1.       Timeline of Events

           Against this backdrop, the defendants and Special Master began discussing

improvements to the suicide report writing process and reducing the number of inmate suicides

in the first half of 2015. Initially, the Special Master and defendants agreed that the Special

Master’s expert would serve in a consultative role and participate in the suicide case

conferences, receive the draft and edited suicide case reports, and attend the Suicide Case

Review Committee (SCRC) meetings when they occurred. 7 In addition to the Special Master’s

expert’s participation in the case review process, the Special Master and defendants agreed to

explore giving CDCR the opportunity to draft the 2015 annual suicide report under the Special

Master’s supervision and in coordination with his expert. If the 2015 report conformed to the



5
 Recommendation 32 was deemed partially compliant and accordingly is included in the 18 recommendations that
have not been “fully” implemented. ECF No. 6879 at 27.
6
  On January 15, 2021, defendants filed their activation schedule for the 18 suicide prevention recommendations that
remain to be fully implemented. See ECF No. 7024.
7
    As of the time of this writing, the Special Master’s expert continues to participate in these committee meetings.


                                                            11
 Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 12 of 405


Special Master’s prior suicide reports in format and scope, the Special Master agreed to consider

recommending to the court that his suicide review and reporting responsibilities be delegated to

CDCR.

         Accordingly, the Special Master’s expert began attending SCRC meetings in June 2015.

During a June 23, 2015 case review, the expert recommended that the committee make a

determination of preventability and/or foreseeability of the suicide in the case reviews.

Following the June 23, 2015 case review, the expert met with CDCR Mental Health

Headquarters staff to further discuss incorporating foreseeability and preventability analyses into

CDCR’s case reviews. CDCR agreed to formalize and operationalize foreseeability and

preventability definitions and to incorporate this analysis into their case reviews. 8

         At a July 9, 2015 meeting, the Special Master and defendants discussed the process for

determining foreseeability and preventability of inmate suicides. At this meeting, CDCR agreed

to use the definitions of “foreseeable” and “preventable” utilized by the Special Master and

approved by the court with only minor and insignificant amendments.

         At the August 25, 2015, SCRC meeting, the committee made foreseeability and

preventability determinations for the first time.

         During a November 23, 2015 case review, CDCR clinicians expressed discomfort with

the definitions of “foreseeable” and “preventable” that CDCR previously agreed to incorporate

into their case reviews. CDCR representatives felt that cases would be determined preventable

even if the clinicians did not believe that the omissions noted were contributory to the suicide.




8
  As defendants acknowledge in their response to the Special Master’s draft reports, the SCRC stopped conducting
foreseeability and preventability determinations in their suicide case reviews in 2017. See Appendix E at 3 n.4; see
also id. at 5-6 (discussing “avoidable and unnecessary liability concerns” associated with conducting suicide
foreseeability and preventability analyses).


                                                         12
    Case 2:90-cv-00520-KJM-SCR               Document 7038            Filed 01/28/21         Page 13 of 405


Further, CDCR expressed their interest in additional discussions with the Special Master’s

expert to reexamine the definitions.

        Throughout this initial time period, either the annual suicide report generally or the 2015

CDCR Report specifically was a topic of discussion among the parties and Special Master in a

variety of forums. 9 Furthermore, the Special Master and his experts were clear that the

defendants’ review and reports needed to conform to the Special Master’s prior practice,

including foreseeability and preventability reviews.

        The Special Master had multiple calls with both an administration official and CDCR’s

General Counsel discussing the suicide report. On September 15, 2017, the Special Master met

with the California Governor’s Deputy Legal Affairs Secretary and a representative from

CDCR’s Office of Legal Affairs at San Quentin State Prison. The Deputy Legal Affairs

Secretary indicated the defendants wished to discuss “a few broader topics concerning the

suicide report process” as well as a selection of specific 2015 and 2016 suicide cases. Email

from Gabriel Sanchez, Deputy Legal Affairs Secretary, Office of the Governor, to Special

Master Lopes (Sept. 14, 2017), attached as Exhibit A. Regarding foreseeability and

preventability, defendants expressed concern that including this analysis in their suicide report

would expose the defendants to tort liability. In addition, defendants were concerned that

admitting their lack of progress in reducing foreseeable and preventable inmate suicides in their

reports could extend judicial oversight indefinitely.

        The Special Master fundamentally disagreed with the position taken at the September

2017 meeting. Rather than extend the length of this case, defendants were offered the chance to



9
 For instance, the annual suicide report was included on the agendas of both the All-Parties Workgroup (August 17,
2016, October 26, 2016, and December 7, 2016) and the Coleman Policy meeting (January 18, 2018, November 9,
2018, August 29, 2019, and January 16, 2020) during this time period.

                                                       13
 Case 2:90-cv-00520-KJM-SCR                  Document 7038           Filed 01/28/21         Page 14 of 405


reduce the Special Master’s responsibilities. In addition, the defendants’ reports—including the

foreseeability and preventability analysis—could demonstrate their ability to self-identify and

correct suicide prevention deficiencies. At the meeting, the Special Master informed defendants

that the definitions were approved by the court and he did not have the authority to change them.

Moreover, the Special Master made it clear that any potential recommendation to the court to

formally delegate his suicide review and reporting responsibilities to CDCR would be

conditioned on CDCR’s use of the court-approved definitions and process.

        Several drafts of the 2015 suicide report or portions thereof were shared with the Special

Master and/or plaintiffs between August 2016 and January 2020. 10 An initial draft, shared with

the Special Master in June 2017, did not discuss inmate suicide foreseeability or preventability.

See Draft Annual Report on Suicides in the CDCR January 1, 2015 – December 31, 2015, as of

June 5, 2017, attached as Exhibit B. On February 7, 2018, defendants shared a full version of

the draft report with the Special Master and plaintiffs. This version of the report included

foreseeability and preventability analyses and represented that the definitions used by CDCR

were the same as those used in the Special Master’s expert’s prior reports. Draft Annual Report

on Suicides in the CDCR January 1, 2015 – December 31, 2015, as of February 7, 2018, at 40,

attached as Exhibit C. In a cover letter accompanying the February 7, 2018 draft report, CDCR

indicated it intended to continue conducting foreseeability and preventability reviews in the

2017 annual report. However, defendants “reserved the right to change these definitions in

future reports.” Letter from Andrea S. Moon, CDCR Office of Legal Affairs to the Special



10
   CDCR representatives shared an initial outline of the report with the Special Master on August 11, 2016 and a
revised outline on September 22, 2016. A draft executive summary, introduction, and summary of findings was
shared with the Special Master in December 2016. CDCR provided a complete draft report to the Special Master in
June 2017. A revised draft was shared with both the plaintiffs and Special Master in February 2018; plaintiffs
provided written comments on April 23, 2018. CDCR sent further revisions to the 2015 report on June 13, 2018.
Additional changes were made, and another draft was shared on May 14, 2019. See Exhibit G at 1-2.

                                                       14
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 15 of 405


Master (Feb. 7, 2018), attached as Exhibit D. A June 13, 2018 revised draft included the same

definitions as the February 7th draft and similarly indicated that the definitions were equivalent

to the Special Master’s definitions. Draft Annual Report on Suicides in the CDCR January 1,

2015 – December 31, 2015, as of June 13, 2018, at 40, attached as Exhibit E. Contrary to these

representations, the definitions of “foreseeable” and “preventable” included in these draft reports

were not the same as the court-approved definitions used by the Special Master.

       In May 2019, defendants distributed another draft of the 2015 report, which continued to

deviate from the court-approved definitions of “foreseeable” and “preventable.” Draft Annual

Report on Suicides in the CDCR January 1, 2015 – December 31, 2015, as of May 14, 2019, at

39-40, attached as Exhibit F. At a June 27, 2019 Coleman Policy meeting, the May 2019 draft

report was discussed. The Special Master again informed the parties that he would not

recommend delegation of his suicide review and reporting responsibilities to CDCR unless their

reports conformed to prior reports of the Special Master’s expert in form and substance.

       Following the June 27, 2019 meeting, by letter dated August 28, 2019, defendants

attached another revised draft of the 2015 report and described “extensive edits” that had been

made to the report in response to the Special Master and plaintiffs’ objections regarding CDCR’s

discussion of inmate suicide foreseeability and preventability. Letter from Nicholas Weber,

CDCR Office of Legal Affairs, to Special Master Lopes (Aug. 28, 2019) at 2, attached as Exhibit

G. In that letter, CDCR confirmed that they had changed the definitions of “foreseeable” and

preventable” but rejected plaintiffs’ argument that CDCR’s definitions were “narrower” than the

court-approved definitions. Id. Further, defendants argued that the “slightly different wording”

of the definitions had no “practical impact on the determinations by the suicide review

committees.” Id. Rather, defendants’ new definitions were “modeled” on the Special Master’s



                                                15
 Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 16 of 405


definitions and were intended to “facilitate the consistent and reliable application of definitions

to individual case reviews by a multidisciplinary group of CDCR staff.” Id. 11 Finally, CDCR

stated that they were unwilling to “re-analyze each 2015 suicide” using the Special Master’s

established definitions and requested the Special Master to file the 2015 report. Id. at 3.

         Subsequently, CDCR changed the position stated in their August 28, 2019 letter and

agreed to “re-review” a selection of the 2015 suicide cases using the court-approved definitions

of “foreseeable” and “preventable.” See Appendix A at 41-42. In addition to re-reviewing these

cases, the Special Master requested that the 2015 report include a statement that future reports

would use the Special Master’s “foreseeable” and “preventable” definitions.                        During an

April 23, 2020 teleconference, CDCR representatives indicated that the department was having

internal discussions about the use of the court-approved definitions in future suicide reports.

During this call, the Special Master again emphasized his desire to be in a position to

recommend delegating his suicide review and reporting responsibilities to CDCR and urged the

defendants to conclude their internal discussions so the parties and Special Master could move

forward and bring the record up to date.




11
  The 2015 CDCR Annual Report offers a similar justification for the new definitions: “The definitions … were
distilled from longer definitions previously adopted by the Special Master’s experts. The definitions were shortened
for the purpose of facilitating discussion of the foreseeability and preventability of a suicide….” Appendix A at 40.
Further, “CDCR acknowledges slight differences between the Special Master’s definitions and those used by the
suicide case review committee when they reviewed the cases originally in 2015. CDCR agreed to a request by the
Coleman plaintiffs to re-review the 2015 suicides using the Special Master’s definitions. The Special Master’s
experts concurred with this request. After meeting and conferring with the Special Master’s experts, it was agreed
that all cases not previously found as both foreseeable and preventable by the SCRC would be reviewed again using
the Special Master’s definition. As twelve cases had originally been found as both foreseeable and preventable,
twelve cases remained for re-review.” Id. at 41-42.

                                                         16
 Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 17 of 405


        In the weeks following the April 23, 2020 teleconference, 12 defendants participated in

dozens of conference calls, virtual meetings, and other conversations 13 with the Special Master

and his team on a variety of topics, including suicide prevention generally and the 2015 annual

report specifically. Despite having ample opportunity to discuss the 2015 report with the Special

Master and his experts, defendants chose to move forward without consensus on this critically

important component of the annual suicide report. On July 2, 2020, CDCR informed the Special

Master that they planned to publish the 2015 suicide report on the department’s website and

would not be making any additional changes to the report. Letter from Nicholas Weber, CDCR

Office of Legal Affairs, to Special Master Lopes (July 2, 2020), attached as Exhibit H. After

receiving the July 2, 2020 letter, the Special Master again asked the defendants to reconsider

their position in a teleconference with an administration official. Defendants informed the

Special Master that they intended to publish their own suicide reports on their public website

going forward, and the Special Master could draft and file parallel reports. The defendants

thereafter published the 2015 CDCR Report on CDCR’s website. See supra note 1.

                 2.       Significance of Foreseeability and Preventability Determination

        Determining whether an inmate suicide was foreseeable or preventable is of paramount

importance to the court’s ability to evaluate CDCR’s suicide prevention practices. Accordingly,

foreseeability and preventability assessments have been part of the Special Master’s suicide

reports for two decades, and the associated definitions have been approved by the court. See



12
  In a May 7, 2020 teleconference, defendants continued to indicate that there were ongoing internal discussions
about the Special Master’s definitions.
13
   For instance, during this time: the COVID-19 Task Force, which included representatives from both parties and
the Special Master’s team, met weekly beginning in March 2020; the Special Master’s experts met in small
workgroup settings with defendants at least weekly; the Special Master’s Central Office Monitoring team attended
multiple meetings per day with CDCR officials; and the Special Master had weekly calls scheduled with defense
counsel to discuss outstanding action items and commitments.

                                                        17
 Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 18 of 405


ECF No. 4693 (order affirming the Special Master’s definitions of “foreseeable” and

“preventable” and rejecting defendant’s objections to characterizing suicides as “foreseeable” or

“preventable” as “disingenuous at best.”); see also ECF No. 1213 (Special Master’s Expert’s

Suicide Report, appended to the Special Master’s Sixth Monitoring Report on the Defendants’

Compliance with Provisionally Approved Plans, Policies, and Protocols, filed October 6, 2000);

ECF No. 4693 at 5 (denying defendants’ motion to strike or modify portions of the Special

Master’s January – June 2012 suicide report which discussed, among other items, foreseeability

and preventability of suicides).

       To assess the defendants’ ability to provide mental health care in conformance with the

Eighth Amendment, the court must be equipped with timely, transparent information regarding

the quality and efficacy of CDCR’s suicide prevention efforts. At a minimum, if suicides are

foreseeable or preventable, there are substantial opportunities to improve CDCR’s

implementation of their prevention strategies. The court recognized the same in a 2013 order:

       [The] terms [“foreseeable” and “preventable”] and their definitions are set out and
       applied in every annual report on inmate suicides since the report for Calendar Year
       2000. As used by the Special Master’s expert, findings that suicides were
       preventable implicates, at least, the adequacy of defendants’ training,
       implementation, and supervision of suicide prevention policies and procedures, as
       well as the adequacy of clinical judgment exercised by staff. Defendants are
       responsible for development and implementation of a program to ‘identify, treat,
       and supervise inmates at risk for suicide”… and identification of the number of
       preventable inmate suicides is an integral part of that responsibility.

ECF No. 4693 at 3-4 (citations omitted).

       With this context in mind, it is clear that the definitional dilemma that plagued the 2015

report drafting process was not a trivial disagreement about the 2015 report’s “formatting and

content” as CDCR has suggested. Exhibit H at 1. As indicated, there are twenty years of suicide




                                                18
 Case 2:90-cv-00520-KJM-SCR               Document 7038        Filed 01/28/21     Page 19 of 405


reports filed by the Special Master’s expert analyzing inmate suicide foreseeability and

preventability and court orders directly on point. ECF No. 4693 at 3-4.

           The Supreme Court recognized the profound importance of analyzing the foreseeability

and preventability of inmate suicides in its 2011 opinion affirming the Three-Judge Court’s

population reduction order:

           In 2006, the suicide rate in California's prisons was nearly 80% higher than the
           national average for prison populations; and a court-appointed Special Master
           found that 72.1% of suicides involved “some measure of inadequate assessment,
           treatment, or intervention, and were therefore most probably foreseeable and/or
           preventable.”

Brown v. Plata, 563 U.S. 493, 504 (2011) (citations omitted). Accordingly, defendants have had

more than ample notice of the importance of the foreseeability and preventability analysis to the

inmate suicide review and reporting process.

           Moreover, CDCR’s prior suggestion that the CDCR definitions’ “slightly different

wording” 14 did not impact the foreseeability and preventability analysis rings hollow in light of

both CDCR’s re-analysis and the Special Master’s critique of 2015 cases: CDCR’s re-review

resulted in one additional “foreseeable” case, see Appendix A at 39-40, while the Special

Master’s expert’s analysis of the 2015 CDCR Report characterized one additional case as

“foreseeable” and two additional cases as “preventable” when applying the Special Master’s

definitions. See Appendix B at 2. Likewise, in the 2016 suicide report posted on its public

website, CDCR’s re-review of 2016 suicides resulted in two cases previously determined not

foreseeable to be recharacterized as foreseeable using the court-approved standard definitions.

See Annual Report of Suicides in the California Department of Corrections and Rehabilitation




14
     Exhibit G at 2.


                                                  19
 Case 2:90-cv-00520-KJM-SCR                    Document 7038             Filed 01/28/21         Page 20 of 405


January 1, 2016 – December 31, 2016 at 47, available at https://cchcs.ca.gov/wp-

content/uploads/sites/60/SR/2016-Annual-Suicide-Report.pdf. 15

         Finally, while CDCR may wish to suggest that the protracted nature of the 2015 report

writing process was due to the Special Master’s or plaintiffs’ conduct, the record is clear:

CDCR’s refusal to use court-approved standards to assess inmate suicide foreseeability and

preventability—and the numerous report drafts, meetings, negotiations, and other discussions

resulting therefrom—delayed this process significantly. Based in part on their concerns about

admitting tort liability, the defendants have repeatedly tried to convince the Special Master to

authorize CDCR to use the revised definitions or omit the foreseeability and preventability

discussion completely. The Special Master consistently and on numerous occasions informed

the defendants that the definitions are subject to court orders that he does not have the authority

to alter, but they were free to seek leave of court to use different definitions. Accordingly, the

publication delays are attributable to the defendants’ refusal to draft the 2015 report in a manner

that would allow the Special Master to recommend delegating his suicide review and reporting

responsibilities to CDCR.

         Like the definitions themselves, the defendants’ apparent opposition to considering

foreseeability and preventability of inmate suicides is not a new development. 16 In 2003, the

Special Master’s Eleventh Monitoring Report characterized the defendants’ objection to the

Special Master’s expert’s suicide prevention recommendations as follows:

         The defendants argued that the monitor had no business reviewing completed
         suicides, but should stick to monitoring CDC[R]’s suicide prevention policy… .
         The defendants also rejected the experts’ “foreseeable” and “preventable”


 As noted previously, the Special Master did not have a role in drafting the 2016 CDCR report that is posted on the
15

CDCR website. See supra note 2.

 Indeed, this is yet another example of defendants seeking to relitigate long-settled issues, which the court recently
16

warned the parties against. ECF No. 6846 at 18.

                                                         20
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 21 of 405


       standards as improper because they were based on “hindsight,” but offered no
       alternative standard.

ECF No. 1519 at 286-87. Similarly, in 2013, the state moved to strike the Special Master’s

Report on Suicides Occurring in CDCR in the First Half of 2012 in its entirety based partly on

their continued opposition to the Special Master’s expert opining on the preventability of inmate

suicides at all. See ECF No. 4527 at 2 (“[T]he special master’s conclusions that these suicides

were ‘preventable’ [] generally amounts to an impermissible exercise in second-guessing and

conjecture.”); see also id. at 5 (describing the Special Master’s discussion of preventable suicides

as “spurious”).

       As the court recently recognized, CDCR’s failure to fully implement the Special Master’s

suicide prevention expert’s recommendations is grounds enough to conclude the defendants are

not ready to “assume full responsibility for quality management of their suicide prevention

program as well as the review and reporting requirements currently provided by the Special

Master.” ECF No. 6846 at 22. As noted, the Special Master and his experts were clear

throughout the 2015 report writing process that the definitions of “foreseeable” and

“preventable” used in the 2015, 2016, and future suicide reports must conform to the court-

approved standard. Contrary to two decades of prior practice and in the face of the Special

Master and plaintiffs’ strong concerns, defendants unilaterally changed these definitions and

failed to commit to using the court-approved process for determining foreseeability and

preventability of inmate suicides in future reports.

       Following their refusal to commit to using the Special Master’s definitions in the 2015

and 2016 reports, CDCR has also informed the Special Master that it will not be utilizing the

court-approved definitions in any future reports. Knowing this, it would be irresponsible for the

Special Master to recommend delegating his suicide review and reporting responsibilities to

                                                 21
 Case 2:90-cv-00520-KJM-SCR                    Document 7038             Filed 01/28/21          Page 22 of 405


CDCR at this time. Doing so would deprive the court of critical information about the efficacy

of CDCR’s suicide prevention efforts. Unfortunately, this is more evidence that “the time is not

yet ripe to determine when defendants should assume full responsibility for their suicide

prevention program.” ECF No. 6846 at 22.

         C.       Suicide Rate Comparisons

         Another significant deficiency found in CDCR’s 2015 Report—and repeated in a

subsequent report posted on its website 17—relates to the discussion and comparison of suicide

rates. CDCR’s use of suicide rate data departs from prior practice in this case. First, CDCR’s

use of state-by-state suicide rate comparisons does not include specific comparisons to large state

prison systems, which are likely to be more similar to California in their dynamics and processes

than smaller systems. In its 2015 report, CDCR compared California’s inmate suicide rate to

that of all state correctional systems with significantly different inmate populations, both in terms

of size and demographics. The defendants offered: “California ranks in the middle one-third of

states in rank and rate. In 2015, California’s rate of prison suicides ranked as 20th among state

prisons.” Appendix A at 33. As the Three-Judge Court recognized in 2011, such state-by-state

comparisons are of “limited value” when they fail to “control for demographics of each state’s

inmate population.” ECF No. 3641 at 88. 18 The report did not comport with the Special

Master’s prior practice of including comparisons between CDCR and the ten largest prison




17
  California law requires CDCR to publish annual reports on inmate suicide. Cal. Penal Code § 2064.1. In July
2020, CDCR informed the Special Master that the annual report submitted to the legislature and the annual Coleman
report will be consolidated. See Exhibit H.
18
   Regarding these state-by-state comparisons, the Three-Judge Court concluded: “In any event, serious deficiencies
continue to exist in the California prison system such that California inmates are not receiving adequate care. This is
true regardless of where California might rank in a valid comparison of inmate death rates among the states.” ECF
No. 3641 at 88.


                                                          22
 Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21         Page 23 of 405


systems in the country. E.g., ECF No. 5428 at 2. The following is a table of suicide rates within

the ten largest prison systems from 2001 through 2016. 19

                                                                   2001-2016
                                Correctional System             Suicide Rate per
                                                                100,000 Inmates
                            Florida                                     9

                            Federal Bureau of Prisons                    10

                            Georgia                                      11

                            Ohio                                         14

                            Pennsylvania                                 16

                            Texas                                        17

                            Illinois                                     17

                            Arizona                                      17

                            California                                   20

                            New York                                     22



As shown above, although CDCR might like to rank itself with an inmate suicide rate of “20th

among state prisons,” it would be far more accurate to state that CDCR had the 2nd highest

suicide rate of the ten largest prison systems from 2001-2016.

        Second, CDCR improperly offered comparisons between California’s inmate suicide rate

and that of the general population of the United States without acknowledging the limitations of

such a comparison. Appendix A at 34-35.

        Defendants’ use of statistics seems intended to suggest there is nothing out of the

ordinary with CDCR’s suicide rate when compared with both adult males in the general


19
  See Carson, E. & Cowhig, M. (2020), Mortality in State and Federal Prisons, 2001-2016 – Statistical Tables, at
15, NCJ 251920.

                                                       23
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 24 of 405


population and all other state prison systems. The continued annual publication of these

statistics in this manner, without clear acknowledgment of the limitations, is misleading.

       With that said, if the defendants insist upon continuing to publish reports that display

comparisons between themselves and other prison systems, such reporting should be meaningful.

As stated in previous reports by the Special Master’s suicide prevention expert, caution should

always be exercised when viewing data on inmate suicide rates. Suicide rates are most

meaningful when viewed over a sustained period of time. Moreover, while the total number of

inmate suicides and the corresponding suicide rate in any prison system can be important

indicators, they are not the sole barometer by which adequacy of suicide prevention practices

should be measured. The best methodology for determining whether a correctional system has

fully implemented its suicide prevention program continues to be: (1) the assessment of suicide

prevention practices within each prison, and (2) a review of each inmate suicide in relation to

practices in the prison for determining its degree of preventability and/or foreseeability.

II.    THE 2015 CDCR REPORT

       As noted, the Special Master agreed to permit CDCR to draft the 2015 annual report on

inmate suicides. CDCR chose to utilize its own definitions of foreseeability and preventability

and published its report on its public website in July 2020. Because the Special Master oversaw

the 2015 report writing process, he directed his experts to conduct a thorough review of the 2015

CDCR Annual Report and document their analysis in the report attached hereto as Appendix B.

       Several deficiencies with the 2015 report have been discussed in detail and need not be

repeated. Despite these problems, the Special Master’s expert highlighted a number of positive

aspects about the defendants’ 2015 report and their suicide case review process.




                                                 24
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 25 of 405


       The Special Master’s expert found the following:

       The report was well-organized and comprehensive. It included an examination of trends,

including the timing of suicides, types of crimes committed by those who died by suicide,

sentencing information, length of incarceration, job assignments, and precipitants to suicide. The

report included detailed demographic factors and the frequency of various psychiatric diagnoses

among those who died by suicide, as well as a comprehensive discussion of initiatives that have

been undertaken to reduce suicides, including policy changes, monitoring enhancements,

programmatic changes, and training.

III.   THE 2016 SPECIAL MASTER’S REPORT

       For the reasons discussed above, the Special Master concluded that CDCR did not

demonstrate their fitness to self-monitor and report on their suicide prevention practices and

performance. Despite the Special Master’s efforts to get the defendants to reconsider their

position on foreseeability and preventability, defendants informed the Special Master that CDCR

and the Special Master would be creating parallel suicide reports going forward. Accordingly,

the Special Master and his expert re-assumed responsibility for drafting the 2016 annual suicide

report attached hereto as Appendix C. The 2016 report is consistent in format, use of statistics,

and analysis of inmate suicide foreseeability and preventability as the Special Master’s prior

annual suicide reports.

       The Special Master’s expert found the following:

       In 2016, 27 inmates died by suicide, producing the highest rate of suicide (21 deaths per

100,000 inmates) since 2013. Of these 27 deaths, 23, or 85 percent were determined to be

foreseeable, preventable, or both. Similarities were found with regard to location, method, crime

type, and security level when compared to deaths by suicide from previous years. Those who



                                                25
 Case 2:90-cv-00520-KJM-SCR                      Document 7038             Filed 01/28/21         Page 26 of 405


died by suicide in 2016 were comparatively older and more likely to be receiving mental health

services at the Enhanced Outpatient Program level of care than in previous years. The Special

Master’s expert noted inadequacies in suicide risk evaluations and subsequent risk

determinations; treatment planning and treatment interventions; failures to consider patient’s

needs regarding higher levels of care; and problems regarding interdisciplinary communication

among the cases of the patients who died by suicide in 2016. The Quality Improvement Plan

(QIP) process was also assessed to require enhancements to make it more effective regarding

outcomes.

IV.        CONCLUSION

           As with other issues discussed herein, the persistence of the inmate suicide epidemic in

California prisons, sadly, is nothing new to this case. The inmate suicide rate among CDCR’s

population is at its highest since the commencement of this action. See ECF No. 6879-1 at 45-

46. In recent years, the inmate suicide rate has increased 74 percent, from 18.6 per 100,000 in

2015 20 to a staggering 32.3 per 100,000 in 2019. ECF No. 6879-1 at 45. In 2015, a CDCR

inmate committed suicide every 15.2 days, Appendix A at 9; in 2016, there was an inmate

suicide every 13.5 days. Appendix C at 1.

           In its 2013 order denying defendants’ motion to terminate this action, the court noted the

following:

           Despite the fact that current evidence shows that inmate suicides are occurring at
           virtually the same rate and with virtually the same degree of inadequacies in
           assessment, treatment and intervention, defendants now seek termination of all
           relief in this action. The facts show, however, that the rate of inmate suicide is
           not declining, and more than seventy percent of inmate suicides in California
           involve significant inadequacies about which defendants have known for years.
           These facts demonstrate an ongoing violation of the Eighth Amendment rights of
           members of the plaintiff class.


20
     See Appendix B at 3 for a detailed discussion of CDCR’s calculation of the suicide rate in their 2015 report.

                                                            26
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 27 of 405


ECF No. 4539 at 33-34.

       While progress has been made in many areas, the court’s observations regarding suicide

and suicide prevention in its 2013 order remain applicable today. As was the case during the

Three-Judge Court (2011) and termination motion (2013) proceedings, large proportions of

inmate suicides – 85 percent in 2016 – continue to be determined foreseeable and/or preventable.

And defendants have been unable to implement 18 of the Special Master’s suicide prevention

expert’s remaining recommendations to improve the situation.

       Further attempts to rewrite the law of this case will not prevent future inmate suicides

from occurring. Instead of offering misleading and inaccurate explanations for its rising suicide

rate, the defendants would be better served by acknowledging the crisis, fully implementing and

sustaining all of the recommendations previously submitted by the Special Master’s suicide

prevention experts, and focusing its efforts on significantly reducing the number of preventable

and foreseeable suicides within CDCR.

       The Special Master agrees with the conclusions included in his expert’s analysis of the

2015 CDCR Report and his expert’s review of suicides completed in CDCR January 1, 2016 –

December 31, 2016. Because these conclusions track prior court orders and the general mission

of the SPMW, they need not be reiterated in additional court orders at this time. Accordingly,

the Special Master requests that the Court adopt in full the attached Reports: (1) the Special

Master’s Expert’s Analysis of the California Department of Corrections and Rehabilitation’s

Annual Suicide Report January 1, 2015 through December 31, 2015, and (2) the Special

Master’s Expert’s Report on Completed Suicides in the California Department of Corrections




                                                27
 Case 2:90-cv-00520-KJM-SCR             Document 7038    Filed 01/28/21     Page 28 of 405


and Rehabilitation from January 1, 2016 through December 31, 2016, and does not request the

entry of any orders by the Court at this time.

                                                         Respectfully submitted,



                                                         /s/ Matthew A. Lopes, Jr.
                                                         Matthew A. Lopes, Jr.
                                                         Special Master




January 28, 2021




                                                 28
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 29 of 405




                     EXHIBIT A
Case 2:90-cv-00520-KJM-SCR                  Document 7038     Filed 01/28/21      Page 30 of 405

From:            Tavares, Zelia M
To:              Ryan, Jr., Michael F.
Subject:         FW: Suicide Reports discussion
Date:            Thursday, December 10, 2020 5:51:09 PM




From: Gabriel Sanchez <Gabriel.Sanchez@GOV.CA.GOV>
Sent: Thursday, September 14, 2017 3:17 PM
To: Lopes Matthew <mlopes@pldolaw.com>; 'dockc99@aol.com' <dockc99@aol.com>;
'jeffrey.metzner@ucdenver.edu' <jeffrey.metzner@ucdenver.edu>
Cc: Rei Onishi <Rei.Onishi@GOV.CA.GOV>; McKinney, Patrick@CDCR
(Patrick.McKinney@cdcr.ca.gov) <Patrick.McKinney@cdcr.ca.gov>
Subject: Suicide Reports discussion

Matty,

Thanks again for making yourselves available tomorrow to discuss the suicide reports at San
Quentin. We plan to cover a few broader topics concerning the suicide report process and delve
into some cases from 2015 and 2016 for illustration. My apologies for not sending this proposed list
to you sooner; I was incorrectly informed that the meeting was scheduled for Friday, September
22nd, not tomorrow. The list is as follows:

2015:




2016:




Regards,

Gabe



Gabriel P. Sanchez
Deputy Legal Affairs Secretary
Office of Governor Edmund G. Brown Jr.
(916) 445-0873
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 31 of 405




                     EXHIBIT B
Case 2:90-cv-00520-KJM-SCR   Document 7038       Filed 01/28/21      Page 32 of 405
                                                      Annual Suicide Report   2015




                ANNUAL REPORT ON SUICIDES IN THE
             CALIFORNIA DEPARTMENT OF CORRECTIONS AND
                          REHABILITATION
                   JANUARY 1, 2015 – DECEMBER 31, 2015




                                 Prepared by:
                            Robert J. Horon, Ph.D.
                        Senior Psychologist, Specialist
                       Statewide Mental Health Program
                       Division of Health Care Services

                                                                              1|Page
Case 2:90-cv-00520-KJM-SCR        Document 7038        Filed 01/28/21      Page 33 of 405
                                                            Annual Suicide Report   2015


                                   Table of Contents

       List of Tables                                                                 4
       List of Figures                                                                5
       List of Appendices                                                             6

       Executive Summary of the Annual Suicide Report                                 7

    1. Introduction and Summary of Findings                                            8
           a. Suicide definitions and terms used                                       8
           b. Review of Findings, Section 1: Current Year                             10
                    i. Number and rate of suicide in reporting year                   10
                   ii. Demographic factors                                            10
                 iii. Marital status                                                  11
                  iv. Education, juvenile history, and work history                   11
                   v. Languages spoken                                                11
                  vi. Health factors                                                  11
                 vii. Temporal factors                                                12
                viii. Custodial and correctional factors                              12
                  ix. Cell occupancy                                                  16
                   x. Job assignment                                                  16
                  xi. Means or method of suicide                                      16
                 xii. Mental health factors                                           17
                xiii. Diagnoses                                                       17
                xiv. Suicide attempt history                                          18
                 xv. Suicide triggers, motivation, and behavior                       19
           c. Review of Findings, Section 2: Current Year vs. Prior Years             22
                    i. Comparison of rate between current and prior years             22
                   ii. Suicides by institution, current year vs. 15-year average      24
                 iii. Suicides in the CDCR by month, current year and                 27
                       10-year average
                  iv. Demographic factors                                             27
                   v. Suicides by housing type                                        29
                 vi. Time in segregated housing prior to death                        30
                 vii. Suicides by method                                              31
                viii. Involvement in mental health services                           31
                  ix. Suicides in mental health vs. non-mental health populations     32
           d. Review of Findings, Section 3: Comparison of CDCR Suicide               33
              Rates with Other State Prison Systems and Relevant U.S. Rates
                    i. CDCR rates versus other state and federal prison rates         33
                   ii. Comparison of rate between CDCR and the community              34

                                                                                    2|Page
Case 2:90-cv-00520-KJM-SCR       Document 7038       Filed 01/28/21      Page 34 of 405
                                                          Annual Suicide Report   2015


           e. Summary Review of Findings and Trends                                 35

    2. Response to suicide and suicide attempts                                     37
          a. Institutional reporting of self-harm incidents                         37
          b. Determination of unknown causes of death                               37
          c. Suicide attempts and suicides prevented                                38
          d. External review processes                                              39
          e. Determination and tracking of Quality Improvement Plans                39
          f. Audits of SCR Quality                                                  40
          g. Timeliness of Suicide Case Reviews and Suicide Reports                 41

    3. Findings in individual case reviews                                          42
          a. Introduction to individual case reviews                                42
          b. Commonalities in individual case reviews                               42

    4. Review of suicide prevention initiatives in 2015                             48
          a. Introduction                                                           48
          b. Suicide prevention initiatives developed/implemented during the        48
             reporting year

    5. Conclusions                                                                  58
          a. Introduction                                                           58
          b. Summary of findings                                                    58
          c. Report implications and future steps                                   60

    Appendices                                                                      65




                                    List of Tables

                                                                                  3|Page
Case 2:90-cv-00520-KJM-SCR         Document 7038         Filed 01/28/21     Page 35 of 405
                                                             Annual Suicide Report   2015


 Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015                        10

 Table 2. Age Groupings of Suicides in the CDCR, 2015                                  11

 Table 3. Frequency of Suicide by the CDCR Institution, 2015                           12

 Table 4. Frequency of Suicide by Housing Type, 2015                                   13

 Table 5. Type of Commitment Offense in Inmate Suicides, 2015                          14

 Table 6. Suicides by Security Level, 2016                                             14

 Table 7. Suicides in the CDCR by Length of Sentence, 2015                             15

 Table 8. Suicides in the CDCR by Amount of Time Served, 2015                          15

 Table 9. Suicides in the CDCR by Time Left to Serve, 2015                             16

 Table 10. Suicides in the CDCR by MHSDS Participation, 2015                           17

 Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015                       18

 Table 12: Suspected Motives/Precipitants to Suicides in CDCR by frequency, 2015       20
 Table 13: Individual Precipitants/Motivations for Suicides within the CDCR, 2015      21

 Table 14. Annual Frequency and Rate of Suicide in the CDCR for 20 years,              23
           by Gender and Overall, 1996-2015

 Table 15. Frequency of Suicide by CDCR Institution, 2015 and by prior                 25
          15-year total and average (1999-2014)

 Table 16. Frequency of Suicide within Segregated Housing, 2010-2015                   30

 Table 17. Frequency of Suicide within MHSDS Levels of Care, 2010-2015                 32

 Table 18. Frequency of Suicide in MH versus non-MH populations, 2006-2015             32

 Table 19. Rate and rank of suicides by state, 2001-2014 (14 years)                    33

 Table 20. QIPs assigned within the CDCR by recipient, 2015                            39

 Table 21: Results of Quality Audits, 2015 Suicide Case Review reports                 40

 Table 22: Findings of Individual Case Reviews, part 1                                 43

 Table 23: Findings of Case by Case Reviews, part 2                                    46

                                     List of Figures

                                                                                     4|Page
 Case 2:90-cv-00520-KJM-SCR          Document 7038          Filed 01/28/21     Page 36 of 405
                                                                Annual Suicide Report   2015


Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015                     24

Figure 2: CDCR Frequency by Month, 2015 and 10-Year Average                               27

Figure 3: Suicide Frequency by Race, 2005-2015, with trend line                           28
Figure 4: Number of Suicides by Age Group, 2010-2015                                      29
Figure 5: Length of Time in ASU before suicide, 2009-2015                                 31
Figure 6: Suicide rates for adult males in the CDCR, State Prisons, & the U.S., 2010-15 35




                                                                                        5|Page
       Case 2:90-cv-00520-KJM-SCR          Document 7038        Filed 01/28/21      Page 37 of 405
                                                                     Annual Suicide Report   2015


                                           List of Appendices

  I.    Sample High Risk Management Program policy                                             65

 II.    Suicide response procedures                                                            77

III.    Review of unknown deaths and overdose deaths                                           85

IV.     Suicide response court-ordered and internal deadlines for suicide reports              90

 V.     Memorandum “Designation of Suicide Prevention, Assessment and                          91
        Training Coordinator”

VI.     Memorandum “Completed Contacts Associated with Suicide Risk Evaluation”                96

VII.    Memorandum “Suicide Prevention Pamphlets for Inmates and Family/Friends”              100
        (with pamphlets attached)




                                                                                             6|Page
    Case 2:90-cv-00520-KJM-SCR                Document 7038            Filed 01/28/21          Page 38 of 405
                                                                              Annual Suicide Report     2015


                          Executive Summary of the Annual Suicide Report

In 2015 a total of 24 inmate suicides occurred within the CDCR. This number is an increase of
one from 2014. The frequency of suicides in 2014 and 2015 are the lowest consecutive yearly
number of suicides in the CDCR since 2002. The rate of suicide in the CDCR was 18.7 suicides
per 100,000 inmates in 2015 and 17.0 per 100,000 in 2014. The suicide rate in U.S. state prisons
ranged from 14-17 per 100,000 per year between 2000 and 2013 1 and 20 per 100,000 in 2014. 2
The suicide rate in the CDCR is thus lower than the average rate in U.S. prisons. Additionally,
male prisoners in the CDCR had a lower rate of suicide rate than U.S. males in the community in
2014 and 2015. 3

Suicides in 2015 largely match prior year’s patterns with respect to time of year, prevalence in
spring and fall months, greater frequency in high custody inmates (75% in Level III and Level
IV housing), and a relatively high percentage of suicides in inmates involved in mental health
programming (typically 50-60%). Suicides in 2015 were somewhat unlike prior year’s patterns
in that there were two female suicides and three suicides of inmates aged 70 and older.

Both the frequency and the rate of suicide have declined in the CDCR over the past 10 years
(2006-2015), which represents steady progress. The frequency of suicide in the CDCR
decreased from 43 in 2006 to and 2015, while the rate of suicide in the CDCR declined from
24.9 per 100,000 in 2006 to 18.7 per 100,000 in 2015. The decline in suicide rate in the CDCR
in 2015 compared to the prior 10 years can chiefly be attributed to fewer suicides within
segregated housing units, lower rates of suicides in Caucasian and Hispanic/Latino inmates, and
fewer suicides in inmates aged age 35-54.

Many suicide prevention initiatives are underway and/or continuing in the CDCR. These
initiatives have emerged from Quality Improvement Plans on deaths by suicide, from
recommendations generated by tours, reviews, and audits, from advances in the field of
Suicidology, from opportunities arising from the Mental Health Tracking System and the
Electronic Health Record System, and so forth. These initiatives are meant to enhance a
comprehensive, integrated system of suicide prevention and are detailed in the report that
follows.




1
  Noonan, M, Rohloff, H., & Ginder, S., Mortality in Local Jails and State Prisons, 2000-2013 Statistical Tables, US
DOJ, Bureau of Justice Statistics, August, 2015 NCH 248756
2
  Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
3
  http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870

                                                                                                        7|Page
 Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 39 of 405
                                                                 Annual Suicide Report   2015


I. Introduction and Review of Findings

This report reviews the 24 suicides by inmates of the California Department of Corrections and
Rehabilitation (CDCR) which occurred during 2015. The report is submitted as part of joint
efforts by the CDCR and the Office of the Special Master’s (OSM) experts to work together to
reduce the number of suicides within California’s state prisons and is part of the CDCR’s
compliance with court-ordered remediation specified by the Special Master as part of the
continuing review in the matter of Coleman v. Brown, No. (CIV S-90-0520 KJM KJN E.D.Cal.).
Kerry Hughes, M.D. and Jeffrey Metzner, M.D. provided consultation for this report from the
Coleman court. Amy Eargle, Ph.D., Robert Canning, Ph.D., Adinn Phean, AGPA, Harutyun
Grigoryan, OT, and Byron Russell, HPS1 provided assistance and review from the Statewide
Mental Health Program (SMHP) at the CDCR.

This report is unlike prior reports in that the report is generated by the SMHP with consultation
by Coleman court experts. Prior reports submitted to the Special Master were written by the
Coleman court’s experts. The purpose of the report remains the same: To report on ongoing
efforts to monitor suicides in the CDCR, to identify any trends in suicide that may indicate
targets for suicide prevention efforts, and to provide recommendations for continued
improvement. Additional detail is provided in this report as to the definitions, response efforts,
monitoring, and other improvement processes and programs implemented by or used by the
SMHP to prevent suicide. The report is prepared for the Special Master and has implications for
the CDCR and for the work of the Coleman court’s experts.

The primary source of data used for this report is the suicide case reviews completed by members
of the SMHP who are trained in conducting these reviews. Additional sources include data
obtained from the CDCR Offender Information Services Branch, information garnered from
reports by the CDCR Death Review Committee, information from prior annual suicide reports,
and publically available information regarding suicide rates in community and incarcerated
settings. Each suicide was also independently reviewed by this author in order to assess trends in
data or findings. Input made by the OSM’s experts, who attend each suicide case review by
teleconference and consult on case review, provided added information for this report. Finally,
members of the Quality Management unit, a separate unit within the SMHP, provide input
through auditing each suicide case review report.

A. Suicide definitions and terms used

The CDCR is in the process of adopting definitions related to suicide that were developed by the
Centers for Disease Control and the World Health Organization and have been widely-adopted in
community settings. The OSM has been provided with a draft of the proposed changes to these
definitions. As these changes are pending, the definitions used in the MHSDS Program Guide,
2009 Revision are listed below. Terms and definitions now considered obsolete are omitted

                                                                                         8|Page
    Case 2:90-cv-00520-KJM-SCR                Document 7038             Filed 01/28/21         Page 40 of 405
                                                                              Annual Suicide Report      2015


from the listed provided here. Additionally, the term self-injurious is synonymous with self-
harm. The term self-harm is used frequently in this report as it conforms to both existing
definitions and proposed definitions and is routinely qualified by the phrases “with intent” or
“without intent.”

1. Suicide: An intentional self-injurious behavior that causes or leads to death.

2. Suicide Attempt: An intentional self-injurious behavior which is apparently designed to
   deliberately end one’s life, and may require medical and/or custody intervention to reduce the
   likelihood of death or serious injury.

3. Suicidal Ideation: Thoughts of suicide or death, which can be specific or vague, and can
   include active thoughts of committing 4 [that is, dying by] suicide or the passive desire to be
   dead.

4. Suicidal Intent: The intention to deliberately end one’s own life.

5. Self-injurious Behavior: A behavior that causes, or is likely to cause, physical self-injury.
     [Note: The terms self-injurious behavior, self-mutilation, and suicide gesture are found in
     the MHSDS Program Guides, 2009 Revision, but are not used in this report. The term ‘self-
     harm without intent’ is used instead as the meaning is the same, self-harm for other reasons
     than death by suicide, and does not have the potentially negative connotations of terms such
     as ‘gesture.’]

B. Review of findings

                                           Section 1: Current Year

Number and rate of suicide in reporting year: There were 24 suicides in the CDCR in 2015.
This represents an increase of one over the total in 2014, or an increase of 4%. The suicide rate
in the CDCR for 2015 was 18.7 per 100,000. Rates of suicide are standardized by the number
per 100,000 in order to make standardized comparisons between samples and populations. The
total number of suicides in 2015 corresponds to a suicide on average every 15.2 days.

Demographic Factors: In 2015, twenty-two men and two women died by suicide in the CDCR.
The rate of suicides in the CDCR was 17.9 per 100,000 for men and 34.7 per 100,000 for
women. The rate of suicide for women fluctuates more dramatically than the rate for men, as
there are many more males (122,874) than females (5,769) in the CDCR. To illustrate, one
fewer female suicide would have lowered the female rate in 2015 by one-half, from 34.7 to 17.3

4
 The term ‘committing’ has fallen out of favor with Suicidologists, as the term implies some sort of success in
carrying out a pledge or obligation. The favored term is rather straightforward—‘died by suicide.’

                                                                                                        9|Page
 Case 2:90-cv-00520-KJM-SCR                Document 7038      Filed 01/28/21       Page 41 of 405
                                                                    Annual Suicide Report    2015


per 100,000. The same decline of one suicide in males would have lowered the rate by one in
twenty-two, or from a rate of 17.9 to a rate of 17.1 per 100,000. A listing of suicides by gender
per year over 10 and 20 year periods is found in Table 14 later in this report.

The racial and ethnic backgrounds of inmates who died by suicide are represented in Table 1. As
can be seen in Table 1, Caucasians represented over half of all suicides despite comprising only
22% of the population within the CDCR. This finding has been typical of the racial breakdowns
of suicides within the CDCR for many years.

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015

      Racial Group               Frequency             Percent of         Percent of race within the
                                                        Suicides                   CDCR
   African-American                   5                  21%                         29%
       Caucasian                     13                  54%                         22%
    Hispanic/Latino                   4                  17%                         42%
        Other*                        2                   8%                          6%
*1 Chinese American female, 1 Japanese American male

Table 2 contains a listing of age groupings within the CDCR, with the number and percentage of
suicides for each group compared with the prevalence of the age group within the CDCR. Of
note, four age groups had higher rates of suicide than their corresponding representation within
the CDCR population during the reporting year (2015): Inmates ages 30-34, 45-54, 60-64, and
65 and older. The overrepresentation of older inmates in the year’s suicides may bear further
monitoring as a possible emerging trend. The three suicides of older inmates occurred in
individuals aged 70-73. The average age of those who died by suicide was 42.9.

Table 2. Age Groupings of Suicides in the CDCR, 2015

       Age Group                 Frequency             Percentage of 2015      Percentage of CDCR
                                                            Suicides                Population
          18-24                        2                        8                       12
          25-29                        3                       13                       16
          30-34                        5                       21                       16
          35-39                        2                        8                       14
          40-44                        2                        8                       11
          45-54                        4                       17                       10
          55-59                        1                        4                        6
          60-64                        2                        8                        3
           65 +                        3                       13                        3


Marital Status: Marital relationships are thought to be a protective factor for inmates. This
variable is protective for males in community studies and may function in a similar way for


                                                                                            10 | P a g e
    Case 2:90-cv-00520-KJM-SCR               Document 7038            Filed 01/28/21        Page 42 of 405
                                                                           Annual Suicide Report     2015


inmates as these relationships may offer support during incarceration. 5 In 2015, two suicides
(one male, one female) occurred in married individuals, whereas nine suicides occurred in
separated or divorced inmates (including the second female) and thirteen suicides occurred in
single or never-married inmates.

Education, Juvenile History, and Work History: Three suicides occurred in inmates with
some college education. The remaining twenty-one inmates had secondary educations, ranging
from the 8th to 12th grade. Fifty-seven percent had a history of juvenile arrest, with 33% having a
history of gang involvement. The majority of suicides occurred in inmates with limited
employment history, typically in work classified as “unskilled labor.” None of the suicides
occurred in inmates who were in the Developmental Disability Program (DDP), though two
inmates had some history of special education involvement.

Languages Spoken: One female inmate who died by suicide spoke Mandarin as her primary
language. All others were primarily English-speaking.

Health Factors: Nearly half (46%) of the inmates who died by suicide in 2015 were considered
to have serious and/or chronic medical problems. This ranged from problems with low back pain
or headaches to cases of liver disease, diabetic neuropathy, cardiac problems, and legal
blindness. In all cases, medical needs were determined to be adequately addressed according to
nursing reviews. Implications of this finding for service delivery are explored later in this report.

Temporal Factors: Suicides occurred within the CDCR in nine months in 2015. That is, zero
suicides occurred in three months. Four suicides occurred in one month (March) and five
suicides occurred in each of two months (May and October). The prevalence of suicides in
spring and fall months has been noted in prior years as well (Figure 2 contains a breakdown of
suicides by month over the current year and by a 10-year average).

In 2015, time of day of discovery did not vary significantly, with seven suicides occurring during
first watch (2200 hours to 0600 hours), seven during second watch (0600 hours to 1400 hours),
and ten during third watch (1400 hours to 2200 hours). This finding is similar to prior years.




5
 Kposowa, A. (2000). Marital status and suicide in the National Longitudinal Mortality Study. Journal of
Epidemiology and Community Health, 54, 254-261.

                                                                                                    11 | P a g e
 Case 2:90-cv-00520-KJM-SCR               Document 7038        Filed 01/28/21      Page 43 of 405
                                                                    Annual Suicide Report    2015


Custodial and Correctional Factors: In 2015, suicides occurred at 13 institutions including an
out-of-state facility. Table 3 lists suicides by institution. Any institutions that are not listed did
not have a death by suicide in 2015.

    Table 3. Frequency of Suicide by CDCR Institution, 2015

    Institution                                                                    Frequency

    California State Prison, Sacramento                                            3
    San Quentin State Prison                                                       3
    Duel Vocational Institute                                                      3
    California Men’s Colony                                                        3
    California Institution for Women                                               2
    California State Prison, Corcoran                                              2
    RJ Donovan Correctional Facility                                               2
    California Medical Facility                                                    1
    California Correctional Institution                                            1
    California Institution for Men                                                 1
    Folsom State Prison                                                            1
    California Health Care Facility                                                1
    Tallahatchie County Correctional Facility                                      1

    Total                                                                          24
As can be seen, one-half of the suicides in 2015 occurred in four institutions, and eighteen (75%)
of the suicides occurred within seven institutions.

During 2015, nine of the twenty-four suicides occurred in segregated housing settings (37%);
seven in Administrative Segregation Units (ASU), one in a Security Housing Unit (SHU), and
one in Short-Term Restricted Housing (STRH). Two inmates were in Reception Centers, one in
a Correctional Treatment Center (CTC), and one in a Sensitive Needs Yard (SNY). The
remaining eleven suicides occurred in general population settings. This information is depicted
in Table 4.




                                                                                            12 | P a g e
    Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21           Page 44 of 405
                                                                               Annual Suicide Report     2015


       Table 4. Frequency of Suicide by Housing Type, 2015

       Housing Type                                                                     Frequency Percent

       Administrative Segregation                                                            7            29
       Security Housing Unit                                                                 1             4
       Short-Term Restricted Housing                                                         1             4
       Reception Center                                                                      2             8
       Correctional Treatment Center                                                         1             4
       Sensitive Needs Yard                                                                  1             4
       General Population                                                                    11           46

       Total                                                                                 24           99



A common finding in prison and jail settings is a preponderance of suicides in violent inmates
and in inmates with higher level security needs; violent inmates have nearly three times the risk
of suicide as non-violent inmates 6. The commitment offenses of inmates who died by suicide in
2015 are listed below in Table 5. Notably, half of suicides occurred in individuals who had
committed murder. Four other inmates had commitments for assault resulting in great bodily
injury, one inmate had a commitment for battery, and two had a commitment for armed robbery
(and thus the threat of assault was implied). Of the five commitment offenses considered non-
violent, two resulted in significant injury but were seen as unintentional (driving under the
influence resulting in injury or death). The remaining three suicides occurred in inmates who
were committed for vehicle theft, burglary, or drug charges.



    Table 5. Commitment Offenses in Inmate Suicides, 2015

    Type of Commitment Offense                                                   N                    Percent
    Violent Crimes Overall                                                       19                     79
    Murder                                                                       12                     50
    Assault w/ Great Bodily Injury                                                4                     17
    Armed Robbery                                                                 2                      8
    Battery                                                                       1                      4
    Sex Offense                                                                   0                      0
                                                                                  5                     21

6
    Mumola, C. (2005), Bureau of Justice Statistics, located at: http://www.bjs.gov/content/pub/pdf/ardus05.pdf

                                                                                                        13 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 45 of 405
                                                                   Annual Suicide Report    2015


 Non-Violent Crimes Overall
 DUI with injury/vehicular manslaughter                               2                     8
 Vehicle theft                                                        1                     4
 Burglary                                                             1                     4
 Drug Charges                                                         1                     4


In regards to security level, suicides occurred predominantly in higher security (Level III and
Level IV) settings in 2015. Table 6 lists the number of suicides by security classification level.
Level IV suicides have traditionally represented more than half of all suicides within CDCR. Of
note, the classification system used by the CDCR was modified prior to 2015, with fewer
inmates classified at the highest level, Level IV, which may account for some of the decline in
Level IV inmate suicides in 2015.


 Table 6. Suicides per Security Level, 2015

        Security/Classification Level                    N                       Percent
                  Level IV                               9                        37.5
                  Level III                              9                        37.5
                  Level II                               6                         25
                   Level I                               0                          0


Another variable unique to correctional settings is the issue of sentence length: Total length of
sentence, how much time an inmate has served prior to a suicide, and how much time an inmate
had left to serve in prison prior to a suicide. These variables are captured in Tables 7, 8, and 9.

Table 7 shows that a slight majority of suicides (54%) occurred in inmates with Life sentences
(including condemned individuals) in 2015. Inmates with Life sentences have historically made
up roughly 20% of the population within the CDCR and are overrepresented in individuals who
die by suicide. No suicides occurred in inmates with medium length sentences (11 to 20 years)
in 2015.

   Table 7. Suicides in the CDCR by Length of Sentence, 2015

                       Sentence Length                            Frequency           Percent

   1-5 years                                                              7                29
   6-10 years                                                             3                13
   11-20 years                                                            0                0



                                                                                           14 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 46 of 405
                                                                  Annual Suicide Report    2015


   Table 7. Suicides in the CDCR by Length of Sentence, 2015

   20+ years                                                          1                    4
   Life with Possibility of Parole                                    11                  46
   Life without Possibility of Parole                                 1                    4
   Condemned                                                          1                    4

   Total                                                              24                  100



As seen in Table 8, individuals early within their sentence represent a high risk group. Five
inmates died by suicide within their first year of incarceration; this included two individuals who
died within 30 days of imprisonment. Three inmates who had served 20 years or more were
among those who died by suicide in 2015.

   Table 8. Suicides in the CDCR by Amount of Time Served, 2015

                       Sentence Length                           Frequency           Percent

   0-1 year                                                           5                   21
   1-5 years                                                          5                   21
   6-10 years                                                         7                   29
   11-20 years                                                        4                   17
   21+ years                                                          3                   12

   Total                                                              24                  100



The length of time remaining in sentences for those who died by suicide are shown in Table 9.
There was nearly an even split between those with short to moderate sentences left to serve
(46%) and those with lengthy sentences or indeterminate/life sentences (54%).

   Table 9. Suicides in the CDCR by Time Left to Serve, 2015

                       Sentence Length                           Frequency           Percent

   0-1 year                                                           0                    0
   1-5 years                                                          10                  42



                                                                                          15 | P a g e
 Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21      Page 47 of 405
                                                                  Annual Suicide Report    2015


   Table 9. Suicides in the CDCR by Time Left to Serve, 2015

   6-10 years                                                          1                   4
   11-15 years                                                         0                   0
   16 years or more (including Lifers)                                13                  54

   Total                                                              24                  100



The implications for the findings represented in Tables 7, 8, and 9 are considerable, suggesting
the need to. These considerations will be discussed later in this report.

Cell Occupancy: In 2015, 25% of suicides occurred in inmates housed in designated double
cells and 75% of suicides occurred within designated single cells. Of the six suicides in
designated double cells, two suicides occurred in cells without a currently assigned cellmate, two
inmates waited for a cellmate to leave for work or other programming before dying by suicide,
one occurred outside of the cell (by jumping from a tier), and one occurred with a cellmate
present but asleep. Of the nine suicides occurring in segregated housing settings, eight of the
suicides occurred in single-person cells. The ninth suicide occurred in a double cell but without
an assigned cellmate. Overall, 23 of the 24 suicides occurred within a single cell or within a
solely occupied (at the time) double cell.

Job Assignment: The majority of inmates (62.5%) who died by suicide in 2015 did not have a
job assignment or educational placement. Of the nine inmates who had program assignments,
two were placed in educational settings, one (female) in a substance abuse program, and six were
in traditional jobs (e.g., as a porter).

Means or Method of Suicide: Correctional settings necessarily limit the methods or means
inmates can use to die by suicide. For example, suicides by firearms or carbon monoxide
poisoning are unheard of in correctional systems. As with most correctional systems, hanging is
the primary means used by inmates in the CDCR to die by suicide. Inmates have ready access to
clothing and linen items that can be used for nooses and ligature points can be found in nearly all
cells. In 2015, both female suicides were by hanging and 20 of the 24 suicides overall were by
hanging (83%). The remaining four inmates (males) died by intentional overdose (2),
asphyxiation (1), and jumping from a high place (1).

Mental Health Factors: The number and percentage of inmates who died by suicides in the
CDCR in 2015 who were participants in the Mental Health Services Delivery System (MHSDS)
is listed in Table 10. Mental health patients continue to be overrepresented in the year’s suicides,
a pattern that is typical in correctional and community settings.



                                                                                          16 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 48 of 405
                                                                 Annual Suicide Report    2015


   Table 10. Suicides in the CDCR by MHSDS Participation, 2015

                      Sentence Length                           Frequency           Percent

   No MHSDS participation                                           10                   42
   Correctional Clinical Case Management System                      9                   37
   Enhanced Outpatient Program                                       5                   21

   Total                                                            24                   100



Ten inmates were not in the MHSDS at the time of death. Six of these inmates (25% of the total
number of suicides) had no history of participation in the MHSDS. Four inmates who were not
in the MHSDS system at the time of death had previously been in the MHSDS at the
Correctional Clinical Case Management System (CCCMS) level of care.

In 2015, fifteen (62.5%) of the inmates who died by suicide had a history of mental health
treatment prior to incarceration. Of these, eleven were in the MHSDS at the time of death, with
one other having previously participated in the MHSDS. Eight cases (33%) had a family history
of mental illness and/or family history of substance abuse treatment.

Upon entrance to the CDCR, inmates are screened for the possible presence of significant mental
health disorders. Thirteen (55%) of the inmates who died by suicide in 2015 were identified as
possibly having significant mental health disorders during initial screening. On subsequent
mental health evaluations, 69% of those positive on screening were also found to have mental
health conditions qualifying them for MHSDS services.

At the time of suicide, fourteen inmates (58%) were on psychiatric medications. Three
individuals (13%) had involuntary medication orders in place per Penal Code 2602. Eleven of
the twenty-four (46%) had a history of Mental Health Crisis Bed placement or inpatient
hospitalization. Eight (33%) had been psychiatrically hospitalized in the year prior to their
suicide.

Diagnoses: The mental health diagnoses of individuals who died by suicide in 2015 are
summarized in Table 11 and are listed by frequency. Please note that people can have multiple
mental health diagnoses, thus the frequency of diagnoses in Table 11 exceeds the number of
annual suicides. Additionally, all inmate suicides in 2015 involved individuals with some history
of substance use or abuse. However, the diagnoses listed in Table 11 include substance use
disorders only if formally reported as a diagnosis. All diagnoses are based on the American
Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders, 4th Edition or
5th Edition (DSM-IV or DSM-5).


                                                                                         17 | P a g e
    Case 2:90-cv-00520-KJM-SCR               Document 7038            Filed 01/28/21         Page 49 of 405
                                                                            Annual Suicide Report      2015


When present, mood disorders and psychotic disorders were listed as the primary diagnosis of
record. Of the individuals diagnosed with mood disorders, five were diagnosed with Major
Depressive Disorder and four with Bipolar I Disorder. Five individuals were diagnosed with
psychotic disorders; three with Schizophrenia, one with Delusional Disorder, and one with
Psychotic Disorder NOS. Six inmates were diagnosed with Antisocial Personality Disorder and
two of these six inmates were concurrently diagnosed with Narcissistic Personality Disorder.

      Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015

                        Diagnostic Category                                 Frequency             Percent

      Any DSM Disorder                                                          20                   83
      Substance Abuse or Dependence                                             13                   54
      Mood Disorder                                                              8                   33
      Personality Disorder                                                       6                   25
      Psychotic Disorder                                                         5                   21
      Adjustment Disorder                                                        4                   17
      No Diagnosis                                                               4                   17
      Anxiety Disorder                                                           1                    4



Suicide Attempt History: A history of suicide attempts was found in sixteen (67%) of the 24
cases of suicide in 2015. Of the group of sixteen, ten had made multiple past suicide attempts
(42% of the overall total). Of those that had prior suicide attempts, ten had reported at least one
suicide attempt while in the community and eight had at least one suicide attempt while
incarcerated. For the eight individuals who had suicide attempts during incarceration, a range of
one to five prior attempts in prison were noted. The finding of ten suicides within Multiple
Attempters, a term indicating the presence of two or more suicide attempts with the intent to die,
is significant as this is a group with known high chronic risk. 7 Implications of this finding are
discussed later in this report.

Suicide Triggers, Motivation, and Behavior: Seven of the twenty-four individuals (29%) who
died by suicide in the CDCR in 2015 wrote suicide notes. This is a bit higher than the rate (one
in six or 17%) found in community samples. 8 A small percentage (17%) of the deaths occurred

7
  Rudd, Joiner, & Rajab (1996). Relationships among suicide ideators, attempters, and multiple attempters in a
young-adult sample. Journal of Abnormal Psychology, 105, 541-550.
8
  Gelder, Mayou, and Geddes (2005). Incidence of note-leaving remains constant despite increasing suicide rates.
Psychiatry and Clinical Neurosciences, 4 (1).

                                                                                                     18 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038             Filed 01/28/21     Page 50 of 405
                                                                     Annual Suicide Report    2015


in inmates who reported having no interpersonal supports, while two reported having one person
in their support system. The majority (75%) endorsed two or more supports during their most
recent mental health or suicide risk evaluations. Only one of the twenty-four (4%) of the
suicides occurred in a patient who was believed to be feigning distress or suicidality. Five of the
twenty-four inmates who died by suicide in 2015 did so on a holiday, with one each on
Christmas Eve, Memorial Day, 4th of July, Halloween, and Chinese New Year.

The motives or precipitants to the current year suicides listed or suspected by Mental Health
Suicide Reviewer’s (MHSR’s) were examined and are presented in Table 12.

   Table 12. Suspected Motives/Precipitants to Suicides in the CDCR by frequency, 2015

                     Precipitant Category                           Frequency         Percent of
                                                                                        Total

   Receipt of new charges, convictions, disciplinary                     9                   20
   actions, or added time in prison

   Safety concerns, drug debts, fears of victimization                   7                   15

   Mental health symptoms, e.g. anxiety, psychosis                       7                   15

   Medical illness and/or pain issues; medical disability                5                   11

   Holidays or anniversaries of losses, crimes, etc.                     5                   11

   Disruption in prison ‘program;’ e.g., transfer between                4                    9
   facilities, cellmate change, loss of single cell housing

   Conflict or losses of external supports                               4                    9
   Conflict or losses of within prison supports                          3                    6
   Receipt of or anticipation of negative outcomes with                  1                    2
   the Board of Prison Hearings

   Loss of parole to the community (e.g., due to added                   1                    2
   sentence, finding of MDO or SVP)

                                                       Totals:          46                   100
The motivations listed in suicide case review reports can be divided roughly into ten categories
as represented in Table 12. The frequency of precipitant motivations is greater than the total
number of suicides, as nearly all suicide case reviews listed more than one hypothesized
motivation. In many cases, motives were not entirely clear. Rather, the motives and precipitants
identified by suicide case reviewers are marked by each inmate’s rather idiosyncratic reasons for

                                                                                             19 | P a g e
    Case 2:90-cv-00520-KJM-SCR             Document 7038           Filed 01/28/21        Page 51 of 405
                                                                         Annual Suicide Report    2015


ending one’s life. The frequency of certain categories of suicide precipitants has implication for
prevention efforts as explored later in this report.

Additionally, Table 13 indicates the precipitant factors for suicides occurring in the CDCR in
2015 on a case by case basis. As is apparent, the majority of inmates had multiple motivations or
precipitants for the action. Also, in-prison events or stresses are noted in most, but not all, cases.
Greg Dear and colleagues reported similar findings in Australian prisons with suicide attempters.
When interviewed, prisoners reported two or more of five categories related to motivations for
attempts, with the most common category (71% of incidents) being termed “stressful event that
occurred within the prison” and second most common category (43% of incidents) being a
consequence of imprisonment (e.g. placing a strain on family). 9 These themes are mirrored in
the 2015 suicides within the CDCR and have been presented to CDCR clinicians in monthly
suicide prevention videoconferences and in revised trainings in suicide risk evaluation.

            Table 13: Individual Precipitants/Motivations for Suicides within the CDCR, 2015

    Case    Precipitants/ Motivations Noted
    A       Medical illness (terminal) and pain issues; housing issues (SNY status; safety
            concerns); conflict with spouse
    B       Health concerns and complaints of pain; panic attacks; tearfulness around “no hope”
            of getting better medically; holiday (Chinese New Year)
    C       Multiple disciplinary actions; anniversary of step-son’s suicide; accrual of drug debt;
            time added to sentence; cellmate moved out of cell; told of positive lab test (Hepatitis
            C); familial estrangement
    D       Received 3 year sentence extension (assault on peace officer); long ASU stay
    E       Inability to move in with in-prison romantic partner; reported having an enemy to
            move ‘yards’ and was taken to ASU rather than desired ‘yard’
    F       Parole denied by BPH; argument with main family support (daughter); new RVR;
            hoarded medication (for overdose) was found and charged for possession for sales
    G       Agitation from hallucinations and delusions, increasing depression, facing SHU term
    H       Concerned about losing single cell and large amount of personal property; pending
            transfer; reports can’t cell with others
    I       Interpersonal problems/perceived rejection from other inmates on living unit
    J       Convicted of murder of another inmate (incident occurred in 2012); received 45 years
            to life sentence and 25-month SHU term; lengthy ASU stay
    K       Gang pressures; attempted to debrief; conflict with custody officers
    L       Health concerns (headaches); close custody status due to RVR; holiday (4th of July)
    M       Concern about transfer (to a different prison) and feared losing single cell status;
            feelings of depression/worthlessness
    N       Safety concerns/fear of victimization (went into protective custody); anxiety
    O       Paranoia/belief that family or other inmates intended to have the inmate stabbed
    P       Dysphoria/hopelessness about the possibility of parole; requested/given CCCMS

9
 Dear, Thomson, Hall, & Howells (2001). Non-fatal self-harm in Western Australian prisons: Who, where, when,
and why. Australian & New Zealand Journal of Criminology, 34, 47-66.

                                                                                                 20 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 52 of 405
                                                                   Annual Suicide Report    2015


           discharge; disciplinary infraction at work (faced losing assignment)
 Q         Chronic illness/pain; ‘bad news’ about medical condition (liver cancer); researched
           Christian beliefs about suicide and the ‘unforgiveable sin’ prior to suicide
 R         Fought with inmate and reported safety concerns; transferred during 5-day follow-up
           period after MHCB stay rescinded
 S         Safety concerns; requested Sensitive Needs Yard (SNY); complained of
           hallucinations and reported delusional beliefs
 T         Serious medical disabilities; possible distress regarding transfer
 U         Interpersonal losses/estrangement; notified of additional charges (rape case pending
           investigation); holiday (Halloween)
 V         Concern about drug debts and substance use relapse; familial estrangement;
           bothersome hallucinations; depression; holiday (Memorial Day)
 W         Delusions/hallucinations; less faith that legal appeal would be won
 X         Interviewed for Mentally Disordered Offender (MDO) status; found to meet MDO
           criteria—upset by this; somatic delusions; holiday (Christmas)


C. Review of findings

                             Section 2: Current Year vs. Prior Years

Comparison of suicide rate between current and prior years: The suicide rate in the CDCR
in 2015 was 18.7 per 100,000. This rate is higher than in 2014, when the rate was 17.0 per
100,000, reflecting both one more suicide in 2015 than in 2014 and a decrease in the inmate
population of nearly 7,000 from 2014 to 2015. The rate of 18.7 per 100,000 is the third lowest
rate in the past 10 years. During the ten-year period, 2006 to 2015, the rate of suicide in the
CDCR was 20.5 per 100,000.

Table 14 shows the rate and frequency of suicide in the CDCR for the past twenty years. The
table shows the rate and frequency of suicides by gender during each year as well. Of note, the
frequency of suicides over the period has ranged from a low of fifteen in 2000 to a high of forty-
three in 2006.

As mentioned earlier, the rate of suicide in female inmates fluctuates considerably compared to a
relatively stable rate in male inmates. In eleven of the past 20 years, there were no female
suicides. The number of suicides in female institutions has ranged from a low of 0 to a high of 4
within the time period, with 2 occurring in 2015.

For reference, population figures in all years were garnered from the Offender Information
Services Branch. From 1996 through 2010 the population figures are as of June 30th of the year,
following the practice of the federal Bureau of Justice Statistics, and reflecting relatively stable
institutional populations. From 2011 through 2015 the figures are of the average daily population
which better reflects the institutional population during years with large declines of population
(due to Assembly Bill 109).

                                                                                           21 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21          Page 53 of 405
                                                                              Annual Suicide Report      2015


Table 14. Annual Frequency and Rate of Suicide in the CDCR for 20 years, by Gender and Overall, 1996-2015*
  Year                   Male                           Female                                 Total

           Population      Freq       Rate     Population   Freq       Rate      Population      Freq         Rate

  1996        131,273            19    14.5        9,744           0      0         141,017             19      13.5

  1997        141,669            18    12.7       10,837           0      0         152,506             18      11.8

  1998        147,001            21    14.3       11,206           0      0         158,207             21      13.3

  1999        150,581            24    15.9       11,483           0      0         162,064             24      14.8

  2000        150,793            15     9.9       11,207           0      0         162,000             15       9.3

  2001        150,785            29    19.2       10,712           1     9.3        161,497             30      18.6

  2002        148,153            22    14.8        9,826           0      0         157,979             22      13.9

  2003        150,851            37    24.5       10,080           0      0         160,931             37      23.0

  2004        152,859            23    15.0       10,641           3    28.2        163,500             26      15.9

  2005        153,323            37    24.1       10,856           0      0         164,179             37      22.5

  2006        160,812            39    24.3       11,749           4    34.0        172,561             43      24.9

  2007        161,424            33    20.4       11,888           1     8.4        173,312             34      19.6

  2008        159,581            36    22.6       11,392           0      0         170,973             36      21.1

  2009        156,805            25    15.9       11,027           0      0         167,832             25      14.9

  2010        155,721            34    21.8       10,096           1     9.9        165,817             35      21.1

  2011        150,690            33    21.9        9,381           0      0         160,071             33      20.6

  2012        130,189            32    23.8        6,594           1    15.2        136,783             33      24.1

  2013        127,341            29    22.8        5,919           1    16.9        133,260             30      22.5

  2014        129,268            21    16.2        6,216           2    32.2        135,484             23      17.0

  2015        122,874            22    17.9        5,769           2    34.7        128,643             24      18.7

 1996-
             2,931,993          549    18.7      196,623         16      8.1       3,128,616           565      18.1
 2015

 2006-
             1,454,705          304    20.9       90,031         12     13.3       1,544,736           316      20.5
 2015




                                                                                                        22 | P a g e
 Case 2:90-cv-00520-KJM-SCR              Document 7038          Filed 01/28/21     Page 54 of 405
                                                                    Annual Suicide Report    2015


Notably, the rate of suicide within the CDCR has trended downward over the past 10 years. This
downward trend can be seen in Figure 1. Whereas the frequency of suicide has declined rapidly,
part of this decline can be attributed to a reduction in the number of prisoners housed within the
CDCR during the time period. Both the frequency and the rate of suicide has declined,
representing progress in adding interventions and improving risk management practices to
prevent suicides in the CDCR.

Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015

                               CDCR Suicide Rate and Frequency, 2006-2015

                50

                45

                40

                35

                30

                25

                20

                15

                10

                 5

                 0
                     2006     2007     2008     2009    2010     2011     2012     2013      2014     2015
         Frequency    43       34       36       25      35       33       33       30        23        24
         Rate         24.9    19.6     21.1     14.9     21.1     20.6    24.1     22.5      16.9     18.6




Suicides by institution, current year vs. 15-year average: Whereas Figure 1 represents
suicides throughout the whole of the CDCR; the frequency of suicides by institution is a less
stable variable. The higher frequency of suicide at some facilities versus others has many
explanations. Variables such as the number of patients in the institution’s mental health
program, the mental health mission of the facility, the predominance of violent offenders at the
site, and the total number of inmates at the institution are just some of the factors that contribute
variance to where suicides occur. Fluctuations can occur in the number of suicides at an



                                                                                            23 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 55 of 405
                                                                              Annual Suicide Report        2015


institution in given years due to cluster effects 10, changes in the use or mental health mission of
the institution, and other factors. There are also subsets of suicides that occur during or upon
transfer of an inmate from one institution to another, further complicating the interpretation of
why suicides occur at certain institutions more frequently than others.

Table 15 lists the number of suicides at CDCR Institutions in 2015 along with the total and
average number of suicides at each institution over a 15-year period. The inclusion of 15-years
of data allows current year data to be compared to averages over a significant period of time.
The range of suicides on average per year for all facilities was 0.0 to 2.1. The mean for suicide
for all institutions from 1999-2014 was 30.2 suicides per year.

 Table 15. Frequency of Suicide by CDCR                             2015            Prior 15-         Prior 15-
 Institution, 2015 and by prior 15-year total and                Frequency          year total      year average
 average (1999-2014)                                                              (1999-2014)       (1999-2014)
 Institution

 California Health Care Facility                                       1                 0                  0
 Tallahatchie County Correctional Facility                             1                 0                  0
 Department of State Hospitals-Salinas Valley                          0                 1                 0.1
 California Rehabilitation Center                                      0                 1                 0.1
 Chuckawalla Valley State Prison                                       0                 1                 0.1
 Valley State Prison                                                   0                 2                 0.1
 California Correctional Center                                        0                 2                 0.1
 Ironwood State Prison                                                 0                 2                 0.1
 Atascadero State Hospital                                             0                 4                 0.3
 Calipatria State Prison                                               0                 5                 0.3
 Sierra Conservation Center                                            0                 5                 0.3
 Centinella State Prison                                               0                 6                 0.4
 California Institution for Women                                      2                 6                 0.4
 Avenal State Prison                                                   0                 7                 0.5
 Department of State Hospitals-Vacaville                               0                 7                 0.5


10
  Hawton, Linsell, Adeniji, Sariaslan, & Fazel (2014). Self-harm in prisons in England and Wales: An
epidemiological study of prevalence, risk factors, clustering, and subsequent suicide. Lancet, Vol. 383.

                                                                                                       24 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038    Filed 01/28/21     Page 56 of 405
                                                           Annual Suicide Report    2015


Institution                                         2015        Prior 15-       Prior 15-
                                                 Frequency      year total    year average

Central California Women’s Facility                   0             7                0.5
California State Prison, Solano                       0             10               0.7
North Kern State Prison                               0             10               0.7
Kern Valley State Prison                              0             11               0.7
Pleasant Valley State Prison                          0             13               0.9
Wasco State Prison                                    0             13               0.9
Mule Creek State Prison                               0             14               0.9
California Substance Abuse Treatment Facility         0             15               1.0
California Correctional Institution                   1             15               1.0
California Training Facility                          0             16               1.1
Pelican Bay State Prison                              0             16               1.1
High Desert State Prison                              0             17               1.1
Folsom State Prison                                   1             18               1.2
Deuel Vocational Institute                            3             19               1.3
California Medical Facility                           1             21               1.4
California Institution for Men                        1             22               1.5
California State Prison, Los Angeles County           0             22               1.5
California State Prison, Corcoran                     2             24               1.6
RJ Donovan Correctional Facility                      2             24               1.6
California Men’s Colony                               3             27               1.8
San Quentin State Prison                              3             29               1.9
Salinas Valley State Prison                           0             30                2
California State Prison, Sacramento                   3             31               2.1

Total                                                 24           453               30.2




                                                                                   25 | P a g e
 Case 2:90-cv-00520-KJM-SCR           Document 7038              Filed 01/28/21      Page 57 of 405
                                                                      Annual Suicide Report    2015


Suicides in the CDCR by month, current year and 10-year average: CDCR data covering a
10-year period (2006-2015) shows little or no trend in the frequency of suicides in any given
month. As in 2015, suicides tend to occur in the spring and fall months of the year. Suicides in
the CDCR have traditionally not been associated with specific holiday periods, though in 2015
there were five suicides on holiday days (21%) spread over five different months. See Figure 2.
The prevalence of suicides in March, May, and October has not been explained. CDCR
clinicians have noted this trend over several years.

Figure 2: CDCR Frequency by Month, 2015and 10-Year Average

 9

 8

 7

 6

 5

 4

 3

 2

 1

 0
       Jan     Feb    Mar      Apr    May          Jun     Jul       Aug     Sept     Oct       Nov          Dec

                                            2015         10 Year average


Demographic Factors: Demographic variables specific to 2015 suicides are presented earlier in
this report. These factors are presented here only as a means of comparing information from
prior years with 2015 suicide data.

A depiction of suicides by race in 2015 and over the past 10 years is found in Figure 3.
Caucasians comprise the largest group, comprising 48% of the suicides over the 10-year period
and 54% of the suicides in 2015. Caucasian suicides have consistently fallen within a range of
14 to 20 per year. Hispanics/Latinos make up the second largest group, accounting for 30% of
the suicides over the years represented. Hispanic/Latino suicides have a more variable range,
from 5 to 15 in any given year. African-Americans account for 13% of the suicides during these
years with a range from 2 to 7. The frequency of suicides in other racial groups is relatively
small and typically at a range of 0 to 2 per year. The trend lines in Figure 3 suggest that the

                                                                                              26 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038       Filed 01/28/21          Page 58 of 405
                                                                  Annual Suicide Report      2015


relative decline in suicides within the CDCR during 2014 and 2015 are in Caucasians and
Hispanics/Latinos, the two groups who historically have the highest numbers of suicides within
the CDCR.

Figure 3: Suicide Frequency by Race, 2005-2015, with trend line

  25
                  Frequency of Suicide by Race, 2005-2015, with trend line

  20


  15


  10


   5


   0
        2005    2006    2007     2008    2009    2010    2011    2012        2013    2014      2015

                   African-American                         Caucasian
                   Hispanic/ Latino                         Native American
                   Asian                                    Other


Age is divided into five adult age brackets in Figure 4: Ages 18-24, 25-34, 35-44, 45-54, and 55
and above. In all but one year, 2012, the largest frequency of suicides in any age group was in
individuals aged 25-34. Compared to the prior five years, 2010 to 2014, suicides in 2015 were
somewhat lower in inmates aged 35-44 and 45-54, and slightly higher than most past years in
ages 55 or older. The 55 and older age group had the second highest total in the past 6 years. In
2015, 25% of the suicides occurred in this age group, an age group that comprises 12% of the
population of the CDCR. This number (25%) is similar to 2010, when 22% of suicides were in
the 55 and over group, and dissimilar to other years: 9% in 2011, 15% in 2012, 7% in 2013, and
8% in 2014.




                                                                                            27 | P a g e
 Case 2:90-cv-00520-KJM-SCR                             Document 7038    Filed 01/28/21     Page 59 of 405
                                                                             Annual Suicide Report       2015


Figure 4: Number of Suicides by Age Group, 2010-2015

                                         Number of Suicides by Age Group, 2010-2015
                          14

                          12
     Number of Suicides




                          10

                           8

                           6

                           4

                           2

                           0
                                 18-24           25-34           35-44          45-54            55+
                          2010    3                10             8              7                   7
                          2011    3                12             10             5                   3
                          2012    0                8              12             8                   5
                          2013    1                11             8              8                   2
                          2014    2                7              7              5                   2
                          2015    2                8              4              4                   6


Suicides by housing type: Historically and in national and international studies, 11 segregated
housing units have been a high-risk setting for suicide, particularly in single cell housing. 12 In
the CDCR, segregated housing includes ASU, SHU, STRH, Long Term Restricted Housing
(LTRH), Psychiatric Services Units (PSU), and the Condemned units at San Quentin State Prison
and California Correctional Institution for Women. During 2015, nine of the year’s twenty-four
suicides occurred in segregated housing settings, representing 37.5% of all suicides. For
reference, approximately 6.5% of inmates were housed in segregated housing at the mid-year
point of 2015 (June 30, 2015). Calculating a rate per 100,000 in segregated housing may be
misleading as the overall population is quite small and subject to wide swings in rate based on a
single suicide. 13

Of the nine suicides that occurred in segregated settings in 2015, seven were in ASU, one in a
SHU, and one in STRH. The number and percentage of suicides in segregated housing settings
for 2015 and over the prior five year period is found in Table 16. As can be seen, the frequency
of suicides in segregated housing decreased significantly in 2015 compared to prior years (2010-

11
   World Health Organization (2007). Preventing suicide in jails and prisons. WHO Document Production,
Geneva, Switzerland.
12
   Id.
13
   Based on a segregated housing population of 8,325 inmates on June 30, 2015.

                                                                                                     28 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21        Page 60 of 405
                                                                  Annual Suicide Report    2015


2014). Whereas 47% of suicides within the CDCR occurred in a segregated housing setting in
the ten year period between 2004 and 2014 and 45% of suicides occurred in segregated housing
on average in the ten year period from 2010 to 2014, 37,5% of suicides occurred in this setting
during 2015. This may represent changes adopted within the CDCR leading up to and occurring
within the reporting year, such as implementation of safety/wellness checks using the Guard One
system and initiation of enhanced mental health services for MHSDS participants in segregated
settings (e.g., STRH and LTRH units). Also of note, inmates in single-cell housing accounted
for eight of the nine suicides (89%) within segregated housing units in 2015. This percentage is
consistent with prior years. The percentage of suicides in segregated housing units that occurred
in single cell housing in the prior five years was 100% in 2010, 86% in 2011, 91% in 2012,
100% in 2013, and 86% in 2014.

   Table 16. Frequency of Suicide within Segregated Housing, 2010-2015

            Year                       Frequency                 Percent of Annual Suicides

            2010                           13                                 37

            2011                           14                                 42
            2012                           13                                 41
            2013                           14                                 47
            2014                           13                                 57
            2015                            9                                37.5



Time in Segregated Housing Prior to Death: In 2015, nearly half of the suicides that occurred
in segregated housing occurred soon after placement. Three of the nine suicides occurred in
intake cells, indicating stays of less than 72 hours (Cases E, F, and O). A fourth case had been in
ASU for six days and had just arrived for a temporary stay at an institution while in route to
another institution (Case R). The remaining five cases were in segregated housing units for 100
days or more at the time of death (Cases D, G, J, K, and N).

Data on the number of days between ASU placement and deaths by suicide has been tracked
since 2009. Over this seven-year period (2009-2015), suicides tended to occur shortly after
placement, particularly in the first 72 hours after placement. Of course, fewer inmates are
present in ASU as lengths of stay increase. Figure 5 shows the distribution of deaths by suicide
following placement.




                                                                                          29 | P a g e
 Case 2:90-cv-00520-KJM-SCR                    Document 7038           Filed 01/28/21        Page 61 of 405
                                                                             Annual Suicide Report    2015


Figure 5: Length of Time in ASU before suicide, 2009-2015

                   Days to Death by Suicide After Placement in ASU,
                                      2009-2015
     16

     14

     12

     10

      8
                                                                                                                    Suicides
      6

      4

      2

      0
             3       10       15       20       30       60       90      120      150      180      More


Suicides by Method: The rate of suicide by hanging, easily the most frequent method for
suicides in prison settings, has remained relatively stable over the past number of years. In 2015,
83% of suicides were by hanging. The percentage of suicides that were by hanging was 77% in
2010, 88% in 2011, 91% in 2012 and 2013, and 87% in 2014.

Involvement in Mental Health Services: The percentage of suicides that occur in inmates with
identified mental health needs is a complex variable. Suicide is a phenomenon that can occur in
individuals who do not have a traditional mental health diagnosis and in inmates with no prior
identified mental health needs. Inmates can avoid mental health services by choice, such as by
denying symptoms on screening or by masking symptoms in order to be discharged from the
Mental Health Services Delivery System (MHSDS). It is not uncommon for suicidal individuals
to distrust mental health clinicians when contemplating suicide, concerned that clinicians may in
some way remove a valued option (death) should life so dictate. 14 Yet suicides occur in
individuals who have been identified as meeting criteria for participation in the MHSDS and who
were receiving services in the MHSDS at the time of death. Table 17 lists the numbers of
suicides at each level of MHSDS involvement for 2015 and for the prior five years.




14
     Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.


                                                                                                     30 | P a g e
 Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21        Page 62 of 405
                                                                      Annual Suicide Report    2015


Table 17. Frequency of Suicide within MHSDS Levels of Care, 2010-2015

          Year                 Non-          CCCMS              EOP           MHCB              % in
                              MHSDS                                           /DSH             MHSDS
          2010                  15               12               8             0                57
          2011                  10               10              13             0                69
          2012                  14               12               5             1                55
          2013                  14                9               6             1                53
          2014                   1               12               9             1                96
          2015                  10                9               5             0                58


Suicides in Mental Health vs. Non Mental Health Populations: Table 18 shows the suicide
rate for MHSDS vs. non-MHSDS populations over the past ten years, including 2015. As can be
seen, the rate of suicide in those involved in the MHSDS is significantly higher than for
individuals who have not been included in the MHSDS. This suggests a need to carefully work
with existing mental health population members to reduce the risk of suicide. Targeted, suicide-
specific interventions for individuals within the MHSDS remain an area that is potentially
fruitful in preventing suicides; this will be discussed further later in this report.

Table 18. Frequency of Suicide in mental health versus non-mental health populations, 2006-2015

                                                        Non-      Non-
             MH         MH        MH       Non-MH       MH        MH                          Total      Total
   Year      Pop        Freq      Rate       Pop        Freq      Rate        Total Pop       Freq       Rate
   2006     32,127       20       62.3     140,434       23       16.4         172,561         43        24.9
   2007     35,078       25       71.3     138,234        9        6.5         173,312         34        19.6
   2008     36,570       18       49.2     134,403       18       13.4         170,973         36        21.1
   2009     37,262       19       51.0     130,570        6        4.6         167,832         25        14.9
   2010     39,150       20       51.1     126,667       15       11.8         165,817         35        21.1
   2011     39,854       23       57.7     120,217       10        8.3         160,071         33        20.6
   2012     37,632       18       47.8      99,151       15       15.1         136,783         33        23.4
   2013     38,030       16       42.1      95,229       14       14.7         133,259         30        22.5
   2014     38,722       21       54.2      96,978        2        2.1         135,700         23        16.9
   2015     37,670       15       39.8      91,230       9         9.9         128,900         24        18.6
 Average    37,210       20       52.6     117,311       12        10.3        154,521         32        20.4




                                                                                              31 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 63 of 405
                                                                             Annual Suicide Report     2015


D. Review of Findings

 Section 3: Comparison of CDCR Suicide Rates with Other State Prisons Systems and Relevant
                                       U.S. Rates

CDCR Rates vs. Other State and Federal Prison Rates: State prison suicide rates have varied
little over a number of years. The rate of suicide in U.S. state prisons ranged from 14 per
100,000 to 17 per 100,000 from 1999 to 2013 15, with a rate of 15 suicides per 100,000 prisoners
in U.S. state prisons in 2013. However, the U.S. prison rate jumped by 30% between 2013 and
2014, rising to 20 per 100,000 inmates. 16 No explanation for this increase has been offered.
Rates for U.S. prisons for 2015 are not available at this time.

Suicide rates for all federal and state prisons were calculated by the Bureau of Justice Statistics
for the years 2001-2014. 17 A listing of state rates is found in Table 19. California’s rate is listed
twice in Table 19. One listing is for the composite rate for the CDCR from 2001-2014 and the
second rate is for the year 2015 only. California ranks in the middle one-third of states in rank
and rate. In 2015, California’s rate of prison suicides ranked as 20th among state prisons.

Table 19. Rate and rank of suicides by state, 2001-2014 (14 years)

             State Name                  Rank (Highest to Lowest Rate)             Suicide Rate per 100,000
                                                    (t=tie)
             Rhode Island                             50                                       45
                  Utah                                49                                       44
               Montana                                48                                       34
             Massachusetts                            47                                       32
            New Hampshire                             46                                       31
                 Alaska                               46t                                      31
                Hawaii                                44                                       29
                 Idaho                                43                                       28
             South Dakota                             43t                                      28
               Delaware                               41                                       26
               Vermont                                41t                                      26
              Connecticut                             39                                       24
              New Mexico                              38                                       23
               Nebraska                               37                                        21
               New York                               37t                                      21
        All State Prisons, 2015                                                                20
                  Iowa                                  35                                     20
     Chart continues on next page

15
    Noonan, M. Mortality in Local Jails and State Prisons, 2000-2013 – Statistical Tables, August 2015,
 Website, U.S. Department of Justice, Bureau of Justice Statistics.
16
   Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
17
   Id.

                                                                                                      32 | P a g e
 Case 2:90-cv-00520-KJM-SCR                Document 7038          Filed 01/28/21        Page 64 of 405
                                                                        Annual Suicide Report    2015


            State Name                Rank (Highest to Lowest Rate)           Suicide Rate per 100,000
             Maryland                             35t                                    20
      California (2001-2014)                      35t                                    20
             Wisconsin                             32                                    19
             Oklahoma                             32t                                    19
         California (2015)                                                              18.6
              Colorado                              30                                   18
             Minnesota                              30t                                  18
             Wyoming                                30t                                  18
               Arizona                              27                                   17
               Nevada                               27t                                  17
              Arkansas                              27t                                  17
   All State Prisons, 2001-2014                                                          16
               Indiana                              24                                    16
                Illinois                            24t                                  16
                 Texas                              24t                                  16
               Oregon                               24t                                  16
           Pennsylvania                             24t                                  16
             Tennessee                              18                                   15
               Kansas                               17                                   14
                 Ohio                               16                                   13
          South Carolina                            16t                                  13
            New Jersey                              16t                                  13
            Washington                              16t                                  13
             Mississippi                            16t                                  13
              Missouri                              11                                   12
                Maine                               10                                   11
 U.S. Federal Prisons (2001-2014)                                                        10
               Virginia                              9                                   10
               Georgia                               9t                                  10
              Kentucky                               7                                    9
              Louisiana                              7t                                   9
           West Virginia                             5                                    8
               Florida                               5t                                   8
          North Carolina                             3                                    7
              Alabama                                2                                    6
           North Dakota                              1                                    5

CDCR Rates vs. Community Rates: It is notable that the rate of suicide in the community
within the United States reached a 30 year high in 2014, reaching an overall national rate of 13.4
per 100,000. The rate of suicide rose 24% overall between 1999 and 2014 18. The U.S. rate
increased again in 2015 to 13.8 per 100,000. 19 For adult males in the U.S., the rate of suicides

18
  http://www.nytimes.com/2016/04/22/health/us-suicide-rate-surges-to-a-30-year-high.html?_r=0
19
  http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870

                                                                                                33 | P a g e
 Case 2:90-cv-00520-KJM-SCR                Document 7038           Filed 01/28/21           Page 65 of 405
                                                                           Annual Suicide Report     2015


was 21.1 per 100,000 in 2014 20 and 21.5 per 100,000 in 2015 21, topping the rate of suicides in
the (mostly male) CDCR in 2014 (17.0 per 100,000) and 2015 (18.6 per 100,000). Figure 6
shows the rate of suicides in adult males in the U.S., in U.S. prisons, and in the CDCR for the
years 2010 to 2015. Suicide rates for state prisons are not available after 2014.

Figure 6: Suicide rates for adult males in the CDCR, State Prisons, and the U.S., 2010-2015

                    30

                    25

                    20

                    15

                    10

                     5

                     0
                               2010      2011           2012         2013           2014             2015
     CDCR Overall              21.1      20.6           24.1         22.5             17             18.7
     U.S. State Prisons         16        14             16           15              20
     CDCR Males                21.8      21.9           23.8         22.8            16.2            17.9
     U.S. Males                19.8       20            20.4         20.3            20.7            21.5

                         CDCR Overall    U.S. State Prisons       CDCR Males           U.S. Males


E. Summary Review of Findings and Trends

In reviewing suicides within the CDCR during the reporting year, 2015, a suicide rate of 18.7 per
100,000 is noted, which represents part of a declining trend over the past 10 years. The rate of
CDCR suicides is below the average rate of all U.S. state prison systems combined in 2015 22.
The rate of suicides in the CDCR in 2014 was also lower than the average suicide rate for state
prisons in 2014, the last year in which such data is available. Finally, the declining trend in the
CDCR stands in contrast with community rates of suicide, which have increased significantly
over the past decades. Adult males in the community in the U.S. are more likely to die by
suicide than male inmates within the CDCR; this was the case in both 2014 and 2015.

To what reasons can we attribute this declining trend? First, in both 2014 and 2015, fewer
inmates aged 25-54 died by suicide than in prior years. Second, the rates of suicide in Caucasian
and Hispanic inmates in CDCR have fallen rather significantly in the past 10 years. The

20
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2014/StatesSexTABLE2014.pdf
21
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
22
   Based on 2014 U.S. Prison data

                                                                                                    34 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 66 of 405
                                                                  Annual Suicide Report    2015


majority of suicides in the CDCR have occurred within these two racial groups for many years,
making this finding particularly encouraging. Third, a decline in the frequency of suicides in
segregated housing units was noted in 2015; this finding may reflect the decreasing percentage of
the inmate population housed in such settings as well as the many efforts implemented to
improve safety from suicide in these settings. Other factors reviewed appear to simply indicate
yearly and/or unstable fluctuations in suicides, such as in timing of suicides (e.g. month of
suicide, time of discovery), frequency in specific institutions, and the rate of involvement in
mental health systems of care. These factors do not appear explanatory for the downward trend.

In looking at the group of individuals who died by suicide in 2015 within the CDCR, specific
risk factors remain clear: Caucasian race, single/divorced marital status, serious or chronic
medical disease or pain, Spring and Fall months, history of violent offenses, housing in higher
security settings, Life or long sentences, single-cell housing, lack of job assignment, mental
health treatment prior to and during incarceration, prior suicide attempts, and prior psychiatric
hospitalization. Other variables seem to be possible trends to monitor, such as increased
suicides in older inmates (those age 60 or above), fewer suicides within segregated housing units,
fewer suicides where clinicians minimized genuine risk by attributing behavior to manipulation
or malingering, and more suicides on or around holiday periods. The reason for suicide for
inmates within the CDCR remains rather idiosyncratic and complex, with most suicide reviewers
determining multiple precipitants or motivations for suicide. Suicides most commonly occurred
on account of in-prison stresses (safety concerns, receipt of additional charges, transfers, etc.);
medical illness, pain or disability; acute psychiatric symptoms; conflicts with others; and
important dates (anniversaries of losses or crimes, holidays).




                                                                                          35 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 67 of 405
                                                                   Annual Suicide Report    2015


                    Chapter II. Response to Suicide and Suicide Attempts

Institutional reporting of self-harm incidents and suicides: All incidents of self-harm in the
CDCR are reviewed by institutional staff members (including mental health clinicians) and all
incidents of self-harm are entered and tracked on a self-harm database. These processes allow
for tracking patients in High Risk Management Lists or Program(s) within a facility. A sample
High Risk Management Program policy is found in Appendix I. Suicides are reported by the
Chief Medical Officer or designee to stakeholders, including the SMHP and the Office of the
Special Master. Processes involved in institutional reporting of self-harm events and suicides are
found in Appendix II.

Determination of unknown causes of death: When deaths occur in a CDCR institution in
which the cause of death is not immediately determined, the cases are classified as “Unknown
Deaths.” These cases receive special attention until the cause of death is determined, particularly
as any that could possibly involve suicide need to be determined in a timely fashion. The
process for reviewing these deaths and making a determination may be found in Appendix
XXXXX.

In 2015, a total of forty-four cases were tracked as the cause of death was listed provisionally as
unknown. Nineteen of the forty-four cases had no provisional cause of death, whereas twenty-
five cases had a suspected or “probable” cause of death listed. In two cases, suspicion of a
suicide was present and was confirmed by autopsy, toxicology finding, and/or coroner’s report.
These cases, Case M, who died of an overdose on a prescribed medication, and Case V, who
died of asphyxiation during an acute intoxication illicit drug, are reviewed later in this report.
Additionally, two cases were determined to be accidental overdoses due to findings of ingested
balloons during autopsy; ingesting balloons filled with narcotics is a method for concealing
and/or transporting illicit drugs in prison (Cases OO and PP).

Of the remaining four cases, twenty-three were determined by the Death Review Committee
(DRC) to have died by natural causes: Pulmonary embolism, myocardial infarction, coronary
artery disease, hypertension, cardiomyopathy, and so forth. Three of the remaining cases were
determined to be deaths by homicide.

The fourteen remaining cases met criteria for additional review, as they involved either overdose
(ten cases), the case was pending further information (three cases), or the death potentially
related to mental health treatment needs (one case). In this later death (Case AA), the cause of
death was provisionally termed inanition secondary to acute psychosis. That is, the patient was
thought to have died on account of the medical consequences of refusing to eat. His lack of
intake was attributed to acute psychosis. Though the initial finding of inanition was mentioned,
reviewers on the Combined Death Review Summary noted the pathologist’s use of the term
“well-nourished” and determined the patient had gained roughly twenty pounds in the two years
prior to his death. The patient denied suicidal ideation upon evaluation six days before his death

                                                                                           36 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 68 of 405
                                                                   Annual Suicide Report    2015


and there was no indication that he purposefully engaged in any behavior with the intention of
dying or hastening his death. The category of death was changed by the DRC to natural,
unexpected.

The three cases pending further information were determined by the DRC to be deaths of various
causes. The cause of one death was due to “excitement delirium.” In this case (Case BB), the
inmate struggled with officers who were trying to apply restraints; this exertion led to neuronal
excitotoxic injury per autopsy. The second case (Case CC) was determined to have ingested
both morphine and Citalopram, though both medications were prescribed. The inmate had
multiple additional medical problems, including cardiovascular disease, and the death was
determined to be accidental. The inmate’s cellmate at the time reported normal mood,
participation in routines, and so forth the evening of the death, with no history of suicide
attempts or statements of wishes to die. The third case (Case DD) was unknown for a period of
time due to the complexity of medical symptoms present prior to the death, including reports of
blackouts, other neurological symptoms, and cardiovascular issues. The final cause of death was
determined to be natural and secondary to cardiovascular disease.

The ten remaining cases (Cases EE to NN) were reviewed using the guidelines noted above as
the cause of death in each was overdose. Upon review of these cases, the best explanation for
each was unintentional, accidental overdose. In each case, the Combined Death Review
Summary determined that the cause of death was an accidental overdose. None of the cases
involved ingestion of medications that do not have abuse potential (e.g., Tylenol). Rather, all
nine deaths involved intoxication/ingestion with an illicit drug or drug(s) of abuse. Specifically,
three cases died due to methamphetamine intoxication (Cases EE, FF, and GG), two to Fentanyl
intoxication (a powerful synthetic Opioid; Case HH and II), one case to a combination of heroin
and methamphetamine intoxication (Case JJ), one to heroin intoxication (Case KK), one to
morphine intoxication (Case LL), one to methadone and morphine intoxication (Case MM), and
one to intoxication with an unknown or unspecified opiate (Case NN). Of these ten cases, none
left a suicide note and none made recent statements suggesting suicidal ideation or desire.
Appendix II contains additional information on the SMHP’s review of overdose cases.

Suicide Attempts and Suicides Prevented: In 2015, there were a total of 502 incidents of self-
harm with intent to die that did not result in death. That is, 502 suicide attempts were in some
way prevented, interrupted, aborted, averted, or otherwise were not fatal during the year.

Of the 502 attempts, 285 involved incidents of self-harm with intent to die that resulted in either
no injury or mild injury. An additional 217 incidents of self-harm involving moderate-to-severe
injury and intent to die (suicide attempts) were reported to the CDCR’s self-harm database.
These 217 incidents include some combination of: The inmate used non-lethal means and
intended to die but was discovered, the inmate reported having recently engaged in self-harm
with the intent to die but was not discovered and did not perish, or CDCR staff members
interrupted a suicide attempt in progress by an inmate that may otherwise have been lethal.

                                                                                           37 | P a g e
 Case 2:90-cv-00520-KJM-SCR               Document 7038             Filed 01/28/21        Page 69 of 405
                                                                           Annual Suicide Report    2015


Determination and tracking of Quality Improvement Plans: Each Suicide Case Review
report may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. In 2015, a total of 115 QIPs were generated from Suicide Case Reviews, resulting in
an average of 4.8 QIPs per suicide. Nursing QIPs are referred to the DRC. Custody and mental
health QIPs are typically addressed to the institution where the deceased person resided but may
also be written for prior institutions and/or for the DHCS SPR FIT. Table 20 provides a listing
of responsible persons or teams for the QIPs assigned in 2015.

Table 20. QIPs assigned within the CDCR by recipient, 2015 Suicides

            Quality Improvement Plan                         Frequency                  Percent of Total
 Chief of Mental Health/Chief Executive                             53                          46
 Officer
 Warden/Custody                                                      32                          28
 Death Review Committee/Nursing/Medical                              17                          15
 DHCS SPR FIT                                                        11                          10
 Design Standards Branch                                              1                         <1
 Contract Bed Facility                                                1                         <1
 Total                                                              115                         100


As can be seen in Table 20, the Suicide Case Review process generates quality improvement
plans that are multidisciplinary. The responses to an inmate’s suicide are therefore addressed
with a broad lens, looking at many ways of addressing what went wrong (if applicable; one case
of the 24 had no listed QIPs). Notably, nearly half of the formal QIPs generated in 2015 were
focused on mental health concerns, with the Chief of Mental Health and/or Chief Executive
Officer of a CDCR facility tasked to address the concern(s). Mental health concerns ranged from
evaluations not completed within timeframes established by policy to poor quality of suicide risk
evaluation to inadequate treatment and safety planning. The specific reasons for individual QIPs
are presented in the individual case review section (Chapter 3).

Audits of SCR Quality: The DHCS Quality Management Unit audits all Suicide Case Reviews
(SCRs) for fifteen items. SCRs are scored with required elements marked present or absent. In
2015, SCRs generally met audit criteria at a high rate, reported in Table 21.

Table 21: Results of Quality Audits, 2015 Suicide Case Review reports

Audit Item                                                                Present      Absent        % Present
1. Does the Executive Summary describe the means of death,                  23           1              96
the emergency response taken, and the MH LOC of the patient?
2. Are the sources for the SCR identified?                                  24            0             100
3. Are substance abuse issues reported, if applicable?                      24            0             100
4. Does the Institutional Functioning section include information           24            0             100

                                                                                                   38 | P a g e
 Case 2:90-cv-00520-KJM-SCR                Document 7038             Filed 01/28/21      Page 70 of 405
                                                                         Annual Suicide Report     2015


on institutional behavior, including disciplinary history?
5. Does the Mental Health History review the adequacy of                  24             0             100
mental health care and screening?
6. Are medical concerns discussed (e.g., chronic pain, terminal           24             0             100
illness) or is the absence of medical conditions noted?
7. Is the quality of the most recent SREs (past year) reviewed,           14          6 (4 N/A)        70
with comment on risk level, safety planning, and risk and
protective factors?
8. Does the Suicide History section review all prior attempts, as         24             0             100
applicable?
9. Are significant pre-suicide events discussed (e.g., receipt of         23             1             96
bad news or existence of a safety concern)?
10. Was a risk formulation offered specific as to why the person          24             0             100
was vulnerable to suicide?
11. Does the review comment on the adequacy of the emergency              18          4 (2 N/A)        82
response?
12. Are all violations of policy and breaches of standards of care        24             0             100
in mental health, medical, and nursing addressed in the
reviewer’s concerns, if applicable?
13. Were custody policies followed? If not, were violations               23          0 (1 N/A)        100
noted in the report?
14. Were all concerns raised by reviewers (custody, nursing, and          24             0             100
mental health) represented in Quality Improvement Plan
recommendations?
15. Were the Quality Improvement Plan recommendations                     23             1             96
adequate to address the concerns? (e.g., QIP should not simply
say conduct an inquiry and report findings).
Total                                                                    339             13            96


As evident in Table 21, on most audit criteria, reviewers were found to meet quality standards
with 96% of all audit items marked as present. A notable exception in quality audits appears to
be in reviewing most recent SREs. In examining this finding, six SCRs did not comment on all
aspects of the most recent SREs. For example, the reviewer discussed risk factors but did not
provide an analysis of the adequacy of risk formulation. One other item was absent in four cases:
Comments on the adequacy of emergency response. Emergency response timelines were
reported by nursing and custody in all SCRs. In the four cases, reviewers did not specifically
state that the emergency response was adequate, though this appears to be the case in each
occasion.

Timeliness of Suicide Case Reviews and Suicide Reports: The process of responding to
suicides, completing reviews, writing and editing reports, tracking QIP compliance, and so on is
involved. Timelines for each step in suicide response have been developed and are specified in
the MHSDS Program Guides, 2009 Revision. Internal deadlines have also been developed as a
way to ensure timelines for each step of the suicide response process is met. The number of days



                                                                                                  39 | P a g e
 Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21       Page 71 of 405
                                                                     Annual Suicide Report    2015


specified for each step in suicide response, for both Program Guide and internal deadlines, is
found in Appendix III.

In reviewing timeliness of 2015 suicides, the assignment of a suicide reviewer and the visit of the
reviewer to the institution were completed on time in all but two cases; both cases were
originally “unknown deaths” (Cases M and V) and thus not determined to be suicides until
further information was obtained. Due dates on Cases M and V were recalculated when the
cases were determined to be suicides. Both were then reviewed in a timely manner.

Original suicide reports are generally completed within thirty to forty days after the death. The
established 30-day limit was met in nine cases (of twenty-four reports). Five reports (including
Cases M and V) were completed forty days or more after the death. All reports were available
by the time Suicide Case Reviews were held. Fifteen of the twenty-four SCRs were completed
within timelines. Of the nine SCRs held late, delays ranged from one day to nine days.

Once suicide reports are reviewed at the SCR, edits are made and a final report is due to be sent
to institutions within sixty days of the death. Timeline compliance becomes increasingly
difficult at this step, with only five of the twenty-four reports finalized and sent to institutions by
the sixty day mark. Delays at this step can affect the ability of institutions and other recipients of
QIPs to complete QIPs by the deadline (150 days after the death). However, in thirteen cases,
QIP response timelines were met. QIP responses also require review and approval, with a report
of QIP implementation due to the OSM by 180 days after the suicide.

As the CDCR endeavors to complete all steps of the suicide review process in a timely manner, a
focus on ensuring original reports are completed on time, on decreasing the number of days used
for editing suicide reports after the SCR, and on accelerating the review, response, and approval
of QIPs is underway. The DHCS SPR FIT will explore further ways to expedite review
processes for implementation during the 2017 calendar year.

                       Chapter III. Findings in Individual Case Reviews

Introduction to Individual Case Reviews: The presentation of information such as suicide rates
and demographic variables in suicide deaths provides a sense of data trends, comparisons
between correctional systems, and so forth. That is, suicide rates and numbers give us a macro
look at causes and contributors to suicide and to variables that require monitoring. The data
presented in prior chapters has implications for practice within the CDCR, implications that will
be reviewed in the Conclusions section to follow.

Individual case reviews, on the other hand, represent a micro look at the idiosyncratic, often
multi-determined reasons that an individual takes his or her own life. The sources of distress
noted in the cases below range from a response to gang threats to an inmate’s family to the
vagaries of severe medical and mental illness to grief over the loss of lovers and loved ones. No
two cases look quite alike.

                                                                                             40 | P a g e
 Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 72 of 405
                                                                    Annual Suicide Report    2015


What cannot be overly idiosyncratic are the actions of staff members of all disciplines. These
staff members as a whole are responsible to prevent suicide. Suicide prevention in correctional
settings is no small task. CDCR staff of all disciplines must follow policy and procedure, must
show diligence and compassion in their work, and must be professional in their day-to-day
interactions and responsibilities. Individual case reviews thus speak not only to the
idiosyncrasies of the suicidal patient but also to the actions and professionalism of staff leading
up to a suicide, in reaction to a suicide in progress, and in response to the death.

Commonalities in individual case reviews: Tables 22 and 23 list variables commonly found
between suicides. The tables contain either factual data or qualitative determinations about the
adequacy of staff response and/or the ability of staff members to meet quality of care
expectations. Narrative comments are noted after each table.

Before presenting these tables, it should be noted that inadequacy of risk assessment, treatment
planning, custody rounds, and so forth result in QIPs. In Suicide Case Review (SCRs) reports,
reviewers may comment on what was done well within an institution and may state areas where
policy was correctly followed. However, these comments are not required as it is assumed staff
members will follow policy and will do a professional job in working with inmates. In contrast,
reviewers must identify any and all departures from policy or from standards of care, creating
formal Quality Improvement Plans (QIPs) applicable to each identified issue. Reviewers may
also point out clinical or custodial practices that could be improved either at an institutional level
or throughout all institutions; these practice suggestions can be addressed through QIP processes
as well. It should also be noted here that institutional responses to QIPs are sent to the SMHP
and DAI leadership for review. If any QIP response is felt to be inadequate, the SMHP and/or
the DAI will contact the institution to request clarification or request additional development or
implementation of the QIP. QIPs are not considered finished until approved at the headquarters
level.

Table 22 lists qualitative judgments of staff performance in suicide cases. A “no” answer can
reflect anything from a singular error in the treatment or care of the patient to a pattern of poor
care, whereas a “yes” finding reflects a range of actions and behaviors that were consistently
professional and adequate.




                                                                                            41 | P a g e
           Case 2:90-cv-00520-KJM-SCR                 Document 7038          Filed 01/28/21       Page 73 of 405
                                                                                  Annual Suicide Report    2015


Table 22: Findings of Individual Case Reviews, part 1

             Suicide      Adequate        Adequate         Good        Adequate        Adequate     Adequate       Treatment
 Inmate       Risk       Suicide Risk     Treatment       Quality       Nursing         Custody    Emergency        Refusal?
            Adequately   Management?        Plan?         Mental        Rounds?        Checks?     Response?
            Assessed?                                     Health
                                                         Contacts?
 A               N              N               N           N             N                Y           Y               N
 B               Y              Y               Y           Y            N/A               Y           Y               Y
 C               N              N               N           N             Y               N*           Y               Y
 D               Y             N/A             N/A          Y             Y                Y           Y               Y
 E               N              N               N           N             Y                Y           N               Y
 F               N              N              N/A          Y             Y                Y           N               Y
 G               Y              Y               Y          N**            Y              N***          Y               Y
 H               Y              Y              N/A        N****          N/A               Y           Y               Y
 I               N              N               Y           Y             N                N           N               Y
 J               N              N               N           N             N                N           N               Y
 K               Y             N/A             N/A         N/A           N/A               N           N               Y
 L               Y             N/A             N/A         N/A            Y                Y           N               Y
 M               N              N               N           N             Y                Y           Y               Y
 N               N              N              N/A          N             Y                N           Y               N
 O               Y              Y               Y           Y            N/A               Y           Y               Y
 P               Y              Y               N           N            N/A               Y           N               Y
 Q               Y              Y               Y           Y            N/A               Y           N               Y
 R               N              N               N           N             Y                Y           N               N
 S               Y              Y               Y           Y            N/A               Y           Y               Y
 T               Y             N/A             N/A         N/A            N                N           Y               Y
 U               Y              Y              N/A          Y             Y                Y           Y               Y
 V               N              N               N           N            N/A               Y           N               Y
 W               Y              Y               Y           Y             Y                Y           Y               Y
 X               Y              Y               N           N             N                Y           Y               Y
          *Based on allowance of window covering. **Based on frequent refusal of services; HRL was provided. ***Based
          on allowance of an obstruction to viewing ****Based on poor documentation of last visit.

          Starting from the far left column, problems with at least one suicide risk evaluation were found
          in 10 cases (42%). Problems ranged from issues with reviewing or gaining access to suicide
          attempt histories (two cases), failing to include information already reported about suicide
          attempt history (two cases), poor identification or documentation of risk factors (four cases), to
          failure to complete suicide risk evaluations when they were required by clinical standards or
          policies (two cases). Issues with suicide risk evaluations are particularly problematic, as
          inadequate assessment most likely leads to difficulties with safety planning (e.g., not having
          information on what triggered past attempts) and risk management (e.g., not managing the actual
          level of risk as risk had been underestimated). Therefore, it is not surprising that all cases
          identified as having problems with SREs are also considered to have problems with risk
          management.

          Issues with adequacy of suicide risk management practices were noted in 11 cases (46%). In at
          least one situation, risk management efforts were inadequate or failed to address the level of
          suicide risk indicated. Additionally, in some cases suicide risk evaluations indicated very low

                                                                                                          42 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 74 of 405
                                                                 Annual Suicide Report    2015


risk and in some cases policies were followed such that the inmate did not require evaluation;
these cases are marked as not applicable (N/A). In cases marked N or No in Table 22, issues
were quite varied. These included placement of a patient on suicide precautions in an unsafe cell
in one case, a failure to conduct a SRE within timelines in another case, problems with full
implementation of high risk management lists or programs in two cases, failure to plan for an
inmate’s reaction to bad news in one case, and provision of KOP medications in another case
where the inmate had mentioned a previous plan to die by overdose.

Another area impacted by the quality of suicide risk evaluation is mental health treatment
planning. If risk for suicide is underestimated in a case, it stands to reason that treatment
planning will also miss key components of what should be addressed clinically. In six cases,
adequate treatment planning was noted. In seven cases, poor treatment planning was found. In
the remaining two cases, risk evaluation and treatment planning was hampered by a patient’s
unwillingness to engage in treatment or evaluation services. In such cases, treatment planning
should focus on efforts to engage the patient, attempts to gain historical and collateral
information, and so forth.

The quality of mental health contacts was rated as not applicable in three cases where there were
few or no evaluations beyond mental health screening. For cases rated Y (nine cases or 43% of
applicable cases), the decided majority of clinical contacts were positive and in line with
professional expectations. For the twelve cases rated N (57%), at least one clinical contact was
below standards, such as incidents where poor documentation was present or where patient
treatment refusals were not addressed.

Nursing rounds and/or nursing observations are required for inmates in segregated housing
settings, inpatient settings, and while a patient is on suicide watch or precautions either in
alternative housing or in MHCB. Cases marked N/A are those in which the inmate or patient
was never in such a setting. Problems in nursing rounds were found in five of the remaining
sixteen cases (31%) , specifically: One case where required psychiatric technician rounds were
not documented (in ASU), one case where nursing observations for a patient on 15 minute
checks were not staggered, one case where a nursing check required each shift did not ensure
that the patient was living/ breathing, one case of delays in starting an order for 15 minute
checks, and one case where checks in alternative housing were not documented or staggered. In
eleven (69%) of applicable cases nursing rounds were done adequately.

Custody checks occur in all institutions for all inmates. For example, custody conducts
institutional counts multiple times in each 24 hour period. In seventeen cases (71%), custody
checks were rated as adequate and conducted per policy. Of the remaining seven cases, four
involved situations where window coverings or draping of bunks was allowed despite custody
policy forbidding the practice. In another case, an inmate kept a blanket over his head, with
custody checks not ensuring living/breathing. In the remaining two cases, rounds were
completed later than specified by policy around the time of the death.

                                                                                         43 | P a g e
          Case 2:90-cv-00520-KJM-SCR                       Document 7038       Filed 01/28/21           Page 75 of 405
                                                                                        Annual Suicide Report    2015


         Emergency response by custody officers, nursing staff, and medical staff are considered in
         ratings of emergency response. In fourteen cases (58%), no issues with emergency response
         were noted. In four cases, issues with bringing complete cut-down kits were found. In three
         cases, issues with timely AED placement or AED functioning were reported, and in two cases
         delays in emergency response occurred. Other issues were rather idiosyncratic; such as the
         incident of an ambulance going to the wrong institution and a case where CPR was discontinued
         during transport to the TTA.

         Issues related to patient refusal of evaluation were cited in three cases (12.5%). In these cases,
         patients with safety or privacy concerns declined to be brought out to confidential settings for
         clinical contacts while also likely withholding information when contacted at cell-front was
         noted. In these cases, reviewers recommended QIPs to address patient refusal and to promote
         treatment planning when a patient declines to come out of cell for confidential contacts. The
         problem of patients not wanting to be seen talking to mental health, yet needing these services, is
         a difficult issue to combat.

         Table 23 lists additional common findings of case by case reviews.

         Rigor mortis is a condition of the body postmortem that indicates a person has been deceased for
         at least four hours. 23 In 2015, only one case was found to be in rigor mortis at discovery. This
         case occurred in a CTC. By comparison, four cases were found in rigor mortis in 2014. This
         may suggest improvements in the quality of safety/welfare checks, the implementation and use
         of Guard One throughout institutions in the CDCR, or simple chance variance.

         The method used for each suicide is listed for the reader’s reference. As in prior years and in
         other prison systems, hanging is easily the most common method of suicide in incarcerated
         populations, accounting for the means for 83% of the suicides in the CDCR in 2015.

         Table 23: Findings of Individual Case Reviews, part 2

Inmate          Patient    Method Used         Prior          Higher      Housing/          MHSDS
               Found in                       Suicide        Level of     Cellmate          Status at
                Rigor                         History/         Care       Present?          Time of
               Mortis?                       # of Prior     Indicated?                      Death &
                                             Attempts                                        LOC?
A                 N            Jump             Y/1             Y          SNY/N            CCCMS
B                 N           Hanging           Y/1             N        GP/N (out to          N
                                                                            work)
C                 N          Hanging            Y/6            Y            GP/N            CCCMS
D                 N          Hanging            N/0            N           ASU/N              N
E                 N          Hanging           Y/3-7          Y*           ASU/N             EOP
F                 N          Overdose           Y/1            N           ASU/N              N
G                 N          Hanging            Y/2           Y**          ASU/N             EOP
H                 N          Hanging            Y/2            N            GP/N              N
I                 N          Hanging            Y/1            N            GP/N            CCCMS

         23
              https://en.wikipedia.org/wiki/Rigor_mortis

                                                                                                                44 | P a g e
     Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21         Page 76 of 405
                                                                                Annual Suicide Report     2015


J          N         Hanging            Y/1             Y            STRH/N         CCCMS
K          N         Hanging            N/0             N             SHU/N           N
L          N         Hanging            N/0             N              GP/N           N
M          N         Overdose           Y/5             Y              GP/N          EOP
N          N       Asphyxiation         N/0           Y***            ASU/N           N
O          N         Hanging            Y/3             N             ASU/N         CCCMS
P          N         Hanging             N            Y****            GP/N           N
Q          N         Hanging/           Y/3             N              GP/N         CCCMS
                      Cutting
R          N         Hanging        Y/1-3*****          Y           ASU/N           CCCMS
S          N         Hanging            Y/1             N            GP/N           CCCMS
T          Y       Asphyxiation         N/0             N          CTC(GP)/N          N
U          N         Hanging            Y/2             N            GP/Y             N
V          N       Asphyxiation/        Y/3             N           CTC/N           CCCMS
                     Overdose
W          N       Asphyxiation         N/0             N          GP/N (out to   EOP
                                                                     work)
X          N           Hanging           N/0              N           GP/N        EOP
         *Recommended during Regional Team visit, December, 2014 **Due to worsening psychosis ***Inclusion in
         the MHSDS seemed warranted ****Per policy should not have been discharged from CCCMS *****Incidents
         on 1/7/14, 4/22/14, and 10/7/15 were without clear intent

    There is a robust literature on the heightened chronic risk of suicide for individuals with prior
    attempts. This risk is especially robust when a person has a history of two or more suicide
    attempts. 24 It is thus not surprising that sixteen of the twenty-four cases (67%) who died by
    suicide in 2015 also had a history of prior attempts, with ten cases (42%) having a history of
    multiple attempts. Deaths occurring on a person’s first attempt are correlated with the use of a
    highly lethal method, such as firearms in the community and hanging in the case of prisons.
    Hanging is a highly accessible means for suicide in prisons. The ability of a person to abort a
    suicide attempt mid-way through the event is usually impossible in hanging. 25

    Clinicians can use several interventions for risk management purposes, including transfer to
    inpatient hospitalization, transfer to a more intensive level of care, or placement in a high risk
    management program. Inpatient psychiatric hospitals, for example, are able to restrict means to
    hanging by eliminating tie off points. In 2015, reviewers found reason to indicate that more
    intensive risk management may have been needed in nine cases (37.5%). Of these cases, one
    was recommended for a higher level of care by a visiting Regional Team, two should have been
    considered for placement or retention in the MHSDS, one showed signs of psychotic
    decompensation, two should have been considered for higher levels of care due to frequent
    refusal of services, two were removed from high management lists or programs, and one had
    received bad news and had threatened to harm himself if this news was received.




    24
       E.g., Forman, Berk, Henriques, Brown, & Beck, 2004. History of multiple suicide attempts as a behavioral
    marker of severe psychopathology, American Journal of Psychiatry, 161, 437-443.
    25
       https://www.hsph.harvard.edu/means-matter/means-matter/case-fatality/

                                                                                                        45 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038           Filed 01/28/21         Page 77 of 405
                                                                            Annual Suicide Report      2015


Housing status is listed next with findings regarding whether a cellmate was present or not at the
time of the suicide. In twenty-three cases (96%), there was either no cellmate present or the
deceased had been in a single cell at the time of the suicide. In the one case where a cellmate
was present, the deceased hung himself during the overnight hours.

Finally, the level of care for each case at the time of death is listed. The high frequency of
suicides within the MHSDS is both to be expected and a cause for continued quality
improvement efforts.

                  Chapter IV. Review of Suicide Prevention Initiatives in 2015

Introduction: The development and implementation of Quality Improvement Plans following
deaths by suicide is but one of many pieces of a comprehensive suicide prevention strategy.
These plans occur too late for the deceased, but correct problems and offer training and
prevention plans that may contribute to decreasing the risk of suicide in an institution and in a
system in the future.

There are many additional aspects of a comprehensive suicide prevention strategy. 26 Such a
strategy includes ensuring a solid screening process occurs at various points of incarceration,
establishing a referral process, written procedures and policies for suicide prevention are
maintained and updated as needed, and there are effective methods for evaluating proof of
practice of existing and/or on-going suicide prevention programs and initiatives. In addition,
comprehensive suicide prevention programs must have a commitment to staff training, with the
provision of on-going training on suicide risk detection and referral to all correctional
employees. In addition, the complexities and specifics of suicide risk evaluation, risk
management, and intervention training must be provided to mental health staff. Comprehensive
programs also assure easily available mental health services for inmates who request and/or are
referred for these services, along with a variety of care options and levels. Suicide prevention
materials must be readily provided for inmates and for those who interact with inmates (e.g.,
family members, work supervisors). Communication between disciplines and shifts must be
prioritized, particularly regarding high risk inmates. 27

The CDCR has worked diligently to ensure that a comprehensive suicide prevention program is
in place. This effort has been shared with and reviewed by the Office of the Special Master and
the OSM’s experts for many years. It is beyond the scope of this report to review all suicide
prevention program efforts over these many years. Rather, the information provided in this
section reviews advancements in the CDCR suicide prevention program during the 2015
calendar year and shortly thereafter.


26
   Hayes, L.M. (2013). Suicide Prevention in Correctional Settings: Reflections and Next Steps. International
Journal of Law and Psychiatry, 36, 188-194.
27
   Preventing Suicide in Jails and Prisons, World Health Organization, 2007

                                                                                                     46 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 78 of 405
                                                                             Annual Suicide Report     2015


Suicide prevention efforts developed, initiated, and/or implemented during the reporting
year: Numerous initiatives were either under development at the close of 2015 or had been
implemented during the year. Each initiative is described below with notation of the status of the
project on December 31, 2015 as well as the current status of each effort.

     •   New Five-Day Follow-Up Form: Patients are known to be at elevated risk for suicide
         upon release from inpatient settings per studies conducted in the community. 28 The Five-
         Day Follow-Up Form (CDCR MH-7230-B) used by the CDCR is intended to ensure
         clinical contacts with patients returning from inpatient settings in cases where the reason
         for admission was danger to self. Whereas the old form had been contained on one page
         for all five days, leaving little room for documentation, the new form developed has two
         pages with sufficient room for recording the patient’s comments and the clinician’s
         assessment of the patient. The new form also contains several structured, suicide-specific
         questions so as to ensure clinicians and psychiatric technicians are asking about suicidal
         thoughts, desire, and intention. The new form also requires mental health clinicians to
         complete a safety/treatment plan with the patient. The new form was routed and
         approved by all required committees by the end of 2015. Involved unions were noticed.
         The form was readied for distribution and materials for Training for Trainers were
         prepared and delivered by webinar in January, February, and May, 2016. Training for
         Trainers materials were co-taught by mental health and nursing staff. The form was
         released for use on June 10, 2016.

     •   ASU Post-Placement Screening Questionnaire: All inmates are screened prior to
         placement in segregated housing units for mental health symptoms. Once placed in
         segregated housing, all inmates are contacted daily by psychiatric technicians. In
         addition, identified mental health patients are seen on a regular basis by mental health
         clinicians. As inmates may experience distress upon placement, the ASU Post-Placement
         Screening Questionnaire is a brief measure (twelve to thirteen items) that is administered
         by a psychiatric technician to non-MHSDS inmates and assesses an inmate’s level of
         distress and the presence or absence of suicidal thoughts or behavior. The screening
         questionnaire has set scoring rules that, once scored, guide the psychiatric technician
         regarding whether a referral to mental health is indicated, and if so, to what degree of
         urgency. Inmates who refuse the screen are to be referred to mental health on an urgent
         basis. The new form (CDCR MH-7790) was also routed and approved by all required
         committees by the end of 2015. Involved unions were noticed. The form was readied for
         distribution and trainings (co-taught by mental health and nursing staff) were prepared,
         again via the Training for Trainers format. The PowerPoint presentation for the form had
         been reviewed and approved. This form was also released for use on June 10, 2016.

28
  Qin, P., & Nordentoft, M. (2005). Suicide Risk In Relation to Psychiatric Hospitalization, Archives of General
Psychiatry, 62, 427

                                                                                                     47 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 79 of 405
                                                                Annual Suicide Report    2015




 •   Provision of Beds for Alternative Housing Cells: Several tours and audits of suicide
     prevention practices at various institutions had noted the lack of a physical bed in certain
     alternative housing cells. These cells are used with patients who are awaiting transfer to a
     MHCB and patients in these cells are typically on Suicide Watch (direct, one-on-one
     observation). Without available beds, patients were placed temporarily in cells with
     mattress placed directly on the floor. As this could be experienced as punishment, the
     CDCR agreed to ensure beds were placed in all alternative housing cells. A bed (Norix
     Stack-a-Bunk) was selected and was purchased for this purpose. Beds were delivered to
     all institutions in need of them by the end of 2015. A Mental Health Services policy was
     drafted for patients pending MHCB transfer that includes provision of a Stack-a-Bunk in
     alternative housing. This policy remains under review currently.

 •   Updated Initial SRE Mentoring Training for Trainers: The SRE Mentoring training
     slides and webinar were updated to place more emphasis on mentoring safety/treatment
     planning, to develop more of an understanding of the interplay of chronic and acute risk
     factors in cases, to further explore the role of the mentor in assessing and expanding
     clinician competencies around suicide risk evaluation, and to further teach the Quality of
     Care Tool for SRE Mentors. The revised training was offered on several occasions in
     2015 and 2016 and was well received. Additional revisions were made to the
     presentation in November, 2016.

 •   Development of a SRE Mentoring ‘Booster’ Training: The requirement for an annual
     ‘booster’ training was discussed and a presentation developed for current mentors. The
     ‘booster’ training was re-cast as an advanced course in suicide risk evaluation mentoring,
     with a focus on risk assessment competencies, methods for competency assessment, and
     ways to enhance SRE skills in clinicians at all levels of proficiency. The training was
     undergoing revisions at the end of 2015 with a plan to implement training in 2016. This
     training indeed occurred in 2016, with the mentoring booster training attended live by 50
     current mentors in November, 2016 and with numerous others taking the course by
     webinar in December, 2016.

     Memorandum Clarifying SRE Mentoring Requirements: A memorandum was drafted in
     2015 outlining and revising the requirements for SRE Mentoring. Clinicians working in
     Mental Health Crisis Bed settings were required to complete mentoring annually,
     whereas other clinicians were maintained on an every two year schedule. Clinicians were
     also notified of two SRE audits; one to be conducted by institutional program supervisors
     and the other by headquarters staff. Each mental health clinician will have an audit of a
     completed SRE at least once every six months. Processes for corrective action when
     audit criteria are not met were described as well. Finally, the expectation that SRE

                                                                                        48 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21       Page 80 of 405
                                                                Annual Suicide Report    2015


     Mentors would receive annual ‘booster’ training was written. This memorandum was
     released on March 15, 2016. Institutional program supervisors began auditing SREs
     using the Chart Audit Tool, reporting results through the Quality Management Portal.
     Headquarters audits have been modified to solely focus on inter-rater reliability checks
     on institutional audits.

 •   Memorandum Clarifying SRE Training: SRE Training is a 7-hour CME-approved course
     that is provided to all CDCR mental health clinicians within 180 days of hire and every
     two years thereafter. The SMHP updates the 7-hour SRE class annually. The updated
     class is provided to a large group of institutional clinicians who then teach the class at
     their home institutions. This process of annual updates in Training for Trainers also
     ensures trainers are adherent to the content and focus of the course. A memo clarifying
     SRE Training requirements was drafted in 2015, noting that the requirement extends to
     clinicians hired through a registry and to telepsychiatrists. Training for Trainers occurred
     in October, 2014 for the 2015 training year and in October, 2015 for the 2016 training
     year. This memorandum was pending release at the end of 2015 and was released on
     March 24, 2016.

 •   Memorandum Clarifying SPR FIT Coordinator Duties: A memorandum was released on
     August 14, 2015 instructing all institutions to designate one Senior Psychologist,
     Specialist to the role of institutional SPR FIT Coordinator, tasked with leading suicide
     prevention efforts at each facility. The role also includes coordination of mental health
     assessments/evaluations and mental health training/orientation. A duty statement for the
     position was attached to the memorandum. The memorandum and clarification of duties
     was designed to ensure all institutions had dedicated resources within mental health
     programs to coordinate suicide prevention efforts. This memorandum was released on
     August 14, 2015 and implemented; the memorandum is found in Appendix IV.

 •   Memorandum Regarding SRE Tracking: A memorandum was released on October 23,
     2015 mandating that all institutions use appointment schedulers to simultaneously enter
     SREs completed by clinicians into the patient record and into the Mental Health Tracking
     System (MHTS). Clinicians were required to enter scheduled and unscheduled SRE
     appointments on daily work logs. This process is automated in EHRS institutions, but
     must be entered in this manner in institutions using the eUHR. The memorandum
     ensures proper tracking of suicide risk evaluations and timely scheduling and completion
     of follow-up risk evaluations. This memorandum is found in Appendix V.

 •   Updated Cadet Training: An update to training provided at the cadet training academy on
     the Mental Health Services Delivery System (MHSDS) and on Suicide Prevention was
     drafted and reviewed in 2015. Training for trainers on the updated version was provided

                                                                                        49 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 81 of 405
                                                                             Annual Suicide Report     2015


         on November 30, 2015. Lindsay Hayes attended the updated training as it was being
         given to a cadet class, providing feedback on the training in December, 2015. The
         training and accompanying lesson plans were undergoing revisions in light of Mr. Hayes’
         feedback at the end of 2015. These revisions were approved and distributed on May 11,
         2016.

     •   Workgroup on Keep-on-Person (KOP) Medications: In response to a headquarters QIP
         (from Case F in 2015), a workgroup was assembled to discuss how prescribed
         medications should be distributed in high-risk settings, such as in ASU Intake Cells. The
         workgroup met several times, considering input from pharmacy, custody, nursing,
         medical, and mental health representatives. Suggestions for limiting KOP medications in
         certain settings, relying on the Complete Care Model to communicate when medications
         should be administered as Direct Observation Therapy (DOT), and other potential
         solutions were discussed. Workgroup meetings focused on integrating clinical practices
         with KOP medications with new policy on the use of Over-The-Counter (OTC)
         medications. In addition, concerns about KOP medications will be an issue to be
         discussed at morning huddles.

     •   Training in Safety Planning: In response to reviews by regional staff, headquarters staff,
         and Mr. Hayes, training entitled “Safety/Treatment Planning for Suicide Risk
         Assessment” was created in 2014 by Dr. Robert Canning. The class was updated in 2015
         with a slightly revised title, “Safety/Treatment Planning within Suicide Risk Assessment
         and Management.” The class included new content focusing on the on-going role of
         safety planning in managing suicide risk within the inmate population. Continuing
         medical education (CME) units are available to clinicians who take this course;
         attendance is mandatory for all clinical staff. The revised class was provided on four
         occasions between August and October, 2015Safety planning training was offered on
         multiple occasions in 2016, with training then planned every six months in order to
         accommodate newly-hired clinical staff. The role of safety/treatment planning was also
         incorporated into other updated trainings in 2016 (e.g., in suicide prevention
         videoconferences, the 7-hour SRE course, and in SRE Mentoring classes).

     •   Training in Complex Diagnostic Cases: This training, entitled, “Differential Diagnosis in
         Complex Mental Health Cases” was developed to assist treatment teams in considering
         cases involving self-harm. Clinicians and clinical teams can err in underestimating or
         overestimating risk for suicide, 29 particularly when cases present with complex


29
  Horon, McManus, Schmollinger, Barr, & Jimenez (2013). A study of the use and interpretation of standardized
suicide risk assessment measures within a psychiatrically hospitalized correctional population. Suicide and Life-
Threatening Behavior, 43, 17-38.

                                                                                                      50 | P a g e
 Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21         Page 82 of 405
                                                                          Annual Suicide Report     2015


         diagnostic presentations and when patients engage in negative 30 or positive impression
         management. 31 The under- or over-reporting of symptoms of distress and the within-
         patient variances in reporting suicidal ideation or desire for death can cause considerable
         clinical confusion. For example, a patient who reports self-harm behavior due to
         “needing to get off the yard” can be seen as manipulative and may represent little else in
         the case. However, for a more vulnerable patient the pressure exerted by other inmates
         can be a source of considerable distress and may indeed give rise to a desire to die. An
         approved version of this training was presented to mental health clinicians on multiple
         occasions in 2016.

     •   Training in Culturally-Competent Suicide Risk Assessment: In response to a 2015 QIP
         (Case B), training was designed to offer primary care physicians and mental health
         clinicians specific approaches and tools to assess suicide risk in patients of various
         cultures and belief systems. Training included introductions to the DSM-5’s Cultural
         Formulation Interview, 32 the Cultural Assessment of Risk for Suicide (CARS), 33 and the
         Cultural and Protective Suicide Scale for Incarcerated Persons (CAPSSIP). 34 Interactive
         vignette-based practice of suicide risk inquiry in diverse cases was integrated within the
         training. The course was offered, with CME credits, on four occasions in 2015. Several
         hundred physicians and mental health clinicians attended the course.

     •   Training of Board of Prison Hearings (BPH) Commissioners: Two informational talks
         were developed for the BPH. First, the perception that participation in the MHSDS
         would cause a BPH denial (and the reaction of clinicians to this perception) was listed as
         a QIP in Case F. Case F requested to be taken out of the MHSDS prior to an upcoming
         BPH appearance, a request that was granted by his IDTT. In addition, two cases in 2015
         (also Cases F and P) may have considered receiving a RVR as removing the possibility of
         parole. For these reasons, members of the SMHP met with administrators within the
         BPH on two occasions in 2015 to discuss the best way of going about offering
         information to commissioners. After these meetings, two trainings were developed. The
         first occurred in October, 2015, with commissioners briefed on the topic of how mental
         health clinicians evaluate RVRs and the role depression, psychosis, and other mental

30
   Sullivan & King (2010). Detecting faked psychopathology: A comparison of two tests to detect malingered
psychopathology using a simulation design. Psychiatry Research, 176, 75-81.
31
   Bagby & Marshall (2003). Positive impression management and its influence… A comparison of analog and
differential preference group designs. Psychological Assessment, 15. 333-339.
32
   Lewis-Fernandez, Aggarwal, Hinton, L, Hinton, D, & Kilmayer (2015). Handbook on the Cultural Formulation
Interview. American Psychiatric Association Publishing, Washington, DC.
33
   Chu, Floyd, Diep, & Bongar (2013). A tool for the culturally competent assessment of suicide: The Cultural
Assessment for Suicide (CARS) Measures. Psychological Assessment, 25, 424-434.
34
   Horon, Williams, & McManus (Manuscript in review). The Culture and Protective Suicide Scale for Incarcerated
Persons (CAPSSIP): A measure for evaluating suicide risk and protection within correctional populations.
Submitted to Psychological Services.

                                                                                                  51 | P a g e
Case 2:90-cv-00520-KJM-SCR          Document 7038        Filed 01/28/21      Page 83 of 405
                                                              Annual Suicide Report    2015


     health conditions in influencing behavior temporarily or when untreated. The second
     training was scheduled with the intention of exploring perceptions about mental illness
     and future risk of violence. An area of focus for the second training was on encouraging
     treatment participation and treatment compliance as a way of decreasing violence risk.
     This second training occurred in January, 2016.

 •   BPH Commissioner and BPH Evaluator Access to the Urgent Response Mailbox: As a
     result of discussions between BPH administrators and SMHP representatives, a letter was
     sent to all BPH commissioners and all evaluators working for the BPH to notify them of
     the availability of the Urgent Response mailbox. The mailbox allows BPH
     commissioners or evaluators to alert headquarters mental health staff regarding any
     concerns for suicide in inmates or patients who are scheduled to go before the BPH or
     who appear distressed at or after a BPH hearing. For example, a patient who makes
     concerning statements during a pre-BPH evaluation can be referred to headquarters
     mental health personnel, who then notify the mental health program at the patient’s
     institution. Similarly, an inmate who appears highly distressed by a parole denial during
     a BPH hearing can be referred by any of the commissioners present, ensuring a mental
     health contact occurs on that same day. This project has been implemented. The Urgent
     Response Mailbox was being used by BPH commissioners and evaluators by the close of
     2015.

 •   Suicide Prevention Pamphlets: Inmate and Family Member: Suicide prevention
     pamphlets were designed for inmates and for family members during 2015. The
     pamphlets were specifically intended for suicide prevention purposes. Inmate pamphlets
     provided information on how to ask for help, noted common myths about suicide, and
     described feelings that may go along with suicidal thoughts. The varieties of ways
     inmates can be referred or self-referred for mental health contact are listed. The family
     and friends pamphlet provides a list of warning signs for suicide, clarifies common myths
     about suicidal people, and provides a mental health contact number. The pamphlets were
     distributed in July, 2015, accompanied by a memorandum dated July 30, 2015. The
     memorandum specified that inmate pamphlets were to be made available in all housing
     units, with family/friend pamphlets available in visiting areas. The process for ordering
     additional pamphlets was also detailed. Both pamphlets were distributed during the year
     in English. Pamphlets in Spanish for both inmates and friends/family members had been
     prepared and were moving towards printing by the end of 2015. All pamphlets are
     currently available and can be reordered and redistribution at any time. The
     memorandum sent to institutions and the pamphlets created and distributed are found in
     Appendix VI.




                                                                                      52 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 84 of 405
                                                                             Annual Suicide Report     2015


     •   ASU Activity Workbooks: ASU Workbooks were created in order to provide in-cell
         activities for inmates and patients in segregated housing units. The workbooks contain a
         variety of activities that inmates might use to distract themselves from the stress of the
         ASU placement, as ASU, particularly early in the placement, is known to be a high risk
         time/location for suicide. In addition, the workbooks contain suicide prevention messages
         and referral information scattered throughout the other content. The workbooks also serve
         as an item that custody officers and psychiatric technicians can use to encourage
         interaction with inmates and patients. Version 1 of the workbooks was re-ordered during
         the calendar year 2015, an indication of the regular use of these workbooks. The
         workbooks are available in English and Spanish. Additionally, a second version of the
         workbook was in development. The use of tablet-based activity booklets, using the
         tablets currently available in the inmate canteen, was also discussed. Implementation of
         Version 1 of the workbook had been very successful. Version 2 of the ASU Activity
         Workbook was approved by the end of 2015 and workbooks were distributed throughout
         2016.

     •    Columbia Suicide Severity Rating Scale (C-SSRS) Training and Inclusion in the EHRS:
         The C-SSRS is a well-established, empirically established, standardized suicide risk
         measure 35 that has been incorporated as part of all suicide risk evaluations in the CDCR’s
         Electronic Health Record System (EHRS) beginning in 2015. The primary author of the
         measure, Kelly Posner, Ph.D. (from Columbia University, New York), was invited to
         present on the measure in 2015. She accepted and presented the C-SSRS to a group of
         fifty CDCR clinician-trainers from over 30 institutions in October, 2015. The training
         was video-recorded and was just under two hours long. A group of handouts and a brief
         PowerPoint slideshow was constructed to aide clinicians in becoming familiar with
         administering the C-SSRS. The C-SSRS assists mental health clinicians by providing a
         structured way to inquire about suicidal history, to evaluate the intensity of suicidal
         ideation, and to assess the potential and actual lethality of suicide attempts. The recorded
         video presentation by Dr. Posner, handouts and other materials were distributed in
         February, 2016. Clinician trainers received two hours of approved CME credit on the C-
         SSRS based on the recorded (DVD) presentation. All institutions that received the EHRS
         in 2016 held C-SSRS training prior to their respective EHRS start dates.

     •   Collaborative Assessment and Management of Suicidality (CAMS) training: The CDCR
         began discussions with David Jobes, Ph.D., a clinical researcher at the Catholic
         University of America (Washington, D.C.) during 2015. Discussions centered on
         training a group of clinicians within the CDCR on CAMS. Dr. Jobes agreed to present on

35
  Posner, Brown, Stanley, (2011). The Columbia-Suicide Severity Rating Scale: Initial validity and internal
consistency findings from three multisite studies with adolescents and adults. American Journal of Psychiatry, 168,
1266-1277.

                                                                                                      53 | P a g e
 Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 85 of 405
                                                                              Annual Suicide Report     2015


         the principles of CAMS, a treatment intervention specific to working with suicidal
         patients, during a statewide suicide prevention videoconference in October, 2015. CAMS
         represents a promising intervention for mental health clinicians within the CDCR, as the
         therapy has wide community use, good empirical backing, 36 good support with other
         established treatments, 37 and flexibility to be used in a variety of settings. CAMS may be
         effective in targeting patients with high chronic risk for suicide, patients on high risk lists
         or in high risk programs, and patients with recent contemplation of or engagement in self-
         harm with intent. By the end of 2015, a purchase order to train an initial group of 50
         clinicians in CAMS was in process. A list of clinicians was identified at all institutions
         with mental health missions to be the first group to receive and use CAMS. CAMS note
         templates were under preparation for inclusion in the EHRS. Training began in January,
         2016 and continued until July, 2016. CAMS trainings occurred by using on-line training
         modules and a series of follow-up consultation calls with CAMS experts. A second
         round of clinician training is being arranged for 2017.

     •   Self-Harm Tracking and Predictive Algorithm: Self-harm incidents at every institution
         continue to be entered in MHTS. The data is used to identify institutions with high
         numbers of events and to track trends within and between institutions. In addition, using
         a technique called machine learning, the data will be used in developing a predictive
         algorithm. Machine learning algorithms can identify variables and variable combinations
         that may not at the surface appear related to increased short-term risk of self-harm, but
         can statistically establish these risks. The model allows for refinement as additional data
         points are entered. Work on a machine learning algorithm was begun in 2015, led by
         David Leidner, Ph.D., a specialist in informatics and data science. Dr. Leidner piloted an
         initial algorithm for predicting self-harm. Initial inquiries were made with several
         academic institutions regarding partnerships in developing the algorithm. More recently,
         a federal grant was application was submitted in consultation with Drs. Ronald Kessler
         and Matthew Nock at the Harvard Medical School. The grant project hopes to refine the
         machine learning algorithm, increasing its predictive power and potentially alerting
         clinicians to patients with high degrees of likelihood of self-harm in the near future.

     •   On-Going Training through Monthly Suicide Prevention Videoconferences: Monthly
         suicide prevention videoconferences continue to occur. Institutional SPR FIT teams and
         mental health clinicians participate in the videoconference by viewing presentations in
         conference rooms using VTC connections or, when unable to attend in this manner,

36
   Jobes, Wong, Conrad, Drozd, & Neal-Walden (2005). The Collaborative Assessment and Management of
Suicidality versus treatment as usual: A retrospective study with suicidal outpatients. Suicide and Life-Threatening
Behavior, 25, 483-497.
37
   Andreasson, et al. (2016). Effectiveness of Dialectical Behavior Therapy versus Collaborative Assessment and
Management of Suicidality for reduction of self-harm in adults with borderline personality disorder and traits.
Depression and Anxiety, 33, 520-530.

                                                                                                       54 | P a g e
 Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21         Page 86 of 405
                                                                          Annual Suicide Report     2015


         through phone lines. In 2015, the suicide prevention videoconference was used to review
         suicides and trends in suicides within the department, to brief staff on new or revised
         policies and procedures, to notify staff of suicide prevention trainings and resources (e.g.,
         membership in the American Association of Suicidology), and to provide didactic
         trainings. Trainings covered during the year included:
             o Behavioral markers for suicide, even when suicide is denied
             o Introductions to evaluating suicide risk in the EHRS
             o Methods for improving safety plans
             o The use of suicide intention scales (with vignette practice)
             o Understanding chronic risk for suicide
             o Understanding the interplay between chronic and acute risk for suicide and
                 imminent/warning signs for suicide
             o Staff self-care and monitoring of reactions to suicidal patients
             o Introduction to CAMS.

     The suicide prevention videoconference is a continuing suicide prevention effort.
     Presentations continued in 2016.

     •   Revisions to the SRE and inclusion of additional suicide risk assessments in the EHRS:
         As noted above, the inclusion of the C-SSRS as part of every SRE conducted within the
         CDCR is planned as part of EHRS implementation. The C-SSRS adds a structured set of
         questions inquiring about the intensity of suicidal ideation and about the range of suicide
         attempts and suicidal behaviors in which the patient has engaged over his or her lifetime.
         In addition, the SRE in the EHRS adds detailed information about past suicide attempts
         when applicable, noting the timing of the attempt, the means used, the potential and
         actual lethality/medical consequence, and so forth. These additions should help
         clinicians construct more accurate judgments of acute and chronic risk, while ensuring
         greater accuracy in considering historic vulnerability to suicide. In addition, the EHRS
         contains seven suicide risk assessment tools that may be used as needed by clinicians.
         These additional tools can help with understanding cultural protective and risk factors in
         cases, 38 evaluate readiness 39 and/or capability for suicide, 40 evaluate motivations for
         suicide attempts, 41 and so forth. Each of these tools was provided by researchers to the
         CDCR. All of the measures mentioned above had been included in the ‘build’ of the
         EHRS, with the C-SSRS prominently featured within the EHRS SRE. Training in the
         additional suicide risk assessment tools available in the EHRS occurred via webinar in



38
   CAPSSIP; ibid
39
   Chronic Readiness Questionnaire; Horon, McManus, & Sanchez-Barker (2013)
40
   Acquired Capability for Suicide Scales—Fearlessness About Death; Ribeiro, Witte, Van Orden, Selby, Gordon,
Bender, & Joiner (2014)
41
   Reasons for Attempting Suicide Questionnaire; Holden & Delisle (2006)

                                                                                                  55 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 87 of 405
                                                                  Annual Suicide Report    2015


       2016, with additional trainings offered in monthly videoconferences. Live and webinar
       trainings are planned for 2017.

Progress on each of these initiatives during 2016 will be reviewed in the 2016 Annual Report,
along with all new initiatives undertaken in the 2016 calendar year.

                                    Chapter V. Conclusions

Introduction: The numerous efforts undertaken by the California Department of Corrections
and Rehabilitation (CDCR) to reduce suicides, aided by the consultation of the OSM, have been
productive. Many suicides that may have occurred during 2015 were prevented, on-going efforts
are helping to reduce rates, and new initiatives hold promise in further reducing suicides within
the CDCR. The rate of suicide in the CDCR in 2014 and 2015 dipped below the average rate of
suicides in U.S. prisons in 2014 (the last reporting year available) and the percentage of suicides
occurring in segregated housing units declined in both years. Efforts during the reporting year
ranged from QIPs at the institutional level to continuing work to train clinicians in suicide risk
evaluation and risk management to changes in policy and procedure to innovative projects. Yet,
work remains to be done and efforts are on-going.

Summary of Findings: In 2015, twenty-four suicides occurred within the CDCR, twenty-two
males and two females, at a rate of 18.6 per 100,000 inmates. Caucasian inmates and inmates in
the age groups 30-34, 45-54, and over 60 died by suicide at a higher frequency then would be
expected given their respective percentages within the CDCR population. Suicides occurred
more commonly in unmarried inmates with limited educational and vocational experiences.
Health factors were implicated in nearly half of the deaths by suicide in 2015. The frequency of
suicide in segregated housing has declined, but remains an area of continued focus. Inmates
sentenced to life also had a higher risk of suicide than inmates with determinant sentences. The
first year of incarceration was also correlated with higher risk. Only one (4%) suicide occurred
in a cell with a cellmate present (the cellmate was sleeping at the time), suggesting a protective
impact of dual person or dorm housing. Suicides were more likely in individuals with past
attempts (67%), a finding that is both expected and suggestive of potential interventions for
(living) suicide attempters/survivors. A broad range of motivations or triggers for suicide were
found in 2015, with in-prison stresses repeatedly seen as underlying suicidal motives.

In comparison to the past ten years, the suicide rate in the CDCR in 2015 of 18.7 per 100,000 is
the third lowest rate, with 2014 (17.0 per 100,000) and 2009 (14.9 per 100,000) the years with
the lowest rates. Two suicides of female inmates occurred in 2014 and 2015, higher than the
number of suicides in such settings in all but two of the prior 20 years. The frequency of suicide
over a 15-year period is highest in prisons with large mental health programs (1-2 suicides per
year) and lowest in settings with either minimal mental health programs or predominantly
inpatient missions (0.0 to 0.4 suicides per year on average). In 2015 and in the past 10 years in
general, suicides occur most frequently in March, May, and October.

                                                                                          56 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 88 of 405
                                                                   Annual Suicide Report    2015


The frequency and rate of suicide within the CDR has declined over the past 10 years. This
decline is seen in fewer suicides by Caucasians and Hispanic/Latinos, the two groups with the
highest frequency of suicide in the CDCR, and in fewer suicides in individuals ages 25-54.
Suicides of inmates age 55 and over are the only group to have trended higher in 2015 compared
to the previous five years. Suicides in segregated housing units have also declined in frequency
compared to prior years, though the setting continues to have an elevated risk of suicide
compared to other housing types. Inmates who qualify and have been placed in the MHSDS
likewise continue to have an increased risk for suicide, with MHSDS rates of 52.6 per 100,000 in
the past 10 years versus a rate of 10.3 per 100,000 in non-MHSDS inmates over the same period.

As referenced above, the rate of suicide in U.S. Prisons rose to 20.0 per 100,000 inmates in 2014,
the last year such statistics are available. This rate is higher than the rate of suicide in the CDCR
in 2014 and in 2015. It is notable that the rate of suicides in the CDCR has declined in the past
10-years at a time when both the community rate and U.S. Prison rate has increased. Men
incarcerated in the CDCR had a lower rate of suicide then men in the community in 2014 and
2015.

When a non-lethal self-harm incident occurs within the CDCR, institutions are required to report
the event using a database of such incidents. When a suicide occurs, a broad and intensive series
of reviews is set in motion. These internal and external reviews evaluate the performance of
staff members within and across disciplines, evaluate the emergency response, discuss the event
in terms of procedural and policy considerations, and determine what corrective action plans
must be put in place to ensure qualitative improvements to suicide prevention programs. In
2015, a total of 115 quality improvement plans were initiated and completed, addressing case-
specific, institution-specific, and departmental level actions need to enhance suicide prevention
efforts. Personnel at the headquarters level review all deaths within the CDCR and carefully
evaluate all deaths initially listed as “unknown” or as caused by overdose in conjunction with the
Death Review Committee. Suicide case reports are carefully edited and reviewed for quality,
with quality audits completed by Quality Management staff. With very few exceptions, Suicide
Case Reviews meet all or nearly all audit criteria. Experts working with the OSM participate in
SCRs.

Suicides occurring in the CDCR in 2015 were understandably rather idiosyncratic and often
multi-determined. Each of the twenty-four suicides in the year was reviewed to illustrate the
complexities of the case and how suicidal outcomes can manifest within very different
individuals. Case findings are also tabulated to look at key issues in improving suicide
prevention. Among these findings are continued difficulties with suicide risk evaluations,
suicide risk management, and treatment planning by mental health clinicians, manifested in a
variety of ways over the ten to eleven cases where these issues were identified. The need for
higher levels of care considerations was also indicated in a number of cases. Issues with custody
rounds, such as allowance of in-cell draping, concerns with emergency response, such as failing


                                                                                           57 | P a g e
 Case 2:90-cv-00520-KJM-SCR                Document 7038           Filed 01/28/21        Page 89 of 405
                                                                         Annual Suicide Report    2015


to bring full cut-down kits to an emergency, and problems with nursing/psychiatric technician
checks were noted in a number of cases as well. Only one inmate was found in a state of rigor
mortis in 2015, an improvement over past years.

Numerous suicide prevention initiatives continued, created, or initiated in 2015 were also
reviewed. These initiatives strive to ensure a comprehensive suicide prevention strategy remains
in place and continues to grow and develop as the population of the CDCR changes. Initiatives
arose from many sources: QIPs, suggestions by Mr. Lindsay Hayes, audits of clinician
performance, results of mentoring of clinicians trained in suicide risk evaluation and treatment
planning, discussions and coordination with others (e.g., BPH commissioners), inspiration from
public suicide prevention campaigns, discussions with and consultation with renowned
suicidologists, and even advances in informatics and other technologies. The development of the
EHRS also set in motion a number of opportunities for innovation in the service of improving
patient safety.

Report implications and future steps: A group of ten report implications are enumerated
below. The order of these implications is based on the order in which each finding was
presented in the annual report. Future steps regarding each implication are to be discussed upon
during DHCS SPR FIT meetings in 2017.

     1. Suicides in older adults: As was noted in Table 2, inmates over the age of 60 make up 6%
        of the population within the CDCR. However, 21% of suicides within the CDCR in 2015
        were within this age group, making this the age group most overrepresented in number of
        suicides. High rates of suicide are found in the community in elderly males, particularly
        Caucasian males, during their mid- and late 70s and 80s. For mental health clinicians, the
        use of measures of connectedness with elderly patients should be discussed. The
        Interpersonal Needs Questionnaire (INQ) 42 is included as an optional assessment in the
        EHRS and is a fine choice in such cases.

     2. Suicides in inmates with co-morbid medical conditions: Nearly half (46%) of the
        inmates who died by suicide in 2015 were considered to have serious and/or chronic
        medical problems. This group of inmates had medical problems ranging from chronic
        low back pain or headaches to cases of liver disease, cancer, hemiparesis, diabetic
        neuropathy, cardiac problems, and worsening blindness. Community surveys of suicide
        in patients with significant medical problems have had varying results, with roughly 10%
        of suicides seen as attributable to medical disorder or to terminal illness. 43 In
        comparison, the one year (2015) total of 11 suicides of 24 in the CDCR is rather elevated

42
   Cukrowicz, Cheavens, Van Orden, Ragain, & Cook (2013). Perceived burdensomeness and suicide ideation in
older adults. Psychology and Aging, 26, 331-338.
43
   https://www.theguardian.com/society/2011/aug/23/suicide-chronic-illness-study



                                                                                                 58 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 90 of 405
                                                                Annual Suicide Report    2015


    and thus a potentially promising area to increase suicide prevention efforts. Several
    institutions have implemented pain management committees and pain management
    groups for inmates, and the success of these endeavors is being looked at closely.

 3. Suicides in segregated housing units: Despite a significant decline in the frequency
    of suicide in segregated housing units, the rate of suicide in these units remains
    high compared to other housing settings within the CDCR. The three deaths
    occurring in dedicated intake cells is also concerning. Each of these three suicides
    occurred using different methods (hanging from a sprinkler head, hanging from
    ventilation grate holes, and overdose on KOP medications). A great deal of effort
    has already gone into improving safety and suicide prevention procedures in these
    settings, and it may be too early to fully ascertain the success of those efforts.
    However, further discussion of the implications of this finding may lead to new
    innovations.

 4. Suicides in Inmates with Life Sentences: As 54% of suicides in 2015 occurred in
    patients with life sentences, compared with a roughly 20% proportion of the
    population overall, ‘Lifers’ represent a target for intervention. From a prevention
    standpoint, a number of efforts have been taken to try to combat this finding,
    including conducting training for BPH commissioners and evaluators, broadening
    the Urgent Response referral system to commissioners and evaluators, and training
    clinicians to ‘bracket’ BPH hearings with mental health contacts. Clinicians were
    advised during suicide prevention videoconference training to evaluate the degree
    of a patient’s distress present before and after the hearing, to discuss the patient’s
    thoughts on the outcome of the hearing, and to respond proactively to what may be
    experienced as bad or distressing news. Further education regarding the risk of
    suicide in inmates with sentences of Life without the Possibility of Parole is
    planned. Further interventions may also include holding “open lines” on general
    population lines, where inmates who do not require placement in MHSDS may
    seek time-limited services.

 5. Suicides in Inmates during the First Year of Incarceration: In 2015, five of the twenty-
    four suicides occurred within the first year of incarceration, representing 21% of suicides.
    Three of the suicides occurred in inmates who were in reception centers (Cases I, S, &
    U). In reviewing the five cases, there is not a great deal of consistent or readily
    attributable commonalities between the deaths. However, based on 2015 data, additional
    attention to the variable ‘early in sentence’ is important to consider. The DHCS SPR FIT
    may wish to discuss ways to encourage clinicians in reception centers and those working
    with new arrivals to institutions (who are in their first year of incarceration) to exercise a



                                                                                        59 | P a g e
 Case 2:90-cv-00520-KJM-SCR                 Document 7038          Filed 01/28/21        Page 91 of 405
                                                                         Annual Suicide Report    2015


        more conservative approach to risk management with these individuals, to possibly
        include enhanced outreach.

     6. Prevalence of Suicide in Single Cells and Double Cells without Assigned Cellmates: The
        CDCR has recognized the potential protective gain of cellmates for many years, noting
        the majority of suicides occur in cells with single occupancy. The same is true for 2015,
        with 96% of suicides occurring without a cellmate present at the time of the death. While
        it is true that inmates can wait for their cellmates to leave the cell for work or
        programming (this was true in two cases in 2015), there is still a preponderance of
        suicides in inmates with no assigned cellmate (twenty of the twenty-four in 2015).
        Cellmates have interrupted suicide attempts, called for help during attempts, talked others
        into aborting attempts, and provided social support in many cases. The DHCS SPR FIT
        may discuss ways to encourage double cell or dorm placements in institutions,
        understanding that this is an optimal arrangement for most inmates.

     7. Suicide Attempt History: Ten of the inmates who died by suicide in 2015 had made
        multiple past suicide attempts, with another six having made one prior attempt. Thus,
        two-thirds of those who died by suicide had made at least one prior attempt. The lifetime
        risk of death by suicide increases with single attempts and much more so after a second
        attempt; this is true in psychiatric and non-psychiatric samples. In psychiatric samples,
        the finding is particularly true in individuals with schizophrenia and bipolar disorder 44
        and in patients shortly after release from hospitalization. 45 The CDCR has already
        instituted post-hospitalization follow-up contacts by policy, with procedures such as five-
        day follow-ups, MHCB discharge custody checks, and so forth. For other patients with
        high chronic risk, the use of high risk lists and high risk management programs has been
        implemented. The DHCS SPR FIT will be further developing a standardized policy and
        procedure regarding high risk lists. The DHCS SPR FIT may consider and discuss
        additional interventions for suicide survivors, such as developing a pilot program to pilot
        the use of CAMS treatment with identified high risk patients; patients who have recent
        suicide attempts or a history of multiple prior attempts. As noted, CAMS is a targeted
        intervention that is specific to suicide risk. The treatment includes patient ratings of what
        most fuels suicidal desire for them and what has historically contributed to a wish to die
        by suicide, while challenging this wish for death with considerations of making life worth
        living.




44
   Tidemalm, Langstrom, Lichtenstein, & Runeson (2008). Risk of suicide after suicide attempt according to
coexisting psychiatric disorder: Swedish cohort study with long-term follow-up. British Medical Journal, 337.
45
   Haukka, Suominen, Partonen, & Lonnquist (2008). Determinants and outcomes of serious attempted suicide: A
nationwide study of Finland, 1996-2003. American Journal of Epidemiology, 167, 1155-1163.

                                                                                                 60 | P a g e
 Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21         Page 92 of 405
                                                                          Annual Suicide Report     2015


     8. Focus on Common Triggers or Motives for Suicide: Logically, in-prison stresses such as
        safety or enemy concerns, victimization fears, gang pressures, or new charges can be seen
        as sufficient to trigger or motivate suicidal contemplation. These motives were well
        represented in suicide case reviews conducted in 2015. However, mental health
        clinicians can sometimes underestimate the impact of in-prison stresses, noting either the
        inmate’s role in the difficulty or the responsibility of custody staff in managing these
        issues. In other occasions, clinicians rely on reported mental health symptoms without
        assessing current distress. Additional highlighting of ways to integrate the role of in-
        prison stresses in inmate suicide within on-going suicide risk evaluation and suicide
        prevention trainings may be helpful.

     9. Prevalence of Suicide in Mental Health Patients: The difference in rates of suicide over a
        10-year period between identified mental health patients (52.6 per 100,000) and non-
        mental health inmates (10.3 per 100,000) is striking. While this suggests the CDCR has
        been doing a good job of screening and identifying inmates in need of mental health
        services, it also suggests that more can be done to prevent suicide in identified MHSDS
        participants. Of course, suicide is associated with a number of mental health disorders,
        and individuals who self-harm are placed in the MHSDS, suggesting that the rate in
        mental health populations will always be larger. 46 However, MHSDS staff members
        receive increasingly extensive and intensive suicide risk evaluation and suicide risk
        management training in the service of their patients. Increasing the focus on and training
        for suicide-specific interventions and suicide-specific treatment planning may be the most
        advantageous next step and may be carried forward by the headquarters SPR FIT. The
        provision of specialized training in CAMS, 47 DBT, 48 and/or CBT for Suicidality49 is a
        worthwhile consideration for discussion.

     10. Capitalizing on Innovations: The introduction of the Mental Health Tracking System
         (MHTS) in 2014 and the creation of an electronic health record system in 2015 created
         significant opportunities. First, in creating MHTS, critical information is entered daily
         into a data warehouse; this information can be used not only to track incidents of self-
         harm but also to correlate with other system information. The EHRS is also able to load
         information into the data warehouse. In this way, information is available to generate
         predictive algorithms for self-harm incidents in the CDCR, another way of identifying
         high-risk inmates that can alert clinicians to inmates in need of intervention.

46
   http://depts.washington.edu/mhreport/facts_suicide.php
47
   Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.
48
   Linehan, M. (1993). Cognitive-Behavioral Treatment of Borderline Personality Disorder. Guilford Press, New
York.
49
   Byran, C., Ed. (2015). Cognitive-Behavioral Therapy for Preventing Suicide Attempts. Routledge Press, New
York.


                                                                                                  61 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 93 of 405
                                                                Annual Suicide Report    2015


    Additionally, the EHRS provides a way to integrate empirically-supported measures for
    evaluating suicide risk into clinical practice, lends tools for tracking the impact of safety
    and treatment planning efforts, and offers ways to evaluate the effectiveness of specific
    treatment interventions. These innovations should be embraced as advancements in
    suicide prevention.




                                                                                        62 | P a g e
Case 2:90-cv-00520-KJM-SCR    Document 7038     Filed 01/28/21      Page 94 of 405
                                                     Annual Suicide Report    2015


            Appendix I: Sample High Risk Management Program Policy




                                                                             63 | P a g e
 Case 2:90-cv-00520-KJM-SCR                 Document 7038          Filed 01/28/21     Page 95 of 405
                                                                       Annual Suicide Report    2015


                               Appendix II: Suicide Response Procedures

Institutional reporting of self-harm incidents: All incidents of self-harm in the CDCR are
reviewed by institutional staff members, including mental health clinicians. When an incident of
self-harm occurs, regardless of the severity of injury sustained, mental health clinicians discuss
the event with the patient and determine whether the intent was to die (thus a suicide attempt) or
if the self-harm served some other purpose, such as to relieve tension states, without any
intention to die. The self-harm database also includes data on self-harm incidents that result in
death.

All incidents of self-harm are entered on a self-harm database. The self-harm database serves as
a way for mental health clinicians to track incidents within a facility, to allow Regional and
SMHP staff members a view of the frequency of self-harm across facilities, to identify patients
for High Risk Management Lists or Program(s) within a facility, and to further examine risk
factors. A sample High Risk Management Program policy is found in Appendix I.

When a suicide attempt involving serious bodily injury occurs in the CDCR, the incident is
documented using CDCR Form 837, Serious Incident Report, and institution mental health staff
members are notified of the incident. Each incident is also relayed through one of two reporting
processes; the Daily Briefing Report (DBR) or the Administrative Officer of the Day (AOD)
report. The information in either report is sent to the administration of the Division of Adult
Institutions (DAI) and forwarded to the CDCR’s SMHP. In some cases, a suicide attempt
involving serious bodily injury results in death at a later time; the DBR or AOD report are
updated in this case to reflect that a death by suicide has occurred. In such cases, the DBR or
AOD report is updated to inform the DAI and the DAI Mental Health Compliance Team of a
death by suicide.

Institutional reporting of suicide: In the event of the discovery of a suicide attempt in
progress, emergency medical interventions are made until such time as the individual is
pronounced deceased by a qualified physician. Correctional officers who come upon a suicide
attempt in progress are to sound an alarm and initiate life saving measures until relieved by
health care personnel. Officers are trained in CPR and in procedures to respond to emergencies,
including in bringing cut-down kits to the scene of a suicide in progress. 50 Custody officers will
assist health care staff members, including institutional responders and paramedics, in
transporting the patient to the TTA and/or ambulance. In cases in which emergency
interventions are not successful, the watch commander or senior custody officer is notified of the
suicide and in turn notifies the Warden or the AOD of the death. 51 A CDCR Form 837, Serious
Incident Report, is completed on all suicides.



50
     MHSDS Program Guides, 2009 Revision, pages 12-10-21 to 12-10-23
51
     MHSDS Program Guides, 2009 Revision, pages 12-10-24

                                                                                               64 | P a g e
 Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 96 of 405
                                                                    Annual Suicide Report    2015


The Chief Medical Executive or physician designee makes a report of the death by suicide within
eight hours of the event. Medical information is provided in the CDCR Form 7229A Initial
Inmate Death Report. This form, once completed, is distributed internally, to the county
coroner’s office, and to the Death Review Coordinator at headquarters. A separate form is
completed by institutional mental health staff, form CDCR MH-7229B Inmate Suicide. This
form is typically completed by the institutional SPR FIT Coordinator and contains information
on prior suicide attempts, the results of recent suicide risk evaluations, etc. 52 The form is retained
at the facility and sent to the SMHP. Once received, SMHP support staff ensures the suicide is
entered into a log, reports the event to nursing leadership, and alerts the SMHP Suicide Response
Coordinator to the event.

Reporting of a suicide to stakeholders: When an inmate dies by suicide, members of the
SMHP complete two formal notification processes. First, a death notification is written and sent
to the Office of the Special Master and contains details of the suicide. Second, a summary of the
suicide is composed and sent to the Deputy Director of the SMHP and the Undersecretary of the
DHCS. The Public Information Officer at the institution is assigned with any local notifications
or reports regarding the death, including notifying the next of kin of the suicide.

Determination of unknown causes of death: On occasion, a death will occur within a CDCR
institution in which the cause of death is not immediately determined. These cases are classified
as “Unknown Deaths.” These cases receive special attention until the cause of death is
determined.

In order to track these deaths, a group of employees at the SMHP are assigned to review all
notifications of deaths within the CDCR. As noted, each institution within the CDCR is required
to make a report of death and to provide documentation on the provisional cause of a death in a
CDCR 7229A. A completed CDCR 7229A contains a preliminary summary of the
circumstances of the death and lists any underlying/significant medical conditions. These
documents are uploaded to a SharePoint site that can be accessed by members of the Death
Review Committee and the SMHP. Additionally, the Death Review Coordinator for the CCHCS
produces a daily report on all CDCR deaths.

In 2015, a total of 330 inmates perished in the CDCR, with 159 of the decedents (48%) involved
in the MHSDS at the time of death. Whenever a Coleman class member dies, the OSM is
notified of the circumstances and cause of the death by the SMHP. In all cases in which the
cause of death is provisionally listed as a suicide, an additional mental health review is
completed by the institution and documented using a CDCR 7229B. In all such cases and
whenever any inmate dies from suicide, the OSM is notified of the circumstances and the
specifics of the suicide. At times, notifications to the OSM may be updated with the receipt of
additional information, such as results from autopsies, toxicology screens, and so forth.

52
     Id.

                                                                                            65 | P a g e
 Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 97 of 405
                                                                  Annual Suicide Report    2015


In the event that a death notification lists the cause of death as unknown or undetermined, the
SMHP will track the case until the death is classified. On some occasions, the cause of death is
classified quickly by institutional medical review. In other cases, the cause of death remains
undetermined pending the receipt of autopsy or toxicology results. In such cases, the Death
Review Committee will investigate the death and produce an initial cause of death as well as a
final cause of death determination. In the meantime, the SMHP communicates with the
institution and with the DRC on these cases until the cause of death is determined. A member of
the SMHP also sits on the DRC to ensure all unknown deaths are reviewed and, when applicable,
that the possibility of suicide has been closely and objectively considered.

The SMHP reviews unknown deaths in order to ensure that all deaths are accurately identified as
either due to suicide or not due to suicide. Cases are identified for this additional review when
the cause of death is overdose, to determine if the overdose is most likely accidental or
intentional (suicide). Other cases are identified when the cause of death is potentially related to
mental health treatment needs and/or when the death may have resulted as the long-term
consequence of a self-harm behavior.

The following guidelines are used to determine unknown deaths:

                    Reviewers Determination of Unknown Deaths Guidelines

   1. Review the method of death to determine if there may have been an alternative reason
      (other than suicide) for the behavior (e.g., autoerotic asphyxiation, confusion and
      inability to form intent, purposeful intoxication, etc).

   2. If an overdose on substances is it reasonable the substance (illicit or prescribed) may have
      been used in an attempt to become intoxicated? (e.g., Tylenol is not likely to be used to
      become intoxicated; Klonopin may be).

   3. Review recent mental health history and any past history of suicide attempts/self-harm
      behavior (check self-harm log). Did the inmate:
         • Voice suicidal ideation (including conditional suicidal ideation)?
         • Have admits to MHCB?
         • Engage in self-harm behavior?
         • Have a history of depression or mood disturbance?
         • Have a history of psychosis?

   4. Review substance abuse history.
         • What substances were used?
         • Have there been any past overdoses?
                o If yes, what did the inmate say about them at the time?
         • What substance abuse treatment was offered?
         • How recent are reports of current use?



                                                                                          66 | P a g e
 Case 2:90-cv-00520-KJM-SCR                  Document 7038           Filed 01/28/21     Page 98 of 405
                                                                         Annual Suicide Report    2015


       5. Review recent custodial information.
             • Was the inmate facing criminal charges?
             • Did the inmate lose an appeal?
             • Did the inmate have any recent losses?
             • Was there any bad news readily apparent?

       6. Review medical information for the presence of:
             • Chronic pain
             • Terminal illness

       7. Was there a suicide note or a note that could be construed as such?

Institutional internal review process: The internal process for reviewing suicides at CDCR
institutions includes reviews by mental health, custody, and nursing/medical personnel employed
at that site. The reviews are conducted first within disciplines and then within joint institutional
reviews, such as during SPR FIT and emergency medical response committee meetings.

Each institution within the CDCR has a Suicide Prevention and Response Focused Improvement
Team, or SPR FIT, with a Senior Psychologist-Specialist assigned to coordinate local prevention
and response efforts. The institution’s SPR FIT is established and maintained by the Mental
Health Program subcommittee, with both committees part of local Quality Management
Committees. 53 Each institutional SPR FIT is responsible for monitoring and tracking all self-
harm events, ensuring that appropriate treatment and follow-up interventions occur. When
deaths by suicide occur, the local SPR FIT Coordinator is required to notify the SMHP, to
provide assistance to mental health, custody, and nursing suicide reviewers, and to ensure the
implementation of Quality Improvement Plans (QIPs) resulting from the suicide review. 54

External review processes: CDCR’s response to suicides includes several external reviews by
trained representatives from various disciplines, including nursing, medical, custody, and mental
health. Within three days of the suicide, reviewers are assigned from these disciplines at what is
commonly referred to as the headquarters level. The role of each discipline’s review is discussed
separately below, but these disciplines collaborate with each other during the suicide review
process, sharing initial findings, conducting reviews together, etc.

Trained custody and mental health reviewers conduct an on-site visit together within seven days
of a suicide. Reviewers look at the deceased’s property, listen to recorded phone calls, check
trust account records, and talk with the Investigative Services Unit (ISU) of the specific prison.
Reviewers evaluate the emergency response that took place during or after the suicide and
review the medical and mental health services rendered in the case, if applicable. Reviewers will
also talk with officers, clinicians, work or school supervisors, and cellmates who may have

53
     MHSDS Program Guides, 2009 Revision, pages 12-10-2 to 12-10-4
54
     Id

                                                                                                 67 | P a g e
 Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 99 of 405
                                                                   Annual Suicide Report    2015


known the patient. Reviewers may gather information from other sources as well, such as
through interviews of family members. After thorough chart review, reports are generated by
each discipline, with a combined report, the Suicide Report, distributed and discussed in the
Suicide Case Review.

Suicide Case Review (SCR) meetings review findings in the case within and across disciplines
while sharing information with institutional leadership. The Suicide Report contains quality
improvement plans (QIPs) that are presented at the SCR; these plans cross disciplines as well.
Nursing, medical, and mental health disciplines additionally have peer review bodies that are
able to review staff member performance whenever such a need is indicated. The external
review process is completed when all QIPs have been successfully implemented or resolved in
the case.

DAI Mental Health Compliance Team (MHCT) reviews: The reviews completed by DAI’s
MHCT focuses on the performance of custody staff members related to the suicide. The MHCT
member reviews custody documentation and institutional records (i.e., SOMS). The MHCT
member’s role is to determine whether departmental suicide prevention practices and policies
were followed by custody and counseling staff involved in the case. The MHCT reviewer, for
example, evaluates whether custody officers followed procedure within an emergency response,
how quickly the response was called once a suicide in progress has been discovered, and whether
all custody staff responding to the suicide had received required training (e.g., in CPR) within set
timelines (e.g., annually). The context of the suicide may necessitate additional review items.
Most notably, if the individual was in a segregated or restricted housing unit at the time of the
suicide, the MHCT reviewer will evaluate performance on tasks such as timeliness and quality of
welfare checks, as specified by policy, whether inmates new to an ASU were placed in intake
cells, and so forth. The MHCT reviewer also determines a timeline for the emergency response
and for significant events leading up to the suicide. Finally, the MHCT reviewer will document
any concerns noted and will recommend corrective action/QIPs.

Nursing reviews: At the same time as a suicide is reviewed by DAI’s MHCT, a Nurse
Consultant Program Reviewer (NCPR) is assigned by a Headquarters Chief Nurse Executive.
The NCPR does not make an on-site visit, but reviews all health care record documentation as to
the quality of nursing care in the case. Psychiatric technician practice is also covered within the
nursing review. The NCPR and mental health case reviewer frequently consult on cases during
the review period.

The NCPR generates a Nursing Death Review Summary (NDRS). The NDRS lists the primary
cause of death, notes whether coexisting conditions were present prior to the death, summarizes
medical history, reports what medications and medical treatment the patient was receiving, and
documents significant events that occurred medically for the patient prior to and at the time of
discovery. The NCPR determines if nursing standards of care were met within the emergency


                                                                                           68 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 100 of 405
                                                                  Annual Suicide Report    2015


response to the suicide and whether nursing standards of care were met in the overall medical
care of the patient prior to the time of death.

Death Review Committee reviews: The CCHCS DRC reviews all causes of inmate mortality
within the CDCR. When suicides occur, the DRC assigns a physician to serve as the medical
reviewer. This physician works with the NCPR to look at all aspects of medical care received by
the patient and will yield an opinion as to the cause of death. As needed, the SMHP reviewer
may also consult with the CCHCS physician reviewer. The physician and NCPR produce a
Combined Death Review Summary (CDRS) on each case. The CDRS contains both an
administrative review and a clinical mortality review of the case. In cases of suicide, the suicide
case review report (discussed below) is reviewed by the Death Review Unit and addends or is
integrated with the Combined Death Review Summary. 55

Statewide Mental Health Program (SMHP) reviews: Simultaneously to custody, medical,
and nursing reviews, a trained member of the SMHP is assigned to review each suicide. The
assigned Mental Health Suicide Reviewer (MHSR) is typically a Sr. Psychologist, Specialist,
who is tasked with completing a Suicide Case Review (SCR). The MHSR schedules an on-site
visit with the institution and is accompanied by the custody reviewer. The site-visit is conducted
within seven calendar days of the death. The site review consists of an inspection of the location
of the suicide and of the means used in the death, a review of the deceased’s personal property,
and interviews of inmates, officers, medical, or mental health staff members who knew,
interacted with, and/or treated the deceased. The deceased’s property is inspected to see if there
is any information present related to the suicide, such as a suicide note, letters to the inmate
informing he/she of bad news, and so forth. Interviews focus on behavior and statements made
in the days prior to the suicide, with questions about anything the deceased may have said about
being distressed or suicidal in past days, weeks, or months. Photographs of the scene at the time
of death and photographs of the autopsy are also made available. Phone records, trust accounts,
toxicology reports, and other sources of information are also made available. The MHSR may
contact family members of the deceased to gain additional information about the individual’s
state of mind, statements made prior to the suicide, etc.

In addition to the on-site review, the MHSR reviews extensive documentation from medical and
custodial files. The focus of the MHSR’s review will vary based on the factors in the case,
though all relevant information is reviewed in each case. In some cases, the review will
concentrate on mental health treatment while in the CDCR, in others on the quality of suicide
risk assessment, in others on the presence or absence of distress when an inmate is placed in
administrative segregation, and so on. SMHP psychiatry staff review the psychiatric care and
consult with the MHSR. The MHSR will review information from each of the institutions where
the deceased resided and will look at whether mental health policy and procedure was followed
at each setting.

55
     IMSPP Volume 1, Chapter 29.2

                                                                                          69 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038         Filed 01/28/21     Page 101 of 405
                                                                       Annual Suicide Report    2015


Joint CDCR/DSH Suicide Reviews: When a suicide occurs of an individual who resides at a
DSH facility, or when a suicide occurs within thirty days of transfer from a DSH hospital, a joint
review is conducted. The DSH’s Mortality Interdisciplinary Review Committee (MIRC) reviews
suicides that occur within the DSH, with input from the Suicide Case Review Committee
(SCRC) at the CDCR. Joint CDCR MHSRs and MIRC reviewers look at the case
collaboratively to evaluate the mental health, medical, custodial, and nursing care rendered in the
case. A joint report is generated in each situation, with corrective action plans developed
jointly. 56 The SCRC reviews QIP responses created through this process conjointly with the
MIRC.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review
report may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. QIPs may represent areas of deviation from policy or procedure, departures from
standards of care, or systemic issues that require examination, modification or innovation. QIPs
may be written for any discipline and can focus on the specific institution where the suicide
occurred. If systemic issues are identified, the QIP can be directed to the DCHS Suicide
Prevention and Focused Response Team (DCHS SPR FIT), a team that can address statewide
policies and practices. The DCHS SPR FIT team includes representatives from nursing, custody,
legal, mental health, and mental health quality management. This representation allows the team
to review issues and find solutions in a manner that is inclusive of disciplines and effective in
addressing problems.

During Suicide Case Review teleconferences, the Suicide Case Review Committee (SCRC) will
assemble and the case reviewer will read sections of the Suicide Report. The SCRC is made up
of members of the CDCR Statewide Mental Health Program, DAI MHCU, Nursing Executives,
the Office of Legal Affairs, and medical personnel (as needed). The SCRC also discusses the
QIPs raised within the Suicide Case Review with the institution. Institutional staff can respond
to and/or clarify concerns raised in the report, can raise additional concerns, or can discuss ways
of meeting the requirements of QIPs. Since late 2015, experts from the Coleman court are
present by phone and can raise additional concerns or issues. QIPs can also be written as
pending concerns that need to be addressed if a fact or finding awaits further information, such as
awaiting the results of a coroner’s report to determine the time of death.

Audits of SCR Quality: The DHCS Quality Management Unit audits all SCRs for fifteen items.
SCR’s are scored with required elements marked present or absent.




56
     DSH Administrative Letter AL2015-19, issued November 2015.

                                                                                               70 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 102 of 405
                                                                  Annual Suicide Report    2015




                Appendix III: Review of Unknown Deaths and Overdose Deaths

Cases EE to NN were deaths initially classified as unknown deaths. Each of these cases was
eventually determined to involve death due to drug overdose.

Case EE was provisionally determined to have had an illicit drug overdose per the CDCR 7229A
completed at this death. Toxicology results indicated methamphetamine intoxication. Autopsy
reports also determined no other cause of death; the death was ruled as an accidental drug
overdose secondary to methamphetamine intoxication. Additionally, three baggies containing
methamphetamine were found on EE during autopsy, secreted in various bodily orifices. The
Combined Death Review Summary (CDRS) also determined methamphetamine overdose to be
the cause of death. The case had no known history of suicide attempts, had not received recent
bad news, and did not leave a suicide note. Case EE had an extensive substance abuse history as
well. All evidence in the case argued for an accidental overdose and not an intentional overdose
(a suicide).

Case FF was provisionally determined to have had an anoxic brain injury that occurred on
account of an illicit drug overdose (per the CDCR 7229A completed at his death). Toxicology
results indicated methamphetamine intoxication. Autopsy reports determined the cause of death
as an accidental drug overdose secondary to methamphetamine intoxication. Case FF was
known to have significant substance abuse problems and had been found by custody officers the
day before his death in possession of inmate-manufactured alcohol. The Combined Death
Review Summary (CDRS) also determined methamphetamine overdose to be the cause of death.
The case had no known history of suicide attempts, had not received recent bad news, and did
not leave a suicide note. He had a history of chronic back pain but pain medications were not
implicated in his death. The evidence in this case is strong for an accidental overdose rather than
for an intentional overdose (a suicide).

Case GG was listed as an unknown death per the CDCR 7229A. However, toxicology results
were positive for methamphetamine intoxication. Autopsy reports determined the cause of death
to be acute methamphetamine intoxication. Additionally, multiple bindles were found on Case
GG during autopsy. The Combined Death Review Summary (CDRS) determined
methamphetamine toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case GG had an
extensive substance abuse history as well. He had a history of knee pain for which he was
treated with Tylenol; however, this medication was not implicated in his death. The evidence in
the case argues for an accidental overdose and not an intentional overdose (a suicide).




                                                                                          71 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 103 of 405
                                                                  Annual Suicide Report    2015


Case HH was listed as an unknown death/probable overdose on his CDCR 7229A. However,
toxicology results were positive for Fentanyl, a synthetic opioid. Autopsy reports determined the
cause of death to be acute Fentanyl intoxication. The Combined Death Review Summary
(CDRS) determined Fentanyl toxicity to be the cause of death. Additionally, the inmate’s cell
was searched, with a syringe and drug paraphernalia found in his property. No suicide note was
found. Case HH had an extensive substance abuse history as well and had received a RVR on
6/29/15 for Possession of a Controlled Substance for Distribution. He was placed in ASU for
several weeks but had returned to general population housing. On the other hand, Case HH did
have a history of suicide attempts, including an intentional overdose attempt in 1995. He had
also received recent bad news three months prior to his death. He was informed that his
grandmother had died and he responded by swallowing a razor blade at the time. Case HH had a
history of chronic back pain for which he was treated with Tylenol and Naproxen. These
medications were not implicated in his death. The evidence in the case is complex, though there
appears to be stronger evidence for an accidental overdose than for an intentional overdose.

Case II was listed as possible drug overdose on the CDCR 7229A completed at his death.
Toxicology results were positive for Fentanyl intoxication. Autopsy reports determined the
cause of death to be accidental drug overdose/Fentanyl intoxication. The Combined Death
Review Summary (CDRS) also determined Fentanyl toxicity to be the cause of death. The case
had no known history of suicide attempts, had not received recent bad news, and did not leave a
suicide note. He also had no known chronic pain issues. Case II had an extensive substance
abuse history and was found at autopsy with multiple needle marks on his arm, with illicit drugs
and syringes found in his cell as well. The evidence in the case argues strongly for an accidental
overdose rather than an intentional overdose.

Case JJ was listed as an unknown death and provisionally as a death due to respiratory failure
secondary to drug overdose (on CDCR 7229A). Case JJ was discovered in his cell with a
syringe in his hand. The syringe was found to contain heroin, acetyl codeine, and papaverine (an
opioid). Methamphetamine was not found in the tested syringe but was present per toxicology
results. Prescribed medications were also found in his system but reported to “not excessive.”
The autopsy report determined the cause of death to be accidental drug overdose by the
combined effects of acute heroin and methamphetamine intoxication and the prescribed
medications. Multiple drug injection marks were found on the body. The Combined Death
Review Summary (CDRS) also determined the cause of death to be overdose. The case had a
history of suicide attempts, using attempted hanging and exsanguination. He was treated at the
EOP level of care and had prior inpatient stays. The patient’s father had passed away one month
before the death. Mental health notes reported that clinicians were working with the patient on
bereavement issues and that Case JJ was denying suicidal thoughts, plans, or intent. Case JJ also
had known chronic back pain and an extensive substance abuse history. The evidence in the case
argues is somewhat equivocal, suggesting that suicidal motive could have been present but


                                                                                          72 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 104 of 405
                                                                 Annual Suicide Report    2015


denied by the patient. However, the evidence is stronger for ongoing IV drug use, as noted by
the track marks found in many places on the body, and for an accidental overdose, as noted from
the contents of the syringe found at the time of discovery.
Case KK was listed as possible drug overdose per his CDCR 7229A. Toxicology results were
positive for heroin intoxication. Autopsy reports similarly determined the cause of death to be
heroin intoxication. Additionally, a number of hypodermic needles were found in Case KK’s
cell, suggesting a pattern of illicit drug use. The Combined Death Review Summary (CDRS)
determined heroin toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case KK had an
extensive substance abuse history. He had a history of back pain. The majority of evidence in
the case argues for an accidental overdose rather than an intentional overdose (a suicide).

Case LL was listed as an unknown death per the CDCR 7229A. Case LL was known to have
significant medical issues, including hepatic cirrhosis and Hepatitis C, prior to his death.
However, toxicology results were positive for morphine intoxication. Autopsy reports
determined that morphine intoxication was a tertiary cause of death with cirrhosis being the
primary cause of death. The Combined Death Review Summary (CDRS) agreed with this
determination; that is, that morphine ingestion was not the primary cause of death. Notably,
Case LL did have a history of chronic neck and low back pain and he was treated with opiates.
He also had a history of substance abuse problems. Case LL did not have a known history of
suicide attempts, had not received recent bad news, and did not leave a suicide note. The
evidence in the case is suggestive of a death from medical illness with secondary accidental
overdose with morphine. There is little or no evidence of an intentional overdose (a suicide).

Case MM was listed as an unknown death on the CDCR 7229A completed at the time.
Toxicology results were elucidating, with both morphine and methadone found. The patient did
have chronic back pain and was on multiple prescribed medications for pain. However, upon
Death Review Committee study, both medications were found to be elevated, suggesting acute
toxicity/intoxication. Additionally, Case MM’s cell was found to have syringes, despite the fact
that his opioid medications were crushed for administration. The medications were crushed on
account of the severity of the inmate’s substance abuse difficulties. The autopsy report on the
case determined the cause of death was “acute morphine and methadone intoxication (hours).”
The autopsy noted left-ventricular cardiac hypertrophy, pulmonary edema, and cirrhosis of the
liver as well. Case MM was known to have hypertension, diabetes mellitus, type 2, hepatitis C,
and end-stage liver disease. Case MM was in the MHSDS at the CCCMS level of care. He was
treated for anxiety and was in treatment groups for pain management. Mental health notes do
not document concerns about suicidality and largely focus on pain symptoms. No suicide note
was found in the case and there was no known receipt of bad news. The majority of evidence in
the case argues for an accidental overdose rather than an intentional overdose (a suicide).



                                                                                         73 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 105 of 405
                                                                Annual Suicide Report    2015


Case NN was provisionally listed as an unknown/possible drug overdose death on CDCR 7229A.
His cellmate was initially suspected in his death, but no signs of trauma were found on the body.
A cell search produced drug packaging materials. Case NN was known to have significant
substance abuse issues. Post-mortem toxicology findings were positive for opiates, with autopsy
results indicating acute opiate toxicity as the cause of death. The Combined Death Review
Summary (CDRS) concluded that opiate ingestion/toxicity was the cause of death. Case NN was
in the MHSDS at the CCCMS level of care. He reportedly was placed in CCCMS after being
charged with heroin possession in 2014; he reported some distress upon placement in ASU. He
improved while in ASU but was retained in CCCMS. Case NN had no known history of suicide
attempts. He did have back pain issues, for which he was treated with Ibuprofen. Case NN had
not received recent bad news and did not leave a suicide note. The evidence in the case weighs
strongly on the side of an accidental overdose of opiates. There is little or no evidence of an
intentional overdose (a suicide).




                                                                                        74 | P a g e
Case 2:90-cv-00520-KJM-SCR        Document 7038       Filed 01/28/21     Page 106 of 405
                                                           Annual Suicide Report    2015




  Coleman Deadlines per Program Guide *                     Internal Deadlines




 Appendix IV: Suicide Response Court-Ordered and Internal Deadlines for Suicide Reports



                                                                                   75 | P a g e
  Case 2:90-cv-00520-KJM-SCR                Document 7038         Filed 01/28/21        Page 107 of 405
                                                                         Annual Suicide Report     2015


Assign suicide reviewer               Within 2 days
Reviewer visits institution           Within 7 days
Suicide report received at HQ         Within 30 days
                                                        Report reviewed, edited, QIPs         5 days prior to
                                                        developed and sent to all case        case review
                                                        review participants with request
                                                        for feedback from reviewers           (no later than DAY
                                                                                              40 after DOD)
Suicide Case Review                   Within 45 days
                                                        Final report edits                    Within 1-2 days
                                                        Signed by MH Deputy Director          Within 1-2 days
                                                        Signed by DAI                         Within 3-5 days
Final suicide report to institution   Within 60 days
QIPs completed at the Institution     Within 120 days   **Please note: this internal          Within 45 days of
                                                        deadline is set for institutions to   institution’s
                                      (**See internal   ensure SPR-FIT ability to comply      receipt of final
                                      deadline that     with the Coleman deadline in the      report
                                      requires this     event that QIPs are inadequate
                                      sooner from       and require amendment                 (no later than DAY
                                      institution)                                            105 after DOD)
                                                        QIPs completed and QIP report
                                                        submitted to HQ
Institution’s QIP Report              Within 150 days
completed and submitted to HQ
                                      (**See internal
                                      deadline that
                                      requires this
                                      sooner from
                                      institution)
                                                        QIPs reviewed by committee            Within 10 days
                                                        QIPs signed by MH Deputy Dir.         Within 1-2 days
                                                        QIPs signed by DAI                    Within 3-5 days
Implementation of QIP report          Within 180 days
sent to Special Master


* deadlines are calculated from date of death (DOD)




     Appendix V: Memorandum “Designation of Suicide Prevention, Assessment and Training
                                     Coordinator”




                                                                                                 76 | P a g e
Case 2:90-cv-00520-KJM-SCR       Document 7038      Filed 01/28/21     Page 108 of 405
                                                         Annual Suicide Report    2015




 Appendix VI: Memorandum “Completed Contacts Associated with Suicide Risk Evaluation”




                                                                                 77 | P a g e
Case 2:90-cv-00520-KJM-SCR       Document 7038      Filed 01/28/21     Page 109 of 405
                                                         Annual Suicide Report    2015




Appendix VII: Memorandum “Suicide Prevention Pamphlets for Inmates and Family/Friends”
                            (with pamphlets attached)




                                                                                 78 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 110 of 405
                                                  Annual Suicide Report    2015




                                                                          79 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 111 of 405




                     EXHIBIT C
Case 2:90-cv-00520-KJM-SCR   Document 7038       Filed 01/28/21     Page 112 of 405
                                                     Annual Suicide Report   2015




                 ANNUAL REPORT ON SUICIDES IN THE
              CALIFORNIA DEPARTMENT OF CORRECTIONS AND
                           REHABILITATION
                    JANUARY 1, 2015 – DECEMBER 31, 2015




                                 Prepared by:
                            Robert J. Horon, Ph.D.
                        Senior Psychologist, Specialist
                       Statewide Mental Health Program
                       Division of Health Care Services

                                                                             1|Page
Case 2:90-cv-00520-KJM-SCR         Document 7038        Filed 01/28/21      Page 113 of 405
                                                             Annual Suicide Report   2015


Table of Contents

          List of Tables                                                                4
          List of Figures                                                               5
          List of Appendices                                                            6

          Executive Summary of the Annual Suicide Report                                7

      1. Introduction and Summary of Findings                                           8
             a. Suicide definitions and terms used                                      8
             b. Review of Findings, Section 1: Current Year                             9
                      i. Number and rate of suicide in reporting year                   9
                     ii. Demographic factors                                            9
                   iii. Marital status                                                 10
                    iv. Education, juvenile history, and work history                  11
                     v. Languages spoken                                               11
                    vi. Health factors                                                 11
                   vii. Temporal factors                                               11
                  viii. Custodial and correctional factors                             11
                    ix. Cell occupancy                                                 16
                     x. Job assignment                                                 16
                    xi. Means or method of suicide                                     16
                   xii. Mental health factors                                          17
                  xiii. Diagnoses                                                      17
                  xiv. Suicide attempt history                                         18
                   xv. Suicide triggers, motivation, and behavior                      19
             c. Review of Findings, Section 2: Current Year vs. Prior Years            22
                      i. Comparison of rate between current and prior years            22
                     ii. Suicides by institution, current year vs. 15-year average     24
                   iii. Suicides in the CDCR by month, current year and                26
                         10-year average
                    iv. Demographic factors                                            27
                     v. Suicides by housing type                                       29
                   vi. Time in segregated housing prior to death                       30
                  vii. Suicides by method                                              31
                 viii. Involvement in mental health services                           31
                   ix. Suicides in mental health vs. non-mental health populations     32
             d. Review of Findings, Section 3: Comparison of CDCR Suicide              33
                Rates with Other State Prison Systems and Relevant U.S. Rates
                      i. CDCR rates versus other state and federal prison rates        34
                     ii. Comparison of rate between CDCR and the community             34

                                                                                     2|Page
Case 2:90-cv-00520-KJM-SCR        Document 7038       Filed 01/28/21      Page 114 of 405
                                                           Annual Suicide Report   2015


            e. Summary Review of Findings and Trends                                 35

     2. Response to suicide and suicide attempts                                     36
           a. Institutional reporting of self-harm incidents                         37
           b. Determination of unknown causes of death                               37
           c. Suicide attempts and suicides prevented                                38
           d. Determination and tracking of Quality Improvement Plans                39
           e. Determination whether a suicide is preventable or foreseeable          39
           f. Audits of SCR Quality                                                  41
           g. Timeliness of Suicide Case Reviews and Suicide Reports                 42

     3. Findings in individual case reviews                                          42
           a. Introduction to individual case reviews                                42
           b. Commonalities in individual case reviews                               43

     4. Review of suicide prevention initiatives in 2015                             48
           a. Introduction                                                           48
           b. Suicide prevention initiatives developed/implemented during the        48
              reporting year

     5. Conclusions                                                                   57
           a. Introduction                                                            57
           b. Summary of findings                                                     58
           c. Report implications and future steps




                                                                                   3|Page
Case 2:90-cv-00520-KJM-SCR            Document 7038          Filed 01/28/21     Page 115 of 405
                                                                 Annual Suicide Report   2015


                                            List of Tables

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015                             10

Table 2. Age Groupings of Suicides in the CDCR, 2015                                       10

Table 3. Frequency of Suicide by the CDCR Institution, 2015                                12

Table 4. Frequency of Suicide by Housing Type, 2015                                        13

Table 5. Type of Commitment Offense in Inmate Suicides, 2015                               13

Table 6. Suicides by Security Level, 2016                                                  14

Table 7. Suicides in the CDCR by Length of Sentence, 2015                                  14

Table 8. Suicides in the CDCR by Amount of Time Served, 2015                               15

Table 9. Suicides in the CDCR by Time Left to Serve, 2015                                  16

Table 10. Suicides in the CDCR by MHSDS Participation, 2015                                17

Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015                            18

Table 12: Suspected Motives/Precipitants to Suicides in CDCR by frequency, 2015            19
Table 13: Individual Precipitants/Motivations for Suicides within the CDCR, 2015           21

Table 14. Annual Frequency and Rate of Suicide in the CDCR for 20 years,                   22
              by Gender and Overall, 1996-2015

Table 15. Frequency of Suicide by CDCR Institution, 2015 and by prior                      25
            15-year total and average (1999-2014)

Table 16. Frequency of Suicide within Segregated Housing, 2010-2015                        30

Table 17. Frequency of Suicide within MHSDS Levels of Care, 2010-2015                      32

Table 18. Frequency of Suicide in MH versus non-MH populations, 2006-2015                  32

Table 19. Rate and rank of suicides by state, 2001-2014 (14 years)                         33

Table 20. QIPs assigned within the CDCR by recipient, 2015                                 39

Table 21: Results of Quality Audits, 2015 Suicide Case Review reports                      41

Table 22: Findings of Individual Case Reviews, part 1                                      44

Table 23: Findings of Case by Case Reviews, part 2                                         47

                                                                                         4|Page
Case 2:90-cv-00520-KJM-SCR           Document 7038       Filed 01/28/21      Page 116 of 405
                                                              Annual Suicide Report   2015


                                       List of Figures

Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015                   24

Figure 2: CDCR Frequency by Month, 2015 and 10-Year Average                             27

Figure 3: Suicide Frequency by Race, 2005-2015, with trend line                         28
Figure 4: Number of Suicides by Age Group, 2010-2015                                    29
Figure 5: Length of Time in ASU before suicide, 2009-2015                               31
Figure 6: Suicide rates for adult males in the CDCR, State Prisons, & the U.S., 2010-15 35




                                                                                      5|Page
        Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21      Page 117 of 405
                                                                       Annual Suicide Report   2015


                                             List of Appendices

   I.     Sample High Risk Management Program policy                                              64

  II.     Self-harm and Incident Reporting                                                        72

 III.     Determinations of Unknown Causes of Death                                               74

 IV.      Review of unknown deaths and overdose deaths                                            76

  V.      Suicide Response Procedures                                                             80

 VI.      Suicide response court-ordered and internal deadlines for suicide reports               84

VII.      Memorandum “Designation of Suicide Prevention, Assessment and                           85
          Training Coordinator”

VIII.     Memorandum “Completed Contacts Associated with Suicide Risk Evaluation”                 89

 IX.      Memorandum “Suicide Prevention Pamphlets for Inmates and Family/Friends”                92
          (with pamphlets attached)




                                                                                               6|Page
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 118 of 405
                                                                            Annual Suicide Report      2015




                          Executive Summary of the Annual Suicide Report

In 2015 a total of 24 inmate suicides occurred within the California Department of Corrections and
Rehabilitation (CDCR). This number is an increase of one from 2014. The frequency of suicides
in 2014 and 2015 are the lowest consecutive yearly number of suicides in the CDCR since 2002.
The rate of suicide in the CDCR was 18.7 suicides per 100,000 inmates in 2015 and 17.0 per
100,000 in 2014. The suicide rate in U.S. state prisons ranged from 14-17 per 100,000 per year
between 2000 and 20131 and 20 per 100,000 in 2014.2 The suicide rate in the CDCR is thus lower
than the average rate in U.S. prisons. Additionally, male prisoners in the CDCR had a lower rate
of suicide rate than U.S. males in the community in 2014 and 2015.3
Suicides in 2015 largely match prior year’s patterns with respect to time of year, prevalence in
spring and fall months, greater frequency in high custody inmates (75% in Level III and Level IV
housing), and a relatively high percentage of suicides in inmates involved in mental health
programming (typically 50-60%). Suicides in 2015 were somewhat unlike prior year’s patterns in
that there were two female suicides and three suicides of inmates aged 70 and older.
Both the frequency and the rate of suicide have declined in the CDCR over the past 10 years (2006-
2015), which represents steady progress. The frequency of suicide in the CDCR decreased from
43 in 2006 to and 2015, while the rate of suicide in the CDCR declined from 24.9 per 100,000 in
2006 to 18.7 per 100,000 in 2015. The decline in suicide rate in the CDCR in 2015 compared to
the prior 10 years can chiefly be attributed to fewer suicides within segregated housing units, lower
rates of suicides in Caucasian and Hispanic/Latino inmates, and fewer suicides in inmates aged
age 35-54.

Many suicide prevention initiatives are underway and/or continuing in the CDCR. These initiatives
have emerged from Quality Improvement Plans on deaths by suicide, from recommendations
generated by tours, reviews, and audits, from advances in the field of Suicidology, from
opportunities arising from the Mental Health Tracking System and the Electronic Health Record
System, and so forth. These initiatives are meant to enhance a comprehensive, integrated system
of suicide prevention and are detailed in the report that follows.



1
  Noonan, M, Rohloff, H., & Ginder, S., Mortality in Local Jails and State Prisons, 2000-2013 Statistical Tables, US
DOJ, Bureau of Justice Statistics, August, 2015 NCH 248756
2
  Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
3
  http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870

                                                                                                        7|Page
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 119 of 405
                                                                  Annual Suicide Report   2015




I. Introduction and Review of Findings

This report reviews the 24 suicides by inmates of the CDCR which occurred during 2015. The
report is submitted as part of joint efforts by the CDCR and the Office of the Special Master’s
(OSM) experts to work together to reduce the number of suicides within California’s state prisons
and is part of the CDCR’s compliance with court-ordered remediation specified by the Special
Master as part of the continuing review in the matter of Coleman v. Brown, No. (CIV S-90-0520
KJM KJN E.D.Cal.). Kerry Hughes, M.D. and Jeffrey Metzner, M.D. provided consultation for
this report from the Coleman court. Amy Eargle, Ph.D., Robert Canning, Ph.D., Amber Carda,
Psy.D., Adinn Phean, AGPA, Harutyun Grigoryan, OT, and Byron Russell, HPS1 provided
assistance and review from the Statewide Mental Health Program (SMHP) at the CDCR.
This report is unlike prior reports in that the report is generated by the SMHP with consultation by
Coleman court experts. Prior reports submitted to the Special Master were written by the Coleman
court’s experts. The purpose of the report remains the same: To report on ongoing efforts to
monitor suicides in the CDCR, to identify any trends in suicide that may indicate targets for suicide
prevention efforts, and to provide recommendations for continued improvement. Additional detail
is provided in this report as to the definitions, response efforts, monitoring, and other improvement
processes and programs implemented by or used by the SMHP to prevent suicide. The report is
prepared for the Special Master and has implications for the CDCR and for the work of the
Coleman court’s experts.

The primary source of data used for this report is the suicide case reviews completed by members
of the SMHP who are trained in conducting these reviews. Additional sources include data
obtained from the CDCR Offender Information Services Branch, information garnered from
reports by the CDCR Death Review Committee, information from prior annual suicide reports,
and publically available information regarding suicide rates in community and incarcerated
settings. Each suicide was also independently reviewed by this author in order to assess trends in
data or findings. Input made by the OSM’s experts, who attend each suicide case review by
teleconference and consult on case review, provided added information for this report. Finally,
members of the Quality Management unit, a separate unit within the SMHP, provide input through
auditing each suicide case review report.

A. Suicide definitions and terms used

The CDCR is in the process of adopting definitions related to suicide that were developed by the
Centers for Disease Control and the World Health Organization and have been widely-adopted in
                                                                                          8|Page
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 120 of 405
                                                                             Annual Suicide Report      2015


community settings. The OSM has been provided with a draft of the proposed changes to these
definitions. As these changes are pending, the definitions used in the MHSDS Program Guide,
2009 Revision are listed below. Terms and definitions now considered obsolete are omitted from
the listed provided here. Additionally, the term self-injurious is synonymous with self-harm. The
term self-harm is used frequently in this report as it conforms to both existing definitions and
proposed definitions and is routinely qualified by the phrases “with intent” or “without intent.”

1. Suicide: An intentional self-injurious behavior that causes or leads to death.

2. Suicide Attempt: An intentional self-injurious behavior which is apparently designed to
   deliberately end one’s life, and may require medical and/or custody intervention to reduce the
   likelihood of death or serious injury.

3. Suicidal Ideation: Thoughts of suicide or death, which can be specific or vague, and can include
   active thoughts of committing4 [that is, dying by] suicide or the passive desire to be dead.

4. Suicidal Intent: The intention to deliberately end one’s own life.

5. Self-injurious Behavior: A behavior that causes, or is likely to cause, physical self-injury.
    [Note: The terms self-injurious behavior, self-mutilation, and suicide gesture are found in the
    MHSDS Program Guides, 2009 Revision, but are not used in this report. The term ‘self-harm
    without intent’ is used instead as the meaning is the same, self-harm for other reasons than
    death by suicide, and does not have the potentially negative connotations of terms such as
    ‘gesture.’]

B. Review of findings

Section 1: Current Year

Number and rate of suicide in reporting year: There were 24 suicides in the CDCR in 2015.
This represents an increase of one over the total in 2014, or an increase of 4%. The suicide rate in
the CDCR for 2015 was 18.7 per 100,000. Rates of suicide are standardized by the number per
100,000 in order to make standardized comparisons between samples and populations. The total
number of suicides in 2015 corresponds to a suicide on average every 15.2 days.

Demographic Factors: In 2015, 22 men and 2 women died by suicide in the CDCR. The rate of
suicides in the CDCR was 17.9 per 100,000 for men and 34.7 per 100,000 for women. The rate of
suicide for women fluctuates more dramatically than the rate for men, as there are many more
males (122,874) than females (5,769) in the CDCR. To illustrate, one fewer female suicide would

4
 The term ‘committing’ has fallen out of favor with Suicidologists, as the term implies some sort of success in
carrying out a pledge or obligation. The favored term is rather straightforward—‘died by suicide.’

                                                                                                         9|Page
Case 2:90-cv-00520-KJM-SCR                Document 7038         Filed 01/28/21      Page 121 of 405
                                                                     Annual Suicide Report   2015


have lowered the female rate in 2015 by one-half, from 34.7 to 17.3 per 100,000. The same decline
of one suicide in males would have lowered the rate by 1 in 22, or from a rate of 17.9 to a rate of
17.1 per 100,000. A listing of suicides by gender per year over 10 and 20 year periods is found in
Table 14 later in this report.

The racial and ethnic backgrounds of inmates who died by suicide are represented in Table 1.
Caucasians represented over half of all suicides despite comprising only 22% of the population
within the CDCR. This finding has been typical of the racial breakdowns of suicides within the
CDCR for many years.

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015

 Racial Group                 Frequency            Percent of             Percent of race within the
                                                   Suicides               CDCR
 African-American             5                    21%                    29%
 Caucasian                    13                   54%                    22%
 Hispanic/Latino              4                    17%                    42%
 Other*                       2                    8%                     6%
*1 Chinese American female, 1 Japanese American male

Table 2 contains a listing of age groupings within the CDCR, with the number and percentage of
suicides for each group compared with the prevalence of the age group within the CDCR. Of note,
four age groups had higher rates of suicide than their corresponding representation within the
CDCR population during the reporting year (2015): Inmates ages 30-34, 45-54, 60-64, and 65 and
older. The overrepresentation of older inmates in the year’s suicides may bear further monitoring
as a possible emerging trend. The three suicides of older inmates occurred in individuals aged 70-
73. The average age of those who died by suicide was 42.9.

Table 2. Age Groupings of Suicides in the CDCR, 2015

  Age Group                  Frequency                 Percentage   of   2015 Percentage of CDCR
                                                       Suicides               Population
  18-24                      2                         8                      12
  25-29                      3                         13                     16
  30-34                      5                         21                     16
  35-39                      2                         8                      14
  40-44                      2                         8                      11
  45-54                      4                         17                     10
  55-59                      1                         4                      6
  60-64                      2                         8                      3
  65 +                       3                         13                     3


Marital Status: Marital relationships are thought to be a protective factor for inmates. This
variable is protective for males in community studies and may function in a similar way for inmates

                                                                                             10 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21        Page 122 of 405
                                                                           Annual Suicide Report      2015


as these relationships may offer support during incarceration. 5 In 2015, two suicides (one male,
one female) occurred in married individuals, whereas nine suicides occurred in separated or
divorced inmates (including the second female) and 13 suicides occurred in single or never-
married inmates.

Education, Juvenile History, and Work History: Three suicides occurred in inmates with some
college education. The remaining 21 inmates had secondary educations, ranging from the 8th to
12th grade. Fifty-seven percent had a history of juvenile arrest, with 33% having a history of gang
involvement. The majority of suicides occurred in inmates with limited employment history,
typically in work classified as “unskilled labor.” None of the suicides occurred in inmates who
were in the Developmental Disability Program (DDP), though two inmates had some history of
special education involvement.

Languages Spoken: One female inmate who died by suicide spoke Mandarin as her primary
language. All others were primarily English-speaking.

Health Factors: Nearly half (46%) of the inmates who died by suicide in 2015 were considered
to have serious and/or chronic medical problems. This ranged from problems with low back pain
or headaches to cases of liver disease, diabetic neuropathy, cardiac problems, and legal blindness.
In all cases, medical needs were determined to be adequately addressed according to nursing
reviews. Implications of this finding for service delivery are explored later in this report.

Temporal Factors: Suicides occurred within the CDCR in nine months in 2015. That is, zero
suicides occurred in three months. Four suicides occurred in one month (March) and five suicides
occurred in each of two months (May and October). The prevalence of suicides in spring and fall
months has been noted in prior years as well (Figure 2 contains a breakdown of suicides by month
over the current year and by a 10-year average).

In 2015, time of day of discovery did not vary significantly, with seven suicides occurring during
first watch (2200 hours to 0600 hours), seven during second watch (0600 hours to 1400 hours),
and ten during third watch (1400 hours to 2200 hours). This finding is similar to prior years.

Custodial and Correctional Factors: In 2015, suicides occurred at 13 institutions including an
out-of-state facility. Table 3 lists suicides by institution. Any institutions that are not listed did not
have a death by suicide in 2015.




5
 Kposowa, A. (2000). Marital status and suicide in the National Longitudinal Mortality Study. Journal of
Epidemiology and Community Health, 54, 254-261.

                                                                                                     11 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21      Page 123 of 405
                                                                 Annual Suicide Report   2015




    Table 3. Frequency of Suicide by CDCR Institution, 2015

    Institution                                                                 Frequency

    California State Prison, Sacramento                                         3
    San Quentin State Prison                                                    3
    Duel Vocational Institute                                                   3
    California Men’s Colony                                                     3
    California Institution for Women                                            2
    California State Prison, Corcoran                                           2
    RJ Donovan Correctional Facility                                            2
    California Medical Facility                                                 1
    California Correctional Institution                                         1
    California Institution for Men                                              1
    Folsom State Prison                                                         1
    California Health Care Facility                                             1
    Tallahatchie County Correctional Facility                                   1

    Total                                                                       24
As can be seen, one-half of the suicides in 2015 occurred in four institutions, and 18 (75%) of the
suicides occurred within seven institutions.

During 2015, nine of the 24 suicides occurred in segregated housing settings (37%); seven in
Administrative Segregation Units (ASU), one in a Security Housing Unit (SHU), and one in Short-
Term Restricted Housing (STRH). Two inmates were in Reception Centers, one in a Correctional
Treatment Center (CTC), and one in a Sensitive Needs Yard (SNY). The remaining 11 suicides
occurred in general population settings. This information is depicted in Table 4.




                                                                                         12 | P a g e
Case 2:90-cv-00520-KJM-SCR                      Document 7038            Filed 01/28/21         Page 124 of 405
                                                                              Annual Suicide Report      2015




       Table 4. Frequency of Suicide by Housing Type, 2015

       Housing Type                                                                     Frequency Percent

       Administrative Segregation                                                       7              29
       Security Housing Unit                                                            1              4
       Short-Term Restricted Housing                                                    1              4
       Reception Center                                                                 2              8
       Correctional Treatment Center                                                    1              4
       Sensitive Needs Yard                                                             1              4
       General Population                                                               11             46

       Total                                                                            24             99



A common finding in prison and jail settings is a preponderance of suicides in violent inmates and
in inmates with higher level security needs; violent inmates have nearly three times the risk of
suicide as non-violent inmates6. The commitment offenses of inmates who died by suicide in 2015
are listed below in Table 5. Notably, half of suicides occurred in individuals who had committed
murder. Four other inmates had commitments for assault resulting in great bodily injury, one
inmate had a commitment for battery, and two had a commitment for armed robbery (and thus the
threat of assault was implied). Of the five commitment offenses considered non-violent, two
resulted in significant injury but were seen as unintentional (driving under the influence resulting
in injury or death). The remaining three suicides occurred in inmates who were committed for
vehicle theft, burglary, or drug charges.




6
    Mumola, C. (2005), Bureau of Justice Statistics, located at: http://www.bjs.gov/content/pub/pdf/ardus05.pdf

                                                                                                        13 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21       Page 125 of 405
                                                                   Annual Suicide Report   2015


  Table 5. Commitment Offenses in Inmate Suicides, 2015

  Type of Commitment Offense                                  N                  Percent
  Violent Crimes Overall                                      19                 79
  Murder                                                      12                 50
  Assault w/ Great Bodily Injury                              4                  17
  Armed Robbery                                               2                  8
  Battery                                                     1                  4
  Sex Offense                                                 0                  0

  Non-Violent Crimes Overall                                  5                  21
  DUI with injury/vehicular manslaughter                      2                  8
  Vehicle theft                                               1                  4
  Burglary                                                    1                  4
  Drug Charges                                                1                  4


In regards to security level, suicides occurred predominantly in higher security (Level III and Level
IV) settings in 2015. Table 6 lists the number of suicides by security classification level. Level IV
suicides have traditionally represented more than half of all suicides within CDCR. Of note, the
classification system used by the CDCR was modified prior to 2015, with fewer inmates classified
at the highest level, Level IV, which may account for some of the decline in Level IV inmate
suicides in 2015.


  Table 6. Suicides per Security Level, 2015

  Security/Classification Level                  N                     Percent
  Level IV                                       9                     37.5
  Level III                                      9                     37.5
  Level II                                       6                     25
  Level I                                        0                     0


Another variable unique to correctional settings is the issue of sentence length: Total length of
sentence, how much time an inmate has served prior to a suicide, and how much time an inmate
had left to serve in prison prior to a suicide. These variables are captured in Tables 7, 8, and 9.

Table 7 shows that a slight majority of suicides (54%) occurred in inmates with Life sentences
(including condemned individuals) in 2015. Inmates with Life sentences have historically made
up roughly 20% of the population within the CDCR and are overrepresented in individuals who
die by suicide. No suicides occurred in inmates with medium length sentences (11 to 20 years) in
2015.


                                                                                           14 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038        Filed 01/28/21        Page 126 of 405
                                                                    Annual Suicide Report   2015


   Table 7. Suicides in the CDCR by Length of Sentence, 2015

   Sentence Length                                             Frequency             Percent

   1-5 years                                                   7                     29
   6-10 years                                                  3                     13
   11-20 years                                                 0                     0
   20+ years                                                   1                     4
   Life with Possibility of Parole                             11                    46
   Life without Possibility of Parole                          1                     4
   Condemned                                                   1                     4

   Total                                                       24                    100



As seen in Table 8, individuals early within their sentence represent a high risk group. Five inmates
died by suicide within their first year of incarceration; this included two individuals who died
within 30 days of imprisonment. Three inmates who had served 20 years or more were among
those who died by suicide in 2015.

   Table 8. Suicides in the CDCR by Amount of Time Served, 2015

   Sentence Length                                             Frequency             Percent

   0-1 year                                                    5                     21
   1-5 years                                                   5                     21
   6-10 years                                                  7                     29
   11-20 years                                                 4                     17
   21+ years                                                   3                     12

   Total                                                       24                    100



The length of time remaining in sentences for those who died by suicide are shown in Table 9.
There was nearly an even split between those with short to moderate sentences left to serve (46%)
and those with lengthy sentences or indeterminate/life sentences (54%).



                                                                                            15 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21       Page 127 of 405
                                                                    Annual Suicide Report   2015




   Table 9. Suicides in the CDCR by Time Left to Serve, 2015


   Sentence Length                                             Frequency             Percent

   0-1 year                                                    0                     0
   1-5 years                                                   10                    42
   6-10 years                                                  1                     4
   11-15 years                                                 0                     0
   16 years or more (including Lifers)                         13                    54

   Total                                                       24                    100



The implications for the findings represented in Tables 7, 8, and 9 are considerable, suggesting the
need to. These considerations will be discussed later in this report.

Cell Occupancy: In 2015, 25% of suicides occurred in inmates housed in designated double cells
and 75% of suicides occurred within designated single cells. Of the six suicides in designated
double cells, two suicides occurred in cells without a currently assigned cellmate, two inmates
waited for a cellmate to leave for work or other programming before dying by suicide, one occurred
outside of the cell (by jumping from a tier), and one occurred with a cellmate present but asleep.
Of the nine suicides occurring in segregated housing settings, eight of the suicides occurred in
single-person cells. The ninth suicide occurred in a double cell but without an assigned cellmate.
Overall, 23 of the 24 suicides occurred within a single cell or within a solely occupied (at the time)
double cell.

Job Assignment: The majority of inmates (62.5%) who died by suicide in 2015 did not have a job
assignment or educational placement. Of the nine inmates who had program assignments, two
were placed in educational settings, one (female) in a substance abuse program, and six were in
traditional jobs (e.g., as a porter).

Means or Method of Suicide: Correctional settings necessarily limit the methods or means
inmates can use to die by suicide. For example, suicides by firearms or carbon monoxide poisoning
are unheard of in correctional systems. As with most correctional systems, hanging is the primary
means used by inmates in the CDCR to die by suicide. Inmates have ready access to clothing and
linen items that can be used for nooses and ligature points can be found in nearly all cells. In 2015,
both female suicides were by hanging and 20 of the 24 suicides overall were by hanging (83%).



                                                                                            16 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21        Page 128 of 405
                                                                   Annual Suicide Report   2015


The remaining four inmates (males) died by intentional overdose (2), asphyxiation (1), and
jumping from a high place (1).

Mental Health Factors: The number and percentage of inmates who died by suicides in the
CDCR in 2015 who were participants in the Mental Health Services Delivery System (MHSDS)
is listed in Table 10. Mental health patients continue to be overrepresented in the year’s suicides,
a pattern that is typical in correctional and community settings.

   Table 10. Suicides in the CDCR by MHSDS Participation, 2015

   Sentence Length                                            Frequency             Percent

   No MHSDS participation                                     10                    42
   Correctional Clinical Case Management System               9                     37
   Enhanced Outpatient Program                                5                     21

   Total                                                      24                    100



Ten inmates were not in the MHSDS at the time of death. Six of these inmates (25% of the total
number of suicides) had no history of participation in the MHSDS. Four inmates who were not in
the MHSDS system at the time of death had previously been in the MHSDS at the Correctional
Clinical Case Management System (CCCMS) level of care.

In 2015, 15 (62.5%) of the inmates who died by suicide had a history of mental health treatment
prior to incarceration. Of these, 11 were in the MHSDS at the time of death, with one other having
previously participated in the MHSDS. Eight cases (33%) had a family history of mental illness
and/or family history of substance abuse treatment.

Upon entrance to the CDCR, inmates are screened for the possible presence of significant mental
health disorders. Thirteen (55%) of the inmates who died by suicide in 2015 were identified as
possibly having significant mental health disorders during initial screening. On subsequent mental
health evaluations, 69% of those positive on screening were also found to have mental health
conditions qualifying them for MHSDS services.

At the time of suicide, 14 inmates (58%) were on psychiatric medications. Three individuals (13%)
had involuntary medication orders in place per Penal Code 2602. Eleven of the 24 (46%) had a
history of Mental Health Crisis Bed placement or inpatient hospitalization. Eight (33%) had been
psychiatrically hospitalized in the year prior to their suicide.

Diagnoses: The mental health diagnoses of individuals who died by suicide in 2015 are
summarized in Table 11 and are listed by frequency. Please note that people can have multiple
mental health diagnoses, thus the frequency of diagnoses in Table 11 exceeds the number of annual
                                                                                           17 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21        Page 129 of 405
                                                                   Annual Suicide Report   2015


suicides. Additionally, all inmate suicides in 2015 involved individuals with some history of
substance use or abuse. However, the diagnoses listed in Table 11 include substance use disorders
only if formally reported as a diagnosis. All diagnoses are based on the American Psychiatric
Association’s Diagnostic and Statistical Manual of Mental Disorders, 4th Edition or 5th Edition
(DSM-IV or DSM-5).

When present, mood disorders and psychotic disorders were listed as the primary diagnosis of
record. Of the individuals diagnosed with mood disorders, five were diagnosed with Major
Depressive Disorder and four with Bipolar I Disorder. Five individuals were diagnosed with
psychotic disorders; three with Schizophrenia, one with Delusional Disorder, and one with
Psychotic Disorder NOS. Six inmates were diagnosed with Antisocial Personality Disorder and
two of these six inmates were concurrently diagnosed with Narcissistic Personality Disorder.

   Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015

   Diagnostic Category                                        Frequency             Percent

   Any DSM Disorder                                           20                    83
   Substance Abuse or Dependence                              13                    54
   Mood Disorder                                              9                     38
     Major Depressive Disorder (5)
     Bipolar I Disorder (4)
     Psychotic Disorder (5)

   Personality Disorder                                       6                     25
   Psychotic Disorder                                         5                     21
      Schizophrenia (3)
      Delusional Disorder (1)
      Psychotic Disorder NOS (1)
   Adjustment Disorder                                        4                     17
   No Diagnosis                                               4                     17
   Anxiety Disorder                                           1                     4



Suicide Attempt History: A history of suicide attempts was found in 16 (67%) of the 24 cases of
suicide in 2015. Of the group of 16, ten had made multiple past suicide attempts (42% of the overall
total). Of those that had prior suicide attempts, 10 had reported at least one suicide attempt while
in the community and eight had at least one suicide attempt while incarcerated. For the eight
individuals who had suicide attempts during incarceration, a range of one to five prior attempts in
prison were noted. The finding of 10 suicides within Multiple Attempters, a term indicating the
                                                                                           18 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 130 of 405
                                                                            Annual Suicide Report     2015


presence of two or more suicide attempts with the intent to die, is significant as this is a group with
known high chronic risk.7 Implications of this finding are discussed later in this report.

Suicide Triggers, Motivation, and Behavior: Seven of the 24 individuals (29%) who died by
suicide in the CDCR in 2015 wrote suicide notes. This is a bit higher than the rate (one in six or
17%) found in community samples.8 A small percentage (17%) of the deaths occurred in inmates
who reported having no interpersonal supports, while two reported having one person in their
support system. The majority (75%) endorsed two or more supports during their most recent
mental health or suicide risk evaluations. Only one of the 24 (4%) of the suicides occurred in a
patient who was believed to be feigning distress or suicidality. Five of the 24 inmates who died by
suicide in 2015 did so on a holiday, with one each on Christmas Eve, Memorial Day, 4th of July,
Halloween, and Chinese New Year.

The motives or precipitants to the current year suicides listed or suspected by Mental Health
Suicide Reviewer’s (MHSR’s) were examined and are presented in Table 12.

    Table 12. Suspected Motives/Precipitants to Suicides in the CDCR by frequency, 2015

    Precipitant Category                                                Frequency              Percent       of
                                                                                               Total

    Receipt of new charges, convictions, disciplinary 9                                        20
    actions, or added time in prison

    Safety concerns, drug debts, fears of victimization                 7                      15

    Mental health symptoms, e.g. anxiety, psychosis                     7                      15

    Medical illness and/or pain issues; medical disability              5                      11

    Holidays or anniversaries of losses, crimes, etc.                   5                      11

    Disruption in prison ‘program;’ e.g., transfer between 4                                   9
    facilities, cellmate change, loss of single cell housing

    Conflict or losses of external supports                             4                      9
    Conflict or losses of within prison supports                        3                      6
    Receipt of or anticipation of negative outcomes with the 1                                 2
    Board of Prison Hearings


7
  Rudd, Joiner, & Rajab (1996). Relationships among suicide ideators, attempters, and multiple attempters in a
young-adult sample. Journal of Abnormal Psychology, 105, 541-550.
8
  Gelder, Mayou, and Geddes (2005). Incidence of note-leaving remains constant despite increasing suicide rates.
Psychiatry and Clinical Neurosciences, 4 (1).

                                                                                                      19 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21        Page 131 of 405
                                                                          Annual Suicide Report   2015


    Table 12. Suspected Motives/Precipitants to Suicides in the CDCR by frequency, 2015

    Loss of parole to the community (e.g., due to added 1                                  2
    sentence, finding of MDO or SVP)

    Totals:                                                          46                    100



The motivations listed in suicide case review reports can be divided roughly into ten categories as
represented in Table 12. The frequency of precipitant motivations is greater than the total number
of suicides, as nearly all suicide case reviews listed more than one hypothesized motivation. In
many cases, motives were not entirely clear. Rather, the motives and precipitants identified by
suicide case reviewers are marked by each inmate’s rather idiosyncratic reasons for ending one’s
life. The frequency of certain categories of suicide precipitants has implication for prevention
efforts as explored later in this report.

Additionally, Table 13 indicates the precipitant factors for suicides occurring in the CDCR in 2015
on a case by case basis. As is apparent, the majority of inmates had multiple motivations or
precipitants for the action. Also, in-prison events or stresses are noted in most, but not all, cases.
Greg Dear and colleagues reported similar findings in Australian prisons with suicide attempters.
When interviewed, prisoners reported two or more of five categories related to motivations for
attempts, with the most common category (71% of incidents) being termed “stressful event that
occurred within the prison” and second most common category (43% of incidents) being a
consequence of imprisonment (e.g. placing a strain on family). 9 These themes are mirrored in the
2015 suicides within the CDCR and have been presented to CDCR clinicians in monthly suicide
prevention videoconferences and in revised trainings in suicide risk evaluation.




9
 Dear, Thomson, Hall, & Howells (2001). Non-fatal self-harm in Western Australian prisons: Who, where, when,
and why. Australian & New Zealand Journal of Criminology, 34, 47-66.

                                                                                                  20 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 132 of 405
                                                                  Annual Suicide Report   2015


Table 13: Individual Precipitants/Motivations for Suicides within the CDCR, 2015


            Precipitants/ Motivations Noted
  Case
  A         Medical illness (terminal) and pain issues; housing issues (SNY status; safety
            concerns); conflict with spouse
  B         Health concerns and complaints of pain; panic attacks; tearfulness around “no hope”
            of getting better medically; holiday (Chinese New Year)
  C         Multiple disciplinary actions; anniversary of step-son’s suicide; accrual of drug debt;
            time added to sentence; cellmate moved out of cell; told of positive lab test (Hepatitis
            C); familial estrangement
  D         Received 3 year sentence extension (assault on peace officer); long ASU stay
  E         Inability to move in with in-prison romantic partner; reported having an enemy to
            move ‘yards’ and was taken to ASU rather than desired ‘yard’
  F         Parole denied by BPH; argument with main family support (daughter); new RVR;
            hoarded medication (for overdose) was found and charged for possession for sales
  G         Agitation from hallucinations and delusions, increasing depression, facing SHU term
  H         Concerned about losing single cell and large amount of personal property; pending
            transfer; reports can’t cell with others
  I         Interpersonal problems/perceived rejection from other inmates on living unit
  J         Convicted of murder of another inmate (incident occurred in 2012); received 45
            years to life sentence and 25-month SHU term; lengthy ASU stay
  K         Gang pressures; attempted to debrief; conflict with custody officers
  L         Health concerns (headaches); close custody status due to RVR; holiday (4th of July)
  M         Concern about transfer (to a different prison) and feared losing single cell status;
            feelings of depression/worthlessness
  N         Safety concerns/fear of victimization (went into protective custody); anxiety
  O         Paranoia/belief that family or other inmates intended to have the inmate stabbed
  P         Dysphoria/hopelessness about the possibility of parole; requested/given CCCMS
            discharge; disciplinary infraction at work (faced losing assignment)
  Q         Chronic illness/pain; ‘bad news’ about medical condition (liver cancer); researched
            Christian beliefs about suicide and the ‘unforgiveable sin’ prior to suicide
  R         Fought with inmate and reported safety concerns; transferred during 5-day follow-
            up period after MHCB stay rescinded
  S         Safety concerns; requested Sensitive Needs Yard (SNY); complained of
            hallucinations and reported delusional beliefs
  T         Serious medical disabilities; possible distress regarding transfer
  U         Interpersonal losses/estrangement; notified of additional charges (rape case pending
            investigation); holiday (Halloween)
  V         Concern about drug debts and substance use relapse; familial estrangement;
            bothersome hallucinations; depression; holiday (Memorial Day)
  W         Delusions/hallucinations; less faith that legal appeal would be won
  X         Interviewed for Mentally Disordered Offender (MDO) status; found to meet MDO
            criteria—upset by this; somatic delusions; holiday (Christmas)


                                                                                          21 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038           Filed 01/28/21          Page 133 of 405
                                                                          Annual Suicide Report   2015


C. Review of findings

Section 2: Current Year vs. Prior Years

Comparison of suicide rate between current and prior years: The suicide rate in the CDCR in
2015 was 18.7 per 100,000. This rate is higher than in 2014, when the rate was 17.0 per 100,000,
reflecting both one more suicide in 2015 than in 2014 and a decrease in the inmate population of
nearly 7,000 from 2014 to 2015. The rate of 18.7 per 100,000 is the third lowest rate in the past 10
years. During the ten-year period, 2006 to 2015, the rate of suicide in the CDCR was 20.5 per
100,000.

Table 14 shows the rate and frequency of suicide in the CDCR for the past 20 years. The table
shows the rate and frequency of suicides by gender during each year as well. Of note, the frequency
of suicides over the period has ranged from a low of 15 in 2000 to a high of 43 in 2006.

As mentioned earlier, the rate of suicide in female inmates fluctuates considerably compared to a
relatively stable rate in male inmates. In 11 of the past 20 years, there were no female suicides.
The number of suicides in female institutions has ranged from a low of 0 to a high of 4 within the
time period, with 2 occurring in 2015.

For reference, population figures in all years were garnered from the Offender Information
Services Branch. From 1996 through 2010 the population figures are as of June 30 th of the year,
following the practice of the federal Bureau of Justice Statistics, and reflecting relatively stable
institutional populations. From 2011 through 2015 the figures are of the average daily population
which better reflects the institutional population during years with large declines of population
(due to Assembly Bill 109).

Table 14. Annual Frequency and Rate of Suicide in the CDCR for 20 years, by Gender and Overall, 1996-2015*

  Year     Male                             Female                           Total

           Population    Freq     Rate      Population    Freq     Rate      Population    Freq      Rate

  1996     131,273       19       14.5      9,744         0        0         141,017       19        13.5

  1997     141,669       18       12.7      10,837        0        0         152,506       18        11.8

  1998     147,001       21       14.3      11,206        0        0         158,207       21        13.3

  1999     150,581       24       15.9      11,483        0        0         162,064       24        14.8

  2000     150,793       15       9.9       11,207        0        0         162,000       15        9.3

  2001     150,785       29       19.2      10,712        1        9.3       161,497       30        18.6

  2002     148,153       22       14.8      9,826         0        0         157,979       22        13.9



                                                                                                  22 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21         Page 134 of 405
                                                                   Annual Suicide Report   2015


  2003    150,851      37      24.5    10,080       0       0         160,931      37         23.0

  2004    152,859      23      15.0    10,641       3       28.2      163,500      26         15.9

  2005    153,323      37      24.1    10,856       0       0         164,179      37         22.5

  2006    160,812      39      24.3    11,749       4       34.0      172,561      43         24.9

  2007    161,424      33      20.4    11,888       1       8.4       173,312      34         19.6

  2008    159,581      36      22.6    11,392       0       0         170,973      36         21.1

  2009    156,805      25      15.9    11,027       0       0         167,832      25         14.9

  2010    155,721      34      21.8    10,096       1       9.9       165,817      35         21.1

  2011    150,690      33      21.9    9,381        0       0         160,071      33         20.6

  2012    130,189      32      23.8    6,594        1       15.2      136,783      33         24.1

  2013    127,341      29      22.8    5,919        1       16.9      133,260      30         22.5

  2014    129,268      21      16.2    6,216        2       32.2      135,484      23         17.0

  2015    122,874      22      17.9    5,769        2       34.7      128,643      24         18.7

  1996-
          2,931,993    549     18.7    196,623      16      8.1       3,128,616    565        18.1
  2015

  2006-
          1,454,705    304     20.9    90,031       12      13.3      1,544,736    316        20.5
  2015




Notably, the rate of suicide within the CDCR has trended downward over the past 10 years. This
downward trend can be seen in Figure 1. Whereas the frequency of suicide has declined rapidly,
part of this decline can be attributed to a reduction in the number of prisoners housed within the
CDCR during the time period. Both the frequency and the rate of suicide has declined, representing
progress in adding interventions and improving risk management practices to prevent suicides in
the CDCR.




                                                                                           23 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038             Filed 01/28/21         Page 135 of 405
                                                                              Annual Suicide Report        2015


Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015

                                    CDCR Suicide Rate and Frequency, 2006-2015

                  50

                  45

                  40

                  35

                  30

                  25

                  20

                  15

                  10

                   5

                   0
                         2006      2007      2008      2009      2010      2011      2012      2013         2014     2015
           Frequency      43        34        36        25        35        33         33        30          23       24
           Rate          24.9      19.6      21.1      14.9      21.1       20.6      24.1      22.5        16.9     18.6




Suicides by institution, current year vs. 15-year average: Whereas Figure 1 represents suicides
throughout the whole of the CDCR; the frequency of suicides by institution is a less stable variable.
The higher frequency of suicide at some facilities versus others has many explanations. Variables
such as the number of patients in the institution’s mental health program, the mental health mission
of the facility, the predominance of violent offenders at the site, and the total number of inmates
at the institution are just some of the factors that contribute variance to where suicides occur.
Fluctuations can occur in the number of suicides at an institution in given years due to cluster
effects10, changes in the use or mental health mission of the institution, and other factors. There
are also subsets of suicides that occur during or upon transfer of an inmate from one institution to
another, further complicating the interpretation of why suicides occur at certain institutions more
frequently than others.



10
  Hawton, Linsell, Adeniji, Sariaslan, & Fazel (2014). Self-harm in prisons in England and Wales: An
epidemiological study of prevalence, risk factors, clustering, and subsequent suicide. Lancet, Vol. 383.

                                                                                                           24 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 136 of 405
                                                                  Annual Suicide Report     2015


Table 15 lists the number of suicides at CDCR Institutions in 2015 along with the total and average
number of suicides at each institution over a 15-year period. The inclusion of 15-years of data
allows current year data to be compared to averages over a significant period of time. The range
of suicides on average per year for all facilities was 0.0 to 2.1. The mean for suicide for all
institutions from 1999-2014 was 30.2 suicides per year.

 Table 15. Frequency of Suicide by CDCR 2015                          Prior   15- Prior     15-
 Institution, 2015 and by prior 15-year total and Frequency           year   total year average
 average (1999-2014)                                                  (1999-2014) (1999-2014)
 Institution

 California Health Care Facility                      1               0               0
 Tallahatchie County Correctional Facility            1               0               0
 Department of State Hospitals-Salinas Valley         0               1               0.1
 California Rehabilitation Center                     0               1               0.1
 Chuckawalla Valley State Prison                      0               1               0.1
 Valley State Prison                                  0               2               0.1
 California Correctional Center                       0               2               0.1
 Ironwood State Prison                                0               2               0.1
 Atascadero State Hospital                            0               4               0.3
 Calipatria State Prison                              0               5               0.3
 Sierra Conservation Center                           0               5               0.3
 Centinella State Prison                              0               6               0.4
 California Institution for Women                     2               6               0.4
 Avenal State Prison                                  0               7               0.5
 Department of State Hospitals-Vacaville              0               7               0.5
 Institution                                          2015            Prior     15- Prior    15-
                                                      Frequency       year total    year average

 Central California Women’s Facility                  0               7               0.5
 California State Prison, Solano                      0               10              0.7
 North Kern State Prison                              0               10              0.7


                                                                                          25 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 137 of 405
                                                                 Annual Suicide Report     2015


 Kern Valley State Prison                             0               11             0.7
 Pleasant Valley State Prison                         0               13             0.9
 Wasco State Prison                                   0               13             0.9
 Mule Creek State Prison                              0               14             0.9
 California Substance Abuse Treatment Facility        0               15             1.0
 California Correctional Institution                  1               15             1.0
 California Training Facility                         0               16             1.1
 Pelican Bay State Prison                             0               16             1.1
 High Desert State Prison                             0               17             1.1
 Folsom State Prison                                  1               18             1.2
 Deuel Vocational Institute                           3               19             1.3
 California Medical Facility                          1               21             1.4
 California Institution for Men                       1               22             1.5
 California State Prison, Los Angeles County          0               22             1.5
 California State Prison, Corcoran                    2               24             1.6
 RJ Donovan Correctional Facility                     2               24             1.6
 California Men’s Colony                              3               27             1.8
 San Quentin State Prison                             3               29             1.9
 Salinas Valley State Prison                          0               30             2
 California State Prison, Sacramento                  3               31             2.1

 Total                                                24              453            30.2



Suicides in the CDCR by month, current year and 10-year average: CDCR data covering a
10-year period (2006-2015) shows little or no trend in the frequency of suicides in any given
month. As in 2015, suicides tend to occur in the spring and fall months of the year. Suicides in the
CDCR have traditionally not been associated with specific holiday periods, though in 2015 there
were five suicides on holiday days (21%) spread over five different months. See Figure 2. The
prevalence of suicides in March, May, and October has not been explained. CDCR clinicians have
noted this trend over several years.

                                                                                         26 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038               Filed 01/28/21     Page 138 of 405
                                                                       Annual Suicide Report   2015


Figure 2: CDCR Frequency by Month, 2015and 10-Year Average

 9

 8

 7

 6

 5

 4

 3

 2

 1

 0
       Jan     Feb     Mar      Apr     May          Jun     Jul       Aug     Sept     Oct      Nov          Dec

                                              2015         10 Year average


Demographic Factors: Demographic variables specific to 2015 suicides are presented earlier in
this report. These factors are presented here only as a means of comparing information from prior
years with 2015 suicide data.

A depiction of suicides by race in 2015 and over the past 10 years is found in Figure 3. Caucasians
comprise the largest group, comprising 48% of the suicides over the 10-year period and 54% of
the suicides in 2015. Caucasian suicides have consistently fallen within a range of 14 to 20 per
year. Hispanics/Latinos make up the second largest group, accounting for 30% of the suicides over
the years represented. Hispanic/Latino suicides have a more variable range, from 5 to 15 in any
given year. African-Americans account for 13% of the suicides during these years with a range
from 2 to 7. The frequency of suicides in other racial groups is relatively small and typically at a
range of 0 to 2 per year. The trend lines in Figure 3 suggest that the relative decline in suicides
within the CDCR during 2014 and 2015 are in Caucasians and Hispanics/Latinos, the two groups
who historically have the highest numbers of suicides within the CDCR.




                                                                                               27 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21          Page 139 of 405
                                                                 Annual Suicide Report       2015


Figure 3: Suicide Frequency by Race, 2005-2015, with trend line

  25
                  Frequency of Suicide by Race, 2005-2015, with trend line

  20


  15


  10


   5


   0
        2005    2006    2007     2008    2009    2010    2011     2012       2013     2014      2015

                   African-American                         Caucasian
                   Hispanic/ Latino                         Native American
                   Asian                                    Other


Age is divided into five adult age brackets in Figure 4: Ages 18-24, 25-34, 35-44, 45-54, and 55
and above. In all but one year, 2012, the largest frequency of suicides in any age group was in
individuals aged 25-34. Compared to the prior five years, 2010 to 2014, suicides in 2015 were
somewhat lower in inmates aged 35-44 and 45-54, and slightly higher than most past years in ages
55 or older. The 55 and older age group had the second highest total in the past 6 years. In 2015,
25% of the suicides occurred in this age group, an age group that comprises 12% of the population
of the CDCR. This number (25%) is similar to 2010, when 22% of suicides were in the 55 and
over group, and dissimilar to other years: 9% in 2011, 15% in 2012, 7% in 2013, and 8% in 2014.




                                                                                             28 | P a g e
Case 2:90-cv-00520-KJM-SCR                          Document 7038       Filed 01/28/21     Page 140 of 405
                                                                            Annual Suicide Report    2015


Figure 4: Number of Suicides by Age Group, 2010-2015

                                         Number of Suicides by Age Group, 2010-2015
                          14

                          12
     Number of Suicides




                          10

                           8

                           6

                           4

                           2

                           0
                                 18-24           25-34          35-44           45-54               55+
                          2010    3                10             8              7                  7
                          2011    3                12             10             5                  3
                          2012    0                8              12             8                  5
                          2013    1                11             8              8                  2
                          2014    2                7              7              5                  2
                          2015    2                8              4              4                  6


Suicides by housing type: Historically and in national and international studies,11 segregated
housing units have been a high-risk setting for suicide, particularly in single cell housing.12 In the
CDCR, segregated housing includes ASU, SHU, STRH, Long Term Restricted Housing (LTRH),
Psychiatric Services Units (PSU), and the Condemned units at San Quentin State Prison and
California Correctional Institution for Women. During 2015, nine of the year’s 24 suicides
occurred in segregated housing settings, representing 37.5% of all suicides. For reference,
approximately 6.5% of inmates were housed in segregated housing at the mid-year point of 2015
(June 30, 2015). Calculating a rate per 100,000 in segregated housing may be misleading as the
overall population is quite small and subject to wide swings in rate based on a single suicide.13

Of the nine suicides that occurred in segregated settings in 2015, seven were in ASU, one in a
SHU, and one in STRH. The number and percentage of suicides in segregated housing settings for
2015 and over the prior five year period is found in Table 16. As can be seen, the frequency of
suicides in segregated housing decreased significantly in 2015 compared to prior years (2010-
2014). Whereas 47% of suicides within the CDCR occurred in a segregated housing setting in the

11
   World Health Organization (2007). Preventing suicide in jails and prisons. WHO Document Production, Geneva,
Switzerland.
12
   Id.
13
   Based on a segregated housing population of 8,325 inmates on June 30, 2015.

                                                                                                     29 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 141 of 405
                                                                 Annual Suicide Report   2015


ten year period between 2004 and 2014 and 45% of suicides occurred in segregated housing on
average in the ten year period from 2010 to 2014, 37,5% of suicides occurred in this setting during
2015. This may represent changes adopted within the CDCR leading up to and occurring within
the reporting year, such as implementation of safety/wellness checks using the Guard One system
and initiation of enhanced mental health services for MHSDS participants in segregated settings
(e.g., STRH and LTRH units). Also of note, inmates in single-cell housing accounted for eight of
the nine suicides (89%) within segregated housing units in 2015. This percentage is consistent with
prior years. The percentage of suicides in segregated housing units that occurred in single cell
housing in the prior five years was 100% in 2010, 86% in 2011, 91% in 2012, 100% in 2013, and
86% in 2014.

   Table 16. Frequency of Suicide within Segregated Housing, 2010-2015

   Year                     Frequency                          Percent of Annual Suicides

   2010                     13                                 37

   2011                     14                                 42
   2012                     13                                 41
   2013                     14                                 47
   2014                     13                                 57
   2015                     9                                  37.5



Time in Segregated Housing Prior to Death: In 2015, nearly half of the suicides that occurred
in segregated housing occurred soon after placement. Three of the nine suicides occurred in intake
cells, indicating stays of less than 72 hours (Cases E, F, and O). A fourth case had been in ASU
for six days and had just arrived for a temporary stay at an institution while in route to another
institution (Case R). The remaining five cases were in segregated housing units for 100 days or
more at the time of death (Cases D, G, J, K, and N).

Data on the number of days between ASU placement and deaths by suicide has been tracked since
2009. Over this seven-year period (2009-2015), suicides tended to occur shortly after placement,
particularly in the first 72 hours after placement. Of course, fewer inmates are present in ASU as
lengths of stay increase. Figure 5 shows the distribution of deaths by suicide following placement.




                                                                                         30 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038            Filed 01/28/21       Page 142 of 405
                                                                             Annual Suicide Report    2015


Figure 5: Length of Time in ASU before suicide, 2009-2015


                    Days to Death by Suicide After Placement in ASU,
                                       2009-2015
     16

     14

     12

     10

      8
                                                                                                                     Suicides
      6

      4

      2

      0
             3       10       15        20       30       60       90      120      150      180      More


Suicides by Method: The rate of suicide by hanging, easily the most frequent method for suicides
in prison settings, has remained relatively stable over the past number of years. In 2015, 83% of
suicides were by hanging. The percentage of suicides that were by hanging was 77% in 2010, 88%
in 2011, 91% in 2012 and 2013, and 87% in 2014.

Involvement in Mental Health Services: The percentage of suicides that occur in inmates with
identified mental health needs is a complex variable. Suicide is a phenomenon that can occur in
individuals who do not have a traditional mental health diagnosis and in inmates with no prior
identified mental health needs. Inmates can avoid mental health services by choice, such as by
denying symptoms on screening or by masking symptoms in order to be discharged from the
Mental Health Services Delivery System (MHSDS). It is not uncommon for suicidal individuals
to distrust mental health clinicians when contemplating suicide, concerned that clinicians may in
some way remove a valued option (death) should life so dictate.14 Yet suicides occur in individuals
who have been identified as meeting criteria for participation in the MHSDS and who were
receiving services in the MHSDS at the time of death. Table 17 lists the numbers of suicides at
each level of MHSDS involvement for 2015 and for the prior five years.




14
     Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.


                                                                                                      31 | P a g e
Case 2:90-cv-00520-KJM-SCR               Document 7038       Filed 01/28/21       Page 143 of 405
                                                                   Annual Suicide Report   2015




Table 17. Frequency of Suicide within MHSDS Levels of Care, 2010-2015

 Year                        Non-           CCCMS            EOP           MHCB            %     in
                             MHSDS                                         /DSH            MHSDS
 2010                        15             12               8             0               57
 2011                        10             10               13            0               69
 2012                        14             12               5             1               55
 2013                        14             9                6             1               53
 2014                        1              12               9             1               96
 2015                        10             9                5             0               58


Suicides in Mental Health vs. Non Mental Health Populations: Table 18 shows the suicide rate
for MHSDS vs. non-MHSDS populations over the past ten years, including 2015. As can be seen,
the rate of suicide in those involved in the MHSDS is significantly higher than for individuals who
have not been included in the MHSDS. This suggests a need to carefully work with existing mental
health population members to reduce the risk of suicide. Targeted, suicide-specific interventions
for individuals within the MHSDS remain an area that is potentially fruitful in preventing suicides;
this will be discussed further later in this report.

Table 18. Frequency of Suicide in mental health versus non-mental health populations, 2006-2015

                                                        Non-       Non-
             MH         MH        MH        Non-MH      MH         MH                      Total      Total
  Year       Pop        Freq      Rate      Pop         Freq       Rate      Total Pop     Freq       Rate
  2006       32,127     20        62.3      140,434     23         16.4      172,561       43         24.9
  2007       35,078     25        71.3      138,234     9          6.5       173,312       34         19.6
  2008       36,570     18        49.2      134,403     18         13.4      170,973       36         21.1
  2009       37,262     19        51.0      130,570     6          4.6       167,832       25         14.9
  2010       39,150     20        51.1      126,667     15         11.8      165,817       35         21.1
  2011       39,854     23        57.7      120,217     10         8.3       160,071       33         20.6
  2012       37,632     18        47.8      99,151      15         15.1      136,783       33         23.4
  2013       38,030     16        42.1      95,229      14         14.7      133,259       30         22.5
  2014       38,722     21        54.2      96,978      2          2.1       135,700       23         16.9
  2015       37,670     15        39.8      91,230      9          9.9       128,900       24         18.6
  Average 37,210        20        52.6      117,311     12         10.3      154,521       32         20.4




                                                                                           32 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 144 of 405
                                                                            Annual Suicide Report     2015




D. Review of Findings

Section 3: Comparison of CDCR Suicide Rates with Other State Prisons Systems and Relevant
U.S. Rates

CDCR Rates vs. Other State and Federal Prison Rates: State prison suicide rates have varied
little over a number of years. The rate of suicide in U.S. state prisons ranged from 14 per 100,000
to 17 per 100,000 from 1999 to 201315, with a rate of 15 suicides per 100,000 prisoners in U.S.
state prisons in 2013. However, the U.S. prison rate jumped by 30% between 2013 and 2014, rising
to 20 per 100,000 inmates.16 No explanation for this increase has been offered. Rates for U.S.
prisons for 2015 are not available at this time.

Suicide rates for all federal and state prisons were calculated by the Bureau of Justice Statistics for
the years 2001-2014.17 A listing of state rates is found in Table 19. California’s rate is listed twice
in Table 19. One listing is for the composite rate for the CDCR from 2001-2014 and the second
rate is for the year 2015 only. California ranks in the middle one-third of states in rank and rate. In
2015, California’s rate of prison suicides ranked as 20th among state prisons.

Table 19. Rate and rank of suicides by state, 2001-2014 (14 years)

 State Name                              Rank (Highest to Lowest Rate)        Suicide Rate per 100,000
                                         (t=tie)
 Rhode Island                            50                                   45
 Utah                                    49                                   44
 Montana                                 48                                   34
 Massachusetts                           47                                   32
 New Hampshire                           46                                   31
 Alaska                                  46t                                  31
 Hawaii                                  44                                   29
 Idaho                                   43                                   28
 South Dakota                            43t                                  28
 Delaware                                41                                   26
 Vermont                                 41t                                  26
 Connecticut                             39                                   24
 New Mexico                              38                                   23
 Nebraska                                37                                                  21
 New York                                37t                                  21
 All State Prisons, 2015                                                      20

15
    Noonan, M. Mortality in Local Jails and State Prisons, 2000-2013 – Statistical Tables, August 2015,
 Website, U.S. Department of Justice, Bureau of Justice Statistics.
16
   Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
17
   Id.

                                                                                                      33 | P a g e
Case 2:90-cv-00520-KJM-SCR                      Document 7038         Filed 01/28/21        Page 145 of 405
                                                                            Annual Suicide Report   2015


 Iowa                                     35                                  20
 Chart continues on next page
 State Name                               Rank (Highest to Lowest Rate)       Suicide Rate per 100,000
 Maryland                                 35t                                 20
 California (2001-2014)                   35t                                 20
 Wisconsin                                32                                  19
 Oklahoma                                 32t                                 19
 California (2015)                                                            18.6
 Colorado                                 30                                  18
 Minnesota                                30t                                 18
 Wyoming                                  30t                                 18
 Arizona                                  27                                  17
 Nevada                                   27t                                 17
 Arkansas                                 27t                                 17
 All State Prisons, 2001-2014                                                 16
 Indiana                                  24                                  16
 Illinois                                 24t                                 16
 Texas                                    24t                                 16
 Oregon                                   24t                                 16
 Pennsylvania                             24t                                 16
 Tennessee                                18                                  15
 Kansas                                   17                                  14
 Ohio                                     16                                  13
 South Carolina                           16t                                 13
 New Jersey                               16t                                 13
 Washington                               16t                                 13
 Mississippi                              16t                                 13
 Missouri                                 11                                  12
 Maine                                    10                                  11
 U.S. Federal Prisons (2001-2014)                                             10
 Virginia                                 9                                   10
 Georgia                                  9t                                  10
 Kentucky                                 7                                   9
 Louisiana                                7t                                  9
 West Virginia                            5                                   8
 Florida                                  5t                                  8
 North Carolina                           3                                   7
 Alabama                                  2                                   6
 North Dakota                             1                                   5

CDCR Rates vs. Community Rates: It is notable that the rate of suicide in the community within
the United States reached a 30 year high in 2014, reaching an overall national rate of 13.4 per
100,000. The rate of suicide rose 24% overall between 1999 and 201418. The U.S. rate increased


18
     http://www.nytimes.com/2016/04/22/health/us-suicide-rate-surges-to-a-30-year-high.html?_r=0

                                                                                                    34 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038          Filed 01/28/21           Page 146 of 405
                                                                        Annual Suicide Report      2015


again in 2015 to 13.8 per 100,000.19 For adult males in the U.S., the rate of suicides was 21.1 per
100,000 in 201420 and 21.5 per 100,000 in 201521, topping the rate of suicides in the (mostly male)
CDCR in 2014 (17.0 per 100,000) and 2015 (18.6 per 100,000). Figure 6 shows the rate of suicides
in adult males in the U.S., in U.S. prisons, and in the CDCR for the years 2010 to 2015. Suicide
rates for state prisons are not available after 2014.

Figure 6: Suicide rates for adult males in the CDCR, State Prisons, and the U.S., 2010-2015

                    30

                    25

                    20

                    15

                    10

                     5

                     0
                               2010     2011            2012         2013          2014             2015
     CDCR Overall              21.1      20.6           24.1         22.5           17              18.7
     U.S. State Prisons         16        14             16           15            20
     CDCR Males                21.8      21.9           23.8         22.8           16.2            17.9
     U.S. Males                19.8       20            20.4         20.3           20.7            21.5

                         CDCR Overall    U.S. State Prisons       CDCR Males          U.S. Males


E. Summary Review of Findings and Trends

In reviewing suicides within the CDCR during the reporting year, 2015, a suicide rate of 18.7 per
100,000 is noted, which represents part of a declining trend over the past 10 years. The rate of
CDCR suicides is below the average rate of all U.S. state prison systems combined in 201522. The
rate of suicides in the CDCR in 2014 was also lower than the average suicide rate for state prisons
in 2014, the last year in which such data is available. Finally, the declining trend in the CDCR
stands in contrast with community rates of suicide, which have increased significantly over the
past decades. Adult males in the community in the U.S. are more likely to die by suicide than male
inmates within the CDCR; this was the case in both 2014 and 2015.



19
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
20
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2014/StatesSexTABLE2014.pdf
21
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
22
   Based on 2014 U.S. Prison data

                                                                                                   35 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 147 of 405
                                                                   Annual Suicide Report   2015


To what reasons can we attribute this declining trend? First, in both 2014 and 2015, fewer inmates
aged 25-54 died by suicide than in prior years. Second, the rates of suicide in Caucasian and
Hispanic inmates in CDCR have fallen rather significantly in the past 10 years. The majority of
suicides in the CDCR have occurred within these two racial groups for many years, making this
finding particularly encouraging. Third, a decline in the frequency of suicides in segregated
housing units was noted in 2015; this finding may reflect the decreasing percentage of the inmate
population housed in such settings as well as the many efforts implemented to improve safety from
suicide in these settings. Other factors reviewed appear to simply indicate yearly and/or unstable
fluctuations in suicides, such as in timing of suicides (e.g. month of suicide, time of discovery),
frequency in specific institutions, and the rate of involvement in mental health systems of care.
These factors do not appear explanatory for the downward trend.

In looking at the group of individuals who died by suicide in 2015 within the CDCR, specific risk
factors remain clear: Caucasian race, single/divorced marital status, serious or chronic medical
disease or pain, Spring and Fall months, history of violent offenses, housing in higher security
settings, Life or long sentences, single-cell housing, lack of job assignment, mental health
treatment prior to and during incarceration, prior suicide attempts, and prior psychiatric
hospitalization. Other variables seem to be possible trends to monitor, such as increased suicides
in older inmates (those age 60 or above), fewer suicides within segregated housing units, fewer
suicides where clinicians minimized genuine risk by attributing behavior to manipulation or
malingering, and more suicides on or around holiday periods. The reason suicide for inmates
within the CDCR remains rather idiosyncratic and complex, with most suicide reviewers
determining multiple precipitants or motivations for suicide. Suicides most commonly occurred
on account of in-prison stresses (safety concerns, receipt of additional charges, transfers, etc.);
medical illness, pain or disability; acute psychiatric symptoms; conflicts with others; and important
dates (anniversaries of losses or crimes, holidays).

Chapter II. Response to Suicide and Suicide Attempts

Institutional reporting of self-harm incidents and suicides: All incidents of self-harm in the
CDCR are reviewed by institutional staff members (including mental health clinicians) and all
incidents of self-harm are entered and tracked on a self-harm database. These processes allow for
tracking patients in High Risk Management Lists or Program(s) within a facility. A sample High
Risk Management Program policy is found in Appendix I. Suicides are reported by the Chief
Medical Officer or designee to stakeholders, including the SMHP and the OSM. Processes
involved in institutional reporting of self-harm events and suicides are found in Appendix II.

Determination of unknown causes of death: When deaths occur in a CDCR institution in which
the cause of death is not immediately determined, the cases are classified as “Unknown Deaths.”
These cases receive special attention until the cause of death is determined, particularly as any that
could possibly involve suicide need to be determined in a timely fashion. The process for reviewing
these deaths and making a determination may be found in Appendix III

                                                                                           36 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 148 of 405
                                                                  Annual Suicide Report   2015


In 2015, a total of 44 cases were tracked as the cause of death was listed provisionally as unknown.
Nineteen of the 44 cases had no provisional cause of death, whereas 25 cases had a suspected or
“probable” cause of death listed. In two cases, suspicion of a suicide was present and was
confirmed by autopsy, toxicology finding, and/or coroner’s report. These cases, Case M, who died
of an overdose on a prescribed medication, and Case V, who died of asphyxiation during an acute
intoxication illicit drug, are reviewed later in this report. Additionally, two cases were determined
to be accidental overdoses due to findings of ingested balloons during autopsy; ingesting balloons
filled with narcotics is a method for concealing and/or transporting illicit drugs in prison (Cases
OO and PP).

Of the remaining four cases, 23 were determined by the Death Review Committee (DRC) to have
died by natural causes: Pulmonary embolism, myocardial infarction, coronary artery disease,
hypertension, cardiomyopathy, and so forth. Three of the remaining cases were determined to be
deaths by homicide.

The 14 remaining cases met criteria for additional review, as they involved either overdose (10
cases), the case was pending further information (three cases), or the death potentially related to
mental health treatment needs (one case). In this later death (Case AA), the cause of death was
provisionally termed inanition secondary to acute psychosis. That is, the patient was thought to
have died on account of the medical consequences of refusing to eat. His lack of intake was
attributed to acute psychosis. Though the initial finding of inanition was mentioned, reviewers on
the Combined Death Review Summary noted the pathologist’s use of the term “well-nourished”
and determined the patient had gained roughly 20 pounds in the two years prior to his death. The
patient denied suicidal ideation upon evaluation six days before his death and there was no
indication that he purposefully engaged in any behavior with the intention of dying or hastening
his death. The category of death was changed by the DRC to natural, unexpected

The three cases pending further information were determined by the DRC to be deaths of various
causes. The cause of one death was due to “excitement delirium.” In this case (Case BB), the
inmate struggled with officers who were trying to apply restraints; this exertion led to neuronal
excitotoxic injury per autopsy. The second case (Case CC) was determined to have ingested both
morphine and Citalopram, though both medications were prescribed. The inmate had multiple
additional medical problems, including cardiovascular disease, and the death was determined to
be accidental. The inmate’s cellmate at the time reported normal mood, participation in routines,
and so forth the evening of the death, with no history of suicide attempts or statements of wishes
to die. The third case (Case DD) was unknown for a period of time due to the complexity of
medical symptoms present prior to the death, including reports of blackouts, other neurological
symptoms, and cardiovascular issues. The final cause of death was determined to be natural and
secondary to cardiovascular disease.

The 10 remaining cases (Cases EE to NN) were reviewed using the guidelines noted above as the
cause of death in each was overdose. Upon review of these cases, the best explanation for each

                                                                                          37 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 149 of 405
                                                                 Annual Suicide Report   2015


was unintentional, accidental overdose. In each case, the Combined Death Review Summary
determined that the cause of death was an accidental overdose. None of the cases involved
ingestion of medications that do not have abuse potential (e.g., Tylenol). Rather, all nine deaths
involved intoxication/ingestion with an illicit drug or drug(s) of abuse. Specifically, three cases
died due to methamphetamine intoxication (Cases EE, FF, and GG), two to Fentanyl intoxication
(a powerful synthetic Opioid; Case HH and II), one case to a combination of heroin and
methamphetamine intoxication (Case JJ), one to heroin intoxication (Case KK), one to morphine
intoxication (Case LL), one to methadone and morphine intoxication (Case MM), and one to
intoxication with an unknown or unspecified opiate (Case NN). Of these 10 cases, none left a
suicide note and none made recent statements suggesting suicidal ideation or desire. Appendix IV
contains additional information on the SMHP’s review of overdose cases.

Suicide Attempts and Suicides Prevented: In 2015, there were a total of 502 incidents of self-
harm with intent to die that did not result in death. That is, 502 suicide attempts were in some way
prevented, interrupted, aborted, averted, or otherwise were not fatal during the year.

Of the 502 attempts, 285 involved incidents of self-harm with intent to die that resulted in either
no injury or mild injury. An additional 217 incidents of self-harm involving moderate-to-severe
injury and intent to die (suicide attempts) were reported to the CDCR’s self-harm database. These
217 incidents include some combination of: The inmate used non-lethal means and intended to die
but was discovered, the inmate reported having recently engaged in self-harm with the intent to
die but was not discovered and did not perish, or CDCR staff members interrupted a suicide
attempt in progress by an inmate that may otherwise have been lethal.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review report
may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. In 2015, a total of 115 QIPs were generated from Suicide Case Reviews, resulting in an
average of 4.8 QIPs per suicide. Nursing QIPs are referred to the DRC. Custody and mental health
QIPs are typically addressed to the institution where the deceased person resided but may also be
written for prior institutions and/or for the DHCS SPR FIT. Table 20 provides a listing of
responsible persons or teams for the QIPs assigned in 2015.




                                                                                         38 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21        Page 150 of 405
                                                                 Annual Suicide Report   2015


Table 20. QIPs assigned within the CDCR by recipient, 2015 Suicides

  Quality Improvement Plan                          Frequency               Percent of Total
  Chief of Mental Health/Chief Executive            53                      46
  Officer
  Warden/Custody                                    32                      28
  Death Review Committee/Nursing/Medical            17                      15
  DHCS SPR FIT                                      11                      10
  Design Standards Branch                           1                       <1
  Contract Bed Facility                             1                       <1
  Total                                             115                     100


As can be seen in Table 20, the Suicide Case Review process generates quality improvement plans
that are multidisciplinary. The responses to an inmate’s suicide are therefore addressed with a
broad lens, looking at many ways of addressing what went wrong (if applicable; one case of the
24 had no listed QIPs). Notably, nearly half of the formal QIPs generated in 2015 were focused on
mental health concerns, with the Chief of Mental Health and/or Chief Executive Officer of a CDCR
facility tasked to address the concern(s). Mental health concerns ranged from evaluations not
completed within timeframes established by policy to poor quality of suicide risk evaluation to
inadequate treatment and safety planning. The specific reasons for individual QIPs are presented
in the individual case review section (Chapter 3).

Determination whether a suicide is preventable or foreseeable: The following definitions
of foreseeable and preventable used in the review of 2015 suicides and in this report are the
definitions previously used in the annual suicide reports written by the Special Master’s experts:

Foreseeable: A “foreseeable” suicide is one which, based upon available information reasonably
known, is reasonably anticipated based upon the presence of a substantial or high risk for a suicide
attempt which would require reasonable clinical, custodial, or administrative intervention.
Foreseeability is assessed by determining the adequacy and accuracy of how suicide risk was
evaluated. Assessment of the degree of risk may be high, moderate, or low to none. In contrast to
a high and immediately detectable risk, a “moderate risk” of suicide, indicates a more ambiguous
set of circumstances that requires significant clinical judgment based on adequate training, as well
as a timely assessment, to determine the level of risk in the most appropriate manner and relevant
interventions to prevent suicide.

Preventable: A “preventable” suicide is one in which it is probable that, had some additional
information been gathered or some additional interventions undertaken, as required by existing
policy, the suicide would not have occurred. Preventability is assessed by determining whether
risk management and/or suicide prevention policies and procedures, local operating procedures
and the requirements set forth in the Program Guide were followed adequately. Suicides that may
have been preventable include not only cases in which additional information might have been
                                                                                         39 | P a g e
Case 2:90-cv-00520-KJM-SCR               Document 7038         Filed 01/28/21       Page 151 of 405
                                                                     Annual Suicide Report   2015


gathered or additional interventions undertaken, but also cases involving issues with emergency
response by custody and clinical staff.

This report continues to use these definitions for consistency, subject to CDCR’s right to change
the definitions in future reports. It is well-settled that Defendants are entitled to deference in
managing their internal operations, and such deference should extend to the manner in which
Defendants audit and write their performance reports. See Bell v. Wolfish, 441 U.S. 520, 562 (1979)
(“the inquiry of federal courts into prison management must be limited to the issue of whether a
particular system violates any prohibition of the Constitution . . . .”) “Suicide is a difficult event to
predict and prevent and often occurs without warning. Both the common law and the recently
developed constitutional law applying to those in custody have taken this uncertainty into account
in developing rules of liability based on foreseeability.” Gray v. City of Detroit, 399 F.3d 612, 616
(6th Cir. 2005). Because suicide rests on a complex array of factors and motives, inmates
determined to commit suicide are very difficult to stop. Strickler v. McCord, 306 F. Supp. 2d 818,
829 (N.D. Ind. 2004).

As the Special Master’s experts have acknowledged, the above definitions do not apply the legal
standards for causation or deliberate indifference. For these reasons, the use of these definitions in
this report should not be confused in any way with legal concepts of causation or foreseeability,
nor do they determine personal or systemic culpability. Causation and foreseeability are legal
terms of art, and must demonstrate that something caused or produced some effect, or had a quality
of being reasonably anticipated, respectively. Black’s Law Dictionary 249, 721 (9th ed. 2009).
Determinations of personal or organizational culpability with respect to causation or foreseeability
of suicide prevention are governed by the deliberate indifference standard (“a prison official cannot
be found liable under the Eighth Amendment for denying an inmate humane conditions of
confinement unless the official knows of and disregards an excessive risk to inmate health or safety
. . . .”) Farmer v. Brennan, 511 U.S. 825, 837 (1994). This not only requires awareness “of facts
from which the inference could be drawn that a substantial risk of serious harm exists”, but that
such an inference is also drawn. Id. The development, implementation, and continued
improvement of the suicide prevention system is necessarily contrary to any disregard for
excessive risks to an inmate’s health or safety with respect to suicidality, and meets the
Constitutional requirement to create reasonable measures to prevent inmate suicide as a necessary
component of any correctional mental-health system. Balla v. Idaho State Bd. Corr., 595 F. Supp.
1558, 1577 (D. Idaho 1984) (citing to standards of minimally adequate care for mental health in
Ruiz v. Estelle, 503 F.Supp. 1265 (S.D. Tex.1980 aff’d in part, rev’d in part on other grounds).
The Eighth Amendment does not allow a deliberate-indifference finding based merely on a
difference of medical opinion about appropriate treatment. Estelle v. Gamble, 429 U.S. 97, 107
(1976); Cano v. Taylor, 739 F.3d 1214 (9th Cir. 2014). Thus, “where suicidal tendencies are
discovered and preventive measures taken, the question is only whether the measures taken were
so inadequate as to be deliberately indifferent to the risk.” Rellegert ex rel. Rellegert v. Cape
Girardeau County, Mo., 924 F.2d 794, 796 (8th Cir. 1991).

                                                                                             40 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038              Filed 01/28/21       Page 152 of 405
                                                                           Annual Suicide Report   2015


Using the above definitions, and subject to the foregoing reservations, CDCR’s Statewide Mental
Health Program’s Suicide Case Review Committee determined that in 2015, 11 of the 24 suicides
were foreseeable and 17 of the 24 suicides might have been preventable had some additional
information been gathered or some additional interventions undertaken.

Audits of SCR Quality: The DHCS Quality Management Unit audits all Suicide Case Reviews
(SCRs) for 15 items. SCRs are scored with required elements marked present or absent. In 2015,
SCRs generally met audit criteria at a high rate, reported in Table 21.

Table 21: Results of Quality Audits, 2015 Suicide Case Review reports

 Audit Item                                                           Present        Absent        % Present
 1. Does the Executive Summary describe the means of death,           23             1             96
 the emergency response taken, and the MH LOC of the patient?
 2. Are the sources for the SCR identified?                           24             0             100
 3. Are substance abuse issues reported, if applicable?               24             0             100
 4. Does the Institutional Functioning section include                24             0             100
 information on institutional behavior, including disciplinary
 history?
 5. Does the Mental Health History review the adequacy of             24             0             100
 mental health care and screening?
 6. Are medical concerns discussed (e.g., chronic pain, terminal      24             0             100
 illness) or is the absence of medical conditions noted?
 7. Is the quality of the most recent SREs (past year) reviewed,      14             6 (4 N/A)     70
 with comment on risk level, safety planning, and risk and
 protective factors?
 8. Does the Suicide History section review all prior attempts, as    24             0             100
 applicable?
 9. Are significant pre-suicide events discussed (e.g., receipt of    23             1             96
 bad news or existence of a safety concern)?
 10. Was a risk formulation offered specific as to why the person     24             0             100
 was vulnerable to suicide?
 11. Does the review comment on the adequacy of the                   18             4 (2 N/A)     82
 emergency response?
 12. Are all violations of policy and breaches of standards of        24             0             100
 care in mental health, medical, and nursing addressed in the
 reviewer’s concerns, if applicable?
 13. Were custody policies followed? If not, were violations          23             0 (1 N/A)     100
 noted in the report?
 14. Were all concerns raised by reviewers (custody, nursing,         24             0             100
 and mental health) represented in Quality Improvement Plan
 recommendations?
 15. Were the Quality Improvement Plan recommendations                23             1             96
 adequate to address the concerns? (e.g., QIP should not simply
 say conduct an inquiry and report findings).
 Total                                                                339            13            96




                                                                                                   41 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 153 of 405
                                                                 Annual Suicide Report   2015


As evident in Table 21, on most audit criteria, reviewers were found to meet quality standards with
96% of all audit items marked as present. A notable exception in quality audits appears to be in
reviewing most recent SREs. In examining this finding, six SCRs did not comment on all aspects
of the most recent SREs. For example, the reviewer discussed risk factors but did not provide an
analysis of the adequacy of risk formulation. One other item was absent in four cases: Comments
on the adequacy of emergency response. Emergency response timelines were reported by nursing
and custody in all SCRs. In the four cases, reviewers did not specifically state that the emergency
response was adequate, though this appears to be the case in each occasion.

Timeliness of Suicide Case Reviews and Suicide Reports: The process of responding to
suicides, completing reviews, writing and editing reports, tracking QIP compliance, and so on is
involved. Timelines for each step in suicide response have been developed and are specified in the
MHSDS Program Guides, 2009 Revision. Internal deadlines have also been developed as a way
to ensure timelines for each step of the suicide response process is met. The number of days
specified for each step in suicide response, for both Program Guide and internal deadlines, is found
in Appendix VI.

In reviewing timeliness of 2015 suicides, the assignment of a suicide reviewer and the visit of the
reviewer to the institution were completed on time in all but two cases; both cases were originally
“unknown deaths” (Cases M and V) and thus not determined to be suicides until further
information was obtained. Due dates on Cases M and V were recalculated when the cases were
determined to be suicides. Both were then reviewed in a timely manner.

Original suicide reports are generally completed within 30 to 40 days after the death. The
established 30-day limit was met in nine cases (of 24 reports). Five reports (including Cases M
and V) were completed 40 days or more after the death. All reports were available by the time
Suicide Case Reviews were held. Fifteen of the 24 SCRs were completed within timelines. Of the
nine SCRs held late, delays ranged from one day to nine days.

Once suicide reports are reviewed at the SCR, edits are made and a final report is due to be sent to
institutions within 60 days of the death. Timeline compliance becomes increasingly difficult at this
step, with only five of the 24 reports finalized and sent to institutions by the 60 day mark. Delays
at this step can affect the ability of institutions and other recipients of QIPs to complete QIPs by
the deadline (150 days after the death). However, in 13 cases, QIP response timelines were met.
QIP responses also require review and approval, with a report of QIP implementation due to the
OSM by 180 days after the suicide.

As the CDCR endeavors to complete all steps of the suicide review process in a timely manner, a
focus on ensuring original reports are completed on time, on decreasing the number of days used
for editing suicide reports after the SCR, and on accelerating the review, response, and approval
of QIPs is underway. The DHCS SPR FIT will explore further ways to expedite review processes
for implementation during the 2017 calendar year.

                                                                                         42 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 154 of 405
                                                                  Annual Suicide Report   2015


Chapter III. Findings in Individual Case Reviews

Introduction to Individual Case Reviews: The presentation of information such as suicide rates
and demographic variables in suicide deaths provides a sense of data trends, comparisons between
correctional systems, and so forth. That is, suicide rates and numbers give us a macro look at
causes and contributors to suicide and to variables that require monitoring. The data presented in
prior chapters has implications for practice within the CDCR, implications that will be reviewed
in the Conclusions section to follow.

Individual case reviews, on the other hand, represent a micro look at the idiosyncratic, often multi-
determined reasons that an individual takes his or her own life. The sources of distress noted in the
cases below range from a response to gang threats to an inmate’s family to the vagaries of severe
medical and mental illness to grief over the loss of lovers and loved ones. No two cases look quite
alike.

What cannot be overly idiosyncratic are the actions of staff members of all disciplines. These staff
members as a whole are responsible to prevent suicide. Suicide prevention in correctional settings
is no small task. CDCR staff of all disciplines must follow policy and procedure, must show
diligence and compassion in their work, and must be professional in their day-to-day interactions
and responsibilities. Individual case reviews thus speak not only to the idiosyncrasies of the
suicidal patient but also to the actions and professionalism of staff leading up to a suicide, in
reaction to a suicide in progress, and in response to the death.

Commonalities in individual case reviews: Tables 22 and 23 list variables commonly found
between suicides. The tables contain either factual data or qualitative determinations about the
adequacy of staff response and/or the ability of staff members to meet quality of care expectations.
Narrative comments are noted after each table.

Before presenting these tables, it should be noted that inadequacy of risk assessment, treatment
planning, custody rounds, and so forth result in QIPs. In Suicide Case Review (SCRs) reports,
reviewers may comment on what was done well within an institution and may state areas where
policy was correctly followed. However, these comments are not required as it is assumed staff
members will follow policy and will do a professional job in working with inmates. In contrast,
reviewers must identify any and all departures from policy or from standards of care, creating
formal Quality Improvement Plans (QIPs) applicable to each identified issue. Reviewers may also
point out clinical or custodial practices that could be improved either at an institutional level or
throughout all institutions; these practice suggestions can be addressed through QIP processes as
well. It should also be noted here that institutional responses to QIPs are sent to the SMHP and
DAI leadership for review. If any QIP response is felt to be inadequate, the SMHP and/or the DAI
will contact the institution to request clarification or request additional development or
implementation of the QIP. QIPs are not considered finished until approved at the headquarters
level.

                                                                                          43 | P a g e
       Case 2:90-cv-00520-KJM-SCR                   Document 7038        Filed 01/28/21        Page 155 of 405
                                                                               Annual Suicide Report    2015


       Table 22 lists qualitative judgments of staff performance in suicide cases. A “no” answer can
       reflect anything from a singular error in the treatment or care of the patient to a pattern of poor
       care, whereas a “yes” finding reflects a range of actions and behaviors that were consistently
       professional and adequate.

Table 22: Findings of Individual Case Reviews, part 1

           Suicide      Adequate        Adequate      Good         Adequate         Adequate      Adequate     Treatment
  Inmate   Risk         Suicide Risk    Treatment     Quality      Nursing          Custody       Emergency Refusal?
           Adequately   Management?     Plan?         Mental       Rounds?          Checks?       Response?
           Assessed?                                  Health
                                                      Contacts?
  A        N             N                N           N            N                Y             Y            N
  B        Y             Y                Y           Y            N/A              Y             Y            Y
  C        N             N                N           N            Y                N*            Y            Y
  D        Y             N/A              N/A         Y            Y                Y             Y            Y
  E        N             N                N           N            Y                Y             N            Y
  F        N             N                N/A         Y            Y                Y             N            Y
  G        Y             Y                Y           N**          Y                N***          Y            Y
  H        Y             Y                N/A         N****        N/A              Y             Y            Y
  I        N             N                Y           Y            N                N             N            Y
  J        N             N                N           N            N                N             N            Y
  K        Y             N/A              N/A         N/A          N/A              N             N            Y
  L        Y             N/A              N/A         N/A          Y                Y             N            Y
  M        N             N                N           N            Y                Y             Y            Y
  N        N             N                N/A         N            Y                N             Y            N
  O        Y             Y                Y           Y            N/A              Y             Y            Y
  P        Y             Y                N           N            N/A              Y             N            Y
  Q        Y             Y                Y           Y            N/A              Y             N            Y
  R        N             N                N           N            Y                Y             N            N
  S        Y             Y                Y           Y            N/A              Y             Y            Y
  T        Y             N/A              N/A         N/A          N                N             Y            Y
  U        Y             Y                N/A         Y            Y                Y             Y            Y
  V        N             N                N           N            N/A              Y             N            Y
  W        Y             Y                Y           Y            Y                Y             Y            Y
  X        Y             Y                N           N            N                Y             Y            Y
       *Based on allowance of window covering. **Based on frequent refusal of services; HRL was provided. ***Based on
       allowance of an obstruction to viewing ****Based on poor documentation of last visit.

       Starting from the far left column, problems with at least one suicide risk evaluation were found in
       10 cases (42%). Problems ranged from issues with reviewing or gaining access to suicide attempt
       histories (two cases), failing to include information already reported about suicide attempt history
       (two cases), poor identification or documentation of risk factors (four cases), to failure to complete
       suicide risk evaluations when they were required by clinical standards or policies (two cases).
       Issues with suicide risk evaluations are particularly problematic, as inadequate assessment most
       likely leads to difficulties with safety planning (e.g., not having information on what triggered past
       attempts) and risk management (e.g., not managing the actual level of risk as risk had been
       underestimated). Therefore, it is not surprising that all cases identified as having problems with
       SREs are also considered to have problems with risk management.

                                                                                                       44 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 156 of 405
                                                                   Annual Suicide Report   2015


Issues with adequacy of suicide risk management practices were noted in 11 cases (46%). In at
least one situation, risk management efforts were inadequate or failed to address the level of suicide
risk indicated. Additionally, in some cases suicide risk evaluations indicated very low risk and in
some cases policies were followed such that the inmate did not require evaluation; these cases are
marked as not applicable (N/A). In cases marked N or No in Table 22, issues were quite varied.
These included placement of a patient on suicide precautions in an unsafe cell in one case, a failure
to conduct a SRE within timelines in another case, problems with full implementation of high risk
management lists or programs in two cases, failure to plan for an inmate’s reaction to bad news in
one case, and provision of KOP medications in another case where the inmate had mentioned a
previous plan to die by overdose.

Another area impacted by the quality of suicide risk evaluation is mental health treatment planning.
If risk for suicide is underestimated in a case, it stands to reason that treatment planning will also
miss key components of what should be addressed clinically. In six cases, adequate treatment
planning was noted. In seven cases, poor treatment planning was found. In the remaining two
cases, risk evaluation and treatment planning was hampered by a patient’s unwillingness to engage
in treatment or evaluation services. In such cases, treatment planning should focus on efforts to
engage the patient, attempts to gain historical and collateral information, and so forth.

The quality of mental health contacts was rated as not applicable in three cases where there were
few or no evaluations beyond mental health screening. For cases rated Y (nine cases or 43% of
applicable cases), the decided majority of clinical contacts were positive and in line with
professional expectations. For the 12 cases rated N (57%), at least one clinical contact was below
standards, such as incidents where poor documentation was present or where patient treatment
refusals were not addressed.

Nursing rounds and/or nursing observations are required for inmates in segregated housing
settings, inpatient settings, and while a patient is on suicide watch or precautions either in
alternative housing or in MHCB. Cases marked N/A are those in which the inmate or patient was
never in such a setting. Problems in nursing rounds were found in five of the remaining 16 cases
(31%) , specifically: One case where required psychiatric technician rounds were not documented
(in ASU), one case where nursing observations for a patient on 15 minute checks were not
staggered, one case where a nursing check required each shift did not ensure that the patient was
living/ breathing, one case of delays in starting an order for 15 minute checks, and one case where
checks in alternative housing were not documented or staggered. In 11 (69%) of applicable cases
nursing rounds were done adequately.

Custody checks occur in all institutions for all inmates. For example, custody conducts institutional
counts multiple times in each 24 hour period. In 17 cases (71%), custody checks were rated as
adequate and conducted per policy. Of the remaining seven cases, four involved situations where
window coverings or draping of bunks was allowed despite custody policy forbidding the practice.
In another case, an inmate kept a blanket over his head, with custody checks not ensuring

                                                                                           45 | P a g e
Case 2:90-cv-00520-KJM-SCR                        Document 7038          Filed 01/28/21           Page 157 of 405
                                                                               Annual Suicide Report    2015


living/breathing. In the remaining two cases, rounds were completed later than specified by policy
around the time of the death.

Emergency response by custody officers, nursing staff, and medical staff are considered in ratings
of emergency response. In 14 cases (58%), no issues with emergency response were noted. In four
cases, issues with bringing complete cut-down kits were found. In three cases, issues with timely
AED placement or AED functioning were reported, and in two cases delays in emergency response
occurred. Other issues were rather idiosyncratic; such as the incident of an ambulance going to the
wrong institution and a case where CPR was discontinued during transport to the TTA.

Issues related to patient refusal of evaluation were cited in three cases (12.5%). In these cases,
patients with safety or privacy concerns declined to be brought out to confidential settings for
clinical contacts while also likely withholding information when contacted at cell-front was noted.
In these cases, reviewers recommended QIPs to address patient refusal and to promote treatment
planning when a patient declines to come out of cell for confidential contacts. The problem of
patients not wanting to be seen talking to mental health, yet needing these services, is a difficult
issue to combat.

Table 23 lists additional common findings of case by case reviews.

Rigor mortis is a condition of the body postmortem that indicates a person has been deceased for
at least four hours.23 In 2015, only one case was found to be in rigor mortis at discovery. This case
occurred in a CTC. By comparison, four cases were found in rigor mortis in 2014. This may
suggest improvements in the quality of safety/welfare checks, the implementation and use of
Guard One throughout institutions in the CDCR, or simple chance variance.

The method used for each suicide is listed for the reader’s reference. As in prior years and in other
prison systems, hanging is easily the most common method of suicide in incarcerated populations,
accounting for the means for 83% of the suicides in the CDCR in 2015.

Table 23: Findings of Individual Case Reviews, part 2

          Inmate    Patient      Method Used       Prior Suicide   Higher          Housing/        MHSDS
                    Found in                       History/        Level      of   Cellmate        Status at
                    Rigor                          # of Prior      Care            Present?        Time   of
                    Mortis?                        Attempts        Indicated?                      Death  &
                                                                                                   LOC?
          A         N            Jump              Y/1             Y               SNY/N           CCCMS
          B         N            Hanging           Y/1             N               GP/N (out to    N
                                                                                   work)
          C         N            Hanging           Y/6             Y               GP/N            CCCMS
          D         N            Hanging           N/0             N               ASU/N           N
          E         N            Hanging           Y/3-7           Y*              ASU/N           EOP
          F         N            Overdose          Y/1             N               ASU/N           N
          G         N            Hanging           Y/2             Y**             ASU/N           EOP

23
     https://en.wikipedia.org/wiki/Rigor_mortis

                                                                                                        46 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038          Filed 01/28/21        Page 158 of 405
                                                                           Annual Suicide Report     2015


        H        N             Hanging          Y/2           N               GP/N            N
        I        N             Hanging          Y/1           N               GP/N            CCCMS
        J        N             Hanging          Y/1           Y               STRH/N          CCCMS
        K        N             Hanging          N/0           N               SHU/N           N
        L        N             Hanging          N/0           N               GP/N            N
        M        N             Overdose         Y/5           Y               GP/N            EOP
        N        N             Asphyxiation     N/0           Y***            ASU/N           N
        O        N             Hanging          Y/3           N               ASU/N           CCCMS
        P        N             Hanging          N             Y****           GP/N            N
        Q        N             Hanging/         Y/3           N               GP/N            CCCMS
                               Cutting
        R        N             Hanging          Y/1-3*****    Y               ASU/N           CCCMS
        S        N             Hanging          Y/1           N               GP/N            CCCMS
        T        Y             Asphyxiation     N/0           N               CTC(GP)/N       N
        U        N             Hanging          Y/2           N               GP/Y            N
        V        N             Asphyxiation/    Y/3           N               CTC/N           CCCMS
                               Overdose
        W        N             Asphyxiation     N/0           N          GP/N (out to EOP
                                                                         work)
         X         N            Hanging         N/0         N            GP/N            EOP
     *Recommended during Regional Team visit, December, 2014 **Due to worsening psychosis ***Inclusion in the
     MHSDS seemed warranted ****Per policy should not have been discharged from CCCMS *****Incidents on
     1/7/14, 4/22/14, and 10/7/15 were without clear intent

There is a robust literature on the heightened chronic risk of suicide for individuals with prior
attempts. This risk is especially robust when a person has a history of two or more suicide
attempts.24 It is thus not surprising that 16 of the 24 cases (67%) who died by suicide in 2015 also
had a history of prior attempts, with 10 cases (42%) having a history of multiple attempts. Deaths
occurring on a person’s first attempt are correlated with the use of a highly lethal method, such as
firearms in the community and hanging in the case of prisons. Hanging is a highly accessible means
for suicide in prisons. The ability of a person to abort a suicide attempt mid-way through the event
is usually impossible in hanging.25

Clinicians can use several interventions for risk management purposes, including transfer to
inpatient hospitalization, transfer to a more intensive level of care, or placement in a high risk
management program. Inpatient psychiatric hospitals, for example, are able to restrict means to
hanging by eliminating tie off points. In 2015, reviewers found reason to indicate that more
intensive risk management may have been needed in nine cases (37.5%). Of these cases, one was
recommended for a higher level of care by a visiting Regional Team, two should have been
considered for placement or retention in the MHSDS, one showed signs of psychotic
decompensation, two should have been considered for higher levels of care due to frequent refusal
of services, two were removed from high management lists or programs, and one had received bad
news and had threatened to harm himself if this news was received.


24
   E.g., Forman, Berk, Henriques, Brown, & Beck, 2004. History of multiple suicide attempts as a behavioral marker
of severe psychopathology, American Journal of Psychiatry, 161, 437-443.
25
   https://www.hsph.harvard.edu/means-matter/means-matter/case-fatality/

                                                                                                     47 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 159 of 405
                                                                             Annual Suicide Report     2015


Housing status is listed next with findings regarding whether a cellmate was present or not at the
time of the suicide. In 23 cases (96%), there was either no cellmate present or the deceased had
been in a single cell at the time of the suicide. In the one case where a cellmate was present, the
deceased hung himself during the overnight hours.

Finally, the level of care for each case at the time of death is listed. The high frequency of suicides
within the MHSDS is both to be expected and a cause for continued quality improvement efforts.

Chapter IV. Review of Suicide Prevention Initiatives in 2015

Introduction: The development and implementation of Quality Improvement Plans following
deaths by suicide is but one of many pieces of a comprehensive suicide prevention strategy. These
plans occur too late for the deceased, but correct problems and offer training and prevention plans
that may contribute to decreasing the risk of suicide in an institution and in a system in the future.

There are many additional aspects of a comprehensive suicide prevention strategy. 26 Such a
strategy includes ensuring a solid screening process occurs at various points of incarceration,
establishing a referral process, written procedures and policies for suicide prevention are
maintained and updated as needed, and there are effective methods for evaluating proof of practice
of existing and/or on-going suicide prevention programs and initiatives. In addition,
comprehensive suicide prevention programs must have a commitment to staff training, with the
provision of on-going training on suicide risk detection and referral to all correctional employees.
In addition, the complexities and specifics of suicide risk evaluation, risk management, and
intervention training must be provided to mental health staff. Comprehensive programs also assure
easily available mental health services for inmates who request and/or are referred for these
services, along with a variety of care options and levels. Suicide prevention materials must be
readily provided for inmates and for those who interact with inmates (e.g., family members, work
supervisors). Communication between disciplines and shifts must be prioritized, particularly
regarding high risk inmates.27

The CDCR has worked diligently to ensure that a comprehensive suicide prevention program is in
place. This effort has been shared with and reviewed by the Office of the Special Master and the
OSM’s experts for many years. It is beyond the scope of this report to review all suicide prevention
program efforts over these many years. Rather, the information provided in this section reviews
advancements in the CDCR suicide prevention program during the 2015 calendar year and shortly
thereafter.

Suicide prevention efforts developed, initiated, and/or implemented during the reporting
year: Numerous initiatives were either under development at the close of 2015 or had been


26
   Hayes, L.M. (2013). Suicide Prevention in Correctional Settings: Reflections and Next Steps. International
Journal of Law and Psychiatry, 36, 188-194.
27
   Preventing Suicide in Jails and Prisons, World Health Organization, 2007

                                                                                                       48 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 160 of 405
                                                                            Annual Suicide Report      2015


implemented during the year. Each initiative is described below with notation of the status of the
project on December 31, 2015 as well as the current status of each effort.

        New Five-Day Follow-Up Form: Patients are known to be at elevated risk for suicide upon
         release from inpatient settings per studies conducted in the community.28 The Five-Day
         Follow-Up Form (CDCR MH-7230-B) used by the CDCR is intended to ensure clinical
         contacts with patients returning from inpatient settings in cases where the reason for
         admission was danger to self. Whereas the old form had been contained on one page for
         all five days, leaving little room for documentation, the new form developed has two pages
         with sufficient room for recording the patient’s comments and the clinician’s assessment
         of the patient. The new form also contains several structured, suicide-specific questions so
         as to ensure clinicians and psychiatric technicians are asking about suicidal thoughts,
         desire, and intention. The new form also requires mental health clinicians to complete a
         safety/treatment plan with the patient. The new form was routed and approved by all
         required committees by the end of 2015. Involved unions were noticed. The form was
         readied for distribution and materials for Training for Trainers were prepared and delivered
         by webinar in January, February, and May, 2016. Training for Trainers materials were co-
         taught by mental health and nursing staff. The form was released for use on June 10, 2016.

        ASU Post-Placement Screening Questionnaire: All inmates are screened prior to placement
         in segregated housing units for mental health symptoms. Once placed in segregated
         housing, all inmates are contacted daily by psychiatric technicians. In addition, identified
         mental health patients are seen on a regular basis by mental health clinicians. As inmates
         may experience distress upon placement, the ASU Post-Placement Screening
         Questionnaire is a brief measure (12 to 13 items) that is administered by a psychiatric
         technician to non-MHSDS inmates and assesses an inmate’s level of distress and the
         presence or absence of suicidal thoughts or behavior. The screening questionnaire has set
         scoring rules that, once scored, guide the psychiatric technician regarding whether a
         referral to mental health is indicated, and if so, to what degree of urgency. Inmates who
         refuse the screen are to be referred to mental health on an urgent basis. The new form
         (CDCR MH-7790) was also routed and approved by all required committees by the end of
         2015. Involved unions were noticed. The form was readied for distribution and trainings
         (co-taught by mental health and nursing staff) were prepared, again via the Training for
         Trainers format. The PowerPoint presentation for the form had been reviewed and
         approved. This form was also released for use on June 10, 2016.

        Provision of Beds for Alternative Housing Cells: Several tours and audits of suicide
         prevention practices at various institutions had noted the lack of a physical bed in certain

28
  Qin, P., & Nordentoft, M. (2005). Suicide Risk In Relation to Psychiatric Hospitalization, Archives of General
Psychiatry, 62, 427

                                                                                                      49 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 161 of 405
                                                                Annual Suicide Report   2015


      alternative housing cells. These cells are used with patients who are awaiting transfer to a
      MHCB and patients in these cells are typically on Suicide Watch (direct, one-on-one
      observation). Without available beds, patients were placed temporarily in cells with
      mattress placed directly on the floor. As this could be experienced as punishment, the
      CDCR agreed to ensure beds were placed in all alternative housing cells. A bed (Norix
      Stack-a-Bunk) was selected and was purchased for this purpose. Beds were delivered to all
      institutions in need of them by the end of 2015. A Mental Health Services policy was
      drafted for patients pending MHCB transfer that includes provision of a Stack-a-Bunk in
      alternative housing. This policy remains under review currently.

     Updated Initial SRE Mentoring Training for Trainers: The SRE Mentoring training slides
      and webinar were updated to place more emphasis on mentoring safety/treatment planning,
      to develop more of an understanding of the interplay of chronic and acute risk factors in
      cases, to further explore the role of the mentor in assessing and expanding clinician
      competencies around suicide risk evaluation, and to further teach the Quality of Care Tool
      for SRE Mentors. The revised training was offered on several occasions in 2015 and 2016
      and was well received. Additional revisions were made to the presentation in November,
      2016.

     Development of a SRE Mentoring ‘Booster’ Training: The requirement for an annual
      ‘booster’ training was discussed and a presentation developed for current mentors. The
      ‘booster’ training was re-cast as an advanced course in suicide risk evaluation mentoring,
      with a focus on risk assessment competencies, methods for competency assessment, and
      ways to enhance SRE skills in clinicians at all levels of proficiency. The training was
      undergoing revisions at the end of 2015 with a plan to implement training in 2016. This
      training indeed occurred in 2016, with the mentoring booster training attended live by 50
      current mentors in November, 2016 and with numerous others taking the course by webinar
      in December, 2016.

      Memorandum Clarifying SRE Mentoring Requirements: A memorandum was drafted in
      2015 outlining and revising the requirements for SRE Mentoring. Clinicians working in
      Mental Health Crisis Bed settings were required to complete mentoring annually, whereas
      other clinicians were maintained on an every two year schedule. Clinicians were also
      notified of two SRE audits; one to be conducted by institutional program supervisors and
      the other by headquarters staff. Each mental health clinician will have an audit of a
      completed SRE at least once every six months. Processes for corrective action when audit
      criteria are not met were described as well. Finally, the expectation that SRE Mentors
      would receive annual ‘booster’ training was written. This memorandum was released on
      March 15, 2016. Institutional program supervisors began auditing SREs using the Chart



                                                                                        50 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21       Page 162 of 405
                                                                 Annual Suicide Report   2015


      Audit Tool, reporting results through the Quality Management Portal. Headquarters audits
      have been modified to solely focus on inter-rater reliability checks on institutional audits.

     Memorandum Clarifying SRE Training: SRE Training is a 7-hour CME-approved course
      that is provided to all CDCR mental health clinicians within 180 days of hire and every
      two years thereafter. The SMHP updates the 7-hour SRE class annually. The updated class
      is provided to a large group of institutional clinicians who then teach the class at their home
      institutions. This process of annual updates in Training for Trainers also ensures trainers
      are adherent to the content and focus of the course. A memo clarifying SRE Training
      requirements was drafted in 2015, noting that the requirement extends to clinicians hired
      through a registry and to telepsychiatry. Training for Trainers occurred in October, 2014
      for the 2015 training year and in October, 2015 for the 2016 training year. This
      memorandum was pending release at the end of 2015 and was released on March 24, 2016.

     Memorandum Clarifying SPR FIT Coordinator Duties: A memorandum was released on
      August 14, 2015 instructing all institutions to designate one Senior Psychologist, Specialist
      to the role of institutional SPR FIT Coordinator, tasked with leading suicide prevention
      efforts at each facility. The role also includes coordination of mental health
      assessments/evaluations and mental health training/orientation. A duty statement for the
      position was attached to the memorandum. The memorandum and clarification of duties
      was designed to ensure all institutions had dedicated resources within mental health
      programs to coordinate suicide prevention efforts. This memorandum was released on
      August 14, 2015 and implemented; the memorandum is found in Appendix VII.

     Memorandum Regarding SRE Tracking: A memorandum was released on October 23,
      2015 mandating that all institutions use appointment schedulers to simultaneously enter
      SREs completed by clinicians into the patient record and into the Mental Health Tracking
      System (MHTS). Clinicians were required to enter scheduled and unscheduled SRE
      appointments on daily work logs. This process is automated in EHRS institutions, but must
      be entered in this manner in institutions using the eUHR. The memorandum ensures proper
      tracking of suicide risk evaluations and timely scheduling and completion of follow-up risk
      evaluations. This memorandum is found in Appendix VIII.

     Updated Cadet Training: An update to training provided at the cadet training academy on
      the Mental Health Services Delivery System (MHSDS) and on Suicide Prevention was
      drafted and reviewed in 2015. Training for trainers on the updated version was provided
      on November 30, 2015. Lindsay Hayes attended the updated training as it was being given
      to a cadet class, providing feedback on the training in December, 2015. The training and
      accompanying lesson plans were undergoing revisions in light of Mr. Hayes’ feedback at
      the end of 2015. These revisions were approved and distributed on May 11, 2016.

                                                                                         51 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 163 of 405
                                                                            Annual Suicide Report      2015




        Workgroup on Keep-on-Person (KOP) Medications: In response to a headquarters QIP
         (from Case F in 2015), a workgroup was assembled to discuss how prescribed medications
         should be distributed in high-risk settings, such as in ASU Intake Cells. The workgroup
         met several times, considering input from pharmacy, custody, nursing, medical, and mental
         health representatives. Suggestions for limiting KOP medications in certain settings,
         relying on the Complete Care Model to communicate when medications should be
         administered as Direct Observation Therapy (DOT), and other potential solutions were
         discussed. Workgroup meetings focused on integrating clinical practices with KOP
         medications with new policy on the use of Over-The-Counter (OTC) medications. In
         addition, concerns about KOP medications will be an issue to be discussed at morning
         huddles.

        Training in Safety Planning: In response to reviews by regional staff, headquarters staff,
         and Mr. Hayes, training entitled “Safety/Treatment Planning for Suicide Risk Assessment”
         was created in 2014 by Dr. Robert Canning. The class was updated in 2015 with a slightly
         revised title, “Safety/Treatment Planning within Suicide Risk Assessment and
         Management.” The class included new content focusing on the on-going role of safety
         planning in managing suicide risk within the inmate population. Continuing medical
         education (CME) units are available to clinicians who take this course; attendance is
         mandatory for all clinical staff. The revised class was provided on four occasions between
         August and October, 2015Safety planning training was offered on multiple occasions in
         2016, with training then planned every six months in order to accommodate newly-hired
         clinical staff. The role of safety/treatment planning was also incorporated into other
         updated trainings in 2016 (e.g., in suicide prevention videoconferences, the 7-hour SRE
         course, and in SRE Mentoring classes).

        Training in Complex Diagnostic Cases: This training, entitled, “Differential Diagnosis in
         Complex Mental Health Cases” was developed to assist treatment teams in considering
         cases involving self-harm. Clinicians and clinical teams can err in underestimating or
         overestimating risk for suicide,29 particularly when cases present with complex diagnostic
         presentations and when patients engage in negative 30 or positive impression
         management.31 The under- or over-reporting of symptoms of distress and the within-patient
         variances in reporting suicidal ideation or desire for death can cause considerable clinical

29
   Horon, McManus, Schmollinger, Barr, & Jimenez (2013). A study of the use and interpretation of standardized
suicide risk assessment measures within a psychiatrically hospitalized correctional population. Suicide and Life-
Threatening Behavior, 43, 17-38.
30
   Sullivan & King (2010). Detecting faked psychopathology: A comparison of two tests to detect malingered
psychopathology using a simulation design. Psychiatry Research, 176, 75-81.
31
   Bagby & Marshall (2003). Positive impression management and its influence… A comparison of analog and
differential preference group designs. Psychological Assessment, 15. 333-339.

                                                                                                       52 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038           Filed 01/28/21        Page 164 of 405
                                                                          Annual Suicide Report    2015


         confusion. For example, a patient who reports self-harm behavior due to “needing to get
         off the yard” can be seen as manipulative and may represent little else in the case. However,
         for a more vulnerable patient the pressure exerted by other inmates can be a source of
         considerable distress and may indeed give rise to a desire to die. An approved version of
         this training was presented to mental health clinicians on multiple occasions in 2016.

        Training in Culturally-Competent Suicide Risk Assessment: In response to a 2015 QIP
         (Case B), training was designed to offer primary care physicians and mental health
         clinician’s specific approaches and tools to assess suicide risk in patients of various cultures
         and belief systems. Training included introductions to the DSM-5’s Cultural Formulation
         Interview,32 the Cultural Assessment of Risk for Suicide (CARS),33 and the Cultural and
         Protective Suicide Scale for Incarcerated Persons (CAPSSIP).34 Interactive vignette-based
         practice of suicide risk inquiry in diverse cases was integrated within the training. The
         course was offered, with CME credits, on four occasions in 2015. Several hundred
         physicians and mental health clinicians attended the course.

        Training of Board of Prison Hearings (BPH) Commissioners: Two informational talks
         were developed for the BPH. First, the perception that participation in the MHSDS would
         cause a BPH denial (and the reaction of clinicians to this perception) was listed as a QIP in
         Case F. Case F requested to be taken out of the MHSDS prior to an upcoming BPH
         appearance, a request that was granted by his IDTT. In addition, two cases in 2015 (also
         Cases F and P) may have considered receiving a RVR as removing the possibility of parole.
         For these reasons, members of the SMHP met with administrators within the BPH on two
         occasions in 2015 to discuss the best way of going about offering information to
         commissioners. After these meetings, two trainings were developed. The first occurred in
         October, 2015, with commissioners briefed on the topic of how mental health clinicians
         evaluate RVRs and the role depression, psychosis, and other mental health conditions in
         influencing behavior temporarily or when untreated. The second training was scheduled
         with the intention of exploring perceptions about mental illness and future risk of violence.
         An area of focus for the second training was on encouraging treatment participation and
         treatment compliance as a way of decreasing violence risk. This second training occurred
         in January, 2016.




32
   Lewis-Fernandez, Aggarwal, Hinton, L, Hinton, D, & Kilmayer (2015). Handbook on the Cultural Formulation
Interview. American Psychiatric Association Publishing, Washington, DC.
33
   Chu, Floyd, Diep, & Bongar (2013). A tool for the culturally competent assessment of suicide: The Cultural
Assessment for Suicide (CARS) Measures. Psychological Assessment, 25, 424-434.
34
   Horon, Williams, & McManus (Manuscript in review). The Culture and Protective Suicide Scale for Incarcerated
Persons (CAPSSIP): A measure for evaluating suicide risk and protection within correctional populations.
Submitted to Psychological Services.

                                                                                                   53 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 165 of 405
                                                                Annual Suicide Report   2015


     BPH Commissioner and BPH Evaluator Access to the Urgent Response Mailbox: As a
      result of discussions between BPH administrators and SMHP representatives, a letter was
      sent to all BPH commissioners and all evaluators working for the BPH to notify them of
      the availability of the Urgent Response mailbox. The mailbox allows BPH commissioners
      or evaluators to alert headquarters mental health staff regarding any concerns for suicide
      in inmates or patients who are scheduled to go before the BPH or who appear distressed at
      or after a BPH hearing. For example, a patient who makes concerning statements during a
      pre-BPH evaluation can be referred to headquarters mental health personnel, who then
      notify the mental health program at the patient’s institution. Similarly, an inmate who
      appears highly distressed by a parole denial during a BPH hearing can be referred by any
      of the commissioners present, ensuring a mental health contact occurs on that same day.
      This project has been implemented. The Urgent Response Mailbox was being used by BPH
      commissioners and evaluators by the close of 2015.

     Suicide Prevention Pamphlets: Inmate and Family Member: Suicide prevention pamphlets
      were designed for inmates and for family members during 2015. The pamphlets were
      specifically intended for suicide prevention purposes. Inmate pamphlets provided
      information on how to ask for help, noted common myths about suicide, and described
      feelings that may go along with suicidal thoughts. The varieties of ways inmates can be
      referred or self-referred for mental health contact are listed. The family and friends
      pamphlet provides a list of warning signs for suicide, clarifies common myths about
      suicidal people, and provides a mental health contact number. The pamphlets were
      distributed in July, 2015, accompanied by a memorandum dated July 30, 2015. The
      memorandum specified that inmate pamphlets were to be made available in all housing
      units, with family/friend pamphlets available in visiting areas. The process for ordering
      additional pamphlets was also detailed. Both pamphlets were distributed during the year in
      English. Pamphlets in Spanish for both inmates and friends/family members had been
      prepared and were moving towards printing by the end of 2015. All pamphlets are currently
      available and can be reordered and redistribution at any time. The memorandum sent to
      institutions and the pamphlets created and distributed are found in Appendix IX.

     ASU Activity Workbooks: ASU Workbooks were created in order to provide in-cell
      activities for inmates and patients in segregated housing units. The workbooks contain a
      variety of activities that inmates might use to distract themselves from the stress of the
      ASU placement, as ASU, particularly early in the placement, is known to be a high risk
      time/location for suicide. In addition, the workbooks contain suicide prevention messages
      and referral information scattered throughout the other content. The workbooks also serve
      as an item that custody officers and psychiatric technicians can use to encourage interaction
      with inmates and patients. Version 1 of the workbooks was re-ordered during the calendar
      year 2015, an indication of the regular use of these workbooks. The workbooks are

                                                                                        54 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 166 of 405
                                                                             Annual Suicide Report      2015


         available in English and Spanish. Additionally, a second version of the workbook was in
         development. The use of tablet-based activity booklets, using the tablets currently available
         in the inmate canteen, was also discussed. Implementation of Version 1 of the workbook
         had been very successful. Version 2 of the ASU Activity Workbook was approved by the
         end of 2015 and workbooks were distributed throughout 2016.

         Columbia Suicide Severity Rating Scale (C-SSRS) Training and Inclusion in the EHRS:
         The C-SSRS is a well-established, empirically established, standardized suicide risk
         measure35 that has been incorporated as part of all suicide risk evaluations in the CDCR’s
         Electronic Health Record System (EHRS) beginning in 2015. The primary author of the
         measure, Kelly Posner, Ph.D. (from Columbia University, New York), was invited to
         present on the measure in 2015. She accepted and presented the C-SSRS to a group of 50
         CDCR clinician-trainers from over 30 institutions in October, 2015. The training was
         video-recorded and was just under two hours long. A group of handouts and a brief
         PowerPoint slideshow was constructed to aide clinicians in becoming familiar with
         administering the C-SSRS. The C-SSRS assists mental health clinicians by providing a
         structured way to inquire about suicidal history, to evaluate the intensity of suicidal
         ideation, and to assess the potential and actual lethality of suicide attempts. The recorded
         video presentation by Dr. Posner, handouts and other materials were distributed in
         February, 2016. Clinician trainers received two hours of approved CME credit on the C-
         SSRS based on the recorded (DVD) presentation. All institutions that received the EHRS
         in 2016 held C-SSRS training prior to their respective EHRS start dates.

        Collaborative Assessment and Management of Suicidality (CAMS) training: The CDCR
         began discussions with David Jobes, Ph.D., a clinical researcher at the Catholic University
         of America (Washington, D.C.) during 2015. Discussions centered on training a group of
         clinicians within the CDCR on CAMS. Dr. Jobes agreed to present on the principles of
         CAMS, a treatment intervention specific to working with suicidal patients, during a
         statewide suicide prevention videoconference in October, 2015. CAMS represents a
         promising intervention for mental health clinicians within the CDCR, as the therapy has
         wide community use, good empirical backing, 36 good support with other established
         treatments,37 and flexibility to be used in a variety of settings. CAMS may be effective in
         targeting patients with high chronic risk for suicide, patients on high risk lists or in high

35
   Posner, Brown, Stanley, (2011). The Columbia-Suicide Severity Rating Scale: Initial validity and internal
consistency findings from three multisite studies with adolescents and adults. American Journal of Psychiatry, 168,
1266-1277.
36
   Jobes, Wong, Conrad, Drozd, & Neal-Walden (2005). The Collaborative Assessment and Management of
Suicidality versus treatment as usual: A retrospective study with suicidal outpatients. Suicide and Life-Threatening
Behavior, 25, 483-497.
37
   Andreasson, et al. (2016). Effectiveness of Dialectical Behavior Therapy versus Collaborative Assessment and
Management of Suicidality for reduction of self-harm in adults with borderline personality disorder and traits.
Depression and Anxiety, 33, 520-530.

                                                                                                       55 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 167 of 405
                                                                 Annual Suicide Report   2015


      risk programs, and patients with recent contemplation of or engagement in self-harm with
      intent. By the end of 2015, a purchase order to train an initial group of 50 clinicians in
      CAMS was in process. A list of clinicians was identified at all institutions with mental
      health missions to be the first group to receive and use CAMS. CAMS note templates were
      under preparation for inclusion in the EHRS. Training began in January, 2016 and
      continued until July, 2016. CAMS trainings occurred by using on-line training modules
      and a series of follow-up consultation calls with CAMS experts. A second round of
      clinician training is being arranged for 2017.

     Self-Harm Tracking and Predictive Algorithm: Self-harm incidents at every institution
      continue to be entered in MHTS. The data is used to identify institutions with high numbers
      of events and to track trends within and between institutions. In addition, using a technique
      called machine learning, the data will be used in developing a predictive algorithm.
      Machine learning algorithms can identify variables and variable combinations that may not
      at the surface appear related to increased short-term risk of self-harm, but can statistically
      establish these risks. The model allows for refinement as additional data points are entered.
      Work on a machine learning algorithm was begun in 2015, led by David Leidner, Ph.D., a
      specialist in informatics and data science. Dr. Leidner piloted an initial algorithm for
      predicting self-harm. Initial inquiries were made with several academic institutions
      regarding partnerships in developing the algorithm. More recently, a federal grant
      application was submitted in consultation with Drs. Ronald Kessler and Matthew Nock at
      the Harvard Medical School. The grant project hopes to refine the machine learning
      algorithm, increasing its predictive power and potentially alerting clinicians to patients
      with high degrees of likelihood of self-harm in the near future.

     On-Going Training through Monthly Suicide Prevention Videoconferences: Monthly
      suicide prevention videoconferences continue to occur. Institutional SPR FIT teams and
      mental health clinicians participate in the videoconference by viewing presentations in
      conference rooms using VTC connections or, when unable to attend in this manner, through
      phone lines. In 2015, the suicide prevention videoconference was used to review suicides
      and trends in suicides within the department, to brief staff on new or revised policies and
      procedures, to notify staff of suicide prevention trainings and resources (e.g., membership
      in the American Association of Suicidology), and to provide didactic trainings. Trainings
      covered during the year included:
          o Behavioral markers for suicide, even when suicide is denied
          o Introductions to evaluating suicide risk in the EHRS
          o Methods for improving safety plans
          o The use of suicide intention scales (with vignette practice)
          o Understanding chronic risk for suicide



                                                                                         56 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038            Filed 01/28/21        Page 168 of 405
                                                                         Annual Suicide Report     2015


            o Understanding the interplay between chronic and acute risk for suicide and
              imminent/warning signs for suicide
            o Staff self-care and monitoring of reactions to suicidal patients
            o Introduction to CAMS.

     The suicide prevention videoconference is a continuing suicide prevention effort. Presentations
     continued in 2016.

        Revisions to the SRE and inclusion of additional suicide risk assessments in the EHRS: As
         noted above, the inclusion of the C-SSRS as part of every SRE conducted within the CDCR
         is planned as part of EHRS implementation. The C-SSRS adds a structured set of questions
         inquiring about the intensity of suicidal ideation and about the range of suicide attempts
         and suicidal behaviors in which the patient has engaged over his or her lifetime. In addition,
         the SRE in the EHRS adds detailed information about past suicide attempts when
         applicable, noting the timing of the attempt, the means used, the potential and actual
         lethality/medical consequence, and so forth. These additions should help clinicians
         construct more accurate judgments of acute and chronic risk, while ensuring greater
         accuracy in considering historic vulnerability to suicide. In addition, the EHRS contains
         seven suicide risk assessment tools that may be used as needed by clinicians. These
         additional tools can help with understanding cultural protective and risk factors in cases,38
         evaluate readiness 39 and/or capability for suicide, 40 evaluate motivations for suicide
         attempts,41 and so forth. Each of these tools was provided by researchers to the CDCR. All
         of the measures mentioned above had been included in the ‘build’ of the EHRS, with the
         C-SSRS prominently featured within the EHRS SRE. Training in the additional suicide
         risk assessment tools available in the EHRS occurred via webinar in 2016, with additional
         trainings offered in monthly videoconferences. Live and webinar trainings are planned for
         2017.

Progress on each of these initiatives during 2016 will be reviewed in the 2016 Annual Report,
along with all new initiatives undertaken in the 2016 calendar year.

Chapter V. Conclusions

Introduction: The numerous efforts undertaken by the CDCR to reduce suicides, aided by the
consultation of the OSM, have been productive. Many suicides that may have occurred during
2015 were prevented, on-going efforts are helping to reduce rates, and new initiatives hold promise
in further reducing suicides within the CDCR. The rate of suicide in the CDCR in 2014 and 2015

38
   CAPSSIP; ibid
39
   Chronic Readiness Questionnaire; Horon, McManus, & Sanchez-Barker (2013)
40
   Acquired Capability for Suicide Scales—Fearlessness About Death; Ribeiro, Witte, Van Orden, Selby, Gordon,
Bender, & Joiner (2014)
41
   Reasons for Attempting Suicide Questionnaire; Holden & Delisle (2006)

                                                                                                  57 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 169 of 405
                                                                   Annual Suicide Report   2015


dipped below the average rate of suicides in U.S. prisons in 2014 (the last reporting year available)
and the percentage of suicides occurring in segregated housing units declined in both years. Efforts
during the reporting year ranged from QIPs at the institutional level to continuing work to train
clinicians in suicide risk evaluation and risk management to changes in policy and procedure to
innovative projects. Yet, work remains to be done and efforts are on-going.

Summary of Findings: In 2015, 24 suicides occurred within the CDCR, 22 males and two
females, at a rate of 18.6 per 100,000 inmates. Caucasian inmates and inmates in the age groups
30-34, 45-54, and over 60 died by suicide at a higher frequency then would be expected given their
respective percentages within the CDCR population. Suicides occurred more commonly in
unmarried inmates with limited educational and vocational experiences. Health factors were
implicated in nearly half of the deaths by suicide in 2015. The frequency of suicide in segregated
housing has declined, but remains an area of continued focus. Inmates sentenced to life also had a
higher risk of suicide than inmates with determinant sentences. The first year of incarceration was
also correlated with higher risk. Only one (4%) suicide occurred in a cell with a cellmate present
(the cellmate was sleeping at the time), suggesting a protective impact of dual person or dorm
housing. Suicides were more likely in individuals with past attempts (67%), a finding that is both
expected and suggestive of potential interventions for (living) suicide attempters/survivors. A
broad range of motivations or triggers for suicide were found in 2015, with in-prison stresses
repeatedly seen as underlying suicidal motives.

In comparison to the past 10 years, the suicide rate in the CDCR in 2015 of 18.7 per 100,000 is
the third lowest rate, with 2014 (17.0 per 100,000) and 2009 (14.9 per 100,000) the years with the
lowest rates. Two suicides of female inmates occurred in 2014 and 2015, higher than the number
of suicides in such settings in all but two of the prior 20 years. The frequency of suicide over a 15-
year period is highest in prisons with large mental health programs (1-2 suicides per year) and
lowest in settings with either minimal mental health programs or predominantly inpatient missions
(0.0 to 0.4 suicides per year on average). In 2015 and in the past 10 years in general, suicides occur
most frequently in March, May, and October.

The frequency and rate of suicide within the CDR has declined over the past 10 years. This decline
is seen in fewer suicides by Caucasians and Hispanic/Latinos, the two groups with the highest
frequency of suicide in the CDCR, and in fewer suicides in individuals ages 25-54. Suicides of
inmates age 55 and over are the only group to have trended higher in 2015 compared to the
previous five years. Suicides in segregated housing units have also declined in frequency compared
to prior years, though the setting continues to have an elevated risk of suicide compared to other
housing types. Inmates who qualify and have been placed in the MHSDS likewise continue to have
an increased risk for suicide, with MHSDS rates of 52.6 per 100,000 in the past 10 years versus a
rate of 10.3 per 100,000 in non-MHSDS inmates over the same period.

As referenced above, the rate of suicide in U.S. Prisons rose to 20.0 per 100,000 inmates in 2014,
the last year such statistics are available. This rate is higher than the rate of suicide in the CDCR

                                                                                           58 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 170 of 405
                                                                  Annual Suicide Report   2015


in 2014 and in 2015. It is notable that the rate of suicides in the CDCR has declined in the past 10-
years at a time when both the community rate and U.S. Prison rate has increased. Men incarcerated
in the CDCR had a lower rate of suicide then men in the community in 2014 and 2015.

When a non-lethal self-harm incident occurs within the CDCR, institutions are required to report
the event using a database of such incidents. When a suicide occurs, a broad and intensive series
of reviews is set in motion. These internal and external reviews evaluate the performance of staff
members within and across disciplines, evaluate the emergency response, discuss the event in
terms of procedural and policy considerations, and determine what corrective action plans must be
put in place to ensure qualitative improvements to suicide prevention programs. In 2015, a total of
115 quality improvement plans were initiated and completed, addressing case-specific, institution-
specific, and departmental level actions need to enhance suicide prevention efforts. Personnel at
the headquarters level review all deaths within the CDCR and carefully evaluate all deaths initially
listed as “unknown” or as caused by overdose in conjunction with the Death Review Committee.
Suicide case reports are carefully edited and reviewed for quality, with quality audits completed
by Quality Management staff. With very few exceptions, Suicide Case Reviews meet all or nearly
all audit criteria. Experts working with the OSM participate in SCRs.

Suicides occurring in the CDCR in 2015 were understandably rather idiosyncratic and often multi-
determined. Each of the 24 suicides in the year was reviewed to illustrate the complexities of the
case and how suicidal outcomes can manifest within very different individuals. Case findings are
also tabulated to look at key issues in improving suicide prevention. Among these findings are
continued difficulties with suicide risk evaluations, suicide risk management, and treatment
planning by mental health clinicians, manifested in a variety of ways over the 10 to 11 cases where
these issues were identified. The need for higher levels of care considerations was also indicated
in a number of cases. Issues with custody rounds, such as allowance of in-cell draping, concerns
with emergency response, such as failing to bring full cut-down kits to an emergency, and
problems with nursing/psychiatric technician checks were noted in a number of cases as well. Only
one inmate was found in a state of rigor mortis in 2015, an improvement over past years.

Numerous suicide prevention initiatives continued, created, or initiated in 2015 were also
reviewed. These initiatives strive to ensure a comprehensive suicide prevention strategy remains
in place and continues to grow and develop as the population of the CDCR changes. Initiatives
arose from many sources: QIPs, suggestions by Mr. Lindsay Hayes, audits of clinician
performance, results of mentoring of clinicians trained in suicide risk evaluation and treatment
planning, discussions and coordination with others (e.g., BPH commissioners), inspiration from
public suicide prevention campaigns, discussions with and consultation with renowned
suicidologists, and even advances in informatics and other technologies. The development of the
EHRS also set in motion a number of opportunities for innovation in the service of improving
patient safety.



                                                                                          59 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21       Page 171 of 405
                                                                        Annual Suicide Report    2015


Report implications and future steps: A group of 1 report implications are enumerated below.
The order of these implications is based on the order in which each finding was presented in the
annual report. Future steps regarding each implication are to be discussed upon during DHCS SPR
FIT meetings in 2017.

     1. Suicides in older adults: As was noted in Table 2, inmates over the age of 60 make up 6%
        of the population within the CDCR. However, 21% of suicides within the CDCR in 2015
        were within this age group, making this the age group most overrepresented in number of
        suicides. High rates of suicide are found in the community in elderly males, particularly
        Caucasian males, during their mid- and late 70s and 80s. For mental health clinicians, the
        use of measures of connectedness with elderly patients should be discussed. The
        Interpersonal Needs Questionnaire (INQ) 42 is included as an optional assessment in the
        EHRS and is a fine choice in such cases.

     2. Suicides in inmates with co-morbid medical conditions: Nearly half (46%) of the inmates
        who died by suicide in 2015 were considered to have serious and/or chronic medical
        problems. This group of inmates had medical problems ranging from chronic low back
        pain or headaches to cases of liver disease, cancer, hemiparesis, diabetic neuropathy,
        cardiac problems, and worsening blindness. Community surveys of suicide in patients with
        significant medical problems have had varying results, with roughly 10% of suicides seen
        as attributable to medical disorder or to terminal illness.43 In comparison, the one year
        (2015) total of 11 suicides of 24 in the CDCR is rather elevated and thus a potentially
        promising area to increase suicide prevention efforts. Several institutions have
        implemented pain management committees and pain management groups for inmates, and
        the success of these endeavors is being looked at closely.

     3. Suicides in segregated housing units: Despite a significant decline in the frequency
        of suicide in segregated housing units, the rate of suicide in these units remains high
        compared to other housing settings within the CDCR. The three deaths occurring in
        dedicated intake cells is also concerning. Each of these three suicides occurred using
        different methods (hanging from a sprinkler head, hanging from ventilation grate
        holes, and overdose on KOP medications). A great deal of effort has already gone
        into improving safety and suicide prevention procedures in these settings, and it may
        be too early to fully ascertain the success of those efforts. However, further
        discussion of the implications of this finding may lead to new innovations.



42
   Cukrowicz, Cheavens, Van Orden, Ragain, & Cook (2013). Perceived burdensomeness and suicide ideation in
older adults. Psychology and Aging, 26, 331-338.
43
   https://www.theguardian.com/society/2011/aug/23/suicide-chronic-illness-study



                                                                                                 60 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 172 of 405
                                                                Annual Suicide Report   2015


  4. Suicides in Inmates with Life Sentences: As 54% of suicides in 2015 occurred in
     patients with life sentences, compared with a roughly 20% proportion of the
     population overall, ‘Lifers’ represent a target for intervention. From a prevention
     standpoint, a number of efforts have been taken to try to combat this finding,
     including conducting training for BPH commissioners and evaluators, broadening
     the Urgent Response referral system to commissioners and evaluators, and training
     clinicians to ‘bracket’ BPH hearings with mental health contacts. Clinicians were
     advised during suicide prevention videoconference training to evaluate the degree of
     a patient’s distress present before and after the hearing, to discuss the patient’s
     thoughts on the outcome of the hearing, and to respond proactively to what may be
     experienced as bad or distressing news. Further education regarding the risk of
     suicide in inmates with sentences of Life without the Possibility of Parole is planned.
     Further interventions may also include holding “open lines” on general population
     lines, where inmates who do not require placement in MHSDS may seek time-limited
     services.

  5. Suicides in Inmates during the First Year of Incarceration: In 2015, five of the 24 suicides
     occurred within the first year of incarceration, representing 21% of suicides. Three of the
     suicides occurred in inmates who were in reception centers (Cases I, S, & U). In reviewing
     the five cases, there is not a great deal of consistent or readily attributable commonalities
     between the deaths. However, based on 2015 data, additional attention to the variable ‘early
     in sentence’ is important to consider. The DHCS SPR FIT may wish to discuss ways to
     encourage clinicians in reception centers and those working with new arrivals to
     institutions (who are in their first year of incarceration) to exercise a more conservative
     approach to risk management with these individuals, to possibly include enhanced
     outreach.

  6. Prevalence of Suicide in Single Cells and Double Cells without Assigned Cellmates: The
     CDCR has recognized the potential protective gain of cellmates for many years, noting the
     majority of suicides occur in cells with single occupancy. The same is true for 2015, with
     96% of suicides occurring without a cellmate present at the time of the death. While it is
     true that inmates can wait for their cellmates to leave the cell for work or programming
     (this was true in two cases in 2015), there is still a preponderance of suicides in inmates
     with no assigned cellmate (20 of the 24 in 2015). Cellmates have interrupted suicide
     attempts, called for help during attempts, talked others into aborting attempts, and provided
     social support in many cases. The DHCS SPR FIT may discuss ways to encourage double
     cell or dorm placements in institutions, understanding that this is an optimal arrangement
     for most inmates.




                                                                                        61 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21        Page 173 of 405
                                                                         Annual Suicide Report    2015


     7. Suicide Attempt History: Ten of the inmates who died by suicide in 2015 had made
        multiple past suicide attempts, with another six having made one prior attempt. Thus, two-
        thirds of those who died by suicide had made at least one prior attempt. The lifetime risk
        of death by suicide increases with single attempts and much more so after a second attempt;
        this is true in psychiatric and non-psychiatric samples. In psychiatric samples, the finding
        is particularly true in individuals with schizophrenia and bipolar disorder44 and in patients
        shortly after release from hospitalization. 45 The CDCR has already instituted post-
        hospitalization follow-up contacts by policy, with procedures such as five-day follow-ups,
        MHCB discharge custody checks, and so forth. For other patients with high chronic risk,
        the use of high risk lists and high risk management programs has been implemented. The
        DHCS SPR FIT will be further developing a standardized policy and procedure regarding
        high risk lists. The DHCS SPR FIT may consider and discuss additional interventions for
        suicide survivors, such as developing a pilot program to pilot the use of CAMS treatment
        with identified high risk patients; patients who have recent suicide attempts or a history of
        multiple prior attempts. As noted, CAMS is a targeted intervention that is specific to
        suicide risk. The treatment includes patient ratings of what most fuels suicidal desire for
        them and what has historically contributed to a wish to die by suicide, while challenging
        this wish for death with considerations of making life worth living.

     8. Focus on Common Triggers or Motives for Suicide: Logically, in-prison stresses such as
        safety or enemy concerns, victimization fears, gang pressures, or new charges can be seen
        as sufficient to trigger or motivate suicidal contemplation. These motives were well
        represented in suicide case reviews conducted in 2015. However, mental health clinicians
        can sometimes underestimate the impact of in-prison stresses, noting either the inmate’s
        role in the difficulty or the responsibility of custody staff in managing these issues. In other
        occasions, clinicians rely on reported mental health symptoms without assessing current
        distress. Additional highlighting of ways to integrate the role of in-prison stresses in inmate
        suicide within on-going suicide risk evaluation and suicide prevention trainings may be
        helpful.

     9. Prevalence of Suicide in Mental Health Patients: The difference in rates of suicide over a
        10-year period between identified mental health patients (52.6 per 100,000) and non-
        mental health inmates (10.3 per 100,000) is striking. While this suggests the CDCR has
        been doing a good job of screening and identifying inmates in need of mental health
        services, it also suggests that more can be done to prevent suicide in identified MHSDS
        participants. Of course, suicide is associated with a number of mental health disorders, and


44
   Tidemalm, Langstrom, Lichtenstein, & Runeson (2008). Risk of suicide after suicide attempt according to
coexisting psychiatric disorder: Swedish cohort study with long-term follow-up. British Medical Journal, 337.
45
   Haukka, Suominen, Partonen, & Lonnquist (2008). Determinants and outcomes of serious attempted suicide: A
nationwide study of Finland, 1996-2003. American Journal of Epidemiology, 167, 1155-1163.

                                                                                                  62 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21        Page 174 of 405
                                                                          Annual Suicide Report     2015


        individuals who self-harm are placed in the MHSDS, suggesting that the rate in mental
        health populations will always be larger. 46 However, MHSDS staff members receive
        increasingly extensive and intensive suicide risk evaluation and suicide risk management
        training in the service of their patients. Increasing the focus on and training for suicide-
        specific interventions and suicide-specific treatment planning may be the most
        advantageous next step and may be carried forward by the headquarters SPR FIT. The
        provision of specialized training in CAMS, 47 DBT, 48 and/or CBT for Suicidality 49 is a
        worthwhile consideration for discussion.

     10. Capitalizing on Innovations: The introduction of the Mental Health Tracking System
         (MHTS) in 2014 and the creation of an electronic health record system in 2015 created
         significant opportunities. First, in creating MHTS, critical information is entered daily into
         a data warehouse; this information can be used not only to track incidents of self-harm but
         also to correlate with other system information. The EHRS is also able to load information
         into the data warehouse. In this way, information is available to generate predictive
         algorithms for self-harm incidents in the CDCR, another way of identifying high-risk
         inmates that can alert clinicians to inmates in need of intervention. Additionally, the EHRS
         provides a way to integrate empirically-supported measures for evaluating suicide risk into
         clinical practice, lends tools for tracking the impact of safety and treatment planning
         efforts, and offers ways to evaluate the effectiveness of specific treatment interventions.
         These innovations should be embraced as advancements in suicide prevention.




46
   http://depts.washington.edu/mhreport/facts_suicide.php
47
   Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.
48
   Linehan, M. (1993). Cognitive-Behavioral Treatment of Borderline Personality Disorder. Guilford Press, New
York.
49
   Byran, C., Ed. (2015). Cognitive-Behavioral Therapy for Preventing Suicide Attempts. Routledge Press, New
York.


                                                                                                    63 | P a g e
Case 2:90-cv-00520-KJM-SCR       Document 7038      Filed 01/28/21      Page 175 of 405
                                                         Annual Suicide Report   2015


Appendix I: Sample High Risk Management Program Policy




                                                                                 64 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 176 of 405
                                                 Annual Suicide Report   2015




                                                                         65 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 177 of 405
                                                 Annual Suicide Report   2015




                                                                         66 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 178 of 405
                                                 Annual Suicide Report   2015




                                                                         67 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 179 of 405
                                                 Annual Suicide Report   2015




                                                                         68 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 180 of 405
                                                 Annual Suicide Report   2015




                                                                         69 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 181 of 405
                                                 Annual Suicide Report   2015




                                                                         70 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 182 of 405
                                                 Annual Suicide Report   2015




                                                                         71 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 183 of 405
                                                                   Annual Suicide Report   2015


Appendix II: Self-harm and Incident Reporting

Institutional reporting of self-harm incidents: All incidents of self-harm in the CDCR are
reviewed by institutional staff members, including mental health clinicians. When an incident of
self-harm occurs, regardless of the severity of injury sustained, mental health clinicians discuss the
event with the patient and determine whether the intent was to die (thus a suicide attempt) or if the
self-harm served some other purpose, such as to relieve tension states, without any intention to
die. The self-harm database also includes data on self-harm incidents that result in death.

All incidents of self-harm are entered on a self-harm database. The self-harm database serves as a
way for mental health clinicians to track incidents within a facility, to allow Regional and SMHP
staff members a view of the frequency of self-harm across facilities, to identify patients for High
Risk Management Lists or Program(s) within a facility, and to further examine risk factors. A
sample High Risk Management Program policy is found in Appendix I.

When a suicide attempt involving serious bodily injury occurs in the CDCR, the incident is
documented using CDCR Form 837, Serious Incident Report, and institution mental health staff
members are notified of the incident. Each incident is also relayed through one of two reporting
processes; the Daily Briefing Report (DBR) or the Administrative Officer of the Day (AOD)
report. The information in either report is sent to the administration of the Division of Adult
Institutions (DAI) and forwarded to the CDCR’s SMHP. In some cases, a suicide attempt involving
serious bodily injury results in death at a later time; the DBR or AOD report are updated in this
case to reflect that a death by suicide has occurred. In such cases, the DBR or AOD report is
updated to inform the DAI and the DAI Mental Health Compliance Team of a death by suicide.




                                                                                           72 | P a g e
Case 2:90-cv-00520-KJM-SCR               Document 7038          Filed 01/28/21      Page 184 of 405
                                                                     Annual Suicide Report   2015


Institutional reporting of suicide: In the event of the discovery of a suicide attempt in progress,
emergency medical interventions are made until such time as the individual is pronounced
deceased by a qualified physician. Correctional officers who come upon a suicide attempt in
progress are to sound an alarm and initiate life saving measures until relieved by health care
personnel. Officers are trained in CPR and in procedures to respond to emergencies, including in
bringing cut-down kits to the scene of a suicide in progress.50 Custody officers will assist health
care staff members, including institutional responders and paramedics, in transporting the patient
to the TTA and/or ambulance. In cases in which emergency interventions are not successful, the
watch commander or senior custody officer is notified of the suicide and in turn notifies the
Warden or the AOD of the death.51 A CDCR Form 837, Serious Incident Report, is completed on
all suicides.

The Chief Medical Executive or physician designee makes a report of the death by suicide within
eight hours of the event. Medical information is provided in the CDCR Form 7229A Initial Inmate
Death Report. This form, once completed, is distributed internally, to the county coroner’s office,
and to the Death Review Coordinator at headquarters. A separate form is completed by institutional
mental health staff, form CDCR MH-7229B Inmate Suicide. This form is typically completed by
the institutional SPR FIT Coordinator and contains information on prior suicide attempts, the
results of recent suicide risk evaluations, etc.52 The form is retained at the facility and sent to the
SMHP. Once received, SMHP support staff ensures the suicide is entered into a log, reports the
event to nursing leadership, and alerts the SMHP Suicide Response Coordinator to the event.




50
   MHSDS Program Guides, 2009 Revision, pages 12-10-21 to 12-10-23
51
   MHSDS Program Guides, 2009 Revision, pages 12-10-24
52
   Id.

                                                                                             73 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 185 of 405
                                                                  Annual Suicide Report   2015


Appendix III: Determination of Unknown Causes of Death

Determination of unknown causes of death: On occasion, a death will occur within a CDCR
institution in which the cause of death is not immediately determined. These cases are classified
as “Unknown Deaths.” These cases receive special attention until the cause of death is determined.
In order to track these deaths, a group of employees at the SMHP are assigned to review all
notifications of deaths within the CDCR. As noted, each institution within the CDCR is required
to make a report of death and to provide documentation on the provisional cause of a death in a
CDCR 7229A. A completed CDCR 7229A contains a preliminary summary of the circumstances
of the death and lists any underlying/significant medical conditions. These documents are uploaded
to a SharePoint site that can be accessed by members of the Death Review Committee and the
SMHP. Additionally, the Death Review Coordinator for the CCHCS produces a daily report on all
CDCR deaths.

In 2015, a total of 330 inmates perished in the CDCR, with 159 of the decedents (48%) involved
in the MHSDS at the time of death. Whenever a Coleman class member dies, the OSM is notified
of the circumstances and cause of the death by the SMHP. In all cases in which the cause of death
is provisionally listed as a suicide, an additional mental health review is completed by the
institution and documented using a CDCR 7229B. In all such cases and whenever any inmate dies
from suicide, the OSM is notified of the circumstances and the specifics of the suicide. At times,
notifications to the OSM may be updated with the receipt of additional information, such as results
from autopsies, toxicology screens, and so forth.

In the event that a death notification lists the cause of death as unknown or undetermined, the
SMHP will track the case until the death is classified. On some occasions, the cause of death is
classified quickly by institutional medical review. In other cases, the cause of death remains
undetermined pending the receipt of autopsy or toxicology results. In such cases, the Death Review
Committee will investigate the death and produce an initial cause of death as well as a final cause
of death determination. In the meantime, the SMHP communicates with the institution and with
the DRC on these cases until the cause of death is determined. A member of the SMHP also sits
on the DRC to ensure all unknown deaths are reviewed and, when applicable, that the possibility
of suicide has been closely and objectively considered.

The SMHP reviews unknown deaths in order to ensure that all deaths are accurately identified as
either due to suicide or not due to suicide. Cases are identified for this additional review when the
cause of death is overdose, to determine if the overdose is most likely accidental or intentional
(suicide). Other cases are identified when the cause of death is potentially related to mental health
treatment needs and/or when the death may have resulted as the long-term consequence of a self-
harm behavior.

The following guidelines are used to determine unknown deaths:



                                                                                          74 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21     Page 186 of 405
                                                                Annual Suicide Report   2015


Reviewers Determination of Unknown Deaths Guidelines

   1. Review the method of death to determine if there may have been an alternative reason
      (other than suicide) for the behavior (e.g., autoerotic asphyxiation, confusion and inability
      to form intent, purposeful intoxication, etc.).


   2. If an overdose on substances is it reasonable the substance (illicit or prescribed) may have
      been used in an attempt to become intoxicated? (e.g., Tylenol is not likely to be used to
      become intoxicated; Klonopin may be).

   3. Review recent mental health history and any past history of suicide attempts/self-harm
      behavior (check self-harm log). Did the inmate:
          Voice suicidal ideation (including conditional suicidal ideation)?
          Have admits to MHCB?
          Engage in self-harm behavior?
          Have a history of depression or mood disturbance?
          Have a history of psychosis?

   4. Review substance abuse history.
          What substances were used?
          Have there been any past overdoses?
                o If yes, what did the inmate say about them at the time?
          What substance abuse treatment was offered?
          How recent are reports of current use?

   5. Review recent custodial information.
          Was the inmate facing criminal charges?
          Did the inmate lose an appeal?
          Did the inmate have any recent losses?
          Was there any bad news readily apparent?

   6. Review medical information for the presence of:
          Chronic pain
          Terminal illness

   7. Was there a suicide note or a note that could be construed as such?




                                                                                        75 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 187 of 405
                                                                 Annual Suicide Report   2015




Appendix IV: Review of Unknown Deaths and Overdose Deaths

Cases EE to NN were deaths initially classified as unknown deaths. Each of these cases was
eventually determined to involve death due to drug overdose.

Case EE was provisionally determined to have had an illicit drug overdose per the CDCR 7229A
completed at this death. Toxicology results indicated methamphetamine intoxication. Autopsy
reports also determined no other cause of death; the death was ruled as an accidental drug overdose
secondary to methamphetamine intoxication. Additionally, three baggies containing
methamphetamine were found on EE during autopsy, secreted in various bodily orifices. The
Combined Death Review Summary (CDRS) also determined methamphetamine overdose to be
the cause of death. The case had no known history of suicide attempts, had not received recent bad
news, and did not leave a suicide note. Case EE had an extensive substance abuse history as well.
All evidence in the case argued for an accidental overdose and not an intentional overdose (a
suicide).

Case FF was provisionally determined to have had an anoxic brain injury that occurred on account
of an illicit drug overdose (per the CDCR 7229A completed at his death). Toxicology results
indicated methamphetamine intoxication. Autopsy reports determined the cause of death as an
accidental drug overdose secondary to methamphetamine intoxication. Case FF was known to have
significant substance abuse problems and had been found by custody officers the day before his
death in possession of inmate-manufactured alcohol. The Combined Death Review Summary
(CDRS) also determined methamphetamine overdose to be the cause of death. The case had no
known history of suicide attempts, had not received recent bad news, and did not leave a suicide
note. He had a history of chronic back pain but pain medications were not implicated in his death.
The evidence in this case is strong for an accidental overdose rather than for an intentional
overdose (a suicide).

Case GG was listed as an unknown death per the CDCR 7229A. However, toxicology results were
positive for methamphetamine intoxication. Autopsy reports determined the cause of death to be
acute methamphetamine intoxication. Additionally, multiple bindles were found on Case GG
during autopsy. The Combined Death Review Summary (CDRS) determined methamphetamine
toxicity to be the cause of death. The case had no known history of suicide attempts, had not
received recent bad news, and did not leave a suicide note. Case GG had an extensive substance
abuse history as well. He had a history of knee pain for which he was treated with Tylenol;
however, this medication was not implicated in his death. The evidence in the case argues for an
accidental overdose and not an intentional overdose (a suicide).




                                                                                         76 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 188 of 405
                                                                  Annual Suicide Report   2015


Case HH was listed as an unknown death/probable overdose on his CDCR 7229A. However,
toxicology results were positive for Fentanyl, a synthetic opioid. Autopsy reports determined the
cause of death to be acute Fentanyl intoxication. The Combined Death Review Summary (CDRS)
determined Fentanyl toxicity to be the cause of death. Additionally, the inmate’s cell was searched,
with a syringe and drug paraphernalia found in his property. No suicide note was found. Case HH
had an extensive substance abuse history as well and had received a RVR on 6/29/15 for Possession
of a Controlled Substance for Distribution. He was placed in ASU for several weeks but had
returned to general population housing. On the other hand, Case HH did have a history of suicide
attempts, including an intentional overdose attempt in 1995. He had also received recent bad news
three months prior to his death. He was informed that his grandmother had died and he responded
by swallowing a razor blade at the time. Case HH had a history of chronic back pain for which he
was treated with Tylenol and Naproxen. These medications were not implicated in his death. The
evidence in the case is complex, though there appears to be stronger evidence for an accidental
overdose than for an intentional overdose.

Case II was listed as possible drug overdose on the CDCR 7229A completed at his death.
Toxicology results were positive for Fentanyl intoxication. Autopsy reports determined the cause
of death to be accidental drug overdose/Fentanyl intoxication. The Combined Death Review
Summary (CDRS) also determined Fentanyl toxicity to be the cause of death. The case had no
known history of suicide attempts, had not received recent bad news, and did not leave a suicide
note. He also had no known chronic pain issues. Case II had an extensive substance abuse history
and was found at autopsy with multiple needle marks on his arm, with illicit drugs and syringes
found in his cell as well. The evidence in the case argues strongly for an accidental overdose rather
than an intentional overdose.

Case JJ was listed as an unknown death and provisionally as a death due to respiratory failure
secondary to drug overdose (on CDCR 7229A). Case JJ was discovered in his cell with a syringe
in his hand. The syringe was found to contain heroin, acetyl codeine, and papaverine (an opioid).
Methamphetamine was not found in the tested syringe but was present per toxicology results.
Prescribed medications were also found in his system but reported to “not excessive.” The autopsy
report determined the cause of death to be accidental drug overdose by the combined effects of
acute heroin and methamphetamine intoxication and the prescribed medications. Multiple drug
injection marks were found on the body. The Combined Death Review Summary (CDRS) also
determined the cause of death to be overdose. The case had a history of suicide attempts, using
attempted hanging and exsanguination. He was treated at the EOP level of care and had prior
inpatient stays. The patient’s father had passed away one month before the death. Mental health
notes reported that clinicians were working with the patient on bereavement issues and that Case
JJ was denying suicidal thoughts, plans, or intent. Case JJ also had known chronic back pain and
an extensive substance abuse history. The evidence in the case argues is somewhat equivocal,
suggesting that suicidal motive could have been present but denied by the patient. However, the


                                                                                          77 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 189 of 405
                                                                  Annual Suicide Report   2015


evidence is stronger for ongoing IV drug use, as noted by the track marks found in many places
on the body, and for an accidental overdose, as noted from the contents of the syringe found at the
time of discovery.

Case KK was listed as possible drug overdose per his CDCR 7229A. Toxicology results were
positive for heroin intoxication. Autopsy reports similarly determined the cause of death to be
heroin intoxication. Additionally, a number of hypodermic needles were found in Case KK’s cell,
suggesting a pattern of illicit drug use. The Combined Death Review Summary (CDRS)
determined heroin toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case KK had an
extensive substance abuse history. He had a history of back pain. The majority of evidence in the
case argues for an accidental overdose rather than an intentional overdose (a suicide).

Case LL was listed as an unknown death per the CDCR 7229A. Case LL was known to have
significant medical issues, including hepatic cirrhosis and Hepatitis C, prior to his death. However,
toxicology results were positive for morphine intoxication. Autopsy reports determined that
morphine intoxication was a tertiary cause of death with cirrhosis being the primary cause of death.
The Combined Death Review Summary (CDRS) agreed with this determination; that is, that
morphine ingestion was not the primary cause of death. Notably, Case LL did have a history of
chronic neck and low back pain and he was treated with opiates. He also had a history of substance
abuse problems. Case LL did not have a known history of suicide attempts, had not received recent
bad news, and did not leave a suicide note. The evidence in the case is suggestive of a death from
medical illness with secondary accidental overdose with morphine. There is little or no evidence
of an intentional overdose (a suicide).

Case MM was listed as an unknown death on the CDCR 7229A completed at the time. Toxicology
results were elucidating, with both morphine and methadone found. The patient did have chronic
back pain and was on multiple prescribed medications for pain. However, upon Death Review
Committee study, both medications were found to be elevated, suggesting acute
toxicity/intoxication. Additionally, Case MM’s cell was found to have syringes, despite the fact
that his opioid medications were crushed for administration. The medications were crushed on
account of the severity of the inmate’s substance abuse difficulties. The autopsy report on the case
determined the cause of death was “acute morphine and methadone intoxication (hours).” The
autopsy noted left-ventricular cardiac hypertrophy, pulmonary edema, and cirrhosis of the liver as
well. Case MM was known to have hypertension, diabetes mellitus, type 2, hepatitis C, and end-
stage liver disease. Case MM was in the MHSDS at the CCCMS level of care. He was treated for
anxiety and was in treatment groups for pain management. Mental health notes do not document
concerns about suicidality and largely focus on pain symptoms. No suicide note was found in the
case and there was no known receipt of bad news. The majority of evidence in the case argues for
an accidental overdose rather than an intentional overdose (a suicide).


                                                                                          78 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 190 of 405
                                                                 Annual Suicide Report   2015




Case NN was provisionally listed as an unknown/possible drug overdose death on CDCR 7229A.
His cellmate was initially suspected in his death, but no signs of trauma were found on the body.
A cell search produced drug packaging materials. Case NN was known to have significant
substance abuse issues. Post-mortem toxicology findings were positive for opiates, with autopsy
results indicating acute opiate toxicity as the cause of death. The Combined Death Review
Summary (CDRS) concluded that opiate ingestion/toxicity was the cause of death. Case NN was
in the MHSDS at the CCCMS level of care. He reportedly was placed in CCCMS after being
charged with heroin possession in 2014; he reported some distress upon placement in ASU. He
improved while in ASU but was retained in CCCMS. Case NN had no known history of suicide
attempts. He did have back pain issues, for which he was treated with Ibuprofen. Case NN had not
received recent bad news and did not leave a suicide note. The evidence in the case weighs strongly
on the side of an accidental overdose of opiates. There is little or no evidence of an intentional
overdose (a suicide).




                                                                                         79 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21     Page 191 of 405
                                                                         Annual Suicide Report   2015


Appendix V: Suicide Response Procedures

Reporting of a suicide to stakeholders: When an inmate dies by suicide, members of the SMHP
complete two formal notification processes. First, a death notification is written and sent to the
OSM and contains details of the suicide. Second, a summary of the suicide is composed and sent
to the Deputy Director of the SMHP and the Undersecretary of the DHCS. The Public Information
Officer at the institution is assigned with any local notifications or reports regarding the death,
including notifying the next of kin of the suicide.

Institutional internal review process: The internal process for reviewing suicides at CDCR
institutions includes reviews by mental health, custody, and nursing/medical personnel employed
at that site. The reviews are conducted first within disciplines and then within joint institutional
reviews, such as during SPR FIT and emergency medical response committee meetings.

Each institution within the CDCR has a Suicide Prevention and Response Focused Improvement
Team, or SPR FIT, with a Senior Psychologist-Specialist assigned to coordinate local prevention
and response efforts. The institution’s SPR FIT is established and maintained by the Mental Health
Program subcommittee, with both committees part of local Quality Management

Committees.53 Each institutional SPR FIT is responsible for monitoring and tracking all self-harm
events, ensuring that appropriate treatment and follow-up interventions occur. When deaths by
suicide occur, the local SPR FIT Coordinator is required to notify the SMHP, to provide assistance
to mental health, custody, and nursing suicide reviewers, and to ensure the implementation of
Quality Improvement Plans (QIPs) resulting from the suicide review.54

External review processes: CDCR’s response to suicides includes several external reviews by
trained representatives from various disciplines, including nursing, medical, custody, and mental
health. Within three days of the suicide, reviewers are assigned from these disciplines at what is
commonly referred to as the headquarters level. The role of each discipline’s review is discussed
separately below, but these disciplines collaborate with each other during the suicide review
process, sharing initial findings, conducting reviews together, etc.

Trained custody and mental health reviewers conduct an on-site visit together within seven days
of a suicide. Reviewers look at the deceased’s property, listen to recorded phone calls, check trust
account records, and talk with the Investigative Services Unit (ISU) of the specific prison.
Reviewers evaluate the emergency response that took place during or after the suicide and review
the medical and mental health services rendered in the case, if applicable. Reviewers will also talk
with officers, clinicians, work or school supervisors, and cellmates who may have known the
patient. Reviewers may gather information from other sources as well, such as through interviews



53
     MHSDS Program Guides, 2009 Revision, pages 12-10-2 to 12-10-4
54
     Id

                                                                                                 80 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 192 of 405
                                                                  Annual Suicide Report   2015


of family members. After thorough chart review, reports are generated by each discipline, with a
combined report, the Suicide Report, distributed and discussed in the Suicide Case Review.

Suicide Case Review (SCR) meetings review findings in the case within and across disciplines
while sharing information with institutional leadership. The Suicide Report contains quality
improvement plans (QIPs) that are presented at the SCR; these plans cross disciplines as well.
Nursing, medical, and mental health disciplines additionally have peer review bodies that are able
to review staff member performance whenever such a need is indicated. The external review
process is completed when all QIPs have been successfully implemented or resolved in the case.

DAI Mental Health Compliance Team (MHCT) reviews: The reviews completed by DAI’s
MHCT focuses on the performance of custody staff members related to the suicide. The MHCT
member reviews custody documentation and institutional records (i.e., SOMS). The MHCT
member’s role is to determine whether departmental suicide prevention practices and policies were
followed by custody and counseling staff involved in the case. The MHCT reviewer, for example,
evaluates whether custody officers followed procedure within an emergency response, how
quickly the response was called once a suicide in progress has been discovered, and whether all
custody staff responding to the suicide had received required training (e.g., in CPR) within set
timelines (e.g., annually). The context of the suicide may necessitate additional review items. Most
notably, if the individual was in a segregated or restricted housing unit at the time of the suicide,
the MHCT reviewer will evaluate performance on tasks such as timeliness and quality of welfare
checks, as specified by policy, whether inmates new to an ASU were placed in intake cells, and so
forth. The MHCT reviewer also determines a timeline for the emergency response and for
significant events leading up to the suicide. Finally, the MHCT reviewer will document any
concerns noted and will recommend corrective action/QIPs.

Nursing reviews: At the same time as a suicide is reviewed by DAI’s MHCT, a Nurse Consultant
Program Reviewer (NCPR) is assigned by a Headquarters Chief Nurse Executive. The NCPR does
not make an on-site visit, but reviews all health care record documentation as to the quality of
nursing care in the case. Psychiatric technician practice is also covered within the nursing review.
The NCPR and mental health case reviewer frequently consult on cases during the review period.

The NCPR generates a Nursing Death Review Summary (NDRS). The NDRS lists the primary
cause of death, notes whether coexisting conditions were present prior to the death, summarizes
medical history, reports what medications and medical treatment the patient was receiving, and
documents significant events that occurred medically for the patient prior to and at the time of
discovery. The NCPR determines if nursing standards of care were met within the emergency
response to the suicide and whether nursing standards of care were met in the overall medical care
of the patient prior to the time of death.

Death Review Committee reviews: The CCHCS DRC reviews all causes of inmate mortality
within the CDCR. When suicides occur, the DRC assigns a physician to serve as the medical

                                                                                          81 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 193 of 405
                                                                  Annual Suicide Report   2015


reviewer. This physician works with the NCPR to look at all aspects of medical care received by
the patient and will yield an opinion as to the cause of death. As needed, the SMHP reviewer may
also consult with the CCHCS physician reviewer. The physician and NCPR produce a Combined

Death Review Summary (CDRS) on each case. The CDRS contains both an administrative review
and a clinical mortality review of the case. In cases of suicide, the suicide case review report
(discussed below) is reviewed by the Death Review Unit and addends or is integrated with the
Combined Death Review Summary.55

Statewide Mental Health Program (SMHP) reviews: Simultaneously to custody, medical, and
nursing reviews, a trained member of the SMHP is assigned to review each suicide. The assigned
Mental Health Suicide Reviewer (MHSR) is typically a Sr. Psychologist, Specialist, who is tasked
with completing a Suicide Case Review (SCR). The MHSR schedules an on-site visit with the
institution and is accompanied by the custody reviewer. The site-visit is conducted within seven
calendar days of the death. The site review consists of an inspection of the location of the suicide
and of the means used in the death, a review of the deceased’s personal property, and interviews
of inmates, officers, medical, or mental health staff members who knew, interacted with, and/or
treated the deceased. The deceased’s property is inspected to see if there is any information present
related to the suicide, such as a suicide note, letters to the inmate informing he/she of bad news,
and so forth. Interviews focus on behavior and statements made in the days prior to the suicide,
with questions about anything the deceased may have said about being distressed or suicidal in
past days, weeks, or months. Photographs of the scene at the time of death and photographs of the
autopsy are also made available. Phone records, trust accounts, toxicology reports, and other
sources of information are also made available. The MHSR may contact family members of the
deceased to gain additional information about the individual’s state of mind, statements made prior
to the suicide, etc.

In addition to the on-site review, the MHSR reviews extensive documentation from medical and
custodial files. The focus of the MHSR’s review will vary based on the factors in the case, though
all relevant information is reviewed in each case. In some cases, the review will concentrate on
mental health treatment while in the CDCR, in others on the quality of suicide risk assessment, in
others on the presence or absence of distress when an inmate is placed in administrative
segregation, and so on. SMHP psychiatry staff review the psychiatric care and consult with the
MHSR. The MHSR will review information from each of the institutions where the deceased
resided and will look at whether mental health policy and procedure was followed at each setting.

Joint CDCR/DSH Suicide Reviews: When a suicide occurs of an individual who resides at a
DSH facility, or when a suicide occurs within 30 days of transfer from a DSH hospital, a joint
review is conducted. The DSH’s Mortality Interdisciplinary Review Committee (MIRC) reviews
suicides that occur within the DSH, with input from the Suicide Case Review Committee (SCRC)

55
     IMSPP Volume 1, Chapter 29.2

                                                                                          82 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038         Filed 01/28/21     Page 194 of 405
                                                                      Annual Suicide Report   2015


at the CDCR. Joint CDCR MHSRs and MIRC reviewers look at the case collaboratively to
evaluate the mental health, medical, custodial, and nursing care rendered in the case. A joint report
is generated in each situation, with corrective action plans developed jointly. 56 The SCRC reviews
QIP responses created through this process conjointly with the MIRC.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review report
may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. QIPs may represent areas of deviation from policy or procedure, departures from
standards of care, or systemic issues that require examination, modification or innovation. QIPs
may be written for any discipline and can focus on the specific institution where the suicide
occurred. If systemic issues are identified, the QIP can be directed to the DCHS Suicide Prevention
and Focused Response Team (DCHS SPR FIT), a team that can address statewide policies and
practices. The DCHS SPR FIT team includes representatives from nursing, custody, legal, mental
health, and mental health quality management. This representation allows the team to review issues
and find solutions in a manner that is inclusive of disciplines and effective in addressing problems.

During Suicide Case Review teleconferences, the Suicide Case Review Committee (SCRC) will
assemble and the case reviewer will read sections of the Suicide Report. The SCRC is made up of
members of the CDCR Statewide Mental Health Program, DAI MHCU, Nursing Executives, the
Office of Legal Affairs, and medical personnel (as needed). The SCRC also discusses the QIPs
raised within the Suicide Case Review with the institution. Institutional staff can respond to and/or
clarify concerns raised in the report, can raise additional concerns, or can discuss ways of meeting
the requirements of QIPs. Since late 2015, experts from the Coleman court are present by phone
and can raise additional concerns or issues. QIPs can also be written as pending concerns that need
to be addressed if a fact or finding awaits further information, such as awaiting the results of a
coroner’s report to determine the time of death.

Audits of SCR Quality: The DHCS Quality Management Unit audits all SCRs for 15 items.
SCR’s are scored with required elements marked present or absent.




56
     DSH Administrative Letter AL2015-19, issued November 2015.

                                                                                              83 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038             Filed 01/28/21        Page 195 of 405
                                                                           Annual Suicide Report    2015


Appendix VI: Suicide Response Court-ordered and Internal Deadlines for Suicide Reports



Coleman Deadlines per Program Guide *                       Internal Deadlines
Assign suicide reviewer         Within 2 days
Reviewer visits institution     Within 7 days
Suicide report received at HQ   Within 30 days
                                                            Report reviewed, edited, QIPs 5 days prior to case
                                                            developed and sent to all case review
                                                            review participants with request
                                                            for feedback from reviewers      (no later than DAY
                                                                                             40 after DOD)
Suicide Case Review                   Within 45 days
                                                            Final report edits                    Within 1-2 days
                                                            Signed by MH Deputy Director          Within 1-2 days
                                                            Signed by DAI                         Within 3-5 days
Final suicide report to institution   Within 60 days
QIPs completed at the Institution     Within 120 days       **Please note: this internal          Within 45 days of
                                                            deadline is set for institutions to   institution’s
                                      (**See internal       ensure SPR-FIT ability to comply      receipt of final
                                      deadline that         with the Coleman deadline in the      report
                                      requires       this   event that QIPs are inadequate
                                      sooner       from     and require amendment                 (no later than DAY
                                      institution)                                                105 after DOD)
                                                            QIPs completed and QIP report
                                                            submitted to HQ
Institution’s   QIP      Report Within 150 days
completed and submitted to HQ
                                (**See internal
                                deadline that
                                requires       this
                                sooner       from
                                institution)
                                                            QIPs reviewed by committee            Within 10 days
                                                            QIPs signed by MH Deputy Dir.         Within 1-2 days
                                                            QIPs signed by DAI                    Within 3-5 days
Implementation of QIP report sent Within 180 days
to Special Master


* deadlines are calculated from date of death (DOD)




                                                                                                    84 | P a g e
Case 2:90-cv-00520-KJM-SCR       Document 7038     Filed 01/28/21     Page 196 of 405
                                                       Annual Suicide Report   2015


Appendix VII: Memorandum “Designation of Suicide Prevention, Assessment and Training
Coordinator”




                                                                               85 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 197 of 405
                                                 Annual Suicide Report   2015




                                                                         86 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 198 of 405
                                                 Annual Suicide Report   2015




                                                                         87 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 199 of 405
                                                 Annual Suicide Report   2015




                                                                         88 | P a g e
Case 2:90-cv-00520-KJM-SCR        Document 7038      Filed 01/28/21      Page 200 of 405
                                                          Annual Suicide Report   2015


Appendix VIII: Memorandum “Completed Contacts Associated with Suicide Risk Evaluation”




                                                                                  89 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 201 of 405
                                                 Annual Suicide Report   2015




                                                                         90 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 202 of 405
                                                 Annual Suicide Report   2015




                                                                         91 | P a g e
Case 2:90-cv-00520-KJM-SCR      Document 7038     Filed 01/28/21     Page 203 of 405
                                                      Annual Suicide Report   2015




Appendix IX: Memorandum “Suicide Prevention Pamphlets for Inmates” (with pamphlets
attached)




                                                                              92 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 204 of 405
                                                 Annual Suicide Report   2015




                                                                         93 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 205 of 405




                     EXHIBIT D
        Case 2:90-cv-00520-KJM-SCR                 Document 7038
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                    Filed 01/28/21EDMUND
                                                                                     Page    206 of 405
                                                                                         G. BROWN JR., GOVERNOR

OFFICE OF LEGAL AFFAIRS
Patrick R. McKinney II
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




        February 7, 2018

        Matty Lopes, Special Master
        Pannone Lopes Devereaux & O’Gara LLC
        1301 Atwood Avenue, Suite 215 N
        Johnston, RI 02919

        VIA EMAIL

        Dear Mr. Lopes:

        Defendants have agreed to prepare and publish the Annual Report on Suicides in the California
        Department of Corrections and Rehabilitation (CDCR), previously published by you and your
        experts, beginning with the report covering the time period January 1, 2015 – December 31,
        2015. Enclosed please find CDCR’s Annual Report for 2015. The report summarizes the
        findings of CDCR’s Statewide Mental Health Program’s Suicide Case Review Committee,
        which has been assessing the “foreseeability” and “preventability” of suicides based on
        definitions of those terms used in the Special Master’s prior reports. Please note that, as
        explained in the report, none of the findings regarding foreseeability or preventability apply legal
        standards for causation or deliberate indifference, nor do they constitute an admission of personal
        or systemic culpability.

        Beginning with the Annual Report covering the time period January 1, 2017 – December 31,
        2017, CDCR will meet in a small group, to include the Deputy Director of Statewide Mental
        Health, the DAI Deputy Director for Facility Support, and the General Counsel or designee, to
        consider each death and apply the foreseeable and preventable definitions to each case. The
        reviews will continue to use the definitions of “foreseeable” and “preventable” previously used
        in the annual suicide reports written by the Special Master’s experts.

        In addition, to make the application of these definitions more precise going forward, the reviews
        may determine not only whether the death was “foreseeable” or “not foreseeable,” but whether in
        some instances it was alternatively “possibly foreseeable” or “likely not foreseeable.” Similarly,
        in order to assess preventability more accurately, the reviews may determine whether the death
        was “preventable,” “possibly preventable,” “likely not preventable,” or “not preventable” when
        the facts of a particular case present some ambiguity as to a determination. Additional
        designations like these have been used by the Special Master’s experts in prior reports. For each
        determination, CDCR will prepare a summary explaining how the facts of the case support the
        determination. CDCR reserves the right to change the definitions in future reports.
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21    Page 207 of 405
Matty Lopes
Page 2




We welcome the opportunity to discuss the report and the suicide review process.

Sincerely,




ANDREA S. MOON
Attorney
Office of Legal Affairs

Enclosure:

Annual Report On Suicides In The California Department Of Corrections And Rehabilitation
January 1, 2015 – December 31, 2015

cc:

Co-Counsel
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 208 of 405




                     EXHIBIT E
Case 2:90-cv-00520-KJM-SCR   Document 7038       Filed 01/28/21      Page 209 of 405
                                                       Annual Suicide Report   2015




                 ANNUAL REPORT ON SUICIDES IN THE
              CALIFORNIA DEPARTMENT OF CORRECTIONS AND
                           REHABILITATION
                    JANUARY 1, 2015 – DECEMBER 31, 2015




                                 Prepared by:
                           Robert J. Horon, Ph.D. &
                             Amber Carda, Psy.D.
                        Senior Psychologist, Specialists
                       Statewide Mental Health Program
                       Division of Health Care Services

                                                                               1|Page
Case 2:90-cv-00520-KJM-SCR         Document 7038        Filed 01/28/21     Page 210 of 405
                                                             Annual Suicide Report   2015


Table of Contents

          List of Tables                                                               4
          List of Figures                                                              5
          List of Appendices                                                           6

          Executive Summary of the Annual Suicide Report                               7

      1. Introduction and Summary of Findings                                           8
             a. Suicide definitions and terms used                                      8
             b. Review of Findings, Section 1: Current Year                             9
                      i. Number and rate of suicide in reporting year                   9
                     ii. Demographic factors                                            9
                   iii. Marital status                                                 10
                    iv. Education, juvenile history, and work history                  11
                     v. Languages spoken                                               11
                    vi. Health factors                                                 11
                   vii. Temporal factors                                               11
                  viii. Custodial and correctional factors                             11
                    ix. Cell occupancy                                                 16
                     x. Job assignment                                                 16
                    xi. Means or method of suicide                                     16
                   xii. Mental health factors                                          17
                  xiii. Diagnoses                                                      17
                  xiv. Suicide attempt history                                         18
                   xv. Suicide precipitants and behavior                               19
             c. Review of Findings, Section 2: Current Year vs. Prior Years            22
                      i. Comparison of rate between current and prior years            22
                     ii. Suicides by institution, current year vs. 15-year average     24
                   iii. Suicides in the CDCR by month, current year and                27
                         10-year average
                    iv. Demographic factors                                            27
                     v. Suicides by housing type                                       29
                   vi. Time in segregated housing prior to death                       30
                  vii. Suicides by method                                              31
                 viii. Involvement in mental health services                           31
                   ix. Suicides in mental health vs. non-mental health populations     32
             d. Review of Findings, Section 3: Comparison of CDCR Suicide              33
                Rates with Other State Prison Systems and Relevant U.S. Rates
                      i. CDCR rates versus other state and federal prison rates        34
                     ii. Comparison of rate between CDCR and the community             34

                                                                                     2|Page
Case 2:90-cv-00520-KJM-SCR        Document 7038       Filed 01/28/21      Page 211 of 405
                                                            Annual Suicide Report   2015


            e. Summary Review of Findings and Trends                                  35

     2. Response to suicide and suicide attempts                                      36
           a. Institutional reporting of self-harm incidents                          36
           b. Determination of unknown causes of death                                36
           c. Suicide attempts and suicides prevented                                 38
           d. Determination and tracking of Quality Improvement Plans                 38
           e. Determination whether a suicide is preventable or foreseeable           39
           f. Audits of SCR Quality                                                   41
           g. Timeliness of Suicide Case Reviews and Suicide Reports                  42

     3. Findings in individual case reviews                                           43
           a. Introduction to individual case reviews                                 4
           b. Commonalities in individual case reviews                                43

     4. Review of suicide prevention initiatives in 2015                              48
           a. Introduction                                                            48
           b. Suicide prevention initiatives developed/implemented during the         48
              reporting year

     5. Conclusions
           a. Introduction                                                            57
           b. Summary of findings                                                     58
           c. Report implications and future steps                                    60




                                                                                    3|Page
Case 2:90-cv-00520-KJM-SCR            Document 7038          Filed 01/28/21     Page 212 of 405
                                                                  Annual Suicide Report   2015


                                            List of Tables

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015                              10

Table 2. Age Groupings of Suicides in the CDCR, 2015                                        10

Table 3. Frequency of Suicide by the CDCR Institution, 2015                                 12

Table 4. Frequency of Suicide by Housing Type, 2015                                         13

Table 5. Type of Commitment Offense in Inmate Suicides, 2015                                13

Table 6. Suicides by Security Level, 2016                                                   14

Table 7. Suicides in the CDCR by Length of Sentence, 2015                                   15

Table 8. Suicides in the CDCR by Amount of Time Served, 2015                                15

Table 9. Suicides in the CDCR by Time Left to Serve, 2015                                   16

Table 10. Suicides in the CDCR by MHSDS Participation, 2015                                 17

Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015                             18

Table 12: Suspected Precipitants to Suicides in CDCR by frequency, 2015                     19
Table 13: Individual Precipitants for Suicides within the CDCR, 2015                        21

Table 14. 2015 In-state, Out-of-state, mid-year
              Frequency and Rate of Suicide, by Gender                                      22

Table 15. Annual Frequency and Rate of Suicide in the CDCR for 20 years,                    23
              by Gender and Overall, 1996-2015

Table 16. Frequency of Suicide by CDCR Institution, 2015 and by prior                       25
            15-year total and average (1999-2014)

Table 17. Frequency of Suicide within Segregated Housing, 2010-2015                         30

Table 18. Frequency of Suicide within MHSDS Levels of Care, 2010-2015                       32

Table 19. Frequency of Suicide in MH versus non-MH populations,
           average total population 2006-2015                                               32

Table 20. Rate and rank of suicides by state, 2001-2014 (14 years)                          33

Table 21. QIPs assigned within the CDCR by recipient, 2015                                  39


                                                                                          4|Page
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21        Page 213 of 405
                                                                  Annual Suicide Report   2015


Table 22: Results of Quality Audits, 2015 Suicide Case Review reports                       41

Table 23: Findings of Individual Case Reviews, part 1                                       44

Table 24: Findings of Case by Case Reviews, part 2                                          47



                                        List of Figures

Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015                       24

Figure 2: CDCR Frequency by Month, 2015 and 10-Year Average                                 27

Figure 3: Suicide Frequency by Race, 2005-2015, with trend line                             28
Figure 4: Number of Suicides by Age Group, 2010-2015                                        29
Figure 5: Length of Time in ASU before suicide, 2009-2015                                   31
Figure 6: Suicide rates for adult males in the CDCR, State Prisons, & the U.S., 2010-15 35




                                                                                          5|Page
       Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21     Page 214 of 405
                                                                      Annual Suicide Report   2015


                                            List of Appendices

  I.     Sample High Risk Management Program policy                                             64

 II.     Self-harm and Incident Reporting                                                       72

III.     Determination Review of unknown deaths and overdose deaths                             74

IV.      Review of Individual Suicide Case Reviews                                              76

 V.      Suicide Response Procedures                                                            80

VI.      Suicide Response Court-Ordered and Internal Deadlines for Suicide Reports              84

VII.     Memorandum “Designation of Suicide Prevention, Assessment and Training
           Coordinator”                                                                         85

VIII.     Memorandum “ Completed Contacts Associated with Suicide Risk Evaluations”             89

 IX.     Memorandum “Suicide Prevention Pamphlets for Inmates”                                  92
         (with pamphlets attached)




                                                                                              6|Page
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 215 of 405
                                                                              Annual Suicide Report     2015


                          Executive Summary of the Annual Suicide Report

In 2015 a total of 24 inmate suicides occurred within the California Department of Corrections
and Rehabilitation (CDCR). This number is an increase of one from 2014. The frequency of
suicides in 2014 and 2015 are the lowest consecutive yearly number of suicides in the CDCR
since 2002. The rate of suicide in the CDCR was 18.6 suicides per 100,000 inmates in 2015 and
17.0 per 100,000 in 2014. The suicide rate in U.S. state prisons ranged from 14-17 per 100,000
per year between 2000 and 20131 and 20 per 100,000 in 2014.2 The suicide rate in the CDCR is
thus lower than the average rate in U.S. prisons. Additionally, male prisoners in the CDCR had a
lower rate of suicide rate than U.S. males in the community in 2014 and 2015.3

Suicides in 2015 largely match prior year’s patterns with respect to time of year, prevalence in
spring and fall months, greater frequency in high custody inmates (75% in Level III and Level
IV housing), and a relatively high percentage of suicides in inmates involved in mental health
programming (typically 50-60%). Suicides in 2015 were somewhat unlike prior year’s patterns
in that there were two female suicides and three suicides of inmates aged 70 and older.

Both the frequency and the rate of suicide have declined in the CDCR over the past 10 years
(2006-2015), which represents steady progress. The frequency of suicide in the CDCR decreased
from 43 in 2006 to 23 in 2015, while the rate of suicide in the CDCR declined from 24.9 per
100,000 in 2006 to 18.6 per 100,000 in 2015. The decline in suicide rate in the CDCR in 2015
compared to the prior 10 years can be attributed to fewer suicides within segregated housing
units, lower rates of suicides in Caucasian and Hispanic/Latino inmates, and fewer suicides in
inmates aged age 35-54.

Many suicide prevention initiatives are underway and/or continuing in the CDCR. These
initiatives have emerged from Quality Improvement Plans (QIP) on deaths by suicide, from
recommendations generated by tours, reviews, and audits, from advances in the field of
Suicidology, from opportunities arising from the Mental Health Tracking System and the
Electronic Health Record System, and so forth. These initiatives are meant to enhance a
comprehensive, integrated system of suicide prevention and are detailed in the report that
follows.




1
  Noonan, M, Rohloff, H., & Ginder, S., Mortality in Local Jails and State Prisons, 2000-2013 Statistical Tables, US
DOJ, Bureau of Justice Statistics, August, 2015 NCH 248756
2
  Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
3
  http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870

                                                                                                        7|Page
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 216 of 405
                                                                 Annual Suicide Report   2015




I. Introduction and Review of Findings

This report reviews the 24 suicides by inmates of the CDCR which occurred during 2015. The
report is submitted as part of joint efforts by the CDCR and the Office of the Special Master’s
(OSM) experts to work together to reduce the number of suicides within California’s state
prisons and is part of the CDCR’s compliance with court-ordered remediation specified by the
Special Master as part of the continuing review in the matter of Coleman v. Brown, No. (CIV S-
90-0520 KJM KJN E.D.Cal.). Kerry Hughes, M.D. and Jeffrey Metzner, M.D. provided
consultation for this report from the Coleman court. Amy Eargle, Ph.D., Robert Canning, Ph.D.,
Amber Carda, Psy.D., Adinn Phean, AGPA, Harutyun Grigoryan, OT, and Byron Russell, HPS1
provided assistance and review from the Statewide Mental Health Program (SMHP) at the
CDCR.

This report is unlike prior reports in that the report is generated by the SMHP with consultation
by Coleman court experts. Prior reports submitted to the Special Master were written by the
Coleman court’s experts. The purpose of the report remains the same: To report on ongoing
efforts to monitor suicides in the CDCR, to identify any trends in suicide that may indicate
targets for suicide prevention efforts, and to provide recommendations for continued
improvement. Additional detail is provided in this report as to the definitions, response efforts,
monitoring, and other improvement processes and programs implemented by or used by the
SMHP to prevent suicide. The report is prepared for the Special Master and has implications for
the CDCR and for the work of the Coleman court’s experts.

The primary source of data used for this report is the suicide case reviews completed by members
of the SMHP who are trained in conducting these reviews. Additional sources include data
obtained from the CDCR Office of Research, information garnered from reports by the CDCR
Death Review Committee, information from prior annual suicide reports, and publically available
information regarding suicide rates in community and incarcerated settings. Each suicide was
also independently reviewed by this author in order to assess trends in data or findings. Input
made by the OSM’s experts, who attend each suicide case review by teleconference and consult
on case review, provided added information for this report. Finally, members of the Quality
Management unit, a separate unit within the SMHP, provided input through auditing each suicide
case review report.

A. Suicide definitions and terms used

The CDCR is in the process of adopting definitions related to suicide that were developed by the
Centers for Disease Control and the World Health Organization and have been widely-adopted in



                                                                                         8|Page
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 217 of 405
                                                                              Annual Suicide Report      2015


community settings. The OSM has been provided with a draft of the proposed changes to these
definitions. As these changes are pending, the definitions used in the MHSDS Program Guide,
2009 Revision are listed below. Terms and definitions now considered obsolete are omitted from
the listed provided here. Additionally, the term self-injurious is synonymous with self-harm. The
term self-harm is used frequently in this report as it conforms to both existing definitions and
proposed definitions and is routinely qualified by the phrases “with intent” or “without intent.”

1. Suicide: An intentional self-injurious behavior that causes or leads to death.

2. Suicide Attempt: An intentional self-injurious behavior which is apparently designed to
   deliberately end one’s life, and may require medical and/or custody intervention to reduce the
   likelihood of death or serious injury.

3. Suicidal Ideation: Thoughts of suicide or death, which can be specific or vague, and can
   include active thoughts of committing4 [that is, dying by] suicide or the passive desire to be
   dead.

4. Suicidal Intent: The intention to deliberately end one’s own life.

5. Self-injurious Behavior: A behavior that causes, or is likely to cause, physical self-injury.
    [Note: The terms self-injurious behavior, self-mutilation, and suicide gesture are found in the
    MHSDS Program Guides, 2009 Revision, but are not used in this report. The term ‘self-harm
    without intent’ is used instead as the meaning is the same, self-harm for other reasons than
    death by suicide, and does not have the potentially negative connotations of terms such as
    ‘gesture.’]

B. Review of findings

Section 1: Current Year

Number and rate of suicide in reporting year: There were 24 suicides in the CDCR in 2015.
This represents an increase of one over the total in 2014, or an increase of 4%. The suicide rate
in the CDCR for 2015 was 18.6 per 100,000. Rates of suicide are standardized by the number per
100,000 in order to make standardized comparisons between samples and populations. The total
number of suicides in 2015 corresponds to a suicide on average every 15.2 days.

Demographic Factors: In 2015, 22 men and 2 women died by suicide in the CDCR. The rate of
suicides in the CDCR was 17.8 per 100,000 for men and 35.5 per 100,000 for women. The rate
of suicide for women fluctuates more dramatically than the rate for men, as there are many more

4
 The term ‘committing’ has fallen out of favor with Suicidologists, as the term implies some sort of success in
carrying out a pledge or obligation. The favored term is rather straightforward—‘died by suicide.’

                                                                                                         9|Page
Case 2:90-cv-00520-KJM-SCR               Document 7038          Filed 01/28/21     Page 218 of 405
                                                                     Annual Suicide Report    2015


males (123,268) than females (5,632) in the CDCR. To illustrate, one fewer female suicide
would have lowered the female rate in 2015 by one-half, from 35.5 to 17.6 per 100,000. The
same decline of one suicide in males would have lowered the frequency by 1 in 22, or from a rate
of 17.8 to a rate of 17.0 per 100,000. A listing of suicides by gender, per year over 10 and 20
year periods is found in Table 15 in this report.

The racial and ethnic backgrounds of inmates who died by suicide are represented in Table 1.
Caucasians represented over half of all suicides despite comprising only 22% of the population
within the CDCR. This finding has been typical of the racial breakdowns of suicides within the
CDCR for many years.

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015

Racial Group                 Frequency            Percent of              Percent of race within the
                                                  Suicides                CDCR
African-American             5                    21%                     29%
Caucasian                    13                   54%                     22%
Hispanic/Latino              4                    17%                     42%
Other*                       2                    8%                      6%
*1 Chinese American female, 1 Japanese American male

Table 2 contains a listing of age groupings within the CDCR, with the number and percentage of
suicides for each group compared with the prevalence of the age group within the CDCR. Of
note, four age groups had higher rates of suicide than their corresponding representation within
the CDCR population during the reporting year (2015): Inmates ages 30-34, 45-54, 60-64, and
65 and older. The overrepresentation of older inmates in the year’s suicides may bear further
monitoring as a possible emerging trend. The three suicides of older inmates occurred in
individuals aged 70-73. The average age of those who died by suicide was 42.9.

Table 2. Age Groupings of Suicides in the CDCR, 2015

 Age Group                  Frequency                  Percentage   of   2015 Percentage of CDCR
                                                       Suicides               Population
 18-24                      2                          8                      12
 25-29                      3                          13                     16
 30-34                      5                          21                     16
 35-39                      2                          8                      14
 40-44                      2                          8                      11
 45-54                      4                          17                     10
 55-59                      1                          4                      6
 60-64                      2                          8                      3
 65 +                       3                          13                     3




                                                                                             10 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21        Page 219 of 405
                                                                            Annual Suicide Report      2015


Marital Status: Marital relationships are thought to be a protective factor for inmates. This
variable is protective for males in community studies and may function in a similar way for
inmates as these relationships may offer support during incarceration. 5 In 2015, two suicides
(one male, one female) occurred in married individuals, whereas nine suicides occurred in
separated or divorced inmates (including the second female) and 13 suicides occurred in single
or never-married inmates.

Education, Juvenile History, and Work History: Three suicides occurred in inmates with
some college education. The remaining 21 inmates had secondary educations, ranging from the
8th to 12th grade. Fifty-seven percent had a history of juvenile arrest, with 33% having a history
of gang involvement. The majority of suicides occurred in inmates with limited employment
history, typically in work classified as “unskilled labor.” None of the suicides occurred in
inmates who were in the Developmental Disability Program (DDP), though two inmates had
some history of special education involvement.

Languages Spoken: One female inmate who died by suicide spoke Mandarin as her primary
language. All others were primarily English-speaking.

Health Factors: Nearly half (46%) of the inmates who died by suicide in 2015 were considered
to have serious and/or chronic medical problems. This ranged from problems with low back pain
or headaches to cases of liver disease, diabetic neuropathy, cardiac problems, and legal
blindness. In all cases, medical needs were determined to be adequately addressed according to
nursing reviews. Implications of this finding for service delivery are explored later in this report.

Temporal Factors: Suicides occurred within the CDCR in nine months in 2015. That is, zero
suicides occurred in three months. Four suicides occurred in one month (March) and five
suicides occurred in each of two months (May and October). The prevalence of suicides in spring
and fall months has been noted in prior years as well (Figure 2 contains a breakdown of suicides
by month over the current year and by a 10-year average).

In 2015, time of day of discovery did not vary significantly, with seven suicides occurring during
first watch (2200 hours to 0600 hours), seven during second watch (0600 hours to 1400 hours),
and ten during third watch (1400 hours to 2200 hours). This finding is similar to prior years.

Custodial and Correctional Factors: In 2015, suicides occurred at 13 institutions including an
out-of-state facility. Table 3 lists suicides by institution. Any institutions that are not listed did
not have a death by suicide in 2015.




5
 Kposowa, A. (2000). Marital status and suicide in the National Longitudinal Mortality Study. Journal of
Epidemiology and Community Health, 54, 254-261.

                                                                                                     11 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21      Page 220 of 405
                                                                  Annual Suicide Report    2015




    Table 3. Frequency of Suicide by CDCR Institution, 2015

    Institution                                                                  Frequency

    California State Prison, Sacramento                                          3
    San Quentin State Prison                                                     3
    Duel Vocational Institute                                                    3
    California Men’s Colony                                                      3
    California Institution for Women                                             2
    California State Prison, Corcoran                                            2
    RJ Donovan Correctional Facility                                             2
    California Medical Facility                                                  1
    California Correctional Institution                                          1
    California Institution for Men                                               1
    Folsom State Prison                                                          1
    California Health Care Facility                                              1
    Tallahatchie County Correctional Facility                                    1

    Total                                                                        24



As can be seen, one-half of the suicides in 2015 occurred in four institutions, and 18 (75%) of the
suicides occurred within seven institutions.

During 2015, 9 of the 24 suicides occurred in segregated housing settings (37%); seven in
Administrative Segregation Units (ASU), one in a Security Housing Unit (SHU), and one in
Short-Term Restricted Housing (STRH). Two inmates were in Reception Centers, one in a
Correctional Treatment Center (CTC), and one in a Sensitive Needs Yard (SNY). The remaining
11 suicides occurred in general population settings. This information is depicted in Table 4.




                                                                                          12 | P a g e
Case 2:90-cv-00520-KJM-SCR                      Document 7038            Filed 01/28/21         Page 221 of 405
                                                                                Annual Suicide Report       2015




       Table 4. Frequency of Suicide by Housing Type, 2015

       Housing Type                                                                     Frequency Percent

       Administrative Segregation                                                       7               29
       Security Housing Unit                                                            1               4
       Short-Term Restricted Housing                                                    1               4
       Reception Center                                                                 2               8
       Correctional Treatment Center                                                    1               4
       Sensitive Needs Yard                                                             1               4
       General Population                                                               11              46

       Total                                                                            24              99



A common finding in prison and jail settings is a preponderance of suicides in violent inmates
and in inmates with higher level security needs; violent inmates have nearly three times the risk
of suicide as non-violent inmates6. The commitment offenses of inmates who died by suicide in
2015 are listed below in Table 5. Notably, half of suicides occurred in individuals who had
committed murder. Four other inmates had commitments for assault resulting in great bodily
injury, one inmate had a commitment for battery, and two had a commitment for armed robbery
(and thus the threat of assault was implied). Of the five commitment offenses considered non-
violent, two resulted in significant injury but were seen as unintentional (driving under the
influence resulting in injury or death). The remaining three suicides occurred in inmates who
were committed for vehicle theft, burglary, or drug charges.




6
    Mumola, C. (2005), Bureau of Justice Statistics, located at: http://www.bjs.gov/content/pub/pdf/ardus05.pdf

                                                                                                        13 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 222 of 405
                                                                  Annual Suicide Report    2015


 Table 5. Commitment Offenses in Inmate Suicides, 2015

 Type of Commitment Offense                                  N                  Percent
 Violent Crimes Overall                                      19                 79
 Murder                                                      12                 50
 Assault w/ Great Bodily Injury                              4                  17
 Armed Robbery                                               2                  8
 Battery                                                     1                  4
 Sex Offense                                                 0                  0

 Non-Violent Crimes Overall                                  5                  21
 DUI with injury/vehicular manslaughter                      2                  8
 Vehicle theft                                               1                  4
 Burglary                                                    1                  4
 Drug Charges                                                1                  4


In regards to security level, suicides occurred predominantly in higher security (Level III and
Level IV) settings in 2015. Table 6 lists the number of suicides by security classification level.
Level IV suicides have traditionally represented more than half of all suicides within CDCR. Of
note, the classification system used by the CDCR was modified prior to 2015, with fewer
inmates classified at the highest level, Level IV, which may account for some of the decline in
Level IV inmate suicides in 2015.


 Table 6. Suicides per Security Level, 2015

 Security/Classification Level                 N                    Percent
 Level IV                                      9                    37.5
 Level III                                     9                    37.5
 Level II                                      6                    25
 Level I                                       0                    0


Another variable unique to correctional settings is the issue of sentence length: Total length of
sentence, how much time an inmate has served prior to a suicide, and how much time an inmate
had left to serve in prison prior to a suicide. These variables are captured in Tables 7, 8, and 9.

Table 7 shows that a slight majority of suicides (54%) occurred in inmates with Life sentences
(including condemned individuals) in 2015. Inmates with Life sentences have historically made
up roughly 20% of the population within the CDCR and are overrepresented in individuals who
die by suicide. No suicides occurred in inmates with medium length sentences (11 to 20 years) in
2015.


                                                                                          14 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21       Page 223 of 405
                                                                   Annual Suicide Report    2015


   Table 7. Suicides in the CDCR by Length of Sentence, 2015

   Sentence Length                                            Frequency            Percent

   1-5 years                                                  7                    29
   6-10 years                                                 3                    13
   11-20 years                                                0                    0
   20+ years                                                  1                    4
   Life with Possibility of Parole                            11                   46
   Life without Possibility of Parole                         1                    4
   Condemned                                                  1                    4

   Total                                                      24                   100



As seen in Table 8, individuals early within their sentence represent a high risk group. Five
inmates died by suicide within their first year of incarceration; this included two individuals who
died within 30 days of imprisonment. Three inmates who had served 20 years or more were
among those who died by suicide in 2015.

   Table 8. Suicides in the CDCR by Amount of Time Served, 2015

   Sentence Length                                            Frequency            Percent

   0-1 year                                                   5                    21
   1-5 years                                                  5                    21
   6-10 years                                                 7                    29
   11-20 years                                                4                    17
   21+ years                                                  3                    12

   Total                                                      24                   100



The length of time remaining in sentences for those who died by suicide are shown in Table 9.
There was nearly an even split between those with short to moderate sentences left to serve
(46%) and those with lengthy sentences or indeterminate/life sentences (54%).



                                                                                           15 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21       Page 224 of 405
                                                                   Annual Suicide Report    2015




   Table 9. Suicides in the CDCR by Time Left to Serve, 2015


   Sentence Length                                            Frequency            Percent

   0-1 year                                                   0                    0
   1-5 years                                                  10                   42
   6-10 years                                                 1                    4
   11-15 years                                                0                    0
   16 years or more (including Lifers)                        13                   54

   Total                                                      24                   100



The implications for the findings represented in Tables 7, 8, and 9 are considerable, suggesting
the need to. These considerations will be discussed later in this report.

Cell Occupancy: In 2015, 25% of suicides occurred in inmates housed in designated double
cells and 75% of suicides occurred within designated single cells. Of the six suicides in
designated double cells, two suicides occurred in cells without a currently assigned cellmate, two
inmates waited for a cellmate to leave for work or other programming before dying by suicide,
one occurred outside of the cell (by jumping from a tier), and one occurred with a cellmate
present but asleep. Of the nine suicides occurring in segregated housing settings, eight of the
suicides occurred in single-person cells. The ninth suicide occurred in a double cell but without
an assigned cellmate. Overall, 23 of the 24 suicides occurred within a single cell or within a
solely occupied (at the time) double cell.

Job Assignment: The majority of inmates (62.5%) who died by suicide in 2015 did not have a
job assignment or educational placement. Of the nine inmates who had program assignments,
two were placed in educational settings, one (female) in a substance abuse program, and six were
in traditional jobs (e.g., as a porter).

Means or Method of Suicide: Correctional settings necessarily limit the methods or means
inmates can use to die by suicide. For example, suicides by firearms or carbon monoxide
poisoning are unheard of in correctional systems. As with most correctional systems, hanging is
the primary means used by inmates in the CDCR to die by suicide. Inmates have ready access to
clothing and linen items that can be used for nooses and ligature points can be found in nearly all
cells. In 2015, both female suicides were by hanging and 20 of the 24 suicides overall were by



                                                                                           16 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 225 of 405
                                                                   Annual Suicide Report    2015


hanging (83%). The remaining four inmates (males) died by intentional overdose (2),
asphyxiation (1), and jumping from a high place (1).

Mental Health Factors: The number and percentage of inmates who died by suicides in the
CDCR in 2015 who were participants in the Mental Health Services Delivery System (MHSDS)
is listed in Table 10. Mental health patients continue to be overrepresented in the year’s suicides,
a pattern that is typical in correctional and community settings.

   Table 10. Suicides in the CDCR by MHSDS Participation, 2015

   Sentence Length                                            Frequency            Percent

   No MHSDS participation                                     10                   42
   Correctional Clinical Case Management System               9                    37
   Enhanced Outpatient Program                                5                    21

   Total                                                      24                   100



Ten inmates were not in the MHSDS at the time of death. Six of these inmates (25% of the total
number of suicides) had no history of participation in the MHSDS. Four inmates who were not in
the MHSDS system at the time of death had previously been in the MHSDS at the Correctional
Clinical Case Management System (CCCMS) level of care.

In 2015, 15 (62.5%) of the inmates who died by suicide had a history of mental health treatment
prior to incarceration. Of these, 11 were in the MHSDS at the time of death, with one other
having previously participated in the MHSDS. Eight cases (33%) had a family history of mental
illness and/or family history of substance abuse treatment.

Upon entrance to the CDCR, inmates are screened for the possible presence of significant mental
health disorders. Thirteen (55%) of the inmates who died by suicide in 2015 were identified as
possibly having significant mental health disorders during initial screening. On subsequent
mental health evaluations, 69% of those positive on screening were also found to have mental
health conditions qualifying them for MHSDS services.

At the time of suicide, 14 inmates (58%) were on psychiatric medications. Three individuals
(13%) had involuntary medication orders in place per Penal Code 2602. Eleven of the 24 (46%)
had a history of Mental Health Crisis Bed placement or inpatient hospitalization. Eight (33%)
had been psychiatrically hospitalized in the year prior to their suicide.

Diagnoses: The mental health diagnoses of individuals who died by suicide in 2015 are
summarized in Table 11 and are listed by frequency. Please note that people can have multiple
mental health diagnoses, thus the frequency of diagnoses in Table 11 exceeds the number of
                                                                                           17 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 226 of 405
                                                                 Annual Suicide Report    2015


annual suicides. Additionally, all inmate suicides in 2015 involved individuals with some history
of substance use or abuse. However, the diagnoses listed in Table 11 include substance use
disorders only if formally reported as a diagnosis. All diagnoses are based on the American
Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders, 4th Edition or
5th Edition (DSM-IV or DSM-5).

When present, mood disorders and psychotic disorders were listed as the primary diagnosis of
record. Of the individuals diagnosed with mood disorders, five were diagnosed with Major
Depressive Disorder and four with Bipolar I Disorder. Five individuals were diagnosed with
psychotic disorders; three with Schizophrenia, one with Delusional Disorder, and one with
Psychotic Disorder NOS. Six inmates were diagnosed with Antisocial Personality Disorder and
two of these six inmates were concurrently diagnosed with Narcissistic Personality Disorder.

   Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015

   Diagnostic Category                                      Frequency            Percent

   Any DSM Disorder                                         20                   83
   Substance Abuse or Dependence                            13                   54
   Mood Disorder                                            9                    38
     Major Depressive Disorder (5)
     Bipolar I Disorder (4)
     Psychotic Disorder (5)

   Personality Disorder                                     6                    25
   Psychotic Disorder                                       5                    21
      Schizophrenia (3)
      Delusional Disorder (1)
      Psychotic Disorder NOS (1)
   Adjustment Disorder                                      4                    17
   No Diagnosis                                             4                    17
   Anxiety Disorder                                         1                    4



Suicide Attempt History: A history of suicide attempts was found in 16 (67%) of the 24 cases
of suicide in 2015. Of the group of 16, ten had made multiple past suicide attempts (42% of the
overall total). Of those that had prior suicide attempts, 10 had reported at least one suicide
attempt while in the community and eight had at least one suicide attempt while incarcerated. For
the eight individuals who had suicide attempts during incarceration, a range of one to five prior
attempts in prison were noted. The finding of 10 suicides within Multiple Attempters, a term
                                                                                         18 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 227 of 405
                                                                             Annual Suicide Report     2015


indicating the presence of two or more suicide attempts with the intent to die, is significant as
this is a group with known high chronic risk.7 Implications of this finding are discussed later in
this report.

Suicide Precipitants and Behavior: Seven of the 24 individuals (29%) who died by suicide in
the CDCR in 2015 wrote suicide notes. This is a bit higher than the rate (one in six or 17%)
found in community samples.8 A small percentage (17%) of the deaths occurred in inmates who
reported having no interpersonal supports, while two reported having one person in their support
system. The majority (75%) endorsed two or more supports during their most recent mental
health or suicide risk evaluations. Only one of the 24 (4%) of the suicides occurred in a patient
who was believed to be feigning distress or suicidality. Five of the 24 inmates who died by
suicide in 2015 did so on a holiday, with one each on Christmas Eve, Memorial Day, 4th of July,
Halloween, and Chinese New Year.

Suspected precipitants are event(s) that precede a death by suicide. These events may also be
referred to as potential triggers to one’s decision to end their life. The precipitants to the current
year suicides listed or suspected by Mental Health Suicide Reviewer’s (MHSR’s) in their suicide
case review reports were examined, and are presented in Table 12.

    Table 12. Suspected Precipitants to Suicides in the CDCR by frequency, 2015

    Precipitant Category                                                Frequency              Percent      of
                                                                                               Total

    Receipt of new charges, convictions, disciplinary 9                                        20
    actions, or added time in prison

    Safety concerns, drug debts, fears of victimization                 7                      15

    Mental health symptoms, e.g. anxiety, psychosis                     7                      15

    Medical illness and/or pain issues; medical disability              5                      11

    Holidays or anniversaries of losses, crimes, etc.                   5                      11

    Disruption in prison ‘program;’ e.g., transfer between 4                                   9
    facilities, cellmate change, loss of single cell housing

    Conflict or losses of external supports                             4                      9



7
  Rudd, Joiner, & Rajab (1996). Relationships among suicide ideators, attempters, and multiple attempters in a
young-adult sample. Journal of Abnormal Psychology, 105, 541-550.
8
  Gelder, Mayou, and Geddes (2005). Incidence of note-leaving remains constant despite increasing suicide rates.
Psychiatry and Clinical Neurosciences, 4 (1).

                                                                                                      19 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21        Page 228 of 405
                                                                          Annual Suicide Report    2015


    Table 12. Suspected Precipitants to Suicides in the CDCR by frequency, 2015

    Conflict or losses of within prison supports                     3                     6
    Receipt of or anticipation of negative outcomes with 1                                 2
    the Board of Prison Hearings

    Loss of parole to the community (e.g., due to added 1                                  2
    sentence, finding of MDO or SVP)

    Totals:                                                          46                    100



The precipitants listed in suicide case review reports can be divided roughly into ten categories
as represented in Table 12. The frequency of precipitants is greater than the total number of
suicides, as nearly all suicide case reviews listed more than one hypothesized precipitant. In
many cases, the precipitants were not entirely clear. Rather, the precipitants identified by suicide
case reviewers are marked by each inmate’s idiosyncratic reasons for ending one’s life. The
frequency of certain categories of suicide precipitants has implication for prevention efforts as
explored later in this report.

Additionally, Table 13 indicates the precipitant factors for suicides occurring in the CDCR in
2015 on a case by case basis. As is apparent, the majority of inmates had multiple potential
triggers for the action. Also, in-prison events or stresses are noted in most, but not all, cases.
Greg Dear and colleagues reported similar findings in Australian prisons with suicide attempters.
When interviewed, prisoners reported two or more of five categories related to precipitants for
attempts, with the most common category (71% of incidents) being termed “stressful event that
occurred within the prison” and second most common category (43% of incidents) being a
consequence of imprisonment (e.g. placing a strain on family). 9 These themes are mirrored in the
2015 suicides within the CDCR and have been presented to CDCR clinicians in monthly suicide
prevention videoconferences and in revised trainings in suicide risk evaluation.




9
 Dear, Thomson, Hall, & Howells (2001). Non-fatal self-harm in Western Australian prisons: Who, where, when,
and why. Australian & New Zealand Journal of Criminology, 34, 47-66.

                                                                                                  20 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21     Page 229 of 405
                                                                 Annual Suicide Report    2015




Table 13: Individual Precipitants for Suicides within the CDCR, 2015


           Precipitants Noted
 Case
 A         Medical illness (terminal) and pain issues; housing issues (SNY status; safety
           concerns); conflict with spouse
 B         Health concerns and complaints of pain; panic attacks; tearfulness around “no hope”
           of getting better medically; holiday (Chinese New Year)
 C         Multiple disciplinary actions; anniversary of step-son’s suicide; accrual of drug debt;
           time added to sentence; cellmate moved out of cell; told of positive lab test (Hepatitis
           C); familial estrangement
 D         Received 3 year sentence extension (assault on peace officer); long ASU stay
 E         Inability to move in with in-prison romantic partner; reported having an enemy to
           move ‘yards’ and was taken to ASU rather than desired ‘yard’
 F         Parole denied by BPH; argument with main family support (daughter); new RVR;
           hoarded medication (for overdose) was found and charged for possession for sales
 G         Agitation from hallucinations and delusions, increasing depression, facing SHU term
 H         Concerned about losing single cell and large amount of personal property; pending
           transfer; reports can’t cell with others
 I         Interpersonal problems/perceived rejection from other inmates on living unit
 J         Convicted of murder of another inmate (incident occurred in 2012); received 45 years
           to life sentence and 25-month SHU term; lengthy ASU stay
 K         Gang pressures; attempted to debrief; conflict with custody officers
 L         Health concerns (headaches); close custody status due to RVR; holiday (4th of July)
 M         Concern about transfer (to a different prison) and feared losing single cell status;
           feelings of depression/worthlessness
 N         Safety concerns/fear of victimization (went into protective custody); anxiety
 O         Paranoia/belief that family or other inmates intended to have the inmate stabbed
 P         Dysphoria/hopelessness about the possibility of parole; requested/given CCCMS
           discharge; disciplinary infraction at work (faced losing assignment)
 Q         Chronic illness/pain; ‘bad news’ about medical condition (liver cancer); researched
           Christian beliefs about suicide and the ‘unforgiveable sin’ prior to suicide
 R         Fought with inmate and reported safety concerns; transferred during 5-day follow-up
           period after MHCB stay rescinded
 S         Safety concerns; requested Sensitive Needs Yard (SNY); complained of
           hallucinations and reported delusional beliefs
 T         Serious medical disabilities; possible distress regarding transfer
 U         Interpersonal losses/estrangement; notified of additional charges (rape case pending
           investigation); holiday (Halloween)
 V         Concern about drug debts and substance use relapse; familial estrangement;
           bothersome hallucinations; depression; holiday (Memorial Day)
 W         Delusions/hallucinations; less faith that legal appeal would be won
 X         Interviewed for Mentally Disordered Offender (MDO) status; found to meet MDO

                                                                                         21 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038        Filed 01/28/21        Page 230 of 405
                                                                        Annual Suicide Report    2015


                criteria—upset by this; somatic delusions; holiday (Christmas)


C. Review of findings

Section 2: Current Year vs. Prior Years

Comparison of suicide rate between current and prior years: The suicide rate in the CDCR
in 2015 was 18.6 per 100,000. This rate is higher than in 2014, when the rate was 17.0 per
100,000, reflecting both one more suicide in 2015 than in 2014 and a decrease in the inmate
population of a little over 6500 from 2014 to 2015. The rate of 18.6 per 100,000 is the third
lowest rate in the past 10 years. During the ten-year period, 2006 to 2015, the rate of suicide in
the CDCR was 20.5 per 100,000.

Table 14, presents two mid-year (June 30th) frequency and rate of suicide calculations, by
gender. The first calculation is in-state only and does not include the out-of-state CDCR inmate
population in order to ensure consistency with past reports prepared by members of the OSM.
The second rate includes the out-of-state population and is consistent with past internal
methodology used by CDCR. The rate including the out-of-state population is the more
meaningful number, as out of state suicides, when they occur, are included in the rate
calculations. Furthermore, these individuals were remanded to CDCR custody which maintains
responsibility for their welfare.

Table 14. 2015 In-state, Out-of-state and Overall Mid-year Frequency and Rate of Suicide, by Gender
                   Male                         Female                         Total

                   Population   Freq   Rate     Population     Freq   Rate     Population             Freq   Rate

Mid-year           115,835      22     19.0     5,632          2      35.5     121,467                24     19.8
In-state only
Mid-year
In-state and
out-of-state       123,268      22     17.8     5,632          2      35.5     128,900                24     18.6
total


Table 15 shows the rate and frequency of suicide in the CDCR for the past 20 years. The table
shows the rate and frequency of suicides by gender during each year as well. Of note, the
frequency of suicides over the period has ranged from a low of 15 in 2000 to a high of 43 in
2006.

As mentioned earlier, the rate of suicide in female inmates fluctuates considerably compared to a
relatively stable rate in male inmates. In 11 of the past 20 years, there were no female suicides.
The number of suicides in female institutions has ranged from a low of 0 to a high of 4 within the
time period; with 2 occurring in 2015.

                                                                                                22 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038            Filed 01/28/21        Page 231 of 405
                                                                           Annual Suicide Report    2015


For reference, population figures in all years were garnered from the CDCR’s Office of
Research. The population figures are reflective of mid-year (June 30th) of the respective year,
following the previous practice of reports prepared by members of the OSM, the practice of the
Federal Bureau of Justice Statistics and to remain consistent in CDCR’s methodology for
calculating suicide frequency and rate.

Table 15. Annual Frequency and Rate of Suicide in the CDCR for 20 years, by Gender and Overall, 1996-2015*
 Year        Male                       Female                     Total

             Population   Freq   Rate   Population   Freq   Rate   Population   Freq   Rate

 1996        131,273      19     14.5   9,744        0      0      141,017      19     13.5

 1997        141,669      18     12.7   10,837       0      0      152,506      18     11.8

 1998        147,001      21     14.3   11,206       0      0      158,207      21     13.3

 1999        150,581      24     15.9   11,483       0      0      162,064      24     14.8

 2000        150,793      15     9.9    11,207       0      0      162,000      15     9.3

 2001        150,785      29     19.2   10,712       1      9.3    161,497      30     18.6

 2002        148,153      22     14.8   9,826        0      0      157,979      22     13.9

 2003        150,851      37     24.5   10,080       0      0      160,931      37     23.0

 2004        152,859      23     15.0   10,641       3      28.2   163,500      26     15.9

 2005        153,323      37     24.1   10,856       0      0      164,179      37     22.5

 2006        160,812      39     24.3   11,749       4      34.0   172,561      43     24.9

 2007        161,424      33     20.4   11,888       1      8.4    173,312      34     19.6

 2008        159,581      36     22.6   11,392       0      0      170,973      36     21.1

 2009        156,805      25     15.9   11,027       0      0      167,832      25     14.9

 2010        155,721      34     21.8   10,096       1      9.9    165,817      35     21.1

 2011        152,803      33     21.6   9,565        0      0      162,368      33     20.3

 2012        128,829      32     24.8   6,409        1      15.6   135,238      33     24.4

 2013        126,992      29     22.8   5,919        1      16.9   132,911      30     22.6

 2014        129,268      21     16.2   6,216        2      32.2   135,484      23     17.0

 2015        123,268      22     17.8   5,632        2      35.5   128,900      24     18.6



                                                                                                   23 | P a g e
Case 2:90-cv-00520-KJM-SCR                         Document 7038            Filed 01/28/21         Page 232 of 405
                                                                                   Annual Suicide Report     2015


 1996-2015       2,932,791     549     18.7   196,485          16    8.1    3,129,276     565   18.1

 2006-2015       1,455,503     304     20.9   89,893           12    13.3   1,545,396     316   20.5




Notably, the rate of suicide within the CDCR has trended downward over the past 10 years. This
downward trend can be seen in Figure 1. Whereas the frequency of suicide has declined rapidly,
part of this decline can be attributed to a reduction in the number of prisoners housed within the
CDCR during the time period. Both the frequency and the rate of suicide has declined,
representing progress in adding interventions and improving risk management practices to
prevent suicides in the CDCR.

Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015
                                     CDCR Suicide Rate and Frequency, 2006-2015
                  50

                  45

                  40

                  35

                  30

                  25

                  20

                  15

                  10

                   5

                   0
                        2006         2007     2008      2009        2010    2011        2012    2013   2014      2015
          Frequency      43           34      36        25          35       33         33      30      23          24
          Rate          24.9         19.6     21.1      14.9        21.1    20.3        24.4    22.6    17       18.6


Suicides by institution, current year vs. 15-year average: Whereas Figure 1 represents
suicides throughout the whole of the CDCR; the frequency of suicides by institution is a less
stable variable. The higher frequency of suicide at some facilities versus others has many
explanations. Variables such as the number of patients in the institution’s mental health program,
the mental health mission of the facility, the predominance of violent offenders at the site, and
the total number of inmates at the institution are just some of the factors that contribute variance
to where suicides occur. Fluctuations can occur in the number of suicides at an institution in
given years due to cluster effects10, changes in the use or mental health mission of the institution,

10
  Hawton, Linsell, Adeniji, Sariaslan, & Fazel (2014). Self-harm in prisons in England and Wales: An
epidemiological study of prevalence, risk factors, clustering, and subsequent suicide. Lancet, Vol. 383.

                                                                                                           24 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21         Page 233 of 405
                                                                   Annual Suicide Report      2015


and other factors. There are also subsets of suicides that occur during or upon transfer of an
inmate from one institution to another, further complicating the interpretation of why suicides
occur at certain institutions more frequently than others.

Table 16 lists the number of suicides at CDCR Institutions in 2015 along with the total and
average number of suicides at each institution over a 15-year period. The inclusion of 15-years of
data allows current year data to be compared to averages over a significant period of time. The
range of suicides on average per year for all facilities was 0.0 to 2.1. The mean for suicide for all
institutions from 1999-2014 was 30.2 suicides per year.

Table 16. Frequency of Suicide by CDCR                 2015            Prior 15-        Prior 15-
Institution, 2015 and by prior 15-year total and       Frequency       year total       year average
average (1999-2014)                                                    (1999-2014)      (1999-2014)
Institution

California Health Care Facility                        1               0                0
Tallahatchie County Correctional Facility              1               0                0
Department of State Hospitals-Salinas Valley           0               1                0.1
California Rehabilitation Center                       0               1                0.1
Chuckawalla Valley State Prison                        0               1                0.1
Valley State Prison                                    0               2                0.1
California Correctional Center                         0               2                0.1
Ironwood State Prison                                  0               2                0.1
Atascadero State Hospital                              0               4                0.3
Calipatria State Prison                                0               5                0.3
Sierra Conservation Center                             0               5                0.3
Centinella State Prison                                0               6                0.4
California Institution for Women                       2               6                0.4
Avenal State Prison                                    0               7                0.5
Department of State Hospitals-Vacaville                0               7                0.5
Institution                                            2015            Prior 15-        Prior 15-
                                                       Frequency       year total       year average

Central California Women’s Facility                    0               7                0.5

                                                                                            25 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038       Filed 01/28/21      Page 234 of 405
                                                                Annual Suicide Report    2015


California State Prison, Solano                     0              10              0.7
North Kern State Prison                             0              10              0.7
Kern Valley State Prison                            0              11              0.7
Pleasant Valley State Prison                        0              13              0.9
Wasco State Prison                                  0              13              0.9
Mule Creek State Prison                             0              14              0.9
California Substance Abuse Treatment Facility       0              15              1.0
California Correctional Institution                 1              15              1.0
California Training Facility                        0              16              1.1
Pelican Bay State Prison                            0              16              1.1
High Desert State Prison                            0              17              1.1
Folsom State Prison                                 1              18              1.2
Deuel Vocational Institute                          3              19              1.3
California Medical Facility                         1              21              1.4
California Institution for Men                      1              22              1.5
California State Prison, Los Angeles County         0              22              1.5
California State Prison, Corcoran                   2              24              1.6
RJ Donovan Correctional Facility                    2              24              1.6
California Men’s Colony                             3              27              1.8
San Quentin State Prison                            3              29              1.9
Salinas Valley State Prison                         0              30              2
California State Prison, Sacramento                 3              31              2.1

Total                                               24             453             30.2



Suicides in the CDCR by month, current year and 10-year average: CDCR data covering a
10-year period (2006-2015) shows little or no trend in the frequency of suicides in any given
month. As in 2015, suicides tend to occur in the spring and fall months of the year. Suicides in
the CDCR have traditionally not been associated with specific holiday periods, though in 2015

                                                                                        26 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038               Filed 01/28/21     Page 235 of 405
                                                                         Annual Suicide Report    2015


there were five suicides on holiday days (21%) spread over five different months. See Figure 2.
The prevalence of suicides in March, May, and October has not been explained. CDCR
clinicians have noted this trend over several years.

Figure 2: CDCR Frequency by Month, 2015and 10-Year Average

 9

 8

 7

 6

 5

 4

 3

 2

 1

 0
       Jan     Feb      Mar      Apr     May          Jun     Jul       Aug     Sept     Oct       Nov          Dec

                                               2015         10 Year average


Demographic Factors: Demographic variables specific to 2015 suicides are presented earlier in
this report. These factors are presented here only as a means of comparing information from
prior years with 2015 suicide data.

A depiction of suicides by race in 2015 and over the past 10 years is found in Figure 3.
Caucasians comprise the largest group, comprising 48% of the suicides over the 10-year period
and 54% of the suicides in 2015. Caucasian suicides have consistently fallen within a range of 14
to 20 per year. Hispanics/Latinos make up the second largest group, accounting for 30% of the
suicides over the years represented. Hispanic/Latino suicides have a more variable range, from 5
to 15 in any given year. African-Americans account for 13% of the suicides during these years
with a range from 2 to 7. The frequency of suicides in other racial groups is relatively small and
typically at a range of 0 to 2 per year. The trend lines in Figure 3 suggest that the relative decline
in suicides within the CDCR during 2014 and 2015 are in Caucasians and Hispanics/Latinos, the
two groups who historically have the highest numbers of suicides within the CDCR.

Figure 3: Suicide Frequency by Race, 2005-2015, with trend line


                                                                                                 27 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21          Page 236 of 405
                                                                  Annual Suicide Report       2015


  25
                  Frequency of Suicide by Race, 2005-2015, with trend line

  20


  15


  10


   5


   0
        2005    2006    2007     2008    2009    2010    2011    2012        2013     2014      2015

                   African-American                         Caucasian
                   Hispanic/ Latino                         Native American
                   Asian                                    Other


Age is divided into five adult age brackets in Figure 4: Ages 18-24, 25-34, 35-44, 45-54, and 55
and above. In all but one year, 2012, the largest frequency of suicides in any age group was in
individuals aged 25-34. Compared to the prior five years, 2010 to 2014, suicides in 2015 were
somewhat lower in inmates aged 35-44 and 45-54, and slightly higher than most past years in
ages 55 or older. The 55 and older age group had the second highest total in the past 6 years. In
2015, 25% of the suicides occurred in this age group, an age group that comprises 12% of the
population of the CDCR. This number (25%) is similar to 2010, when 22% of suicides were in
the 55 and over group, and dissimilar to other years: 9% in 2011, 15% in 2012, 7% in 2013, and
8% in 2014.




                                                                                             28 | P a g e
Case 2:90-cv-00520-KJM-SCR                          Document 7038       Filed 01/28/21     Page 237 of 405
                                                                             Annual Suicide Report       2015


Figure 4: Number of Suicides by Age Group, 2010-2015

                                         Number of Suicides by Age Group, 2010-2015
                          14

                          12
     Number of Suicides




                          10

                           8

                           6

                           4

                           2

                           0
                                 18-24           25-34          35-44           45-54            55+
                          2010    3                10             8              7                   7
                          2011    3                12             10             5                   3
                          2012    0                8              12             8                   5
                          2013    1                11             8              8                   2
                          2014    2                7              7              5                   2
                          2015    2                8              4              4                   6


Suicides by housing type: Historically and in national and international studies,11 segregated
housing units have been a high-risk setting for suicide, particularly in single cell housing.12 In the
CDCR, segregated housing includes ASU, SHU, STRH, Long Term Restricted Housing
(LTRH), Psychiatric Services Units (PSU), and the Condemned units at San Quentin State Prison
and California Correctional Institution for Women. During 2015, nine of the year’s 24 suicides
occurred in segregated housing settings, representing 37.5% of all suicides. For reference,
approximately 6.5% of inmates were housed in segregated housing at the mid-year point of 2015
(June 30, 2015). Calculating a rate per 100,000 in segregated housing may be misleading as the
overall population is quite small and subject to wide swings in rate based on a single suicide.13

Of the nine suicides that occurred in segregated settings in 2015, seven were in ASU, one in a
SHU, and one in STRH. The number and percentage of suicides in segregated housing settings
for 2015 and over the prior five year period is found in Table 17. As can be seen, the frequency
of suicides in segregated housing decreased significantly in 2015 compared to prior years (2010-
2014). Whereas 47% of suicides within the CDCR occurred in a segregated housing setting in

11
   World Health Organization (2007). Preventing suicide in jails and prisons. WHO Document Production, Geneva,
Switzerland.
12
   Id.
13
   Based on a segregated housing population of 8,325 inmates on June 30, 2015.

                                                                                                     29 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21        Page 238 of 405
                                                                    Annual Suicide Report    2015


the ten year period between 2004 and 2014 and 45% of suicides occurred in segregated housing
on average in the ten year period from 2010 to 2014, 37,5% of suicides occurred in this setting
during 2015. This may represent changes adopted within the CDCR leading up to and occurring
within the reporting year, such as implementation of safety/wellness checks using the Guard One
system and initiation of enhanced mental health services for MHSDS participants in segregated
settings (e.g., STRH and LTRH units). Also of note, inmates in single-cell housing accounted for
eight of the nine suicides (89%) within segregated housing units in 2015. This percentage is
consistent with prior years. The percentage of suicides in segregated housing units that occurred
in single cell housing in the prior five years was 100% in 2010, 86% in 2011, 91% in 2012,
100% in 2013, and 86% in 2014.

   Table 17. Frequency of Suicide within Segregated Housing, 2010-2015

   Year                     Frequency                          Percent of Annual Suicides

   2010                     13                                 37

   2011                     14                                 42
   2012                     13                                 41
   2013                     14                                 47
   2014                     13                                 57
   2015                     9                                  37.5



Time in Segregated Housing Prior to Death: In 2015, nearly half of the suicides that occurred
in segregated housing occurred soon after placement. Three of the nine suicides occurred in
intake cells, indicating stays of less than 72 hours (Cases E, F, and O). A fourth case had been in
ASU for six days and had just arrived for a temporary stay at an institution while in route to
another institution (Case R). The remaining five cases were in segregated housing units for 100
days or more at the time of death (Cases D, G, J, K, and N).

Data on the number of days between ASU placement and deaths by suicide has been tracked
since 2009. Over this seven-year period (2009-2015), suicides tended to occur shortly after
placement, particularly in the first 72 hours after placement. Of course, fewer inmates are present
in ASU as lengths of stay increase. Figure 5 shows the distribution of deaths by suicide
following placement.




                                                                                            30 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038            Filed 01/28/21       Page 239 of 405
                                                                              Annual Suicide Report     2015




Figure 5: Length of Time in ASU before suicide, 2009-2015


                    Days to Death by Suicide After Placement in ASU,
                                       2009-2015
     16

     14

     12

     10

      8
                                                                                                                     Suicides
      6

      4

      2

      0
             3       10       15        20       30       60       90      120      150      180      More


Suicides by Method: The rate of suicide by hanging, easily the most frequent method for
suicides in prison settings, has remained relatively stable over the past number of years. In 2015,
83% of suicides were by hanging. The percentage of suicides that were by hanging was 77% in
2010, 88% in 2011, 91% in 2012 and 2013, and 87% in 2014.

Involvement in Mental Health Services: The percentage of suicides that occur in inmates with
identified mental health needs is a complex variable. Suicide is a phenomenon that can occur in
individuals who do not have a traditional mental health diagnosis and in inmates with no prior
identified mental health needs. Inmates can avoid mental health services by choice, such as by
denying symptoms on screening or by masking symptoms in order to be discharged from the
Mental Health Services Delivery System (MHSDS). It is not uncommon for suicidal individuals
to distrust mental health clinicians when contemplating suicide, concerned that clinicians may in
some way remove a valued option (death) should life so dictate. 14 Yet suicides occur in
individuals who have been identified as meeting criteria for participation in the MHSDS and who
were receiving services in the MHSDS at the time of death. Table 18 lists the numbers of
suicides at each level of MHSDS involvement for 2015 and for the prior five years.




14
     Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.


                                                                                                      31 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21          Page 240 of 405
                                                                    Annual Suicide Report      2015




Table 18. Frequency of Suicide within MHSDS Levels of Care, 2010-2015

Year                        Non-          CCCMS             EOP           MHCB              %     in
                            MHSDS                                         /DSH              MHSDS
2010                        15            12                8             0                 57
2011                        10            10                13            0                 69
2012                        14            12                5             1                 55
2013                        14            9                 6             1                 53
2014                        1             12                9             1                 96
2015                        10            9                 5             0                 58


Suicides in Mental Health vs. Non Mental Health Populations: Table 19 shows the suicide
rate for MHSDS vs. non-MHSDS, as the average total CDCR populations over the past ten
years, including 2015. This information was derived from the Health Care Placement Oversight
Programs (HCPOP) monthly trends reports. The population totals may vary slightly from other
referenced population totals within this report, as the data from HCPOP is collected a different
points of time, and utilizes total population averages. As can be seen, the rate of suicide in those
involved in the MHSDS is significantly higher than for individuals who have not been included
in the MHSDS. This suggests a need to carefully work with existing mental health population
members to reduce the risk of suicide. Targeted, suicide-specific interventions for individuals
within the MHSDS remain an area that is potentially fruitful in preventing suicides; this will be
discussed further later in this report.

Table 19. Frequency of Suicide in mental health versus non-mental health, average total populations,
2006-2015

                                                     Non-        Non-
            MH       MH                   Non-MH     MH          MH                    Total     Total
Year        Pop      Freq     MH Rate     Pop        Freq        Rate     Total Pop    Freq      Rate
2006        32,327   20       61.8        139,015    23          16.5     171,342      43        25.1
2007        33,148   25       75.4        138,431    9           6.5      171,579      34        19.8
2008        34,854   18       51.6        131,887    18          13.6     166,741      36        21.6
2009        35,677   19       51.0        125,201    6           4.8      160,878      25        15.5
2010        37,140   20       53.8        119,555    15          12.6     156,695      35        22.3
2011        37,140   23       61.9        113,182    10          8.8      150,322      33        20.3
2012        33,613   18       53.5        93,892     15          16.0     127,505      33        25.9
2013        34,477   16       46.4        90,098     14          15.5     124,575      30        24.1
2014        37,322   21       56.3        89,192     2           2.2      126,514      23        18.2
2015        37,146   15       43.1        92,197     9           9.8      129,343      24        18.6
Average     35,284   20       55.5        113,265    12          10.6     148,549      32        21.1


                                                                                            32 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 241 of 405
                                                                             Annual Suicide Report     2015




D. Review of Findings

Section 3: Comparison of CDCR Suicide Rates with Other State Prisons Systems and Relevant
U.S. Rates

CDCR Rates vs. Other State and Federal Prison Rates: State prison suicide rates have varied
little over a number of years. The rate of suicide in U.S. state prisons ranged from 14 per 100,000
to 17 per 100,000 from 1999 to 201315, with a rate of 15 suicides per 100,000 prisoners in U.S.
state prisons in 2013. However, the U.S. prison rate jumped by 30% between 2013 and 2014,
rising to 20 per 100,000 inmates.16 No explanation for this increase has been offered. Rates for
U.S. prisons for 2015 are not available at this time.

Suicide rates for all federal and state prisons were calculated by the Bureau of Justice Statistics
for the years 2001-2014.17 A listing of state rates is found in Table 19. California’s rate is listed
twice in Table 19. One listing is for the composite rate for the CDCR from 2001-2014 and the
second rate is for the year 2015 only. California ranks in the middle one-third of states in rank
and rate. In 2015, California’s rate of prison suicides ranked as 20th among state prisons.

Table 20. Rate and rank of suicides by state, 2001-2014 (14 years)

State Name                              Rank (Highest to Lowest Rate)         Suicide Rate per 100,000
                                        (t=tie)
Rhode Island                            50                                    45
Utah                                    49                                    44
Montana                                 48                                    34
Massachusetts                           47                                    32
New Hampshire                           46                                    31
Alaska                                  46t                                   31
Hawaii                                  44                                    29
Idaho                                   43                                    28
South Dakota                            43t                                   28
Delaware                                41                                    26
Vermont                                 41t                                   26
Connecticut                             39                                    24
New Mexico                              38                                    23
Nebraska                                37                                    21
New York                                37t                                   21
All State Prisons, 2015                                                       20

15
    Noonan, M. Mortality in Local Jails and State Prisons, 2000-2013 – Statistical Tables, August 2015,
 Website, U.S. Department of Justice, Bureau of Justice Statistics.
16
   Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
17
   Id.

                                                                                                      33 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038          Filed 01/28/21        Page 242 of 405
                                                                             Annual Suicide Report    2015


Iowa                                     35                                   20
Chart continues on next page
State Name                               Rank (Highest to Lowest Rate)        Suicide Rate per 100,000
Maryland                                 35t                                  20
California (2001-2014)                   35t                                  20
Wisconsin                                32                                   19
Oklahoma                                 32t                                  19
California (2015)                                                             18.6
Colorado                                 30                                   18
Minnesota                                30t                                  18
Wyoming                                  30t                                  18
Arizona                                  27                                   17
Nevada                                   27t                                  17
Arkansas                                 27t                                  17
All State Prisons, 2001-2014                                                  16
Indiana                                  24                                   16
Illinois                                 24t                                  16
Texas                                    24t                                  16
Oregon                                   24t                                  16
Pennsylvania                             24t                                  16
Tennessee                                18                                   15
Kansas                                   17                                   14
Ohio                                     16                                   13
South Carolina                           16t                                  13
New Jersey                               16t                                  13
Washington                               16t                                  13
Mississippi                              16t                                  13
Missouri                                 11                                   12
Maine                                    10                                   11
U.S. Federal Prisons (2001-2014)                                              10
Virginia                                 9                                    10
Georgia                                  9t                                   10
Kentucky                                 7                                    9
Louisiana                                7t                                   9
West Virginia                            5                                    8
Florida                                  5t                                   8
North Carolina                           3                                    7
Alabama                                  2                                    6
North Dakota                             1                                    5

CDCR Rates vs. Community Rates: It is notable that the rate of suicide in the community
within the United States reached a 30 year high in 2014, reaching an overall national rate of 13.4
per 100,000. The rate of suicide rose 24% overall between 1999 and 2014 18 . The U.S. rate


18
     http://www.nytimes.com/2016/04/22/health/us-suicide-rate-surges-to-a-30-year-high.html?_r=0

                                                                                                     34 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038          Filed 01/28/21            Page 243 of 405
                                                                           Annual Suicide Report     2015


increased again in 2015 to 13.8 per 100,000.19 For adult males in the U.S., the rate of suicides
was 21.1 per 100,000 in 201420 and 21.5 per 100,000 in 201521, topping the rate of suicides in
the (mostly male) CDCR in 2014 (17.0 per 100,000) and 2015 (18.6 per 100,000). Figure 6
shows the rate of suicides in adult males in the U.S., in U.S. prisons, and in the CDCR for the
years 2010 to 2015. Suicide rates for state prisons are not available after 2014.

Figure 6: Suicide rates for adult males in the CDCR, State Prisons, and the U.S., 2010-2015

                    30

                    25

                    20

                    15

                    10

                     5

                     0
                               2010     2011            2012         2013           2014             2015
     CDCR Overall              21.1      20.3           24.4         22.6             17             18.6
     U.S. State Prisons         16        14             16           15              20
     CDCR Males                21.8      21.6           24.8         22.8            16.2            17.8
     U.S. Males                19.8       20            20.4         20.3            20.7            21.5

                         CDCR Overall    U.S. State Prisons       CDCR Males           U.S. Males


E. Summary Review of Findings and Trends

In reviewing suicides within the CDCR during the reporting year, 2015, a suicide rate of 18.6 per
100,000 is noted, which represents part of a declining trend over the past 10 years. The rate of
CDCR suicides is below the average rate of all U.S. state prison systems combined in 201522.
The rate of suicides in the CDCR in 2014 was also lower than the average suicide rate for state
prisons in 2014; the last year in which such data is available. Finally, the declining trend in the
CDCR stands in contrast with community rates of suicide, which have increased significantly
over the past decades. Adult males in the community in the U.S. are more likely to die by suicide
than male inmates within the CDCR; this was the case in both 2014 and 2015.



19
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
20
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2014/StatesSexTABLE2014.pdf
21
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
22
   Based on 2014 U.S. Prison data

                                                                                                    35 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 244 of 405
                                                                  Annual Suicide Report    2015


To what reasons can we attribute this declining trend? First, in both 2014 and 2015, fewer
inmates aged 25-54 died by suicide than in prior years. Second, the rates of suicide in Caucasian
and Hispanic inmates in CDCR have fallen rather significantly in the past 10 years. The majority
of suicides in the CDCR have occurred within these two racial groups for many years, making
this finding particularly encouraging. Third, a decline in the frequency of suicides in segregated
housing units was noted in 2015; this finding may reflect the decreasing percentage of the inmate
population housed in such settings as well as the many efforts implemented to improve safety
from suicide in these settings. Other factors reviewed appear to simply indicate yearly and/or
unstable fluctuations in suicides, such as in timing of suicides (e.g., month of suicide, time of
discovery), frequency in specific institutions, and the rate of involvement in mental health
systems of care. These factors do not appear explanatory for the downward trend.

In looking at the group of individuals who died by suicide in 2015 within the CDCR, specific
risk factors remain clear: Caucasian race, single/divorced marital status, serious or chronic
medical disease or pain, spring and fall months, history of violent offenses, housing in higher
security settings, life or long sentences, single-cell housing, lack of job assignment, mental
health treatment prior to and during incarceration, prior suicide attempts, and prior psychiatric
hospitalization. Other variables seem to be possible trends to monitor, such as increased suicides
in older inmates (those age 60 or above), fewer suicides within segregated housing units, fewer
suicides where clinicians minimized genuine risk by attributing behavior to manipulation or
malingering, and more suicides on or around holiday periods. The reason suicide for inmates
within the CDCR remains rather idiosyncratic and complex, with most suicide reviewers
determining multiple precipitants (or triggers) for suicide. Suicides most commonly occurred on
account of in-prison stressors (safety concerns, receipt of additional charges, transfers, etc.);
medical illness, pain or disability; acute psychiatric symptoms; conflicts with others; and
important dates (anniversaries of losses or crimes, holidays).

Chapter II. Response to Suicide and Suicide Attempts

Institutional reporting of self-harm incidents and suicides: All incidents of self-harm in the
CDCR are reviewed by institutional staff members (including mental health clinicians) and all
incidents of self-harm are entered and tracked on a self-harm database. These processes allow for
tracking patients in High Risk Management Lists or Program(s) within a facility. A sample High
Risk Management Program policy is found in Appendix I. Suicides are reported by the Chief
Medical Officer or designee to stakeholders, including the SMHP and the OSM. Processes
involved in institutional reporting of self-harm events and suicides are found in Appendix II.

Determination of unknown causes of death: When deaths occur in a CDCR institution in
which the cause of death is not immediately determined, the cases are classified as “Unknown
Deaths.” These cases receive special attention until the cause of death is determined, particularly
as any that could possibly involve suicide need to be determined in a timely fashion. The process
for reviewing these deaths and making a determination may be found in Appendix III

                                                                                          36 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 245 of 405
                                                                   Annual Suicide Report    2015


In 2015, a total of 44 cases were tracked as the cause of death was listed provisionally as
unknown. Nineteen of the 44 cases had no provisional cause of death, whereas 25 cases had a
suspected or “probable” cause of death listed. In two cases, suspicion of a suicide was present
and was confirmed by autopsy, toxicology finding, and/or coroner’s report. These cases, Case M,
who died of an overdose on a prescribed medication, and Case V, who died of asphyxiation
during an acute intoxication illicit drug, are reviewed later in this report. Additionally, two cases
were determined to be accidental overdoses due to findings of ingested balloons during autopsy;
ingesting balloons filled with narcotics is a method for concealing and/or transporting illicit
drugs in prison (Cases OO and PP).

Of the remaining four cases, 23 were determined by the Death Review Committee (DRC) to
have died by natural causes: Pulmonary embolism, myocardial infarction, coronary artery
disease, hypertension, cardiomyopathy, and so forth. Three of the remaining cases were
determined to be deaths by homicide.

The 14 remaining cases met criteria for additional review, as they involved either overdose (10
cases), the case was pending further information (three cases), or the death potentially related to
mental health treatment needs (one case). In this later death (Case AA), the cause of death was
provisionally termed inanition secondary to acute psychosis. That is, the patient was thought to
have died on account of the medical consequences of refusing to eat. His lack of intake was
attributed to acute psychosis. Though the initial finding of inanition was mentioned, reviewers on
the Combined Death Review Summary noted the pathologist’s use of the term “well-nourished”
and determined the patient had gained roughly 20 pounds in the two years prior to his death. The
patient denied suicidal ideation upon evaluation six days before his death and there was no
indication that he purposefully engaged in any behavior with the intention of dying or hastening
his death. The category of death was changed by the DRC to natural, unexpected

The three cases pending further information were determined by the DRC to be deaths of various
causes. The cause of one death was due to “excitement delirium.” In this case (Case BB), the
inmate struggled with officers who were trying to apply restraints; this exertion led to neuronal
excitotoxic injury per autopsy. The second case (Case CC) was determined to have ingested both
morphine and Citalopram, though both medications were prescribed. The inmate had multiple
additional medical problems, including cardiovascular disease, and the death was determined to
be accidental. The inmate’s cellmate at the time reported normal mood, participation in routines,
and so forth the evening of the death, with no history of suicide attempts or statements of wishes
to die. The third case (Case DD) was unknown for a period of time due to the complexity of
medical symptoms present prior to the death, including reports of blackouts, other neurological
symptoms, and cardiovascular issues. The final cause of death was determined to be natural and
secondary to cardiovascular disease.

The 10 remaining cases (Cases EE to NN) were reviewed using the guidelines noted above as the
cause of death in each was overdose. Upon review of these cases, the best explanation for each

                                                                                           37 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 246 of 405
                                                                  Annual Suicide Report    2015


was unintentional, accidental overdose. In each case, the Combined Death Review Summary
determined that the cause of death was an accidental overdose. None of the cases involved
ingestion of medications that do not have abuse potential (e.g., Tylenol). Rather, all ten deaths
involved intoxication/ingestion with an illicit drug or drug(s) of abuse. Specifically, three cases
died due to methamphetamine intoxication (Cases EE, FF, and GG), two to Fentanyl intoxication
(a powerful synthetic Opioid; Case HH and II), one case to a combination of heroin and
methamphetamine intoxication (Case JJ), one to heroin intoxication (Case KK), one to morphine
intoxication (Case LL), one to methadone and morphine intoxication (Case MM), and one to
intoxication with an unknown or unspecified opiate (Case NN). Of these 10 cases, none left a
suicide note and none made recent statements suggesting suicidal ideation or desire. Appendix
IV contains additional information on the SMHP’s review of overdose cases.

Suicide Attempts and Suicides Prevented: In 2015, there were a total of 502 incidents of self-
harm with intent to die that did not result in death. That is, 502 suicide attempts were in some
way prevented, interrupted, aborted, averted, or otherwise were not fatal during the year.

Of the 502 attempts, 285 involved incidents of self-harm with intent to die that resulted in either
no injury or mild injury. An additional 217 incidents of self-harm involving moderate-to-severe
injury and intent to die (suicide attempts) were reported to the CDCR’s self-harm database.
These 217 incidents include some combination of: The inmate used non-lethal means and
intended to die but was discovered, the inmate reported having recently engaged in self-harm
with the intent to die but was not discovered and did not perish, or CDCR staff members
interrupted a suicide attempt in progress by an inmate that may otherwise have been lethal.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review
report may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. In 2015, a total of 115 QIPs were generated from Suicide Case Reviews, resulting in
an average of 4.8 QIPs per suicide. Nursing QIPs are referred to the DRC. Custody and mental
health QIPs are typically addressed to the institution where the deceased person resided but may
also be written for prior institutions and/or for the DHCS SPR FIT. Table 20 provides a listing of
responsible persons or teams for the QIPs assigned in 2015.




                                                                                          38 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21       Page 247 of 405
                                                                 Annual Suicide Report    2015




Table 21. QIPs assigned within the CDCR by recipient, 2015 Suicides

 Quality Improvement Plan                         Frequency                Percent of Total
 Chief of Mental Health/Chief Executive           53                       46
 Officer
 Warden/Custody                                   32                       28
 Death Review Committee/Nursing/Medical           17                       15
 DHCS SPR FIT                                     11                       10
 Design Standards Branch                          1                        <1
 Contract Bed Facility                            1                        <1
 Total                                            115                      100


As can be seen in Table 20, the Suicide Case Review process generates quality improvement
plans that are multidisciplinary. The responses to an inmate’s suicide are therefore addressed
with a broad lens, looking at many ways of addressing what went wrong (if applicable; one case
of the 24 had no listed QIPs). Notably, nearly half of the formal QIPs generated in 2015 were
focused on mental health concerns, with the Chief of Mental Health and/or Chief Executive
Officer of a CDCR facility tasked to address the concern(s). Mental health concerns ranged from
evaluations not completed within timeframes established by policy to poor quality of suicide risk
evaluation to inadequate treatment and safety planning. The specific reasons for individual QIPs
are presented in the individual case review section (Chapter 3).

Determination whether a suicide is preventable or foreseeable: The following definitions
of foreseeable and preventable used in the review of 2015 suicides and in this report are the
definitions previously used in the annual suicide reports written by the Special Master’s experts:

Foreseeable: A “foreseeable” suicide is one which, based upon available information reasonably
known, is reasonably anticipated based upon the presence of a substantial or high risk for a
suicide attempt which would require reasonable clinical, custodial, or administrative
intervention. Foreseeability is assessed by determining the adequacy and accuracy of how
suicide risk was evaluated. Assessment of the degree of risk may be high, moderate, or low to
none. In contrast to a high and immediately detectable risk, a “moderate risk” of suicide,
indicates a more ambiguous set of circumstances that requires significant clinical judgment based
on adequate training, as well as a timely assessment, to determine the level of risk in the most
appropriate manner and relevant interventions to prevent suicide.

Preventable: A “preventable” suicide is one in which it is probable that, had some additional
information been gathered or some additional interventions undertaken, as required by existing
policy, the suicide would not have occurred. Preventability is assessed by determining whether
risk management and/or suicide prevention policies and procedures, local operating procedures

                                                                                         39 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 248 of 405
                                                                  Annual Suicide Report    2015


and the requirements set forth in the Program Guide were followed adequately. Suicides that
may have been preventable include not only cases in which additional information might have
been gathered or additional interventions undertaken, but also cases involving issues with
emergency response by custody and clinical staff.

This report continues to use these definitions for consistency, subject to CDCR’s right to change
the definitions in future reports. It is well-settled that Defendants are entitled to deference in
managing their internal operations, and such deference should extend to the manner in which
Defendants audit and write their performance reports. See Bell v. Wolfish, 441 U.S. 520, 562
(1979) (“the inquiry of federal courts into prison management must be limited to the issue of
whether a particular system violates any prohibition of the Constitution . . . .”) “Suicide is a
difficult event to predict and prevent and often occurs without warning. Both the common law
and the recently developed constitutional law applying to those in custody have taken this
uncertainty into account in developing rules of liability based on foreseeability.” Gray v. City of
Detroit, 399 F.3d 612, 616 (6th Cir. 2005). Because suicide rests on a complex array of factors
and motives, inmates determined to commit suicide are very difficult to stop. Strickler v.
McCord, 306 F. Supp. 2d 818, 829 (N.D. Ind. 2004).

As the Special Master’s experts have acknowledged, the above definitions do not apply the legal
standards for causation or deliberate indifference. For these reasons, the use of these definitions
in this report should not be confused in any way with legal concepts of causation or
foreseeability, nor do they determine personal or systemic culpability. Causation and
foreseeability are legal terms of art, and must demonstrate that something caused or produced
some effect, or had a quality of being reasonably anticipated, respectively. Black’s Law
Dictionary 249, 721 (9th ed. 2009). Determinations of personal or organizational culpability with
respect to causation or foreseeability of suicide prevention are governed by the deliberate
indifference standard (“a prison official cannot be found liable under the Eighth Amendment for
denying an inmate humane conditions of confinement unless the official knows of and disregards
an excessive risk to inmate health or safety . . . .”) Farmer v. Brennan, 511 U.S. 825, 837 (1994).
This not only requires awareness “of facts from which the inference could be drawn that a
substantial risk of serious harm exists”, but that such an inference is also drawn. Id. The
development, implementation, and continued improvement of the suicide prevention system is
necessarily contrary to any disregard for excessive risks to an inmate’s health or safety with
respect to suicidality, and meets the Constitutional requirement to create reasonable measures to
prevent inmate suicide as a necessary component of any correctional mental-health system. Balla
v. Idaho State Bd. Corr., 595 F. Supp. 1558, 1577 (D. Idaho 1984) (citing to standards of
minimally adequate care for mental health in Ruiz v. Estelle, 503 F.Supp. 1265 (S.D. Tex.1980
aff’d in part, rev’d in part on other grounds). The Eighth Amendment does not allow a
deliberate-indifference finding based merely on a difference of medical opinion about
appropriate treatment. Estelle v. Gamble, 429 U.S. 97, 107 (1976); Cano v. Taylor, 739 F.3d
1214 (9th Cir. 2014). Thus, “where suicidal tendencies are discovered and preventive measures

                                                                                          40 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038          Filed 01/28/21         Page 249 of 405
                                                                          Annual Suicide Report    2015


taken, the question is only whether the measures taken were so inadequate as to be deliberately
indifferent to the risk.” Rellegert ex rel. Rellegert v. Cape Girardeau County, Mo., 924 F.2d 794,
796 (8th Cir. 1991).

Using the above definitions, and subject to the foregoing reservations, CDCR’s Statewide Mental
Health Program’s Suicide Case Review Committee determined that in 2015, 11 of the 24
suicides were foreseeable and 17 of the 24 suicides might have been preventable had some
additional information been gathered or some additional interventions undertaken.

Audits of SCR Quality: The DHCS Quality Management Unit audits all Suicide Case Reviews
(SCRs) for 15 items. SCRs are scored with required elements marked present or absent. In 2015,
SCRs generally met audit criteria at a high rate, reported in Table 21.

Table 22: Results of Quality Audits, 2015 Suicide Case Review reports

Audit Item                                                           Present        Absent         % Present
1. Does the Executive Summary describe the means of death,           23             1              96
the emergency response taken, and the MH LOC of the patient?
2. Are the sources for the SCR identified?                           24             0              100
3. Are substance abuse issues reported, if applicable?               24             0              100
4. Does the Institutional Functioning section include information    24             0              100
on institutional behavior, including disciplinary history?
5. Does the Mental Health History review the adequacy of             24             0              100
mental health care and screening?
6. Are medical concerns discussed (e.g., chronic pain, terminal      24             0              100
illness) or is the absence of medical conditions noted?
7. Is the quality of the most recent SREs (past year) reviewed,      14             6 (4 N/A)      70
with comment on risk level, safety planning, and risk and
protective factors?
8. Does the Suicide History section review all prior attempts, as    24             0              100
applicable?
9. Are significant pre-suicide events discussed (e.g., receipt of    23             1              96
bad news or existence of a safety concern)?
10. Was a risk formulation offered specific as to why the person     24             0              100
was vulnerable to suicide?
11. Does the review comment on the adequacy of the emergency         18             4 (2 N/A)      82
response?
12. Are all violations of policy and breaches of standards of care   24             0              100
in mental health, medical, and nursing addressed in the
reviewer’s concerns, if applicable?
13. Were custody policies followed? If not, were violations          23             0 (1 N/A)      100
noted in the report?
14. Were all concerns raised by reviewers (custody, nursing, and     24             0              100
mental health) represented in Quality Improvement Plan
recommendations?
15. Were the Quality Improvement Plan recommendations                23             1              96
adequate to address the concerns? (e.g., QIP should not simply
say conduct an inquiry and report findings).

                                                                                                  41 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21         Page 250 of 405
                                                                    Annual Suicide Report    2015


Total                                                         339             13             96


As evident in Table 21, on most audit criteria, reviewers were found to meet quality standards
with 96% of all audit items marked as present. A notable exception in quality audits appears to
be in reviewing most recent SREs. In examining this finding, six SCRs did not comment on all
aspects of the most recent SREs. For example, the reviewer discussed risk factors but did not
provide an analysis of the adequacy of risk formulation. One other item was absent in four cases:
Comments on the adequacy of emergency response. Emergency response timelines were
reported by nursing and custody in all SCRs. In the four cases, reviewers did not specifically
state that the emergency response was adequate, though this appears to be the case in each
occasion.

Timeliness of Suicide Case Reviews and Suicide Reports: The process of responding to
suicides, completing reviews, writing and editing reports, tracking QIP compliance, and so on is
involved. Timelines for each step in suicide response have been developed and are specified in
the MHSDS Program Guides, 2009 Revision. Internal deadlines have also been developed as a
way to ensure timelines for each step of the suicide response process are met. The number of
days specified for each step in suicide response, for both Program Guide and internal deadlines,
is found in Appendix VI.

In reviewing timeliness of 2015 suicides, the assignment of a suicide reviewer and the visit of the
reviewer to the institution were completed on time in all but two cases; both cases were
originally “unknown deaths” (Cases M and V) and thus not determined to be suicides until
further information was obtained. Due dates on Cases M and V were recalculated when the cases
were determined to be suicides. Both were then reviewed in a timely manner.

Original suicide reports are generally completed within 30 to 40 days after the death. The
established 30-day limit was met in nine cases (of 24 reports). Five reports (including Cases M
and V) were completed 40 days or more after the death. All reports were available by the time
Suicide Case Reviews were held. Fifteen of the 24 SCRs were completed within timelines. Of
the nine SCRs held late, delays ranged from one day to nine days.

Once suicide reports are reviewed at the SCR, edits are made and a final report is due to be sent
to institutions within 60 days of the death. Timeline compliance becomes increasingly difficult at
this step, with only five of the 24 reports finalized and sent to institutions by the 60 day mark.
Delays at this step can affect the ability of institutions and other recipients of QIPs to complete
QIPs by the deadline (150 days after the death). However, in 13 cases, QIP response timelines
were met. QIP responses also require review and approval, with a report of QIP implementation
due to the OSM by 180 days after the suicide.

As the CDCR endeavors to complete all steps of the suicide review process in a timely manner, a
focus on ensuring original reports are completed on time, on decreasing the number of days used

                                                                                            42 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 251 of 405
                                                                    Annual Suicide Report    2015


for editing suicide reports after the SCR, and on accelerating the review, response, and approval
of QIPs is underway. The DHCS SPR FIT will explore further ways to expedite review processes
for implementation during the 2017 calendar year.

Chapter III. Findings in Individual Case Reviews

Introduction to Individual Case Reviews: The presentation of information such as suicide rates
and demographic variables in suicide deaths provides a sense of data trends, comparisons
between correctional systems, and so forth. That is, suicide rates and numbers give us a macro
look at causes and contributors to suicide and to variables that require monitoring. The data
presented in prior chapters has implications for practice within the CDCR, implications that will
be reviewed in the Conclusions section to follow.

Individual case reviews, on the other hand, represent a micro look at the idiosyncratic, often
multi-determined reasons that an individual takes his or her own life. The sources of distress
noted in the cases below range from a response to gang threats to an inmate’s family to the
vagaries of severe medical and mental illness to grief over the loss of lovers and loved ones. No
two cases look quite alike.

What cannot be overly idiosyncratic are the actions of staff members of all disciplines. These
staff members as a whole are responsible to prevent suicide. Suicide prevention in correctional
settings is no small task. CDCR staff of all disciplines must follow policy and procedure, must
show diligence and compassion in their work, and must be professional in their day-to-day
interactions and responsibilities. Individual case reviews thus speak not only to the
idiosyncrasies of the suicidal patient but also to the actions and professionalism of staff leading
up to a suicide, in reaction to a suicide in progress, and in response to the death.

Commonalities in individual case reviews: Tables 22 and 23 list variables commonly found
between suicides. The tables contain either factual data or qualitative determinations about the
adequacy of staff response and/or the ability of staff members to meet quality of care
expectations. Narrative comments are noted after each table.

Before presenting these tables, it should be noted that inadequacy of risk assessment, treatment
planning, custody rounds, and so forth result in QIPs. In Suicide Case Review (SCRs) reports,
reviewers may comment on what was done well within an institution and may state areas where
policy was correctly followed. However, these comments are not required as it is assumed staff
members will follow policy and will do a professional job in working with inmates. In contrast,
reviewers must identify any and all departures from policy or from standards of care, creating
formal Quality Improvement Plans (QIPs) applicable to each identified issue. Reviewers may
also point out clinical or custodial practices that could be improved either at an institutional level
or throughout all institutions; these practice suggestions can be addressed through QIP processes
as well. It should also be noted here that institutional responses to QIPs are sent to the SMHP
and DAI leadership for review. If any QIP response is felt to be inadequate, the SMHP and/or the

                                                                                            43 | P a g e
        Case 2:90-cv-00520-KJM-SCR                 Document 7038         Filed 01/28/21       Page 252 of 405
                                                                               Annual Suicide Report    2015


        DAI will contact the institution to request clarification or request additional development or
        implementation of the QIP. QIPs are not considered finished until approved at the headquarters
        level.

        Table 22 lists qualitative judgments of staff performance in suicide cases. A “no” answer can
        reflect anything from a singular error in the treatment or care of the patient to a pattern of poor
        care, whereas a “yes” finding reflects a range of actions and behaviors that were consistently
        professional and adequate.

Table 23: Findings of Individual Case Reviews, part 1

          Suicide      Adequate        Adequate        Good        Adequate        Adequate      Adequate    Treatment
 Inmate   Risk         Suicide Risk    Treatment       Quality     Nursing         Custody       Emergency   Refusal?
          Adequately   Management?     Plan?           Mental      Rounds?         Checks?       Response?
          Assessed?                                    Health
                                                       Contacts?
 A        N             N                 N            N           N               Y             Y           N
 B        Y             Y                 Y            Y           N/A             Y             Y           Y
 C        N             N                 N            N           Y               N*            Y           Y
 D        Y             N/A               N/A          Y           Y               Y             Y           Y
 E        N             N                 N            N           Y               Y             N           Y
 F        N             N                 N/A          Y           Y               Y             N           Y
 G        Y             Y                 Y            N**         Y               N***          Y           Y
 H        Y             Y                 N/A          N****       N/A             Y             Y           Y
 I        N             N                 Y            Y           N               N             N           Y
 J        N             N                 N            N           N               N             N           Y
 K        Y             N/A               N/A          N/A         N/A             N             N           Y
 L        Y             N/A               N/A          N/A         Y               Y             N           Y
 M        N             N                 N            N           Y               Y             Y           Y
 N        N             N                 N/A          N           Y               N             Y           N
 O        Y             Y                 Y            Y           N/A             Y             Y           Y
 P        Y             Y                 N            N           N/A             Y             N           Y
 Q        Y             Y                 Y            Y           N/A             Y             N           Y
 R        N             N                 N            N           Y               Y             N           N
 S        Y             Y                 Y            Y           N/A             Y             Y           Y
 T        Y             N/A               N/A          N/A         N               N             Y           Y
 U        Y             Y                 N/A          Y           Y               Y             Y           Y
 V        N             N                 N            N           N/A             Y             N           Y
 W        Y             Y                 Y            Y           Y               Y             Y           Y
 X        Y             Y                 N            N           N               Y             Y           Y
        *Based on allowance of window covering. **Based on frequent refusal of services; HRL was provided. ***Based
        on allowance of an obstruction to viewing ****Based on poor documentation of last visit.

        Starting from the far left column, problems with at least one suicide risk evaluation were found
        in 10 cases (42%). Problems ranged from issues with reviewing or gaining access to suicide
        attempt histories (two cases), failing to include information already reported about suicide
        attempt history (two cases), poor identification or documentation of risk factors (four cases), to
        failure to complete suicide risk evaluations when they were required by clinical standards or
        policies (two cases). Issues with suicide risk evaluations are particularly problematic, as


                                                                                                       44 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 253 of 405
                                                                 Annual Suicide Report    2015


inadequate assessment most likely leads to difficulties with safety planning (e.g., not having
information on what triggered past attempts) and risk management (e.g., not managing the actual
level of risk as risk had been underestimated). Therefore, it is not surprising that all cases
identified as having problems with SREs are also considered to have problems with risk
management.

Issues with adequacy of suicide risk management practices were noted in 11 cases (46%). In at
least one situation, risk management efforts were inadequate or failed to address the level of
suicide risk indicated. Additionally, in some cases suicide risk evaluations indicated very low
risk and in some cases policies were followed such that the inmate did not require evaluation;
these cases are marked as not applicable (N/A). In cases marked N or No in Table 22, issues
were quite varied. These included placement of a patient on suicide precautions in an unsafe cell
in one case, a failure to conduct a SRE within timelines in another case, problems with full
implementation of high risk management lists or programs in two cases, failure to plan for an
inmate’s reaction to bad news in one case, and provision of KOP medications in another case
where the inmate had mentioned a previous plan to die by overdose.

Another area impacted by the quality of suicide risk evaluation is mental health treatment
planning. If risk for suicide is underestimated in a case, it stands to reason that treatment
planning will also miss key components of what should be addressed clinically. In six cases,
adequate treatment planning was noted. In seven cases, poor treatment planning was found. In
the remaining two cases, risk evaluation and treatment planning was hampered by a patient’s
unwillingness to engage in treatment or evaluation services. In such cases, treatment planning
should focus on efforts to engage the patient, attempts to gain historical and collateral
information, and so forth.

The quality of mental health contacts was rated as not applicable in three cases where there were
few or no evaluations beyond mental health screening. For cases rated Y (nine cases or 43% of
applicable cases), the decided majority of clinical contacts were positive and in line with
professional expectations. For the 12 cases rated N (57%), at least one clinical contact was below
standards, such as incidents where poor documentation was present or where patient treatment
refusals were not addressed.

Nursing rounds and/or nursing observations are required for inmates in segregated housing
settings, inpatient settings, and while a patient is on suicide watch or precautions either in
alternative housing or in MHCB. Cases marked N/A are those in which the inmate or patient was
never in such a setting. Problems in nursing rounds were found in five of the remaining 16 cases
(31%) , specifically: One case where required psychiatric technician rounds were not
documented (in ASU), one case where nursing observations for a patient on 15 minute checks
were not staggered, one case where a nursing check required each shift did not ensure that the
patient was living/ breathing, one case of delays in starting an order for 15 minute checks, and


                                                                                         45 | P a g e
Case 2:90-cv-00520-KJM-SCR                        Document 7038   Filed 01/28/21     Page 254 of 405
                                                                       Annual Suicide Report    2015


one case where checks in alternative housing were not documented or staggered. In 11 (69%) of
applicable cases nursing rounds were done adequately.

Custody checks occur in all institutions for all inmates. For example, custody conducts
institutional counts multiple times in each 24 hour period. In 17 cases (71%), custody checks
were rated as adequate and conducted per policy. Of the remaining seven cases, four involved
situations where window coverings or draping of bunks was allowed despite custody policy
forbidding the practice. In another case, an inmate kept a blanket over his head, with custody
checks not ensuring living/breathing. In the remaining two cases, rounds were completed later
than specified by policy around the time of the death.

Emergency response by custody officers, nursing staff, and medical staff are considered in
ratings of emergency response. In 14 cases (58%), no issues with emergency response were
noted. In four cases, issues with bringing complete cut-down kits were found. In three cases,
issues with timely AED placement or AED functioning were reported, and in two cases delays in
emergency response occurred. Other issues were rather idiosyncratic; such as the incident of an
ambulance going to the wrong institution and a case where CPR was discontinued during
transport to the TTA.

Issues related to patient refusal of evaluation were cited in three cases (12.5%). In these cases,
patients with safety or privacy concerns declined to be brought out to confidential settings for
clinical contacts while also likely withholding information when contacted at cell-front was
noted. In these cases, reviewers recommended QIPs to address patient refusal and to promote
treatment planning when a patient declines to come out of cell for confidential contacts. The
problem of patients not wanting to be seen talking to mental health, yet needing these services, is
a difficult issue to combat.

Table 23 lists additional common findings of case by case reviews.

Rigor mortis is a condition of the body postmortem that indicates a person has been deceased for
at least four hours.23 In 2015, only one case was found to be in rigor mortis at discovery. This
case occurred in a CTC. By comparison, four cases were found in rigor mortis in 2014. This may
suggest improvements in the quality of safety/welfare checks, the implementation and use of
Guard One throughout institutions in the CDCR, or simple chance variance.

The method used for each suicide is listed for the reader’s reference. As in prior years and in
other prison systems, hanging is easily the most common method of suicide in incarcerated
populations, accounting for the means for 83% of the suicides in the CDCR in 2015.

Table 24: Findings of Individual Case Reviews, part 2



23
     https://en.wikipedia.org/wiki/Rigor_mortis

                                                                                               46 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038          Filed 01/28/21         Page 255 of 405
                                                                            Annual Suicide Report     2015


        Inmate   Patient       Method Used      Prior         Higher          Housing/        MHSDS
                 Found in                       Suicide       Level of        Cellmate        Status at
                 Rigor                          History/      Care            Present?        Time of
                 Mortis?                        # of Prior    Indicated?                      Death &
                                                Attempts                                      LOC?
        A        N             Jump             Y/1           Y               SNY/N           CCCMS
        B        N             Hanging          Y/1           N               GP/N (out to    N
                                                                              work)
        C        N             Hanging          Y/6           Y               GP/N            CCCMS
        D        N             Hanging          N/0           N               ASU/N           N
        E        N             Hanging          Y/3-7         Y*              ASU/N           EOP
        F        N             Overdose         Y/1           N               ASU/N           N
        G        N             Hanging          Y/2           Y**             ASU/N           EOP
        H        N             Hanging          Y/2           N               GP/N            N
        I        N             Hanging          Y/1           N               GP/N            CCCMS
        J        N             Hanging          Y/1           Y               STRH/N          CCCMS
        K        N             Hanging          N/0           N               SHU/N           N
        L        N             Hanging          N/0           N               GP/N            N
        M        N             Overdose         Y/5           Y               GP/N            EOP
        N        N             Asphyxiation     N/0           Y***            ASU/N           N
        O        N             Hanging          Y/3           N               ASU/N           CCCMS
        P        N             Hanging          N             Y****           GP/N            N
        Q        N             Hanging/         Y/3           N               GP/N            CCCMS
                               Cutting
        R        N             Hanging          Y/1-3*****    Y               ASU/N           CCCMS
        S        N             Hanging          Y/1           N               GP/N            CCCMS
        T        Y             Asphyxiation     N/0           N               CTC(GP)/N       N
        U        N             Hanging          Y/2           N               GP/Y            N
        V        N             Asphyxiation/    Y/3           N               CTC/N           CCCMS
                               Overdose
        W        N             Asphyxiation     N/0           N          GP/N (out to EOP
                                                                         work)
         X         N            Hanging         N/0            N         GP/N          EOP
     *Recommended during Regional Team visit, December, 2014 **Due to worsening psychosis ***Inclusion in
     the MHSDS seemed warranted ****Per policy should not have been discharged from CCCMS *****Incidents
     on 1/7/14, 4/22/14, and 10/7/15 were without clear intent

There is a robust literature on the heightened chronic risk of suicide for individuals with prior
attempts. This risk is especially robust when a person has a history of two or more suicide
attempts.24 It is thus not surprising that 16 of the 24 cases (67%) who died by suicide in 2015
also had a history of prior attempts, with 10 cases (42%) having a history of multiple attempts.
Deaths occurring on a person’s first attempt are correlated with the use of a highly lethal method,
such as firearms in the community and hanging in the case of prisons. Hanging is a highly
accessible means for suicide in prisons. The ability of a person to abort a suicide attempt mid-
way through the event is usually impossible in hanging.25



24
   E.g., Forman, Berk, Henriques, Brown, & Beck, 2004. History of multiple suicide attempts as a behavioral marker
of severe psychopathology, American Journal of Psychiatry, 161, 437-443.
25
   https://www.hsph.harvard.edu/means-matter/means-matter/case-fatality/

                                                                                                     47 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 256 of 405
                                                                             Annual Suicide Report     2015


Clinicians can use several interventions for risk management purposes, including transfer to
inpatient hospitalization, transfer to a more intensive level of care, or placement in a high risk
management program. Inpatient psychiatric hospitals, for example, are able to restrict means to
hanging by eliminating tie off points. In 2015, reviewers found reason to indicate that more
intensive risk management may have been needed in nine cases (37.5%). Of these cases, one was
recommended for a higher level of care by a visiting Regional Team, two should have been
considered for placement or retention in the MHSDS, one showed signs of psychotic
decompensation, two should have been considered for higher levels of care due to frequent
refusal of services, two were removed from high management lists or programs, and one had
received bad news and had threatened to harm himself if this news was received.

Housing status is listed next with findings regarding whether a cellmate was present or not at the
time of the suicide. In 23 cases (96%), there was either no cellmate present or the deceased had
been in a single cell at the time of the suicide. In the one case where a cellmate was present, the
deceased hung himself during the overnight hours.

Finally, the level of care for each case at the time of death is listed. The high frequency of
suicides within the MHSDS is both to be expected and a cause for continued quality
improvement efforts.

Chapter IV. Review of Suicide Prevention Initiatives in 2015

Introduction: The development and implementation of Quality Improvement Plans following
deaths by suicide is but one of many pieces of a comprehensive suicide prevention strategy.
These plans occur too late for the deceased, but correct problems and offer training and
prevention plans that may contribute to decreasing the risk of suicide in an institution and in a
system in the future.

There are many additional aspects of a comprehensive suicide prevention strategy. 26 Such a
strategy includes ensuring a solid screening process occurs at various points of incarceration,
establishing a referral process, written procedures and policies for suicide prevention are
maintained and updated as needed, and there are effective methods for evaluating proof of
practice of existing and/or on-going suicide prevention programs and initiatives. In addition,
comprehensive suicide prevention programs must have a commitment to staff training, with the
provision of on-going training on suicide risk detection and referral to all correctional
employees. In addition, the complexities and specifics of suicide risk evaluation, risk
management, and intervention training must be provided to mental health staff. Comprehensive
programs also assure easily available mental health services for inmates who request and/or are
referred for these services, along with a variety of care options and levels. Suicide prevention
materials must be readily provided for inmates and for those who interact with inmates (e.g.,

26
  Hayes, L.M. (2013). Suicide Prevention in Correctional Settings: Reflections and Next Steps. International
Journal of Law and Psychiatry, 36, 188-194.

                                                                                                      48 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 257 of 405
                                                                             Annual Suicide Report      2015


family members, work supervisors). Communication between disciplines and shifts must be
prioritized, particularly regarding high risk inmates.27

The CDCR has worked diligently to ensure that a comprehensive suicide prevention program is
in place. This effort has been shared with and reviewed by the Office of the Special Master and
the OSM’s experts for many years. It is beyond the scope of this report to review all suicide
prevention program efforts over these many years. Rather, the information provided in this
section reviews advancements in the CDCR suicide prevention program during the 2015
calendar year and shortly thereafter.

Suicide prevention efforts developed, initiated, and/or implemented during the reporting
year: Numerous initiatives were either under development at the close of 2015 or had been
implemented during the year. Each initiative is described below with notation of the status of the
project on December 31, 2015 as well as the current status of each effort.

        New Five-Day Follow-Up Form: Patients are known to be at elevated risk for suicide
         upon release from inpatient settings per studies conducted in the community.28 The Five-
         Day Follow-Up Form (CDCR MH-7230-B) used by the CDCR is intended to ensure
         clinical contacts with patients returning from inpatient settings in cases where the reason
         for admission was danger to self. Whereas the old form had been contained on one page
         for all five days, leaving little room for documentation, the new form developed has two
         pages with sufficient room for recording the patient’s comments and the clinician’s
         assessment of the patient. The new form also contains several structured, suicide-specific
         questions so as to ensure clinicians and psychiatric technicians are asking about suicidal
         thoughts, desire, and intention. The new form also requires mental health clinicians to
         complete a safety/treatment plan with the patient. The new form was routed and approved
         by all required committees by the end of 2015. Involved unions were noticed. The form
         was readied for distribution and materials for Training for Trainers were prepared and
         delivered by webinar in January, February, and May, 2016. Training for Trainers
         materials were co-taught by mental health and nursing staff. The form was released for
         use on June 10, 2016.

        ASU Post-Placement Screening Questionnaire: All inmates are screened prior to
         placement in segregated housing units for mental health symptoms. Once placed in
         segregated housing, all inmates are contacted daily by psychiatric technicians. In
         addition, identified mental health patients are seen on a regular basis by mental health
         clinicians. As inmates may experience distress upon placement, the ASU Post-Placement
         Screening Questionnaire is a brief measure (12 to 13 items) that is administered by a

27
  Preventing Suicide in Jails and Prisons, World Health Organization, 2007
28
  Qin, P., & Nordentoft, M. (2005). Suicide Risk In Relation to Psychiatric Hospitalization, Archives of General
Psychiatry, 62, 427

                                                                                                      49 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21     Page 258 of 405
                                                                Annual Suicide Report    2015


      psychiatric technician to non-MHSDS inmates and assesses an inmate’s level of distress
      and the presence or absence of suicidal thoughts or behavior. The screening questionnaire
      has set scoring rules that, once scored, guide the psychiatric technician regarding whether
      a referral to mental health is indicated, and if so, to what degree of urgency. Inmates who
      refuse the screen are to be referred to mental health on an urgent basis. The new form
      (CDCR MH-7790) was also routed and approved by all required committees by the end
      of 2015. Involved unions were noticed. The form was readied for distribution and
      trainings (co-taught by mental health and nursing staff) were prepared, again via the
      Training for Trainers format. The PowerPoint presentation for the form had been
      reviewed and approved. This form was also released for use on June 10, 2016.

     Provision of Beds for Alternative Housing Cells: Several tours and audits of suicide
      prevention practices at various institutions had noted the lack of a physical bed in certain
      alternative housing cells. These cells are used with patients who are awaiting transfer to a
      MHCB and patients in these cells are typically on Suicide Watch (direct, one-on-one
      observation). Without available beds, patients were placed temporarily in cells with
      mattress placed directly on the floor. As this could be experienced as punishment, the
      CDCR agreed to ensure beds were placed in all alternative housing cells. A bed (Norix
      Stack-a-Bunk) was selected and was purchased for this purpose. Beds were delivered to
      all institutions in need of them by the end of 2015. A Mental Health Services policy was
      drafted for patients pending MHCB transfer that includes provision of a Stack-a-Bunk in
      alternative housing. This policy remains under review currently.

     Updated Initial SRE Mentoring Training for Trainers: The SRE Mentoring training slides
      and webinar were updated to place more emphasis on mentoring safety/treatment
      planning, to develop more of an understanding of the interplay of chronic and acute risk
      factors in cases, to further explore the role of the mentor in assessing and expanding
      clinician competencies around suicide risk evaluation, and to further teach the Quality of
      Care Tool for SRE Mentors. The revised training was offered on several occasions in
      2015 and 2016 and was well received. Additional revisions were made to the presentation
      in November, 2016.

     Development of a SRE Mentoring ‘Booster’ Training: The requirement for an annual
      ‘booster’ training was discussed and a presentation developed for current mentors. The
      ‘booster’ training was re-cast as an advanced course in suicide risk evaluation mentoring,
      with a focus on risk assessment competencies, methods for competency assessment, and
      ways to enhance SRE skills in clinicians at all levels of proficiency. The training was
      undergoing revisions at the end of 2015 with a plan to implement training in 2016. This
      training indeed occurred in 2016, with the mentoring booster training attended live by 50



                                                                                        50 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21     Page 259 of 405
                                                                Annual Suicide Report    2015


      current mentors in November, 2016 and with numerous others taking the course by
      webinar in December, 2016.

      Memorandum Clarifying SRE Mentoring Requirements: A memorandum was drafted in
      2015 outlining and revising the requirements for SRE Mentoring. Clinicians working in
      Mental Health Crisis Bed settings were required to complete mentoring annually,
      whereas other clinicians were maintained on an every two year schedule. Clinicians were
      also notified of two SRE audits; one to be conducted by institutional program supervisors
      and the other by headquarters staff. Each mental health clinician will have an audit of a
      completed SRE at least once every six months. Processes for corrective action when audit
      criteria are not met were described as well. Finally, the expectation that SRE Mentors
      would receive annual ‘booster’ training was written. This memorandum was released on
      March 15, 2016. Institutional program supervisors began auditing SREs using the Chart
      Audit Tool, reporting results through the Quality Management Portal. Headquarters
      audits have been modified to solely focus on inter-rater reliability checks on institutional
      audits.

     Memorandum Clarifying SRE Training: SRE Training is a 7-hour CME-approved course
      that is provided to all CDCR mental health clinicians within 180 days of hire and every
      two years thereafter. The SMHP updates the 7-hour SRE class annually. The updated
      class is provided to a large group of institutional clinicians who then teach the class at
      their home institutions. This process of annual updates in Training for Trainers also
      ensures trainers are adherent to the content and focus of the course. A memo clarifying
      SRE Training requirements was drafted in 2015, noting that the requirement extends to
      clinicians hired through a registry and to telepsychiatry. Training for Trainers occurred in
      October, 2014 for the 2015 training year and in October, 2015 for the 2016 training year.
      This memorandum was pending release at the end of 2015 and was released on March 24,
      2016.

     Memorandum Clarifying SPR FIT Coordinator Duties: A memorandum was released on
      August 14, 2015 instructing all institutions to designate one Senior Psychologist,
      Specialist to the role of institutional SPR FIT Coordinator, tasked with leading suicide
      prevention efforts at each facility. The role also includes coordination of mental health
      assessments/evaluations and mental health training/orientation. A duty statement for the
      position was attached to the memorandum. The memorandum and clarification of duties
      was designed to ensure all institutions had dedicated resources within mental health
      programs to coordinate suicide prevention efforts. This memorandum was released on
      August 14, 2015 and implemented; the memorandum is found in Appendix VII.




                                                                                        51 | P a g e
Case 2:90-cv-00520-KJM-SCR          Document 7038        Filed 01/28/21      Page 260 of 405
                                                               Annual Suicide Report    2015


     Memorandum Regarding SRE Tracking: A memorandum was released on October 23,
      2015 mandating that all institutions use appointment schedulers to simultaneously enter
      SREs completed by clinicians into the patient record and into the Mental Health Tracking
      System (MHTS). Clinicians were required to enter scheduled and unscheduled SRE
      appointments on daily work logs. This process is automated in EHRS institutions, but
      must be entered in this manner in institutions using the eUHR. The memorandum ensures
      proper tracking of suicide risk evaluations and timely scheduling and completion of
      follow-up risk evaluations. This memorandum is found in Appendix VIII.

     Updated Cadet Training: An update to training provided at the cadet training academy on
      the Mental Health Services Delivery System (MHSDS) and on Suicide Prevention was
      drafted and reviewed in 2015. Training for trainers on the updated version was provided
      on November 30, 2015. Lindsay Hayes attended the updated training as it was being
      given to a cadet class, providing feedback on the training in December, 2015. The
      training and accompanying lesson plans were undergoing revisions in light of Mr. Hayes’
      feedback at the end of 2015. These revisions were approved and distributed on May 11,
      2016.

     Workgroup on Keep-on-Person (KOP) Medications: In response to a headquarters QIP
      (from Case F in 2015), a workgroup was assembled to discuss how prescribed
      medications should be distributed in high-risk settings, such as in ASU Intake Cells. The
      workgroup met several times, considering input from pharmacy, custody, nursing,
      medical, and mental health representatives. Suggestions for limiting KOP medications in
      certain settings, relying on the Complete Care Model to communicate when medications
      should be administered as Direct Observation Therapy (DOT), and other potential
      solutions were discussed. Workgroup meetings focused on integrating clinical practices
      with KOP medications with new policy on the use of Over-The-Counter (OTC)
      medications. In addition, concerns about KOP medications will be an issue to be
      discussed at morning huddles.

     Training in Safety Planning: In response to reviews by regional staff, headquarters staff,
      and Mr. Hayes, training entitled “Safety/Treatment Planning for Suicide Risk
      Assessment” was created in 2014 by Dr. Robert Canning. The class was updated in 2015
      with a slightly revised title, “Safety/Treatment Planning within Suicide Risk Assessment
      and Management.” The class included new content focusing on the on-going role of
      safety planning in managing suicide risk within the inmate population. Continuing
      medical education (CME) units are available to clinicians who take this course;
      attendance is mandatory for all clinical staff. The revised class was provided on four
      occasions between August and October, 2015Safety planning training was offered on
      multiple occasions in 2016, with training then planned every six months in order to

                                                                                       52 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038           Filed 01/28/21         Page 261 of 405
                                                                            Annual Suicide Report     2015


         accommodate newly-hired clinical staff. The role of safety/treatment planning was also
         incorporated into other updated trainings in 2016 (e.g., in suicide prevention
         videoconferences, the 7-hour SRE course, and in SRE Mentoring classes).

        Training in Complex Diagnostic Cases: This training, entitled, “Differential Diagnosis in
         Complex Mental Health Cases” was developed to assist treatment teams in considering
         cases involving self-harm. Clinicians and clinical teams can err in underestimating or
         overestimating risk for suicide,29 particularly when cases present with complex diagnostic
         presentations and when patients engage in negative 30 or positive impression
         management. 31 The under- or over-reporting of symptoms of distress and the within-
         patient variances in reporting suicidal ideation or desire for death can cause considerable
         clinical confusion. For example, a patient who reports self-harm behavior due to “needing
         to get off the yard” can be seen as manipulative and may represent little else in the case.
         However, for a more vulnerable patient the pressure exerted by other inmates can be a
         source of considerable distress and may indeed give rise to a desire to die. An approved
         version of this training was presented to mental health clinicians on multiple occasions in
         2016.

        Training in Culturally-Competent Suicide Risk Assessment: In response to a 2015 QIP
         (Case B), training was designed to offer primary care physicians and mental health
         clinician’s specific approaches and tools to assess suicide risk in patients of various
         cultures and belief systems. Training included introductions to the DSM-5’s Cultural
         Formulation Interview,32 the Cultural Assessment of Risk for Suicide (CARS),33 and the
         Cultural and Protective Suicide Scale for Incarcerated Persons (CAPSSIP).34 Interactive
         vignette-based practice of suicide risk inquiry in diverse cases was integrated within the
         training. The course was offered, with CME credits, on four occasions in 2015. Several
         hundred physicians and mental health clinicians attended the course.




29
   Horon, McManus, Schmollinger, Barr, & Jimenez (2013). A study of the use and interpretation of standardized
suicide risk assessment measures within a psychiatrically hospitalized correctional population. Suicide and Life-
Threatening Behavior, 43, 17-38.
30
   Sullivan & King (2010). Detecting faked psychopathology: A comparison of two tests to detect malingered
psychopathology using a simulation design. Psychiatry Research, 176, 75-81.
31
   Bagby & Marshall (2003). Positive impression management and its influence… A comparison of analog and
differential preference group designs. Psychological Assessment, 15. 333-339.
32
   Lewis-Fernandez, Aggarwal, Hinton, L, Hinton, D, & Kilmayer (2015). Handbook on the Cultural Formulation
Interview. American Psychiatric Association Publishing, Washington, DC.
33
   Chu, Floyd, Diep, & Bongar (2013). A tool for the culturally competent assessment of suicide: The Cultural
Assessment for Suicide (CARS) Measures. Psychological Assessment, 25, 424-434.
34
   Horon, Williams, & McManus (Manuscript in review). The Culture and Protective Suicide Scale for Incarcerated
Persons (CAPSSIP): A measure for evaluating suicide risk and protection within correctional populations.
Submitted to Psychological Services.

                                                                                                     53 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21      Page 262 of 405
                                                                Annual Suicide Report    2015


     Training of Board of Prison Hearings (BPH) Commissioners: Two informational talks
      were developed for the BPH. First, the perception that participation in the MHSDS would
      cause a BPH denial (and the reaction of clinicians to this perception) was listed as a QIP
      in Case F. Case F requested to be taken out of the MHSDS prior to an upcoming BPH
      appearance, a request that was granted by his IDTT. In addition, two cases in 2015 (also
      Cases F and P) may have considered receiving a RVR as removing the possibility of
      parole. For these reasons, members of the SMHP met with administrators within the BPH
      on two occasions in 2015 to discuss the best way of going about offering information to
      commissioners. After these meetings, two trainings were developed. The first occurred in
      October, 2015, with commissioners briefed on the topic of how mental health clinicians
      evaluate RVRs and the role depression, psychosis, and other mental health conditions in
      influencing behavior temporarily or when untreated. The second training was scheduled
      with the intention of exploring perceptions about mental illness and future risk of
      violence. An area of focus for the second training was on encouraging treatment
      participation and treatment compliance as a way of decreasing violence risk. This second
      training occurred in January, 2016.

     BPH Commissioner and BPH Evaluator Access to the Urgent Response Mailbox: As a
      result of discussions between BPH administrators and SMHP representatives, a letter was
      sent to all BPH commissioners and all evaluators working for the BPH to notify them of
      the availability of the Urgent Response mailbox. The mailbox allows BPH
      commissioners or evaluators to alert headquarters mental health staff regarding any
      concerns for suicide in inmates or patients who are scheduled to go before the BPH or
      who appear distressed at or after a BPH hearing. For example, a patient who makes
      concerning statements during a pre-BPH evaluation can be referred to headquarters
      mental health personnel, who then notify the mental health program at the patient’s
      institution. Similarly, an inmate who appears highly distressed by a parole denial during a
      BPH hearing can be referred by any of the commissioners present, ensuring a mental
      health contact occurs on that same day. This project has been implemented. The Urgent
      Response Mailbox was being used by BPH commissioners and evaluators by the close of
      2015.

     Suicide Prevention Pamphlets: Inmate and Family Member: Suicide prevention
      pamphlets were designed for inmates and for family members during 2015. The
      pamphlets were specifically intended for suicide prevention purposes. Inmate pamphlets
      provided information on how to ask for help, noted common myths about suicide, and
      described feelings that may go along with suicidal thoughts. The varieties of ways
      inmates can be referred or self-referred for mental health contact are listed. The family
      and friends pamphlet provides a list of warning signs for suicide, clarifies common myths
      about suicidal people, and provides a mental health contact number. The pamphlets were

                                                                                        54 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 263 of 405
                                                                             Annual Suicide Report      2015


         distributed in July, 2015, accompanied by a memorandum dated July 30, 2015. The
         memorandum specified that inmate pamphlets were to be made available in all housing
         units, with family/friend pamphlets available in visiting areas. The process for ordering
         additional pamphlets was also detailed. Both pamphlets were distributed during the year
         in English. Pamphlets in Spanish for both inmates and friends/family members had been
         prepared and were moving towards printing by the end of 2015. All pamphlets are
         currently available and can be reordered and redistribution at any time. The memorandum
         sent to institutions and the pamphlets created and distributed are found in Appendix IX.

        ASU Activity Workbooks: ASU Workbooks were created in order to provide in-cell
         activities for inmates and patients in segregated housing units. The workbooks contain a
         variety of activities that inmates might use to distract themselves from the stress of the
         ASU placement, as ASU, particularly early in the placement, is known to be a high risk
         time/location for suicide. In addition, the workbooks contain suicide prevention messages
         and referral information scattered throughout the other content. The workbooks also serve
         as an item that custody officers and psychiatric technicians can use to encourage
         interaction with inmates and patients. Version 1 of the workbooks was re-ordered during
         the calendar year 2015, an indication of the regular use of these workbooks. The
         workbooks are available in English and Spanish. Additionally, a second version of the
         workbook was in development. The use of tablet-based activity booklets, using the tablets
         currently available in the inmate canteen, was also discussed. Implementation of Version
         1 of the workbook had been very successful. Version 2 of the ASU Activity Workbook
         was approved by the end of 2015 and workbooks were distributed throughout 2016.

         Columbia Suicide Severity Rating Scale (C-SSRS) Training and Inclusion in the EHRS:
         The C-SSRS is a well-established, empirically established, standardized suicide risk
         measure35 that has been incorporated as part of all suicide risk evaluations in the CDCR’s
         Electronic Health Record System (EHRS) beginning in 2015. The primary author of the
         measure, Kelly Posner, Ph.D. (from Columbia University, New York), was invited to
         present on the measure in 2015. She accepted and presented the C-SSRS to a group of 50
         CDCR clinician-trainers from over 30 institutions in October, 2015. The training was
         video-recorded and was just under two hours long. A group of handouts and a brief
         PowerPoint slideshow was constructed to aide clinicians in becoming familiar with
         administering the C-SSRS. The C-SSRS assists mental health clinicians by providing a
         structured way to inquire about suicidal history, to evaluate the intensity of suicidal
         ideation, and to assess the potential and actual lethality of suicide attempts. The recorded
         video presentation by Dr. Posner, handouts and other materials were distributed in

35
  Posner, Brown, Stanley, (2011). The Columbia-Suicide Severity Rating Scale: Initial validity and internal
consistency findings from three multisite studies with adolescents and adults. American Journal of Psychiatry, 168,
1266-1277.

                                                                                                      55 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038             Filed 01/28/21         Page 264 of 405
                                                                               Annual Suicide Report     2015


         February, 2016. Clinician trainers received two hours of approved CME credit on the C-
         SSRS based on the recorded (DVD) presentation. All institutions that received the EHRS
         in 2016 held C-SSRS training prior to their respective EHRS start dates.

        Collaborative Assessment and Management of Suicidality (CAMS) training: The CDCR
         began discussions with David Jobes, Ph.D., a clinical researcher at the Catholic
         University of America (Washington, D.C.) during 2015. Discussions centered on training
         a group of clinicians within the CDCR on CAMS. Dr. Jobes agreed to present on the
         principles of CAMS, a treatment intervention specific to working with suicidal patients,
         during a statewide suicide prevention videoconference in October, 2015. CAMS
         represents a promising intervention for mental health clinicians within the CDCR, as the
         therapy has wide community use, good empirical backing, 36 good support with other
         established treatments,37 and flexibility to be used in a variety of settings. CAMS may be
         effective in targeting patients with high chronic risk for suicide, patients on high risk lists
         or in high risk programs, and patients with recent contemplation of or engagement in self-
         harm with intent. By the end of 2015, a purchase order to train an initial group of 50
         clinicians in CAMS was in process. A list of clinicians was identified at all institutions
         with mental health missions to be the first group to receive and use CAMS. CAMS note
         templates were under preparation for inclusion in the EHRS. Training began in January,
         2016 and continued until July, 2016. CAMS trainings occurred by using on-line training
         modules and a series of follow-up consultation calls with CAMS experts. A second round
         of clinician training is being arranged for 2017.

        Self-Harm Tracking and Predictive Algorithm: Self-harm incidents at every institution
         continue to be entered in MHTS. The data is used to identify institutions with high
         numbers of events and to track trends within and between institutions. In addition, using a
         technique called machine learning, the data will be used in developing a predictive
         algorithm. Machine learning algorithms can identify variables and variable combinations
         that may not at the surface appear related to increased short-term risk of self-harm, but
         can statistically establish these risks. The model allows for refinement as additional data
         points are entered. Work on a machine learning algorithm was begun in 2015, led by
         David Leidner, Ph.D., a specialist in informatics and data science. Dr. Leidner piloted an
         initial algorithm for predicting self-harm. Initial inquiries were made with several
         academic institutions regarding partnerships in developing the algorithm. More recently,
         a federal grant application was submitted in consultation with Drs. Ronald Kessler and

36
   Jobes, Wong, Conrad, Drozd, & Neal-Walden (2005). The Collaborative Assessment and Management of
Suicidality versus treatment as usual: A retrospective study with suicidal outpatients. Suicide and Life-Threatening
Behavior, 25, 483-497.
37
   Andreasson, et al. (2016). Effectiveness of Dialectical Behavior Therapy versus Collaborative Assessment and
Management of Suicidality for reduction of self-harm in adults with borderline personality disorder and traits.
Depression and Anxiety, 33, 520-530.

                                                                                                        56 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038          Filed 01/28/21      Page 265 of 405
                                                                         Annual Suicide Report    2015


           Matthew Nock at the Harvard Medical School. The grant project hopes to refine the
           machine learning algorithm, increasing its predictive power and potentially alerting
           clinicians to patients with high degrees of likelihood of self-harm in the near future.

          On-Going Training through Monthly Suicide Prevention Videoconferences: Monthly
           suicide prevention videoconferences continue to occur. Institutional SPR FIT teams and
           mental health clinicians participate in the videoconference by viewing presentations in
           conference rooms using VTC connections or, when unable to attend in this manner,
           through phone lines. In 2015, the suicide prevention videoconference was used to review
           suicides and trends in suicides within the department, to brief staff on new or revised
           policies and procedures, to notify staff of suicide prevention trainings and resources (e.g.,
           membership in the American Association of Suicidology), and to provide didactic
           trainings. Trainings covered during the year included:
               o Behavioral markers for suicide, even when suicide is denied
               o Introductions to evaluating suicide risk in the EHRS
               o Methods for improving safety plans
               o The use of suicide intention scales (with vignette practice)
               o Understanding chronic risk for suicide
               o Understanding the interplay between chronic and acute risk for suicide and
                   imminent/warning signs for suicide
               o Staff self-care and monitoring of reactions to suicidal patients
               o Introduction to CAMS.

       The suicide prevention videoconference is a continuing suicide prevention effort.
       Presentations continued in 2016.

          Revisions to the SRE and inclusion of additional suicide risk assessments in the EHRS:
           As noted above, the inclusion of the C-SSRS as part of every SRE conducted within the
           CDCR is planned as part of EHRS implementation. The C-SSRS adds a structured set of
           questions inquiring about the intensity of suicidal ideation and about the range of suicide
           attempts and suicidal behaviors in which the patient has engaged over his or her lifetime.
           In addition, the SRE in the EHRS adds detailed information about past suicide attempts
           when applicable, noting the timing of the attempt, the means used, the potential and
           actual lethality/medical consequence, and so forth. These additions should help clinicians
           construct more accurate judgments of acute and chronic risk, while ensuring greater
           accuracy in considering historic vulnerability to suicide. In addition, the EHRS contains
           seven suicide risk assessment tools that may be used as needed by clinicians. These
           additional tools can help with understanding cultural protective and risk factors in
           cases, 38 evaluate readiness 39 and/or capability for suicide, 40 evaluate motivations for
38
     CAPSSIP; ibid
39
     Chronic Readiness Questionnaire; Horon, McManus, & Sanchez-Barker (2013)

                                                                                                 57 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038            Filed 01/28/21        Page 266 of 405
                                                                          Annual Suicide Report     2015


        suicide attempts,41 and so forth. Each of these tools was provided by researchers to the
        CDCR. All of the measures mentioned above had been included in the ‘build’ of the
        EHRS, with the C-SSRS prominently featured within the EHRS SRE. Training in the
        additional suicide risk assessment tools available in the EHRS occurred via webinar in
        2016, with additional trainings offered in monthly videoconferences. Live and webinar
        trainings are planned for 2017.

Progress on each of these initiatives during 2016 will be reviewed in the 2016 Annual Report,
along with all new initiatives undertaken in the 2016 calendar year.

Chapter V. Conclusions

Introduction: The numerous efforts undertaken by the CDCR to reduce suicides, aided by the
consultation of the OSM, have been productive. Many suicides that may have occurred during
2015 were prevented, on-going efforts are helping to reduce rates, and new initiatives hold
promise in further reducing suicides within the CDCR. The rate of suicide in the CDCR in 2014
and 2015 dipped below the average rate of suicides in U.S. prisons in 2014 (the last reporting
year available) and the percentage of suicides occurring in segregated housing units declined in
both years. Efforts during the reporting year ranged from QIPs at the institutional level to
continuing work to train clinicians in suicide risk evaluation and risk management to changes in
policy and procedure to innovative projects. Yet, work remains to be done and efforts are on-
going.

Summary of Findings: In 2015, 24 suicides occurred within the CDCR, 22 males and two
females, at a rate of 18.6 per 100,000 inmates. Caucasian inmates and inmates in the age groups
30-34, 45-54, and over 60 died by suicide at a higher frequency then would be expected given
their respective percentages within the CDCR population. Suicides occurred more commonly in
unmarried inmates with limited educational and vocational experiences. Health factors were
implicated in nearly half of the deaths by suicide in 2015. The frequency of suicide in segregated
housing has declined, but remains an area of continued focus. Inmates sentenced to life also had
a higher risk of suicide than inmates with determinant sentences. The first year of incarceration
was also correlated with higher risk. Only one (4%) suicide occurred in a cell with a cellmate
present (the cellmate was sleeping at the time), suggesting a protective impact of dual person or
dorm housing. Suicides were more likely in individuals with past attempts (67%), a finding that
is both expected and suggestive of potential interventions for (living) suicide
attempters/survivors. A broad range of precipitants for suicide were found in 2015, with in-
prison stresses repeatedly seen as underlying suicidal motives.



40
   Acquired Capability for Suicide Scales—Fearlessness About Death; Ribeiro, Witte, Van Orden, Selby, Gordon,
Bender, & Joiner (2014)
41
   Reasons for Attempting Suicide Questionnaire; Holden & Delisle (2006)

                                                                                                  58 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 267 of 405
                                                                   Annual Suicide Report    2015


In comparison to the past 10 years, the suicide rate in the CDCR in 2015 of 18.6 per 100,000 is
the third lowest rate, with 2014 (17.0 per 100,000) and 2009 (14.9 per 100,000) the years with
the lowest rates. Two suicides of female inmates occurred in 2014 and 2015, higher than the
number of suicides in such settings in all but two of the prior 20 years. The frequency of suicide
over a 15-year period is highest in prisons with large mental health programs (1-2 suicides per
year) and lowest in settings with either minimal mental health programs or predominantly
inpatient missions (0.0 to 0.4 suicides per year on average). In 2015 and in the past 10 years in
general, suicides occur most frequently in March, May, and October.

The frequency and rate of suicide within the CDR has declined over the past 10 years. This
decline is seen in fewer suicides by Caucasians and Hispanic/Latinos, the two groups with the
highest frequency of suicide in the CDCR, and in fewer suicides in individuals ages 25-54.
Suicides of inmates age 55 and over are the only group to have trended higher in 2015 compared
to the previous five years. Suicides in segregated housing units have also declined in frequency
compared to prior years, though the setting continues to have an elevated risk of suicide
compared to other housing types. Inmates who qualify and have been placed in the MHSDS
likewise continue to have an increased risk for suicide, with MHSDS rates of 52.6 per 100,000 in
the past 10 years versus a rate of 10.3 per 100,000 in non-MHSDS inmates over the same period.

As referenced above, the rate of suicide in U.S. Prisons rose to 20.0 per 100,000 inmates in 2014,
the last year such statistics are available. This rate is higher than the rate of suicide in the CDCR
in 2014 and in 2015. It is notable that the rate of suicides in the CDCR has declined in the past
10-years at a time when both the community rate and U.S. Prison rate has increased. Men
incarcerated in the CDCR had a lower rate of suicide then men in the community in 2014 and
2015.

When a non-lethal self-harm incident occurs within the CDCR, institutions are required to report
the event using a database of such incidents. When a suicide occurs, a broad and intensive series
of reviews is set in motion. These internal and external reviews evaluate the performance of staff
members within and across disciplines, evaluate the emergency response, discuss the event in
terms of procedural and policy considerations, and determine what corrective action plans must
be put in place to ensure qualitative improvements to suicide prevention programs. In 2015, a
total of 115 quality improvement plans were initiated and completed, addressing case-specific,
institution-specific, and departmental level actions need to enhance suicide prevention efforts.
Personnel at the headquarters level review all deaths within the CDCR and carefully evaluate all
deaths initially listed as “unknown” or as caused by overdose in conjunction with the Death
Review Committee. Suicide case reports are carefully edited and reviewed for quality, with
quality audits completed by Quality Management staff. With very few exceptions, Suicide Case
Reviews meet all or nearly all audit criteria. Experts working with the OSM participate in SCRs.

Suicides occurring in the CDCR in 2015 were understandably rather idiosyncratic and often
multi-determined. Each of the 24 suicides in the year was reviewed to illustrate the complexities

                                                                                           59 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038           Filed 01/28/21        Page 268 of 405
                                                                        Annual Suicide Report    2015


of the case and how suicidal outcomes can manifest within very different individuals. Case
findings are also tabulated to look at key issues in improving suicide prevention. Among these
findings are continued difficulties with suicide risk evaluations, suicide risk management, and
treatment planning by mental health clinicians, manifested in a variety of ways over the 10 to 11
cases where these issues were identified. The need for higher levels of care considerations was
also indicated in a number of cases. Issues with custody rounds, such as allowance of in-cell
draping, concerns with emergency response, such as failing to bring full cut-down kits to an
emergency, and problems with nursing/psychiatric technician checks were noted in a number of
cases as well. Only one inmate was found in a state of rigor mortis in 2015, an improvement over
past years.

Numerous suicide prevention initiatives continued, created, or initiated in 2015 were also
reviewed. These initiatives strive to ensure a comprehensive suicide prevention strategy remains
in place and continues to grow and develop as the population of the CDCR changes. Initiatives
arose from many sources: QIPs, suggestions by Mr. Lindsay Hayes, audits of clinician
performance, results of mentoring of clinicians trained in suicide risk evaluation and treatment
planning, discussions and coordination with others (e.g., BPH commissioners), inspiration from
public suicide prevention campaigns, discussions with and consultation with renowned
suicidologists, and even advances in informatics and other technologies. The development of the
EHRS also set in motion a number of opportunities for innovation in the service of improving
patient safety.

Report implications and future steps: A group of 10 report implications are enumerated below.
The order of these implications is based on the order in which each finding was presented in the
annual report. Future steps regarding each implication are to be discussed during DHCS SPR FIT
meetings in 2017.

     1. Suicides in older adults: As was noted in Table 2, inmates over the age of 60 make up 6%
        of the population within the CDCR. However, 21% of suicides within the CDCR in 2015
        were within this age group, making this the age group most overrepresented in number of
        suicides. High rates of suicide are found in the community in elderly males, particularly
        Caucasian males, during their mid- and late 70s and 80s. For mental health clinicians, the
        use of measures of connectedness with elderly patients should be discussed. The
        Interpersonal Needs Questionnaire (INQ)42 is included as an optional assessment in the
        EHRS and is a fine choice in such cases.

     2. Suicides in inmates with co-morbid medical conditions: Nearly half (46%) of the inmates
        who died by suicide in 2015 were considered to have serious and/or chronic medical
        problems. This group of inmates had medical problems ranging from chronic low back

42
  Cukrowicz, Cheavens, Van Orden, Ragain, & Cook (2013). Perceived burdensomeness and suicide ideation in
older adults. Psychology and Aging, 26, 331-338.

                                                                                                60 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21      Page 269 of 405
                                                                             Annual Suicide Report    2015


           pain or headaches to cases of liver disease, cancer, hemiparesis, diabetic neuropathy,
           cardiac problems, and worsening blindness. Community surveys of suicide in patients
           with significant medical problems have had varying results, with roughly 10% of
           suicides seen as attributable to medical disorder or to terminal illness.43 In comparison,
           the one year (2015) total of 11 suicides of 24 in the CDCR is rather elevated and thus a
           potentially promising area to increase suicide prevention efforts. Several institutions
           have implemented pain management committees and pain management groups for
           inmates, and the success of these endeavors is being looked at closely.

       3. Suicides in segregated housing units: Despite a significant decline in the frequency
          of suicide in segregated housing units, the rate of suicide in these units remains
          high compared to other housing settings within the CDCR. The three deaths
          occurring in dedicated intake cells is also concerning. Each of these three suicides
          occurred using different methods (hanging from a sprinkler head, hanging from
          ventilation grate holes, and overdose on KOP medications). A great deal of effort
          has already gone into improving safety and suicide prevention procedures in these
          settings, and it may be too early to fully ascertain the success of those efforts.
          However, further discussion of the implications of this finding may lead to new
          innovations.

       4. Suicides in Inmates with Life Sentences: As 54% of suicides in 2015 occurred in
          patients with life sentences, compared with a roughly 20% proportion of the
          population overall, ‘Lifers’ represent a target for intervention. From a prevention
          standpoint, a number of efforts have been taken to try to combat this finding,
          including conducting training for BPH commissioners and evaluators, broadening
          the Urgent Response referral system to commissioners and evaluators, and training
          clinicians to ‘bracket’ BPH hearings with mental health contacts. Clinicians were
          advised during suicide prevention videoconference training to evaluate the degree
          of a patient’s distress present before and after the hearing, to discuss the patient’s
          thoughts on the outcome of the hearing, and to respond proactively to what may be
          experienced as bad or distressing news. Further education regarding the risk of
          suicide in inmates with sentences of Life without the Possibility of Parole is
          planned. Further interventions may also include holding “open lines” on general
          population lines, where inmates who do not require placement in MHSDS may
          seek time-limited services.




43
     https://www.theguardian.com/society/2011/aug/23/suicide-chronic-illness-study



                                                                                                     61 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21        Page 270 of 405
                                                                          Annual Suicide Report    2015


     5. Suicides in Inmates during the First Year of Incarceration: In 2015, five of the 24 suicides
        occurred within the first year of incarceration, representing 21% of suicides. Three of the
        suicides occurred in inmates who were in reception centers (Cases I, S, & U). In
        reviewing the five cases, there is not a great deal of consistent or readily attributable
        commonalities between the deaths. However, based on 2015 data, additional attention to
        the variable ‘early in sentence’ is important to consider. The DHCS SPR FIT may wish to
        discuss ways to encourage clinicians in reception centers and those working with new
        arrivals to institutions (who are in their first year of incarceration) to exercise a more
        conservative approach to risk management with these individuals, to possibly include
        enhanced outreach.

     6. Prevalence of Suicide in Single Cells and Double Cells without Assigned Cellmates: The
        CDCR has recognized the potential protective gain of cellmates for many years, noting
        the majority of suicides occur in cells with single occupancy. The same is true for 2015,
        with 96% of suicides occurring without a cellmate present at the time of the death. While
        it is true that inmates can wait for their cellmates to leave the cell for work or
        programming (this was true in two cases in 2015), there is still a preponderance of
        suicides in inmates with no assigned cellmate (20 of the 24 in 2015). Cellmates have
        interrupted suicide attempts, called for help during attempts, talked others into aborting
        attempts, and provided social support in many cases. The DHCS SPR FIT may discuss
        ways to encourage double cell or dorm placements in institutions, understanding that this
        is an optimal arrangement for most inmates.

     7. Suicide Attempt History: Ten of the inmates who died by suicide in 2015 had made
        multiple past suicide attempts, with another six having made one prior attempt. Thus,
        two-thirds of those who died by suicide had made at least one prior attempt. The lifetime
        risk of death by suicide increases with single attempts and much more so after a second
        attempt; this is true in psychiatric and non-psychiatric samples. In psychiatric samples,
        the finding is particularly true in individuals with schizophrenia and bipolar disorder44
        and in patients shortly after release from hospitalization. 45 The CDCR has already
        instituted post-hospitalization follow-up contacts by policy, with procedures such as five-
        day follow-ups, MHCB discharge custody checks, and so forth. For other patients with
        high chronic risk, the use of high risk lists and high risk management programs has been
        implemented. The DHCS SPR FIT will be further developing a standardized policy and
        procedure regarding high risk lists. The DHCS SPR FIT may consider and discuss
        additional interventions for suicide survivors, such as developing a pilot program to pilot


44
   Tidemalm, Langstrom, Lichtenstein, & Runeson (2008). Risk of suicide after suicide attempt according to
coexisting psychiatric disorder: Swedish cohort study with long-term follow-up. British Medical Journal, 337.
45
   Haukka, Suominen, Partonen, & Lonnquist (2008). Determinants and outcomes of serious attempted suicide: A
nationwide study of Finland, 1996-2003. American Journal of Epidemiology, 167, 1155-1163.

                                                                                                  62 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21        Page 271 of 405
                                                                            Annual Suicide Report    2015


        the use of CAMS treatment with identified high risk patients; patients who have recent
        suicide attempts or a history of multiple prior attempts. As noted, CAMS is a targeted
        intervention that is specific to suicide risk. The treatment includes patient ratings of what
        most fuels suicidal desire for them and what has historically contributed to a wish to die
        by suicide, while challenging this wish for death with considerations of making life worth
        living.

     8. Focus on Common Triggers or Motives for Suicide: Logically, in-prison stresses such as
        safety or enemy concerns, victimization fears, gang pressures, or new charges can be seen
        as sufficient to trigger or motivate suicidal contemplation. These motives were well
        represented in suicide case reviews conducted in 2015. However, mental health clinicians
        can sometimes underestimate the impact of in-prison stresses, noting either the inmate’s
        role in the difficulty or the responsibility of custody staff in managing these issues. In
        other occasions, clinicians rely on reported mental health symptoms without assessing
        current distress. Additional highlighting of ways to integrate the role of in-prison stresses
        in inmate suicide within on-going suicide risk evaluation and suicide prevention trainings
        may be helpful.

     9. Prevalence of Suicide in Mental Health Patients: The difference in rates of suicide over a
        10-year period between identified mental health patients (52.6 per 100,000) and non-
        mental health inmates (10.3 per 100,000) is striking. While this suggests the CDCR has
        been doing a good job of screening and identifying inmates in need of mental health
        services, it also suggests that more can be done to prevent suicide in identified MHSDS
        participants. Of course, suicide is associated with a number of mental health disorders,
        and individuals who self-harm are placed in the MHSDS, suggesting that the rate in
        mental health populations will always be larger. 46 However, MHSDS staff members
        receive increasingly extensive and intensive suicide risk evaluation and suicide risk
        management training in the service of their patients. Increasing the focus on and training
        for suicide-specific interventions and suicide-specific treatment planning may be the most
        advantageous next step and may be carried forward by the headquarters SPR FIT. The
        provision of specialized training in CAMS,47 DBT,48 and/or CBT for Suicidality49 is a
        worthwhile consideration for discussion.




46
   http://depts.washington.edu/mhreport/facts_suicide.php
47
   Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.
48
   Linehan, M. (1993). Cognitive-Behavioral Treatment of Borderline Personality Disorder. Guilford Press, New
York.
49
   Byran, C., Ed. (2015). Cognitive-Behavioral Therapy for Preventing Suicide Attempts. Routledge Press, New
York.


                                                                                                    63 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 272 of 405
                                                                  Annual Suicide Report    2015


   10. Capitalizing on Innovations: The introduction of the Mental Health Tracking System
       (MHTS) in 2014 and the creation of an electronic health record system in 2015 created
       significant opportunities. First, in creating MHTS, critical information is entered daily
       into a data warehouse; this information can be used not only to track incidents of self-
       harm but also to correlate with other system information. The EHRS is also able to load
       information into the data warehouse. In this way, information is available to generate
       predictive algorithms for self-harm incidents in the CDCR, another way of identifying
       high-risk inmates that can alert clinicians to inmates in need of intervention. Additionally,
       the EHRS provides a way to integrate empirically-supported measures for evaluating
       suicide risk into clinical practice, lends tools for tracking the impact of safety and
       treatment planning efforts, and offers ways to evaluate the effectiveness of specific
       treatment interventions. These innovations should be embraced as advancements in
       suicide prevention.




Appendix I: Sample High Risk Management Program Policy




                                                                                          64 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 273 of 405
                                                  Annual Suicide Report    2015




                                                                          65 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 274 of 405
                                                  Annual Suicide Report    2015




                                                                          66 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 275 of 405
                                                  Annual Suicide Report    2015




                                                                          67 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 276 of 405
                                                  Annual Suicide Report    2015




                                                                          68 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 277 of 405
                                                  Annual Suicide Report    2015




                                                                          69 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 278 of 405
                                                  Annual Suicide Report    2015




                                                                          70 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 279 of 405
                                                  Annual Suicide Report    2015




                                                                          71 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 280 of 405
                                                  Annual Suicide Report    2015




                                                                          72 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 281 of 405
                                                                 Annual Suicide Report    2015


Appendix II: Self-harm and Incident Reporting

Institutional reporting of self-harm incidents: All incidents of self-harm in the CDCR are
reviewed by institutional staff members, including mental health clinicians. When an incident of
self-harm occurs, regardless of the severity of injury sustained, mental health clinicians discuss
the event with the patient and determine whether the intent was to die (thus a suicide attempt) or
if the self-harm served some other purpose, such as to relieve tension states, without any
intention to die. The self-harm database also includes data on self-harm incidents that result in
death.

All incidents of self-harm are entered on a self-harm database. The self-harm database serves as
a way for mental health clinicians to track incidents within a facility, to allow Regional and
SMHP staff members a view of the frequency of self-harm across facilities, to identify patients
for High Risk Management Lists or Program(s) within a facility, and to further examine risk
factors. A sample High Risk Management Program policy is found in Appendix I.

When a suicide attempt involving serious bodily injury occurs in the CDCR, the incident is
documented using CDCR Form 837, Serious Incident Report, and institution mental health staff
members are notified of the incident. Each incident is also relayed through one of two reporting
processes; the Daily Briefing Report (DBR) or the Administrative Officer of the Day (AOD)
report. The information in either report is sent to the administration of the Division of Adult
Institutions (DAI) and forwarded to the CDCR’s SMHP. In some cases, a suicide attempt
involving serious bodily injury results in death at a later time; the DBR or AOD report are
updated in this case to reflect that a death by suicide has occurred. In such cases, the DBR or
AOD report is updated to inform the DAI and the DAI Mental Health Compliance Team of a
death by suicide.




                                                                                         73 | P a g e
Case 2:90-cv-00520-KJM-SCR               Document 7038          Filed 01/28/21     Page 282 of 405
                                                                     Annual Suicide Report    2015




Institutional reporting of suicide: In the event of the discovery of a suicide attempt in progress,
emergency medical interventions are made until such time as the individual is pronounced
deceased by a qualified physician. Correctional officers who come upon a suicide attempt in
progress are to sound an alarm and initiate life saving measures until relieved by health care
personnel. Officers are trained in CPR and in procedures to respond to emergencies, including in
bringing cut-down kits to the scene of a suicide in progress.50 Custody officers will assist health
care staff members, including institutional responders and paramedics, in transporting the patient
to the TTA and/or ambulance. In cases in which emergency interventions are not successful, the
watch commander or senior custody officer is notified of the suicide and in turn notifies the
Warden or the AOD of the death.51 A CDCR Form 837, Serious Incident Report, is completed on
all suicides.

The Chief Medical Executive or physician designee makes a report of the death by suicide within
eight hours of the event. Medical information is provided in the CDCR Form 7229A Initial
Inmate Death Report. This form, once completed, is distributed internally, to the county
coroner’s office, and to the Death Review Coordinator at headquarters. A separate form is
completed by institutional mental health staff, form CDCR MH-7229B Inmate Suicide. This
form is typically completed by the institutional SPR FIT Coordinator and contains information
on prior suicide attempts, the results of recent suicide risk evaluations, etc.52 The form is retained
at the facility and sent to the SMHP. Once received, SMHP support staff ensures the suicide is
entered into a log, reports the event to nursing leadership, and alerts the SMHP Suicide Response
Coordinator to the event.




50
   MHSDS Program Guides, 2009 Revision, pages 12-10-21 to 12-10-23
51
   MHSDS Program Guides, 2009 Revision, pages 12-10-24
52
   Id.

                                                                                             74 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 283 of 405
                                                                  Annual Suicide Report    2015




Appendix III: Determination of Unknown Causes of Death

Determination of unknown causes of death: On occasion, a death will occur within a CDCR
institution in which the cause of death is not immediately determined. These cases are classified
as “Unknown Deaths.” These cases receive special attention until the cause of death is
determined. In order to track these deaths, a group of employees at the SMHP are assigned to
review all notifications of deaths within the CDCR. As noted, each institution within the CDCR
is required to make a report of death and to provide documentation on the provisional cause of a
death in a CDCR 7229A. A completed CDCR 7229A contains a preliminary summary of the
circumstances of the death and lists any underlying/significant medical conditions. These
documents are uploaded to a SharePoint site that can be accessed by members of the Death
Review Committee and the SMHP. Additionally, the Death Review Coordinator for the CCHCS
produces a daily report on all CDCR deaths.

In 2015, a total of 330 inmates perished in the CDCR, with 159 of the decedents (48%) involved
in the MHSDS at the time of death. Whenever a Coleman class member dies, the OSM is
notified of the circumstances and cause of the death by the SMHP. In all cases in which the
cause of death is provisionally listed as a suicide, an additional mental health review is
completed by the institution and documented using a CDCR 7229B. In all such cases and
whenever any inmate dies from suicide, the OSM is notified of the circumstances and the
specifics of the suicide. At times, notifications to the OSM may be updated with the receipt of
additional information, such as results from autopsies, toxicology screens, and so forth.

In the event that a death notification lists the cause of death as unknown or undetermined, the
SMHP will track the case until the death is classified. On some occasions, the cause of death is
classified quickly by institutional medical review. In other cases, the cause of death remains
undetermined pending the receipt of autopsy or toxicology results. In such cases, the Death
Review Committee will investigate the death and produce an initial cause of death as well as a
final cause of death determination. In the meantime, the SMHP communicates with the
institution and with the DRC on these cases until the cause of death is determined. A member of
the SMHP also sits on the DRC to ensure all unknown deaths are reviewed and, when applicable,
that the possibility of suicide has been closely and objectively considered.

The SMHP reviews unknown deaths in order to ensure that all deaths are accurately identified as
either due to suicide or not due to suicide. Cases are identified for this additional review when
the cause of death is overdose, to determine if the overdose is most likely accidental or
intentional (suicide). Other cases are identified when the cause of death is potentially related to

                                                                                          75 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 284 of 405
                                                                 Annual Suicide Report    2015


mental health treatment needs and/or when the death may have resulted as the long-term
consequence of a self-harm behavior.

The following guidelines are used to determine unknown deaths:



Reviewers Determination of Unknown Deaths Guidelines

   1. Review the method of death to determine if there may have been an alternative reason
      (other than suicide) for the behavior (e.g., autoerotic asphyxiation, confusion and
      inability to form intent, purposeful intoxication, etc.).


   2. If an overdose on substances is it reasonable the substance (illicit or prescribed) may have
      been used in an attempt to become intoxicated? (e.g., Tylenol is not likely to be used to
      become intoxicated; Klonopin may be).

   3. Review recent mental health history and any past history of suicide attempts/self-harm
      behavior (check self-harm log). Did the inmate:
          Voice suicidal ideation (including conditional suicidal ideation)?
          Have admits to MHCB?
          Engage in self-harm behavior?
          Have a history of depression or mood disturbance?
          Have a history of psychosis?

   4. Review substance abuse history.
          What substances were used?
          Have there been any past overdoses?
                o If yes, what did the inmate say about them at the time?
          What substance abuse treatment was offered?
          How recent are reports of current use?

   5. Review recent custodial information.
          Was the inmate facing criminal charges?
          Did the inmate lose an appeal?
          Did the inmate have any recent losses?
          Was there any bad news readily apparent?

   6. Review medical information for the presence of:
          Chronic pain
          Terminal illness

   7. Was there a suicide note or a note that could be construed as such?



                                                                                         76 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 285 of 405
                                                                  Annual Suicide Report    2015




Appendix IV: Review of Individual Suicide Case Reviews

Cases EE to NN were deaths initially classified as unknown deaths. Each of these cases was
eventually determined to involve death due to drug overdose.

Case EE was provisionally determined to have had an illicit drug overdose per the CDCR 7229A
completed at this death. Toxicology results indicated methamphetamine intoxication. Autopsy
reports also determined no other cause of death; the death was ruled as an accidental drug
overdose secondary to methamphetamine intoxication. Additionally, three baggies containing
methamphetamine were found on EE during autopsy, secreted in various bodily orifices. The
Combined Death Review Summary (CDRS) also determined methamphetamine overdose to be
the cause of death. The case had no known history of suicide attempts, had not received recent
bad news, and did not leave a suicide note. Case EE had an extensive substance abuse history as
well. All evidence in the case argued for an accidental overdose and not an intentional overdose
(a suicide).

Case FF was provisionally determined to have had an anoxic brain injury that occurred on
account of an illicit drug overdose (per the CDCR 7229A completed at his death). Toxicology
results indicated methamphetamine intoxication. Autopsy reports determined the cause of death
as an accidental drug overdose secondary to methamphetamine intoxication. Case FF was known
to have significant substance abuse problems and had been found by custody officers the day
before his death in possession of inmate-manufactured alcohol. The Combined Death Review
Summary (CDRS) also determined methamphetamine overdose to be the cause of death. The
case had no known history of suicide attempts, had not received recent bad news, and did not
leave a suicide note. He had a history of chronic back pain but pain medications were not
implicated in his death. The evidence in this case is strong for an accidental overdose rather than
for an intentional overdose (a suicide).

Case GG was listed as an unknown death per the CDCR 7229A. However, toxicology results
were positive for methamphetamine intoxication. Autopsy reports determined the cause of death
to be acute methamphetamine intoxication. Additionally, multiple bindles were found on Case
GG during autopsy. The Combined Death Review Summary (CDRS) determined
methamphetamine toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case GG had an

                                                                                          77 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 286 of 405
                                                                Annual Suicide Report    2015


extensive substance abuse history as well. He had a history of knee pain for which he was treated
with Tylenol; however, this medication was not implicated in his death. The evidence in the case
argues for an accidental overdose and not an intentional overdose (a suicide).

Case HH was listed as an unknown death/probable overdose on his CDCR 7229A. However,
toxicology results were positive for Fentanyl, a synthetic opioid. Autopsy reports determined the
cause of death to be acute Fentanyl intoxication. The Combined Death Review Summary
(CDRS) determined Fentanyl toxicity to be the cause of death. Additionally, the inmate’s cell
was searched, with a syringe and drug paraphernalia found in his property. No suicide note was
found. Case HH had an extensive substance abuse history as well and had received a RVR on
6/29/15 for Possession of a Controlled Substance for Distribution. He was placed in ASU for
several weeks but had returned to general population housing. On the other hand, Case HH did
have a history of suicide attempts, including an intentional overdose attempt in 1995. He had
also received recent bad news three months prior to his death. He was informed that his
grandmother had died and he responded by swallowing a razor blade at the time. Case HH had a
history of chronic back pain for which he was treated with Tylenol and Naproxen. These
medications were not implicated in his death. The evidence in the case is complex, though there
appears to be stronger evidence for an accidental overdose than for an intentional overdose.

Case II was listed as possible drug overdose on the CDCR 7229A completed at his death.
Toxicology results were positive for Fentanyl intoxication. Autopsy reports determined the cause
of death to be accidental drug overdose/Fentanyl intoxication. The Combined Death Review
Summary (CDRS) also determined Fentanyl toxicity to be the cause of death. The case had no
known history of suicide attempts, had not received recent bad news, and did not leave a suicide
note. He also had no known chronic pain issues. Case II had an extensive substance abuse history
and was found at autopsy with multiple needle marks on his arm, with illicit drugs and syringes
found in his cell as well. The evidence in the case argues strongly for an accidental overdose
rather than an intentional overdose.

Case JJ was listed as an unknown death and provisionally as a death due to respiratory failure
secondary to drug overdose (on CDCR 7229A). Case JJ was discovered in his cell with a syringe
in his hand. The syringe was found to contain heroin, acetyl codeine, and papaverine (an opioid).
Methamphetamine was not found in the tested syringe but was present per toxicology results.
Prescribed medications were also found in his system but reported to “not excessive.” The
autopsy report determined the cause of death to be accidental drug overdose by the combined
effects of acute heroin and methamphetamine intoxication and the prescribed medications.
Multiple drug injection marks were found on the body. The Combined Death Review Summary
(CDRS) also determined the cause of death to be overdose. The case had a history of suicide
attempts, using attempted hanging and exsanguination. He was treated at the EOP level of care
and had prior inpatient stays. The patient’s father had passed away one month before the death.


                                                                                        78 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 287 of 405
                                                                Annual Suicide Report    2015


Mental health notes reported that clinicians were working with the patient on bereavement issues
and that Case JJ was denying suicidal thoughts, plans, or intent. Case JJ also had known chronic
back pain and an extensive substance abuse history. The evidence in the case argues is somewhat
equivocal, suggesting that suicidal motive could have been present but denied by the patient.
However, the evidence is stronger for ongoing IV drug use, as noted by the track marks found in
many places on the body, and for an accidental overdose, as noted from the contents of the
syringe found at the time of discovery.

Case KK was listed as possible drug overdose per his CDCR 7229A. Toxicology results were
positive for heroin intoxication. Autopsy reports similarly determined the cause of death to be
heroin intoxication. Additionally, a number of hypodermic needles were found in Case KK’s
cell, suggesting a pattern of illicit drug use. The Combined Death Review Summary (CDRS)
determined heroin toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case KK had an
extensive substance abuse history. He had a history of back pain. The majority of evidence in the
case argues for an accidental overdose rather than an intentional overdose (a suicide).

Case LL was listed as an unknown death per the CDCR 7229A. Case LL was known to have
significant medical issues, including hepatic cirrhosis and Hepatitis C, prior to his death.
However, toxicology results were positive for morphine intoxication. Autopsy reports
determined that morphine intoxication was a tertiary cause of death with cirrhosis being the
primary cause of death. The Combined Death Review Summary (CDRS) agreed with this
determination; that is, that morphine ingestion was not the primary cause of death. Notably, Case
LL did have a history of chronic neck and low back pain and he was treated with opiates. He also
had a history of substance abuse problems. Case LL did not have a known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. The evidence in the
case is suggestive of a death from medical illness with secondary accidental overdose with
morphine. There is little or no evidence of an intentional overdose (a suicide).

Case MM was listed as an unknown death on the CDCR 7229A completed at the time.
Toxicology results were elucidating, with both morphine and methadone found. The patient did
have chronic back pain and was on multiple prescribed medications for pain. However, upon
Death Review Committee study, both medications were found to be elevated, suggesting acute
toxicity/intoxication. Additionally, Case MM’s cell was found to have syringes, despite the fact
that his opioid medications were crushed for administration. The medications were crushed on
account of the severity of the inmate’s substance abuse difficulties. The autopsy report on the
case determined the cause of death was “acute morphine and methadone intoxication (hours).”
The autopsy noted left-ventricular cardiac hypertrophy, pulmonary edema, and cirrhosis of the
liver as well. Case MM was known to have hypertension, diabetes mellitus, type 2, hepatitis C,
and end-stage liver disease. Case MM was in the MHSDS at the CCCMS level of care. He was


                                                                                        79 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 288 of 405
                                                                Annual Suicide Report    2015


treated for anxiety and was in treatment groups for pain management. Mental health notes do not
document concerns about suicidality and largely focus on pain symptoms. No suicide note was
found in the case and there was no known receipt of bad news. The majority of evidence in the
case argues for an accidental overdose rather than an intentional overdose (a suicide).

Case NN was provisionally listed as an unknown/possible drug overdose death on CDCR 7229A.
His cellmate was initially suspected in his death, but no signs of trauma were found on the body.
A cell search produced drug packaging materials. Case NN was known to have significant
substance abuse issues. Post-mortem toxicology findings were positive for opiates, with autopsy
results indicating acute opiate toxicity as the cause of death. The Combined Death Review
Summary (CDRS) concluded that opiate ingestion/toxicity was the cause of death. Case NN was
in the MHSDS at the CCCMS level of care. He reportedly was placed in CCCMS after being
charged with heroin possession in 2014; he reported some distress upon placement in ASU. He
improved while in ASU but was retained in CCCMS. Case NN had no known history of suicide
attempts. He did have back pain issues, for which he was treated with Ibuprofen. Case NN had
not received recent bad news and did not leave a suicide note. The evidence in the case weighs
strongly on the side of an accidental overdose of opiates. There is little or no evidence of an
intentional overdose (a suicide).




                                                                                        80 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21     Page 289 of 405
                                                                          Annual Suicide Report    2015




Appendix V: Suicide Response Procedures

Reporting of a suicide to stakeholders: When an inmate dies by suicide, members of the
SMHP complete two formal notification processes. First, a death notification is written and sent
to the OSM and contains details of the suicide. Second, a summary of the suicide is composed
and sent to the Deputy Director of the SMHP and the Undersecretary of the DHCS. The Public
Information Officer at the institution is assigned with any local notifications or reports regarding
the death, including notifying the next of kin of the suicide.

Institutional internal review process: The internal process for reviewing suicides at CDCR
institutions includes reviews by mental health, custody, and nursing/medical personnel employed
at that site. The reviews are conducted first within disciplines and then within joint institutional
reviews, such as during SPR FIT and emergency medical response committee meetings.

Each institution within the CDCR has a Suicide Prevention and Response Focused Improvement
Team, or SPR FIT, with a Senior Psychologist-Specialist assigned to coordinate local prevention
and response efforts. The institution’s SPR FIT is established and maintained by the Mental
Health Program subcommittee, with both committees part of local Quality Management

Committees.53 Each institutional SPR FIT is responsible for monitoring and tracking all self-
harm events, ensuring that appropriate treatment and follow-up interventions occur. When deaths
by suicide occur, the local SPR FIT Coordinator is required to notify the SMHP, to provide
assistance to mental health, custody, and nursing suicide reviewers, and to ensure the
implementation of Quality Improvement Plans (QIPs) resulting from the suicide review.54

External review processes: CDCR’s response to suicides includes several external reviews by
trained representatives from various disciplines, including nursing, medical, custody, and mental
health. Within three days of the suicide, reviewers are assigned from these disciplines at what is
commonly referred to as the headquarters level. The role of each discipline’s review is discussed
separately below, but these disciplines collaborate with each other during the suicide review
process, sharing initial findings, conducting reviews together, etc.

Trained custody and mental health reviewers conduct an on-site visit together within seven days
of a suicide. Reviewers look at the deceased’s property, listen to recorded phone calls, check
trust account records, and talk with the Investigative Services Unit (ISU) of the specific prison.
Reviewers evaluate the emergency response that took place during or after the suicide and
review the medical and mental health services rendered in the case, if applicable. Reviewers will

53
     MHSDS Program Guides, 2009 Revision, pages 12-10-2 to 12-10-4
54
     Id

                                                                                                  81 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 290 of 405
                                                                  Annual Suicide Report    2015


also talk with officers, clinicians, work or school supervisors, and cellmates who may have
known the patient. Reviewers may gather information from other sources as well, such as
through interviews of family members. After thorough chart review, reports are generated by
each discipline, with a combined report, the Suicide Report, distributed and discussed in the
Suicide Case Review.

Suicide Case Review (SCR) meetings review findings in the case within and across disciplines
while sharing information with institutional leadership. The Suicide Report contains quality
improvement plans (QIPs) that are presented at the SCR; these plans cross disciplines as well.
Nursing, medical, and mental health disciplines additionally have peer review bodies that are
able to review staff member performance whenever such a need is indicated. The external review
process is completed when all QIPs have been successfully implemented or resolved in the case.

DAI Mental Health Compliance Team (MHCT) reviews: The reviews completed by DAI’s
MHCT focuses on the performance of custody staff members related to the suicide. The MHCT
member reviews custody documentation and institutional records (i.e., SOMS). The MHCT
member’s role is to determine whether departmental suicide prevention practices and policies
were followed by custody and counseling staff involved in the case. The MHCT reviewer, for
example, evaluates whether custody officers followed procedure within an emergency response,
how quickly the response was called once a suicide in progress has been discovered, and whether
all custody staff responding to the suicide had received required training (e.g., in CPR) within set
timelines (e.g., annually). The context of the suicide may necessitate additional review items.
Most notably, if the individual was in a segregated or restricted housing unit at the time of the
suicide, the MHCT reviewer will evaluate performance on tasks such as timeliness and quality of
welfare checks, as specified by policy, whether inmates new to an ASU were placed in intake
cells, and so forth. The MHCT reviewer also determines a timeline for the emergency response
and for significant events leading up to the suicide. Finally, the MHCT reviewer will document
any concerns noted and will recommend corrective action/QIPs.

Nursing reviews: At the same time as a suicide is reviewed by DAI’s MHCT, a Nurse
Consultant Program Reviewer (NCPR) is assigned by a Headquarters Chief Nurse Executive.
The NCPR does not make an on-site visit, but reviews all health care record documentation as to
the quality of nursing care in the case. Psychiatric technician practice is also covered within the
nursing review. The NCPR and mental health case reviewer frequently consult on cases during
the review period.

The NCPR generates a Nursing Death Review Summary (NDRS). The NDRS lists the primary
cause of death, notes whether coexisting conditions were present prior to the death, summarizes
medical history, reports what medications and medical treatment the patient was receiving, and
documents significant events that occurred medically for the patient prior to and at the time of
discovery. The NCPR determines if nursing standards of care were met within the emergency


                                                                                          82 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 291 of 405
                                                                 Annual Suicide Report    2015


response to the suicide and whether nursing standards of care were met in the overall medical
care of the patient prior to the time of death.

Death Review Committee reviews: The CCHCS DRC reviews all causes of inmate mortality
within the CDCR. When suicides occur, the DRC assigns a physician to serve as the medical
reviewer. This physician works with the NCPR to look at all aspects of medical care received by
the patient and will yield an opinion as to the cause of death. As needed, the SMHP reviewer
may also consult with the CCHCS physician reviewer. The physician and NCPR produce a
Combined

Death Review Summary (CDRS) on each case. The CDRS contains both an administrative
review and a clinical mortality review of the case. In cases of suicide, the suicide case review
report (discussed below) is reviewed by the Death Review Unit and addends or is integrated with
the Combined Death Review Summary.55

Statewide Mental Health Program (SMHP) reviews: Simultaneously to custody, medical, and
nursing reviews, a trained member of the SMHP is assigned to review each suicide. The assigned
Mental Health Suicide Reviewer (MHSR) is typically a Sr. Psychologist, Specialist, who is
tasked with completing a Suicide Case Review (SCR). The MHSR schedules an on-site visit
with the institution and is accompanied by the custody reviewer. The site-visit is conducted
within seven calendar days of the death. The site review consists of an inspection of the location
of the suicide and of the means used in the death, a review of the deceased’s personal property,
and interviews of inmates, officers, medical, or mental health staff members who knew,
interacted with, and/or treated the deceased. The deceased’s property is inspected to see if there
is any information present related to the suicide, such as a suicide note, letters to the inmate
informing he/she of bad news, and so forth. Interviews focus on behavior and statements made in
the days prior to the suicide, with questions about anything the deceased may have said about
being distressed or suicidal in past days, weeks, or months. Photographs of the scene at the time
of death and photographs of the autopsy are also made available. Phone records, trust accounts,
toxicology reports, and other sources of information are also made available. The MHSR may
contact family members of the deceased to gain additional information about the individual’s
state of mind, statements made prior to the suicide, etc.

In addition to the on-site review, the MHSR reviews extensive documentation from medical and
custodial files. The focus of the MHSR’s review will vary based on the factors in the case,
though all relevant information is reviewed in each case. In some cases, the review will
concentrate on mental health treatment while in the CDCR, in others on the quality of suicide
risk assessment, in others on the presence or absence of distress when an inmate is placed in
administrative segregation, and so on. SMHP psychiatry staff review the psychiatric care and
consult with the MHSR. The MHSR will review information from each of the institutions where

55
     IMSPP Volume 1, Chapter 29.2

                                                                                         83 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038         Filed 01/28/21     Page 292 of 405
                                                                       Annual Suicide Report    2015


the deceased resided and will look at whether mental health policy and procedure was followed
at each setting.

Joint CDCR/DSH Suicide Reviews: When a suicide occurs of an individual who resides at a
DSH facility, or when a suicide occurs within 30 days of transfer from a DSH hospital, a joint
review is conducted. The DSH’s Mortality Interdisciplinary Review Committee (MIRC) reviews
suicides that occur within the DSH, with input from the Suicide Case Review Committee
(SCRC) at the CDCR. Joint CDCR MHSRs and MIRC reviewers look at the case collaboratively
to evaluate the mental health, medical, custodial, and nursing care rendered in the case. A joint
report is generated in each situation, with corrective action plans developed jointly. 56 The SCRC
reviews QIP responses created through this process conjointly with the MIRC.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review
report may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. QIPs may represent areas of deviation from policy or procedure, departures from
standards of care, or systemic issues that require examination, modification or innovation. QIPs
may be written for any discipline and can focus on the specific institution where the suicide
occurred. If systemic issues are identified, the QIP can be directed to the DCHS Suicide
Prevention and Focused Response Team (DCHS SPR FIT), a team that can address statewide
policies and practices. The DCHS SPR FIT team includes representatives from nursing, custody,
legal, mental health, and mental health quality management. This representation allows the team
to review issues and find solutions in a manner that is inclusive of disciplines and effective in
addressing problems.

During Suicide Case Review teleconferences, the Suicide Case Review Committee (SCRC) will
assemble and the case reviewer will read sections of the Suicide Report. The SCRC is made up
of members of the CDCR Statewide Mental Health Program, DAI MHCU, Nursing Executives,
the Office of Legal Affairs, and medical personnel (as needed). The SCRC also discusses the
QIPs raised within the Suicide Case Review with the institution. Institutional staff can respond to
and/or clarify concerns raised in the report, can raise additional concerns, or can discuss ways of
meeting the requirements of QIPs. Since late 2015, experts from the Coleman court are present
by phone and can raise additional concerns or issues. QIPs can also be written as pending
concerns that need to be addressed if a fact or finding awaits further information, such as
awaiting the results of a coroner’s report to determine the time of death.

Audits of SCR Quality: The DHCS Quality Management Unit audits all SCRs for 15 items.
SCR’s are scored with required elements marked present or absent.




56
     DSH Administrative Letter AL2015-19, issued November 2015.

                                                                                               84 | P a g e
Case 2:90-cv-00520-KJM-SCR          Document 7038       Filed 01/28/21      Page 293 of 405
                                                              Annual Suicide Report    2015




Appendix VI: Suicide Response Court-ordered and Internal Deadlines for Suicide Reports




                                                                                      85 | P a g e
  Case 2:90-cv-00520-KJM-SCR                 Document 7038            Filed 01/28/21        Page 294 of 405
                                                                             Annual Suicide Report    2015




 Appendix VII: Memorandum “Designation of Suicide Prevention, Assessment and Training

Coleman Deadlines per Program Guide *                       Internal Deadlines
Assign suicide reviewer         Within 2 days
Reviewer visits institution     Within 7 days
Suicide report received at HQ   Within 30 days
                                                            Report reviewed, edited, QIPs 5 days prior to
                                                            developed and sent to all case case review
                                                            review participants with request
                                                            for feedback from reviewers      (no later than DAY
                                                                                             40 after DOD)
Suicide Case Review                   Within 45 days
                                                            Final report edits                    Within 1-2 days
                                                            Signed by MH Deputy Director          Within 1-2 days
                                                            Signed by DAI                         Within 3-5 days
Final suicide report to institution   Within 60 days
QIPs completed at the Institution     Within 120 days       **Please note: this internal          Within 45 days of
                                                            deadline is set for institutions to   institution’s
                                      (**See internal       ensure SPR-FIT ability to comply      receipt of final
                                      deadline that         with the Coleman deadline in the      report
                                      requires       this   event that QIPs are inadequate
                                      sooner       from     and require amendment                 (no later than DAY
                                      institution)                                                105 after DOD)
                                                            QIPs completed and QIP report
                                                            submitted to HQ
Institution’s   QIP      Report Within 150 days
completed and submitted to HQ
                                (**See internal
                                deadline that
                                requires       this
                                sooner       from
                                institution)
                                                            QIPs reviewed by committee            Within 10 days
                                                            QIPs signed by MH Deputy Dir.         Within 1-2 days
                                                            QIPs signed by DAI                    Within 3-5 days
Implementation of QIP report Within 180 days
sent to Special Master


* deadlines are calculated from date of death (DOD)




                                                                                                     86 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 295 of 405
                                                  Annual Suicide Report    2015


Coordinator”




                                                                          87 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 296 of 405
                                                  Annual Suicide Report    2015




                                                                          88 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 297 of 405
                                                  Annual Suicide Report    2015




                                                                          89 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 298 of 405
                                                  Annual Suicide Report    2015




                                                                          90 | P a g e
Case 2:90-cv-00520-KJM-SCR        Document 7038      Filed 01/28/21      Page 299 of 405
                                                           Annual Suicide Report    2015


Appendix VIII: Memorandum “Completed Contacts Associated with Suicide Risk Evaluation”




                                                                                   91 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 300 of 405
                                                  Annual Suicide Report    2015




                                                                          92 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 301 of 405
                                                  Annual Suicide Report    2015




                                                                          93 | P a g e
Case 2:90-cv-00520-KJM-SCR      Document 7038     Filed 01/28/21     Page 302 of 405
                                                       Annual Suicide Report    2015




Appendix IX: Memorandum “Suicide Prevention Pamphlets for Inmates” (with pamphlets
attached)




                                                                               94 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 303 of 405
                                                  Annual Suicide Report    2015




                                                                          95 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 304 of 405




                     EXHIBIT F
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 305 of 405
                                                  Annual Suicide Report   2015




                 ANNUAL REPORT ON SUICIDES IN THE
              CALIFORNIA DEPARTMENT OF CORRECTIONS AND
                           REHABILITATION
                    JANUARY 1, 2015 – DECEMBER 31, 2015




                                                                          1|Page
Case 2:90-cv-00520-KJM-SCR         Document 7038        Filed 01/28/21     Page 306 of 405
                                                             Annual Suicide Report   2015


Table of Contents

          List of Tables                                                               4
          List of Figures                                                              5
          List of Appendices                                                           6

          Executive Summary of the Annual Suicide Report                               7

      1. Introduction and Summary of Findings                                           8
             a. Suicide definitions and terms used                                      8
             b. Review of Findings, Section 1: Current Year                             9
                      i. Number and rate of suicide in reporting year                   9
                     ii. Demographic factors                                            9
                   iii. Marital status                                                 10
                    iv. Education, juvenile history, and work history                  11
                     v. Languages spoken                                               11
                    vi. Health factors                                                 11
                   vii. Temporal factors                                               11
                  viii. Custodial and correctional factors                             11
                    ix. Cell occupancy                                                 16
                     x. Job assignment                                                 16
                    xi. Means or method of suicide                                     16
                   xii. Mental health factors                                          17
                  xiii. Diagnoses                                                      17
                  xiv. Suicide attempt history                                         18
                   xv. Suicide precipitants and behavior                               19
             c. Review of Findings, Section 2: Current Year vs. Prior Years            22
                      i. Comparison of rate between current and prior years            22
                     ii. Suicides by institution, current year vs. 15-year average     24
                   iii. Suicides in the CDCR by month, current year and                27
                         10-year average
                    iv. Demographic factors                                            27
                     v. Suicides by housing type                                       29
                   vi. Time in segregated housing prior to death                       30
                  vii. Suicides by method                                              31
                 viii. Involvement in mental health services                           31
                   ix. Suicides in mental health vs. non-mental health populations     32
             d. Review of Findings, Section 3: Comparison of CDCR Suicide              33
                Rates with Other State Prison Systems and Relevant U.S. Rates
                      i. CDCR rates versus other state and federal prison rates        33
                     ii. Comparison of rate between CDCR and the community             34

                                                                                     2|Page
Case 2:90-cv-00520-KJM-SCR        Document 7038       Filed 01/28/21      Page 307 of 405
                                                            Annual Suicide Report   2015


            e. Summary Review of Findings and Trends                                  35

     2. Response to suicide and suicide attempts                                      36
           a. Institutional reporting of self-harm incidents                          36
           b. Determination of unknown causes of death                                36
           c. Suicide attempts and suicides prevented                                 38
           d. Determination and tracking of Quality Improvement Plans                 38
           e. Determination whether a suicide is preventable or foreseeable           39
           f. Audits of SCR Quality                                                   40
           g. Timeliness of Suicide Case Reviews and Suicide Reports                  41

     3. Findings in individual case reviews                                           42
           a. Introduction to individual case reviews                                 42
           b. Commonalities in individual case reviews                                42

     4. Review of suicide prevention initiatives in 2015                              47
           a. Introduction                                                            47
           b. Suicide prevention initiatives developed/implemented during the         47
              reporting year

     5. Conclusions                                                                   57
           a. Introduction                                                            57
           b. Summary of findings                                                     57
           c. Report implications and future steps                                    59




                                                                                    3|Page
Case 2:90-cv-00520-KJM-SCR            Document 7038          Filed 01/28/21     Page 308 of 405
                                                                  Annual Suicide Report   2015


                                            List of Tables

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015                              10

Table 2. Age Groupings of Suicides in the CDCR, 2015                                        10

Table 3. Frequency of Suicide by the CDCR Institution, 2015                                 12

Table 4. Frequency of Suicide by Housing Type, 2015                                         13

Table 5. Type of Commitment Offense in Inmate Suicides, 2015                                13

Table 6. Suicides by Security Level, 2016                                                   14

Table 7. Suicides in the CDCR by Length of Sentence, 2015                                   15

Table 8. Suicides in the CDCR by Amount of Time Served, 2015                                15

Table 9. Suicides in the CDCR by Time Left to Serve, 2015                                   16

Table 10. Suicides in the CDCR by MHSDS Participation, 2015                                 17

Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015                             18

Table 12: Suspected Precipitants to Suicides in CDCR by frequency, 2015                     19
Table 13: Individual Precipitants for Suicides within the CDCR, 2015                        21

Table 14. 2015 In-state, Out-of-state, mid-year
              Frequency and Rate of Suicide, by Gender                                      22

Table 15. Annual Frequency and Rate of Suicide in the CDCR for 20 years,                    23
              by Gender and Overall, 1996-2015

Table 16. Frequency of Suicide by CDCR Institution, 2015 and by prior                       25
            15-year total and average (1999-2014)

Table 17. Frequency of Suicide within Segregated Housing, 2010-2015                         30

Table 18. Frequency of Suicide within MHSDS Levels of Care, 2010-2015                       32

Table 19. Frequency of Suicide in MH versus non-MH populations,
           average total population 2006-2015                                               32

Table 20. Rate and rank of suicides by state, 2001-2014 (14 years)                          33

Table 21. QIPs assigned within the CDCR by recipient, 2015                                  39


                                                                                          4|Page
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21        Page 309 of 405
                                                                  Annual Suicide Report   2015


Table 22: Results of Quality Audits, 2015 Suicide Case Review reports                       40

Table 23: Findings of Individual Case Reviews, part 1                                       43

Table 24: Findings of Case by Case Reviews, part 2                                          46



                                        List of Figures

Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015                       24

Figure 2: CDCR Frequency by Month, 2015 and 10-Year Average                                 27

Figure 3: Suicide Frequency by Race, 2005-2015, with trend line                             28
Figure 4: Number of Suicides by Age Group, 2010-2015                                        29
Figure 5: Length of Time in ASU before suicide, 2009-2015                                   31
Figure 6: Suicide rates for adult males in the CDCR, State Prisons, & the U.S., 2010-15 35




                                                                                          5|Page
       Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21     Page 310 of 405
                                                                      Annual Suicide Report   2015


                                            List of Appendices

  I.     Sample High Risk Management Program policy                                             63

 II.     Self-harm and Incident Reporting                                                       71

III.     Determination Review of unknown deaths and overdose deaths                             73

IV.      Review of Individual Suicide Case Reviews                                              75

 V.      Suicide Response Procedures                                                            79

VI.      Suicide Response Court-Ordered and Internal Deadlines for Suicide Reports              83

VII.     Memorandum “Designation of Suicide Prevention, Assessment and Training
           Coordinator”                                                                         83

VIII.     Memorandum “ Completed Contacts Associated with Suicide Risk Evaluations”             88

 IX.     Memorandum “Suicide Prevention Pamphlets for Inmates”                                  91
           (with pamphlets attached)




                                                                                              6|Page
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 311 of 405
                                                                              Annual Suicide Report     2015


                          Executive Summary of the Annual Suicide Report

In 2015 a total of 24 inmate suicides occurred within the California Department of Corrections
and Rehabilitation (CDCR). This number is an increase of one from 2014. The frequency of
suicides in 2014 and 2015 are the lowest consecutive yearly number of suicides in the CDCR
since 2002. The rate of suicide in the CDCR was 18.6 suicides per 100,000 inmates in 2015 and
17.0 per 100,000 in 2014. The suicide rate in U.S. state prisons ranged from 14-17 per 100,000
per year between 2000 and 2013 1 and 20 per 100,000 in 2014. 2 Male prisoners in the CDCR had
a lower rate of suicide rate than U.S. males in the community in 2014 and 2015. 3

Suicides in 2015 largely match prior year’s patterns with respect to time of year, prevalence in
spring and fall months, greater frequency in high custody inmates (75% in Level III and Level
IV housing), and a relatively high percentage of suicides in inmates involved in mental health
programming (typically 50-60%). Suicides in 2015 were somewhat unlike prior year’s patterns
in that there were two female suicides and three suicides of inmates aged 70 and older.

Both the frequency and the rate of suicide have declined in the CDCR over the past 10 years
(2006-2015). The frequency of suicide in the CDCR decreased from 43 in 2006 to 23 in 2015,
while the rate of suicide in the CDCR declined from 24.9 per 100,000 in 2006 to 18.6 per
100,000 in 2015. The decline in suicide rate in the CDCR in 2015 compared to the prior 10 years
can be attributed to fewer suicides within segregated housing units, lower rates of suicides in
Caucasian and Hispanic/Latino inmates, and fewer suicides in inmates aged age 35-54.

Many suicide prevention initiatives are underway and/or continuing in the CDCR. These
initiatives have emerged from Quality Improvement Plans (QIP) on deaths by suicide, from
recommendations generated by tours, reviews, and audits, from advances in the field of
Suicidology, from opportunities arising from the Mental Health Tracking System and the
Electronic Health Record System, and so forth. These initiatives are meant to enhance a
comprehensive, integrated system of suicide prevention and are detailed in the report that
follows.




1
  Noonan, M, Rohloff, H., & Ginder, S., Mortality in Local Jails and State Prisons, 2000-2013 Statistical Tables, US
DOJ, Bureau of Justice Statistics, August, 2015 NCH 248756
2
  Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
3
  http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870

                                                                                                        7|Page
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 312 of 405
                                                                 Annual Suicide Report   2015




I. Introduction and Review of Findings

This report reviews the 24 suicides by inmates of the CDCR which occurred during 2015. The
report is submitted as part of joint efforts by the CDCR and the Office of the Special Master’s
(OSM) experts to work together to reduce the number of suicides within California’s state
prisons and is part of the CDCR’s compliance with court-ordered remediation specified by the
Special Master as part of the continuing review in the matter of Coleman v. Brown, No. (CIV S-
90-0520 KJM KJN E.D.Cal.).

This report is unlike prior reports in that the report is generated by the SMHP with consultation
by Coleman court experts. Prior reports submitted to the Special Master were written by the
Coleman court’s experts. The purpose of the report remains the same: To report on ongoing
efforts to monitor suicides in the CDCR, to identify any trends in suicide that may indicate
targets for suicide prevention efforts, and to provide recommendations for continued
improvement. Additional detail is provided in this report as to the definitions, response efforts,
monitoring, and other improvement processes and programs implemented by or used by the
SMHP to prevent suicide. The report is prepared for the Special Master and has implications for
the CDCR and for the work of the Coleman court’s experts.

The primary source of data used for this report is the suicide case reviews completed by members
of the SMHP who are trained in conducting these reviews. Additional sources include data
obtained from the CDCR Office of Research, information garnered from reports by the CDCR
Death Review Committee, information from prior annual suicide reports, and publically available
information regarding suicide rates in community and incarcerated settings. Each suicide was
also independently reviewed by this author in order to assess trends in data or findings. Input
made by the OSM’s experts, who attend each suicide case review by teleconference and consult
on case review, provided added information for this report. Finally, members of the Quality
Management unit, a separate unit within the SMHP, provided input through auditing each suicide
case review report.

A. Suicide definitions and terms used

The CDCR is in the process of adopting definitions related to suicide that were developed by the
Centers for Disease Control and the World Health Organization and have been widely-adopted in
community settings. The OSM has been provided with a draft of the proposed changes to these
definitions. As these changes are pending, the definitions used in the MHSDS Program Guide,
2009 Revision are listed below. Terms and definitions now considered obsolete are omitted from
the listed provided here. Additionally, the term self-injurious is synonymous with self-harm. The



                                                                                         8|Page
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 313 of 405
                                                                              Annual Suicide Report      2015


term self-harm is used frequently in this report as it conforms to both existing definitions and
proposed definitions and is routinely qualified by the phrases “with intent” or “without intent.”
1. Suicide: An intentional self-injurious behavior that causes or leads to death.

2. Suicide Attempt: An intentional self-injurious behavior which is apparently designed to
   deliberately end one’s life, and may require medical and/or custody intervention to reduce the
   likelihood of death or serious injury.

3. Suicidal Ideation: Thoughts of suicide or death, which can be specific or vague, and can
   include active thoughts of committing4 [that is, dying by] suicide or the passive desire to be
   dead.

4. Suicidal Intent: The intention to deliberately end one’s own life.

5. Self-injurious Behavior: A behavior that causes, or is likely to cause, physical self-injury.
    [Note: The terms self-injurious behavior, self-mutilation, and suicide gesture are found in the
    MHSDS Program Guides, 2009 Revision, but are not used in this report. The term ‘self-harm
    without intent’ is used instead as the meaning is the same, self-harm for other reasons than
    death by suicide, and does not have the potentially negative connotations of terms such as
    ‘gesture.’]

B. Review of findings

Section 1: Current Year

Number and rate of suicide in reporting year: There were 24 suicides in the CDCR in 2015.
This represents an increase of one over the total in 2014, or an increase of 4%. The suicide rate
in the CDCR for 2015 was 18.6 per 100,000. Rates of suicide are standardized by the number per
100,000 in order to make standardized comparisons between samples and populations. The total
number of suicides in 2015 corresponds to a suicide on average every 15.2 days.

Demographic Factors: In 2015, 22 men and 2 women died by suicide in the CDCR. The rate of
suicides in the CDCR was 17.8 per 100,000 for men and 35.5 per 100,000 for women. The rate
of suicide for women fluctuates more dramatically than the rate for men, as there are many more
males (123,268) than females (5,632) in the CDCR. To illustrate, one fewer female suicide
would have lowered the female rate in 2015 by one-half, from 35.5 to 17.6 per 100,000. The
same decline of one suicide in males would have lowered the frequency by 1 in 22, or from a rate
of 17.8 to a rate of 17.0 per 100,000. A listing of suicides by gender, per year over 10 and 20
year periods is found in Table 15 in this report.

4
 The term ‘committing’ has fallen out of favor with Suicidologists, as the term implies some sort of success in
carrying out a pledge or obligation. The favored term is rather straightforward—‘died by suicide.’

                                                                                                        9|Page
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21        Page 314 of 405
                                                                            Annual Suicide Report      2015


The racial and ethnic backgrounds of inmates who died by suicide are represented in Table 1.
Caucasians represented over half of all suicides despite comprising only 22% of the population
within the CDCR. This finding has been typical of the racial breakdowns of suicides within the
CDCR for many years.

Table 1. Racial/Ethnic Groupings of Suicides in the CDCR, 2015

Racial Group                   Frequency              Percent of                  Percent of race within the
                                                      Suicides                    CDCR
African-American               5                      21%                         29%
Caucasian                      13                     54%                         22%
Hispanic/Latino                4                      17%                         42%
Other*                         2                      8%                          6%
*1 Chinese American female, 1 Japanese American male

Table 2 contains a listing of age groupings within the CDCR, with the number and percentage of
suicides for each group compared with the prevalence of the age group within the CDCR. Of
note, four age groups had higher rates of suicide than their corresponding representation within
the CDCR population during the reporting year (2015): Inmates ages 30-34, 45-54, 60-64, and
65 and older. The overrepresentation of older inmates in the year’s suicides may bear further
monitoring as a possible emerging trend. The three suicides of older inmates occurred in
individuals aged 70-73. The average age of those who died by suicide was 42.9.

Table 2. Age Groupings of Suicides in the CDCR, 2015

    Age Group                 Frequency                  Percentage       of     2015 Percentage of CDCR
                                                         Suicides                     Population
    18-24                     2                          8                            12
    25-29                     3                          13                           16
    30-34                     5                          21                           16
    35-39                     2                          8                            14
    40-44                     2                          8                            11
    45-54                     4                          17                           10
    55-59                     1                          4                            6
    60-64                     2                          8                            3
    65 +                      3                          13                           3


Marital Status: Marital relationships are thought to be a protective factor for inmates. This
variable is protective for males in community studies and may function in a similar way for
inmates as these relationships may offer support during incarceration. 5 In 2015, two suicides
(one male, one female) occurred in married individuals, whereas nine suicides occurred in

5
 Kposowa, A. (2000). Marital status and suicide in the National Longitudinal Mortality Study. Journal of
Epidemiology and Community Health, 54, 254-261.

                                                                                                     10 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21      Page 315 of 405
                                                                    Annual Suicide Report    2015


separated or divorced inmates (including the second female) and 13 suicides occurred in single
or never-married inmates.

Education, Juvenile History, and Work History: Three suicides occurred in inmates with
some college education. The remaining 21 inmates had secondary educations, ranging from the
8th to 12th grade. Fifty-seven percent had a history of juvenile arrest, with 33% having a history
of gang involvement. The majority of suicides occurred in inmates with limited employment
history, typically in work classified as “unskilled labor.” None of the suicides occurred in
inmates who were in the Developmental Disability Program (DDP), though two inmates had
some history of special education involvement.

Languages Spoken: One female inmate who died by suicide spoke Mandarin as her primary
language. All others were primarily English-speaking.

Health Factors: Nearly half (46%) of the inmates who died by suicide in 2015 were considered
to have serious and/or chronic medical problems. This ranged from problems with low back pain
or headaches to cases of liver disease, diabetic neuropathy, cardiac problems, and legal
blindness. In all cases, medical needs were determined to be adequately addressed according to
nursing reviews. Implications of this finding for service delivery are explored later in this report.

Temporal Factors: Suicides occurred within the CDCR in nine months in 2015. That is, zero
suicides occurred in three months. Four suicides occurred in one month (March) and five
suicides occurred in each of two months (May and October). The prevalence of suicides in spring
and fall months has been noted in prior years as well (Figure 2 contains a breakdown of suicides
by month over the current year and by a 10-year average).

In 2015, time of day of discovery did not vary significantly, with seven suicides occurring during
first watch (2200 hours to 0600 hours), seven during second watch (0600 hours to 1400 hours),
and ten during third watch (1400 hours to 2200 hours). This finding is similar to prior years.

Custodial and Correctional Factors: In 2015, suicides occurred at 13 institutions including an
out-of-state facility. Table 3 lists suicides by institution. Any institutions that are not listed did
not have a death by suicide in 2015.




    Table 3. Frequency of Suicide by CDCR Institution, 2015



                                                                                            11 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21      Page 316 of 405
                                                                  Annual Suicide Report    2015


    Table 3. Frequency of Suicide by CDCR Institution, 2015

    Institution                                                                  Frequency

    California State Prison, Sacramento                                          3
    San Quentin State Prison                                                     3
    Duel Vocational Institute                                                    3
    California Men’s Colony                                                      3
    California Institution for Women                                             2
    California State Prison, Corcoran                                            2
    RJ Donovan Correctional Facility                                             2
    California Medical Facility                                                  1
    California Correctional Institution                                          1
    California Institution for Men                                               1
    Folsom State Prison                                                          1
    California Health Care Facility                                              1
    Tallahatchie County Correctional Facility                                    1

    Total                                                                        24



As can be seen, one-half of the suicides in 2015 occurred in four institutions, and 18 (75%) of the
suicides occurred within seven institutions.

During 2015, 9 of the 24 suicides occurred in segregated housing settings (37%); seven in
Administrative Segregation Units (ASU), one in a Security Housing Unit (SHU), and one in
Short-Term Restricted Housing (STRH). Two inmates were in Reception Centers, one in a
Correctional Treatment Center (CTC), and one in a Sensitive Needs Yard (SNY). The remaining
11 suicides occurred in general population settings. This information is depicted in Table 4.




   Table 4. Frequency of Suicide by Housing Type, 2015



                                                                                          12 | P a g e
Case 2:90-cv-00520-KJM-SCR                      Document 7038            Filed 01/28/21         Page 317 of 405
                                                                                Annual Suicide Report       2015


       Table 4. Frequency of Suicide by Housing Type, 2015

       Housing Type                                                                     Frequency Percent

       Administrative Segregation                                                       7               29
       Security Housing Unit                                                            1               4
       Short-Term Restricted Housing                                                    1               4
       Reception Center                                                                 2               8
       Correctional Treatment Center                                                    1               4
       Sensitive Needs Yard                                                             1               4
       General Population                                                               11              46

       Total                                                                            24              99


A common finding in prison and jail settings is a preponderance of suicides in violent inmates
and in inmates with higher level security needs; violent inmates have nearly three times the risk
of suicide as non-violent inmates 6. The commitment offenses of inmates who died by suicide in
2015 are listed below in Table 5. Notably, half of suicides occurred in individuals who had
committed murder. Four other inmates had commitments for assault resulting in great bodily
injury, one inmate had a commitment for battery, and two had a commitment for armed robbery
(and thus the threat of assault was implied). Of the five commitment offenses considered non-
violent, two resulted in significant injury but were seen as unintentional (driving under the
influence resulting in injury or death). The remaining three suicides occurred in inmates who
were committed for vehicle theft, burglary, or drug charges.



    Table 5. Commitment Offenses in Inmate Suicides,
    2015

    Type of Commitment Offense                                          N                     Percent
    Violent Crimes Overall                                              19                    79
    Murder                                                              12                    50
    Assault w/ Great Bodily Injury                                      4                     17
    Armed Robbery                                                       2                     8
    Battery                                                             1                     4
    Sex Offense                                                         0                     0

6
    Mumola, C. (2005), Bureau of Justice Statistics, located at: http://www.bjs.gov/content/pub/pdf/ardus05.pdf

                                                                                                        13 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 318 of 405
                                                                  Annual Suicide Report    2015



 Non-Violent Crimes Overall                                5                  21
 DUI with injury/vehicular manslaughter                    2                  8
 Vehicle theft                                             1                  4
 Burglary                                                  1                  4
 Drug Charges                                              1                  4


In regards to security level, suicides occurred predominantly in higher security (Level III and
Level IV) settings in 2015. Table 6 lists the number of suicides by security classification level.
Level IV suicides have traditionally represented more than half of all suicides within CDCR. Of
note, the classification system used by the CDCR was modified prior to 2015, with fewer
inmates classified at the highest level, Level IV, which may account for some of the decline in
Level IV inmate suicides in 2015.


 Table 6. Suicides per Security Level, 2015

 Security/Classification Level                 N                    Percent
 Level IV                                      9                    37.5
 Level III                                     9                    37.5
 Level II                                      6                    25
 Level I                                       0                    0


Another variable unique to correctional settings is the issue of sentence length: Total length of
sentence, how much time an inmate has served prior to a suicide, and how much time an inmate
had left to serve in prison prior to a suicide. These variables are captured in Tables 7, 8, and 9.

Table 7 shows that a slight majority of suicides (54%) occurred in inmates with Life sentences
(including condemned individuals) in 2015. Inmates with Life sentences have historically made
up roughly 20% of the population within the CDCR and are overrepresented in individuals who
die by suicide. No suicides occurred in inmates with medium length sentences (11 to 20 years) in
2015.




   Table 7. Suicides in the CDCR by Length of Sentence, 2015


                                                                                          14 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21       Page 319 of 405
                                                                   Annual Suicide Report    2015


   Table 7. Suicides in the CDCR by Length of Sentence, 2015

   Sentence Length                                            Frequency            Percent

   1-5 years                                                  7                    29
   6-10 years                                                 3                    13
   11-20 years                                                0                    0
   20+ years                                                  1                    4
   Life with Possibility of Parole                            11                   46
   Life without Possibility of Parole                         1                    4
   Condemned                                                  1                    4

   Total                                                      24                   100



As seen in Table 8, individuals early within their sentence represent a high risk group. Five
inmates died by suicide within their first year of incarceration; this included two individuals who
died within 30 days of imprisonment. Three inmates who had served 20 years or more were
among those who died by suicide in 2015.



   Table 8. Suicides in the CDCR by Amount of Time Served, 2015

   Sentence Length                                            Frequency            Percent

   0-1 year                                                   5                    21
   1-5 years                                                  5                    21
   6-10 years                                                 7                    29
   11-20 years                                                4                    17
   21+ years                                                  3                    12

   Total                                                      24                   100



The length of time remaining in sentences for those who died by suicide are shown in Table 9.
There was nearly an even split between those with short to moderate sentences left to serve
(46%) and those with lengthy sentences or indeterminate/life sentences (54%).

                                                                                           15 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21       Page 320 of 405
                                                                   Annual Suicide Report    2015


   Table 9. Suicides in the CDCR by Time Left to Serve, 2015

   Sentence Length                                            Frequency            Percent

   0-1 year                                                   0                    0
   1-5 years                                                  10                   42
   6-10 years                                                 1                    4
   11-15 years                                                0                    0
   16 years or more (including Lifers)                        13                   54

   Total                                                      24                   100



The implications for the findings represented in Tables 7, 8, and 9 are considerable, suggesting
the need to. These considerations will be discussed later in this report.

Cell Occupancy: In 2015, 25% of suicides occurred in inmates housed in designated double
cells and 75% of suicides occurred within designated single cells. Of the six suicides in
designated double cells, two suicides occurred in cells without a currently assigned cellmate, two
inmates waited for a cellmate to leave for work or other programming before dying by suicide,
one occurred outside of the cell (by jumping from a tier), and one occurred with a cellmate
present but asleep. Of the nine suicides occurring in segregated housing settings, eight of the
suicides occurred in single-person cells. The ninth suicide occurred in a double cell but without
an assigned cellmate. Overall, 23 of the 24 suicides occurred within a single cell or within a
solely occupied (at the time) double cell.

Job Assignment: The majority of inmates (62.5%) who died by suicide in 2015 did not have a
job assignment or educational placement. Of the nine inmates who had program assignments,
two were placed in educational settings, one (female) in a substance abuse program, and six were
in traditional jobs (e.g., as a porter).

Means or Method of Suicide: Correctional settings necessarily limit the methods or means
inmates can use to die by suicide. For example, suicides by firearms or carbon monoxide
poisoning are unheard of in correctional systems. As with most correctional systems, hanging is
the primary means used by inmates in the CDCR to die by suicide. Inmates have ready access to
clothing and linen items that can be used for nooses and ligature points can be found in nearly all
cells. In 2015, both female suicides were by hanging and 20 of the 24 suicides overall were by
hanging (83%). The remaining four inmates (males) died by intentional overdose (2),
asphyxiation (1), and jumping from a high place (1).



                                                                                           16 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 321 of 405
                                                                  Annual Suicide Report    2015


Mental Health Factors: The number and percentage of inmates who died by suicides in the
CDCR in 2015 who were participants in the Mental Health Services Delivery System (MHSDS)
is listed in Table 10. Mental health patients continue to be overrepresented in the year’s suicides,
a pattern that is typical in correctional and community settings.

   Table 10. Suicides in the CDCR by MHSDS Participation, 2015

   Sentence Length                                                Frequency       Percent

   No MHSDS participation                                             10          42
   Correctional Clinical Case Management System                       9           37
   Enhanced Outpatient Program                                        5           21
   Total                                                              24          100



Ten inmates were not in the MHSDS at the time of death. Six of these inmates (25% of the total
number of suicides) had no history of participation in the MHSDS. Four inmates who were not in
the MHSDS system at the time of death had previously been in the MHSDS at the Correctional
Clinical Case Management System (CCCMS) level of care.

In 2015, 15 (62.5%) of the inmates who died by suicide had a history of mental health treatment
prior to incarceration. Of these, 11 were in the MHSDS at the time of death, with one other
having previously participated in the MHSDS. Eight cases (33%) had a family history of mental
illness and/or family history of substance abuse treatment.

Upon entrance to the CDCR, inmates are screened for the possible presence of significant mental
health disorders. Thirteen (55%) of the inmates who died by suicide in 2015 were identified as
possibly having significant mental health disorders during initial screening. On subsequent
mental health evaluations, 69% of those positive on screening were also found to have mental
health conditions qualifying them for MHSDS services.

At the time of suicide, 14 inmates (58%) were on psychiatric medications. Three individuals
(13%) had involuntary medication orders in place per Penal Code 2602. Eleven of the 24 (46%)
had a history of Mental Health Crisis Bed placement or inpatient hospitalization. Eight (33%)
had been psychiatrically hospitalized in the year prior to their suicide.

Diagnoses: The mental health diagnoses of individuals who died by suicide in 2015 are
summarized in Table 11 and are listed by frequency. Please note that people can have multiple
mental health diagnoses, thus the frequency of diagnoses in Table 11 exceeds the number of
annual suicides. Additionally, all inmate suicides in 2015 involved individuals with some history
of substance use or abuse. However, the diagnoses listed in Table 11 include substance use

                                                                                          17 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 322 of 405
                                                                Annual Suicide Report    2015


disorders only if formally reported as a diagnosis. All diagnoses are based on the American
Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders, 4th Edition or
5th Edition (DSM-IV or DSM-5).

When present, mood disorders and psychotic disorders were listed as the primary diagnosis of
record. Of the individuals diagnosed with mood disorders, five were diagnosed with Major
Depressive Disorder and four with Bipolar I Disorder. Five individuals were diagnosed with
psychotic disorders; three with Schizophrenia, one with Delusional Disorder, and one with
Psychotic Disorder NOS. Six inmates were diagnosed with Antisocial Personality Disorder and
two of these six inmates were concurrently diagnosed with Narcissistic Personality Disorder.

   Table 11. Mental Health Diagnoses of Suicides in the CDCR, 2015

   Diagnostic Category                                         Frequency          Percent

   Any DSM Disorder                                                 20                  83
   Substance Abuse or Dependence                                    13                  54
   Mood Disorder                                                    9                   38
     Major Depressive Disorder (5)
     Bipolar I Disorder (4)
     Psychotic Disorder (5)

   Personality Disorder                                             6                   25
   Psychotic Disorder                                               5                   21
      Schizophrenia (3)
      Delusional Disorder (1)
      Psychotic Disorder NOS (1)
   Adjustment Disorder                                              4                   17
   No Diagnosis                                                     4                   17
   Anxiety Disorder                                                 1                   4



Suicide Attempt History: A history of suicide attempts was found in 16 (67%) of the 24 cases
of suicide in 2015. Of the group of 16, ten had made multiple past suicide attempts (42% of the
overall total). Of those that had prior suicide attempts, 10 had reported at least one suicide
attempt while in the community and eight had at least one suicide attempt while incarcerated. For
the eight individuals who had suicide attempts during incarceration, a range of one to five prior
attempts in prison were noted. The finding of 10 suicides within Multiple Attempters, a term
indicating the presence of two or more suicide attempts with the intent to die, is significant as


                                                                                        18 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 323 of 405
                                                                             Annual Suicide Report     2015


this is a group with known high chronic risk. 7 Implications of this finding are discussed later in
this report.

Suicide Precipitants and Behavior: Seven of the 24 individuals (29%) who died by suicide in
the CDCR in 2015 wrote suicide notes. This is a bit higher than the rate (one in six or 17%)
found in community samples. 8 A small percentage (17%) of the deaths occurred in inmates who
reported having no interpersonal supports, while two reported having one person in their support
system. The majority (75%) endorsed two or more supports during their most recent mental
health or suicide risk evaluations. Only one of the 24 (4%) of the suicides occurred in a patient
who was believed to be feigning distress or suicidality. Five of the 24 inmates who died by
suicide in 2015 did so on a holiday, with one each on Christmas Eve, Memorial Day, 4th of July,
Halloween, and Chinese New Year.

Suspected precipitants are event(s) that precede a death by suicide. These events may also be
referred to as potential triggers to one’s decision to end their life. The precipitants to the current
year suicides listed or suspected by Mental Health Suicide Reviewer’s (MHSR’s) in their suicide
case review reports were examined, and are presented in Table 12.

    Table 12. Suspected Precipitants to Suicides in the CDCR by frequency, 2015

    Precipitant Category                                                    Frequency            Percent of
                                                                                                   Total

    Receipt of new charges, convictions, disciplinary                             9                  20
    actions, or added time in prison

    Safety concerns, drug debts, fears of victimization                           7                  15

    Mental health symptoms, e.g. anxiety, psychosis                               7                  15

    Medical illness and/or pain issues; medical disability                        5                  11

    Holidays or anniversaries of losses, crimes, etc.                             5                  11

    Disruption in prison ‘program;’ e.g., transfer between                        4                   9
    facilities, cellmate change, loss of single cell housing

    Conflict or losses of external supports                                       4                   9
    Conflict or losses of within prison supports                                  3                   6


7
  Rudd, Joiner, & Rajab (1996). Relationships among suicide ideators, attempters, and multiple attempters in a
young-adult sample. Journal of Abnormal Psychology, 105, 541-550.
8
  Gelder, Mayou, and Geddes (2005). Incidence of note-leaving remains constant despite increasing suicide rates.
Psychiatry and Clinical Neurosciences, 4 (1).

                                                                                                      19 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21        Page 324 of 405
                                                                          Annual Suicide Report    2015


    Table 12. Suspected Precipitants to Suicides in the CDCR by frequency, 2015

    Receipt of or anticipation of negative outcomes with                      1                    2
    the Board of Prison Hearings

    Loss of parole to the community (e.g., due to added                       1                    2
    sentence, finding of MDO or SVP)

    Totals:                                                                  46                   100



The precipitants listed in suicide case review reports can be divided roughly into ten categories
as represented in Table 12. The frequency of precipitants is greater than the total number of
suicides, as nearly all suicide case reviews listed more than one hypothesized precipitant. In
many cases, the precipitants were not entirely clear. Rather, the precipitants identified by suicide
case reviewers are marked by each inmate’s idiosyncratic reasons for ending one’s life. The
frequency of certain categories of suicide precipitants has implication for prevention efforts as
explored later in this report.

Additionally, Table 13 indicates the precipitant factors for suicides occurring in the CDCR in
2015 on a case by case basis. As is apparent, the majority of inmates had multiple potential
triggers for the action. Also, in-prison events or stresses are noted in most, but not all, cases.
Greg Dear and colleagues reported similar findings in Australian prisons with suicide attempters.
When interviewed, prisoners reported two or more of five categories related to precipitants for
attempts, with the most common category (71% of incidents) being termed “stressful event that
occurred within the prison” and second most common category (43% of incidents) being a
consequence of imprisonment (e.g. placing a strain on family). 9 These themes are mirrored in the
2015 suicides within the CDCR and have been presented to CDCR clinicians in monthly suicide
prevention videoconferences and in revised trainings in suicide risk evaluation.




9
 Dear, Thomson, Hall, & Howells (2001). Non-fatal self-harm in Western Australian prisons: Who, where, when,
and why. Australian & New Zealand Journal of Criminology, 34, 47-66.

                                                                                                  20 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21     Page 325 of 405
                                                               Annual Suicide Report    2015


Table 13: Individual Precipitants for Suicides within the CDCR, 2015


          Precipitants Noted
 Case
 A        Interpersonal losses/estrangement; notified of additional charges (rape case pending
          investigation); holiday (Halloween)
 B        Received 3 year sentence extension (assault on peace officer); long ASU stay
 C        Safety concerns/fear of victimization (went into protective custody); anxiety
 D        Gang pressures; attempted to debrief; conflict with custody officers
 E        Health concerns and complaints of pain; panic attacks; tearfulness around “no
          hope” of getting better medically; holiday (Chinese New Year)
 F        Concerned about losing single cell and large amount of personal property; pending
          transfer; reports can’t cell with others
 G        Serious medical disabilities; possible distress regarding possible transfer
 H        Parole denied by BPH; argument with main family support (daughter); new RVR;
          hoarded medication (for overdose) was found and charged for possession for sales
 I        Dysphoria/hopelessness about the possibility of parole; requested/given CCCMS
          discharge; disciplinary infraction at work (faced losing assignment)
 J        Health concerns (headaches); close custody status due to RVR; holiday (4th of July)
 K        Paranoia/belief that family or other inmates intended to have the inmate stabbed
 L        Multiple disciplinary actions; anniversary of step-son’s suicide; accrual of drug
          debt; time added to sentence; cellmate moved out of cell; told of positive lab test
          (Hepatitis C); familial estrangement
 M        Interpersonal problems/perceived rejection from other inmates on living unit
 N        Medical illness (terminal) and pain issues; housing issues (SNY status; safety
          concerns); conflict with spouse
 O        Convicted of murder of another inmate (incident occurred in 2012); received 45
          years to life sentence and 25-month SHU term; lengthy ASU stay
 P        Concern about drug debts and substance use relapse; familial estrangement;
          bothersome hallucinations; depression; holiday (Memorial Day)
 Q        Fought with inmate and reported safety concerns; transferred during 5-day follow-
          up period after MHCB stay rescinded
 R        Chronic illness/pain; ‘bad news’ about medical condition (liver cancer); researched
          Christian beliefs about suicide and the ‘unforgiveable sin’ prior to suicide
 S        Safety concerns; requested Sensitive Needs Yard (SNY); complained of
          hallucinations and reported delusional beliefs
 T        Concern about transfer (to a different prison) and feared losing single cell status;
          feelings of depression/worthlessness
 U        Interviewed for Mentally Disordered Offender (MDO) status; found to meet MDO
          criteria—upset by this; somatic delusions; holiday (Christmas)
 V        Inability to move in with in-prison romantic partner; reported having an enemy to
          move ‘yards’ and was taken to ASU rather than desired ‘yard’
 W        Delusions/hallucinations; less faith that legal appeal would be won
 X        Agitation from hallucinations and delusions, increasing depression, facing SHU
          term
                                                                                       21 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21        Page 326 of 405
                                                                        Annual Suicide Report    2015




C. Review of findings

Section 2: Current Year vs. Prior Years

Comparison of suicide rate between current and prior years: The suicide rate in the CDCR
in 2015 was 18.6 per 100,000. This rate is higher than in 2014, when the rate was 17.0 per
100,000, reflecting both one more suicide in 2015 than in 2014 and a decrease in the inmate
population of a little over 6500 from 2014 to 2015. The rate of 18.6 per 100,000 is the third
lowest rate in the past 10 years. During the ten-year period, 2006 to 2015, the rate of suicide in
the CDCR was 20.5 per 100,000.

Table 14, presents two mid-year (June 30th) frequency and rate of suicide calculations, by
gender. The first calculation is in-state only and does not include the out-of-state CDCR inmate
population in order to ensure consistency with past reports prepared by members of the OSM.
The second rate includes the out-of-state population and is consistent with past internal
methodology used by CDCR. The rate including the out-of-state population is the more
meaningful number, as out of state suicides, when they occur, are included in the rate
calculations. Furthermore, these individuals were remanded to CDCR custody which maintains
responsibility for their welfare.

Table 14. 2015 In-state, Out-of-state and Overall Mid-year Frequency and Rate of Suicide, by Gender
                Male                          Female                           Total

                Population   Freq   Rate      Population       Freq   Rate     Population             Freq   Rate

Mid-year        115,835      22     19.0      5,632            2      35.5     121,467                24     19.8
In-state only
Mid-year
In-state and
out-of-state    123,268      22     17.8      5,632            2      35.5     128,900                24     18.6
total


Table 15 shows the rate and frequency of suicide in the CDCR for the past 20 years. The table
shows the rate and frequency of suicides by gender during each year as well. Of note, the
frequency of suicides over the period has ranged from a low of 15 in 2000 to a high of 43 in
2006.

As mentioned earlier, the rate of suicide in female inmates fluctuates considerably compared to a
relatively stable rate in male inmates. In 11 of the past 20 years, there were no female suicides.
The number of suicides in female institutions has ranged from a low of 0 to a high of 4 within the
time period; with 2 occurring in 2015.


                                                                                                22 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038            Filed 01/28/21        Page 327 of 405
                                                                           Annual Suicide Report    2015


For reference, population figures in all years were garnered from the CDCR’s Office of
Research. The population figures are reflective of mid-year (June 30th) of the respective year,
following the previous practice of reports prepared by members of the OSM, the practice of the
Federal Bureau of Justice Statistics and to remain consistent in CDCR’s methodology for
calculating suicide frequency and rate.

Table 15. Annual Frequency and Rate of Suicide in the CDCR for 20 years, by Gender and Overall, 1996-2015*
 Year        Male                       Female                     Total

             Population   Freq   Rate   Population   Freq   Rate   Population   Freq   Rate

 1996        131,273      19     14.5   9,744        0      0      141,017      19     13.5

 1997        141,669      18     12.7   10,837       0      0      152,506      18     11.8

 1998        147,001      21     14.3   11,206       0      0      158,207      21     13.3

 1999        150,581      24     15.9   11,483       0      0      162,064      24     14.8

 2000        150,793      15     9.9    11,207       0      0      162,000      15     9.3

 2001        150,785      29     19.2   10,712       1      9.3    161,497      30     18.6

 2002        148,153      22     14.8   9,826        0      0      157,979      22     13.9

 2003        150,851      37     24.5   10,080       0      0      160,931      37     23.0

 2004        152,859      23     15.0   10,641       3      28.2   163,500      26     15.9

 2005        153,323      37     24.1   10,856       0      0      164,179      37     22.5

 2006        160,812      39     24.3   11,749       4      34.0   172,561      43     24.9

 2007        161,424      33     20.4   11,888       1      8.4    173,312      34     19.6

 2008        159,581      36     22.6   11,392       0      0      170,973      36     21.1

 2009        156,805      25     15.9   11,027       0      0      167,832      25     14.9

 2010        155,721      34     21.8   10,096       1      9.9    165,817      35     21.1

 2011        152,803      33     21.6   9,565        0      0      162,368      33     20.3

 2012        128,829      32     24.8   6,409        1      15.6   135,238      33     24.4

 2013        126,992      29     22.8   5,919        1      16.9   132,911      30     22.6

 2014        129,268      21     16.2   6,216        2      32.2   135,484      23     17.0

 2015        123,268      22     17.8   5,632        2      35.5   128,900      24     18.6



                                                                                                   23 | P a g e
Case 2:90-cv-00520-KJM-SCR                         Document 7038            Filed 01/28/21         Page 328 of 405
                                                                                   Annual Suicide Report     2015


 1996-2015       2,932,791     549     18.7   196,485          16    8.1    3,129,276     565   18.1

 2006-2015       1,455,503     304     20.9   89,893           12    13.3   1,545,396     316   20.5

Notably, the rate of suicide within the CDCR has trended downward over the past 10 years
(2006-2015). The trend line can be seen in Figure 1.

Figure 1: CDCR Suicide Rate and Frequency, with trend line, 2006-2015
                                     CDCR Suicide Rate and Frequency, 2006-2015
                  50

                  45

                  40

                  35

                  30

                  25

                  20

                  15

                  10

                   5

                   0
                        2006         2007     2008      2009        2010    2011        2012    2013   2014      2015
          Frequency      43           34      36        25          35       33         33      30      23          24
          Rate          24.9         19.6     21.1      14.9        21.1    20.3        24.4    22.6    17       18.6


Suicides by institution, current year vs. 15-year average: Whereas Figure 1 represents
suicides throughout the whole of the CDCR; the frequency of suicides by institution is a less
stable variable. The higher frequency of suicide at some facilities versus others has many
explanations. Variables such as the number of patients in the institution’s mental health program,
the mental health mission of the facility, the predominance of violent offenders at the site, and
the total number of inmates at the institution are just some of the factors that contribute variance
to where suicides occur. Fluctuations can occur in the number of suicides at an institution in
given years due to cluster effects 10, changes in the use or mental health mission of the institution,
and other factors. There are also subsets of suicides that occur during or upon transfer of an
inmate from one institution to another, further complicating the interpretation of why suicides
occur at certain institutions more frequently than others.

Table 16 lists the number of suicides at CDCR Institutions in 2015 along with the total and
average number of suicides at each institution over a 15-year period. The inclusion of 15-years of

10
  Hawton, Linsell, Adeniji, Sariaslan, & Fazel (2014). Self-harm in prisons in England and Wales: An
epidemiological study of prevalence, risk factors, clustering, and subsequent suicide. Lancet, Vol. 383.

                                                                                                           24 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 329 of 405
                                                                   Annual Suicide Report    2015


data allows current year data to be compared to averages over a significant period of time. The
range of suicides on average per year for all facilities was 0.0 to 2.1. The mean for suicide for all
institutions from 1999-2014 was 30.2 suicides per year.

 Table 16. Frequency of Suicide by CDCR                  2015         Prior 15-   Prior 15-
 Institution, 2015 and by prior 15-year total and      Frequency      year total  year average
 average (1999-2014)                                                  (1999-2014) (1999-2014)
 Institution

 California Health Care Facility                             1              0                 0
 Tallahatchie County Correctional Facility                   1              0                 0
 Department of State Hospitals-Salinas Valley                0              1                0.1
 California Rehabilitation Center                            0              1                0.1
 Chuckawalla Valley State Prison                             0              1                0.1
 Valley State Prison                                         0              2                0.1
 California Correctional Center                              0              2                0.1
 Ironwood State Prison                                       0              2                0.1
 Atascadero State Hospital                                   0              4                0.3
 Calipatria State Prison                                     0              5                0.3
 Sierra Conservation Center                                  0              5                0.3
 Centinella State Prison                                     0              6                0.4
 California Institution for Women                            2              6                0.4
 Avenal State Prison                                         0              7                0.5
 Department of State Hospitals-Vacaville                     0              7                0.5
 Central California Women’s Facility                         0              7                0.5
 California State Prison, Solano                             0              10               0.7
 North Kern State Prison                                     0              10               0.7
 Kern Valley State Prison                                    0              11               0.7
 Pleasant Valley State Prison                                0              13               0.9
 Wasco State Prison                                          0              13               0.9


                                                                                           25 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038      Filed 01/28/21        Page 330 of 405
                                                                Annual Suicide Report    2015


 Mule Creek State Prison                                  0             14                0.9
 California Substance Abuse Treatment Facility            0             15                1.0
 Institution                                          2015         Prior 15-       Prior 15-
                                                    Frequency      year total      year average

 California Correctional Institution                      1             15                1.0
 California Training Facility                             0             16                1.1
 Pelican Bay State Prison                                 0             16                1.1
 High Desert State Prison                                 0             17                1.1
 Folsom State Prison                                      1             18                1.2
 Deuel Vocational Institute                               3             19                1.3
 California Medical Facility                              1             21                1.4
 California Institution for Men                           1             22                1.5
 California State Prison, Los Angeles County              0             22                1.5
 California State Prison, Corcoran                        2             24                1.6
 RJ Donovan Correctional Facility                         2             24                1.6
 California Men’s Colony                                  3             27                1.8
 San Quentin State Prison                                 3             29                1.9
 Salinas Valley State Prison                              0             30                2.0
 California State Prison, Sacramento                      3             31                2.1

 Total                                                   24             453              30.2



Suicides in the CDCR by month, current year and 10-year average: CDCR data covering a
10-year period (2006-2015) shows little or no trend in the frequency of suicides in any given
month. As in 2015, suicides tend to occur in the spring and fall months of the year. Suicides in
the CDCR have traditionally not been associated with specific holiday periods, though in 2015
there were five suicides on holiday days (21%) spread over five different months. See Figure 2.
The prevalence of suicides in March, May, and October has not been explained. CDCR
clinicians have noted this trend over several years.




                                                                                        26 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038               Filed 01/28/21         Page 331 of 405
                                                                           Annual Suicide Report    2015




Figure 2: CDCR Frequency by Month, 2015and 10-Year Average

 9

 8

 7

 6

 5

 4

 3

 2

 1

 0
      Jan     Feb     Mar     Apr     May          Jun     Jul      Aug     Sept     Oct     Nov       Dec

                                            2015         10 Year average


Demographic Factors: Demographic variables specific to 2015 suicides are presented earlier in
this report. These factors are presented here only as a means of comparing information from
prior years with 2015 suicide data.

A depiction of suicides by race in 2015 and over the past 10 years is found in Figure 3.
Caucasians comprise the largest group, comprising 48% of the suicides over the 10-year period
and 54% of the suicides in 2015. Caucasian suicides have consistently fallen within a range of 14
to 20 per year. Hispanics/Latinos make up the second largest group, accounting for 30% of the
suicides over the years represented. Hispanic/Latino suicides have a more variable range, from 5
to 15 in any given year. African-Americans account for 13% of the suicides during these years
with a range from 2 to 7. The frequency of suicides in other racial groups is relatively small and
typically at a range of 0 to 2 per year. The trend lines in Figure 3 suggest that the relative decline
in suicides within the CDCR during 2014 and 2015 are in Caucasians and Hispanics/Latinos, the
two groups who historically have the highest numbers of suicides within the CDCR.




                                                                                                   27 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038       Filed 01/28/21          Page 332 of 405
                                                                  Annual Suicide Report       2015




Figure 3: Suicide Frequency by Race, 2005-2015, with trend line

  25
                  Frequency of Suicide by Race, 2005-2015, with trend line

  20


  15


  10


   5


   0
        2005    2006    2007     2008    2009    2010    2011     2012       2013     2014      2015

                   African-American                         Caucasian
                   Hispanic/ Latino                         Native American
                   Asian                                    Other


Age is divided into five adult age brackets in Figure 4: Ages 18-24, 25-34, 35-44, 45-54, and 55
and above. In all but one year, 2012, the largest frequency of suicides in any age group was in
individuals aged 25-34. Compared to the prior five years, 2010 to 2014, suicides in 2015 were
somewhat lower in inmates aged 35-44 and 45-54, and slightly higher than most past years in
ages 55 or older. The 55 and older age group had the second highest total in the past 6 years. In
2015, 25% of the suicides occurred in this age group, an age group that comprises 12% of the
population of the CDCR. This number (25%) is similar to 2010, when 22% of suicides were in
the 55 and over group, and dissimilar to other years: 9% in 2011, 15% in 2012, 7% in 2013, and
8% in 2014.




                                                                                             28 | P a g e
Case 2:90-cv-00520-KJM-SCR                          Document 7038       Filed 01/28/21     Page 333 of 405
                                                                             Annual Suicide Report       2015




Figure 4: Number of Suicides by Age Group, 2010-2015

                                         Number of Suicides by Age Group, 2010-2015
                          14

                          12
     Number of Suicides




                          10

                           8

                           6

                           4

                           2

                           0
                                 18-24           25-34          35-44           45-54            55+
                          2010    3                10             8              7                   7
                          2011    3                12             10             5                   3
                          2012    0                8              12             8                   5
                          2013    1                11             8              8                   2
                          2014    2                7              7              5                   2
                          2015    2                8              4              4                   6


Suicides by housing type: Historically and in national and international studies, 11 segregated
housing units have been a high-risk setting for suicide, particularly in single cell housing. 12 In
the CDCR, segregated housing includes ASU, SHU, STRH, Long Term Restricted Housing
(LTRH), Psychiatric Services Units (PSU), and the Condemned units at San Quentin State Prison
and California Correctional Institution for Women. During 2015, nine of the year’s 24 suicides
occurred in segregated housing settings, representing 37.5% of all suicides. For reference,
approximately 6.5% of inmates were housed in segregated housing at the mid-year point of 2015
(June 30, 2015). Calculating a rate per 100,000 in segregated housing may be misleading as the
overall population is quite small and subject to wide swings in rate based on a single suicide. 13




11
   World Health Organization (2007). Preventing suicide in jails and prisons. WHO Document Production, Geneva,
Switzerland.
12
   Id.
13
   Based on a segregated housing population of 8,325 inmates on June 30, 2015.

                                                                                                     29 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21        Page 334 of 405
                                                                    Annual Suicide Report    2015


Of the nine suicides that occurred in segregated settings in 2015, seven were in ASU, one in a
SHU, and one in STRH. The number and percentage of suicides in segregated housing settings
for 2015 and over the prior five year period is found in Table 17. As can be seen, the frequency
of suicides in segregated housing decreased significantly in 2015 compared to prior years (2010-
2014). Whereas 47% of suicides within the CDCR occurred in a segregated housing setting in
the ten year period between 2004 and 2014 and 45% of suicides occurred in segregated housing
on average in the ten year period from 2010 to 2014, 37,5% of suicides occurred in this setting
during 2015. This may represent changes adopted within the CDCR leading up to and occurring
within the reporting year, such as implementation of safety/wellness checks using the Guard One
system and initiation of enhanced mental health services for MHSDS participants in segregated
settings (e.g., STRH and LTRH units). Also of note, inmates in single-cell housing accounted for
eight of the nine suicides (89%) within segregated housing units in 2015. This percentage is
consistent with prior years. The percentage of suicides in segregated housing units that occurred
in single cell housing in the prior five years was 100% in 2010, 86% in 2011, 91% in 2012,
100% in 2013, and 86% in 2014.

   Table 17. Frequency of Suicide within Segregated Housing, 2010-2015

   Year                     Frequency                          Percent of Annual Suicides

   2010                     13                                 37

   2011                     14                                 42
   2012                     13                                 41
   2013                     14                                 47
   2014                     13                                 57
   2015                     9                                  37.5



Time in Segregated Housing Prior to Death: In 2015, nearly half of the suicides that occurred
in segregated housing occurred soon after placement. Three of the nine suicides occurred in
intake cells, indicating stays of less than 72 hours (Cases H, K, and V). A fourth case had been in
ASU for six days and had just arrived for a temporary stay at an institution while in route to
another institution (Case Q). The remaining five cases were in segregated housing units for 100
days or more at the time of death (Cases B, C, D, O, and X).

Data on the number of days between ASU placement and deaths by suicide has been tracked
since 2009. Over this seven-year period (2009-2015), suicides tended to occur shortly after
placement, particularly in the first 72 hours after placement. Of course, fewer inmates are present


                                                                                            30 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038           Filed 01/28/21        Page 335 of 405
                                                                              Annual Suicide Report     2015


in ASU as lengths of stay increase. Figure 5 shows the distribution of deaths by suicide
following placement.




Figure 5: Length of Time in ASU before suicide, 2009-2015


                Days to Death by Suicide After Placement in ASU,
                                   2009-2015
 16

 14

 12

 10

     8
                                                                                                         Suicides
     6

     4

     2

     0
            3       10      15      20       30      60      90      120     150     180     More


Suicides by Method: The rate of suicide by hanging, easily the most frequent method for
suicides in prison settings, has remained relatively stable over the past number of years. In 2015,
83% of suicides were by hanging. The percentage of suicides that were by hanging was 77% in
2010, 88% in 2011, 91% in 2012 and 2013, and 87% in 2014.

Involvement in Mental Health Services: The percentage of suicides that occur in inmates with
identified mental health needs is a complex variable. Suicide is a phenomenon that can occur in
individuals who do not have a traditional mental health diagnosis and in inmates with no prior
identified mental health needs. Inmates can avoid mental health services by choice, such as by
denying symptoms on screening or by masking symptoms in order to be discharged from the
Mental Health Services Delivery System (MHSDS). It is not uncommon for suicidal individuals
to distrust mental health clinicians when contemplating suicide, concerned that clinicians may in
some way remove a valued option (death) should life so dictate. 14 Yet suicides occur in

14
     Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.

                                                                                                      31 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21       Page 336 of 405
                                                                   Annual Suicide Report     2015


individuals who have been identified as meeting criteria for participation in the MHSDS and who
were receiving services in the MHSDS at the time of death. Table 18 lists the numbers of
suicides at each level of MHSDS involvement for 2015 and for the prior five years.




Table 18. Frequency of Suicide within MHSDS Levels of Care, 2010-2015

Year                        Non-          CCCMS             EOP          MHCB              %     in
                            MHSDS                                        /DSH              MHSDS
2010                        15            12                8            0                 57
2011                        10            10                13           0                 69
2012                        14            12                5            1                 55
2013                        14            9                 6            1                 53
2014                        1             12                9            1                 96
2015                        10            9                 5            0                 58


Suicides in Mental Health vs. Non Mental Health Populations: Table 19 shows the suicide
rate for MHSDS vs. non-MHSDS, as the average total CDCR populations over the past ten
years, including 2015. This information was derived from the Health Care Placement Oversight
Programs (HCPOP) monthly trends reports. The population totals may vary slightly from other
referenced population totals within this report, as the data from HCPOP is collected a different
points of time, and utilizes total population averages. As can be seen, the rate of suicide in those
involved in the MHSDS is significantly higher than for individuals who have not been included
in the MHSDS. This suggests a need to carefully work with existing mental health population
members to reduce the risk of suicide. Targeted, suicide-specific interventions for individuals
within the MHSDS remain an area that is potentially fruitful in preventing suicides; this will be
discussed further later in this report.

Table 19. Frequency of Suicide in mental health versus non-mental health, average total populations,
2006-2015

                                                     Non-        Non-
            MH       MH                   Non-MH     MH          MH                  Total      Total
Year        Pop      Freq     MH Rate     Pop        Freq        Rate    Total Pop   Freq       Rate
2006        32,327   20       61.8        139,015    23          16.5    171,342     43         25.1
2007        33,148   25       75.4        138,431    9           6.5     171,579     34         19.8
2008        34,854   18       51.6        131,887    18          13.6    166,741     36         21.6
2009        35,677   19       51.0        125,201    6           4.8     160,878     25         15.5
2010        37,140   20       53.8        119,555    15          12.6    156,695     35         22.3



                                                                                           32 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038           Filed 01/28/21           Page 337 of 405
                                                                             Annual Suicide Report     2015


2011         37,140     23         61.9          113,182      10         8.8         150,322     33        20.3
2012         33,613     18         53.5          93,892       15         16.0        127,505     33        25.9
2013         34,477     16         46.4          90,098       14         15.5        124,575     30        24.1
2014         37,322     21         56.3          89,192       2          2.2         126,514     23        18.2
2015         37,146     15         43.1          92,197       9          9.8         129,343     24        18.6
Average      35,284     20         55.5          113,265      12         10.6        148,549     32        21.1


D. Review of Findings

Section 3: Comparison of CDCR Suicide Rates with Other State Prisons Systems and Relevant
U.S. Rates

CDCR Rates vs. Other State and Federal Prison Rates: State prison suicide rates have varied
little over a number of years. The rate of suicide in U.S. state prisons ranged from 14 per 100,000
to 17 per 100,000 from 1999 to 2013 15, with a rate of 15 suicides per 100,000 prisoners in U.S.
state prisons in 2013. However, the U.S. prison rate jumped by 30% between 2013 and 2014,
rising to 20 per 100,000 inmates. 16 No explanation for this increase has been offered. Rates for
U.S. prisons for 2015 are not available at this time.

Suicide rates for all federal and state prisons were calculated by the Bureau of Justice Statistics
for the years 2001-2014. 17 A listing of state rates is found in Table 19. California’s rate is listed
twice in Table 19. One listing is for the composite rate for the CDCR from 2001-2014 and the
second rate is for the year 2015 only. California ranks in the middle one-third of states in rank
and rate. In 2015, California’s rate of prison suicides ranked as 20th among state prisons.

Table 20. Rate and rank of suicides by state, 2001-2014 (14 years)

State Name                                Rank (Highest to Lowest Rate)         Suicide Rate per 100,000
                                          (t=tie)
Rhode Island                              50                                    45
Utah                                      49                                    44
Montana                                   48                                    34
Massachusetts                             47                                    32
New Hampshire                             46                                    31
Alaska                                    46t                                   31
Hawaii                                    44                                    29
Idaho                                     43                                    28
South Dakota                              43t                                   28

15
    Noonan, M. Mortality in Local Jails and State Prisons, 2000-2013 – Statistical Tables, August 2015,
 Website, U.S. Department of Justice, Bureau of Justice Statistics.
16
   Noonan, M. Mortality in Local Jails and State Prisons, 2001-2014 Statistical Tables, US DOJ, Bureau of Justice
Statistics, December, 2016, NCJ 250150
17
   Id.

                                                                                                      33 | P a g e
Case 2:90-cv-00520-KJM-SCR               Document 7038      Filed 01/28/21       Page 338 of 405
                                                                   Annual Suicide Report    2015


Delaware                           41                               26
Vermont                            41t                              26
Connecticut                        39                               24
New Mexico                         38                               23
Nebraska                           37                               21
New York                           37t                              21
All State Prisons, 2015                                             20
Iowa                               35                               20
Chart continues on next page
State Name                         Rank (Highest to Lowest Rate)    Suicide Rate per 100,000
Maryland                           35t                              20
California (2001-2014)             35t                              20
Wisconsin                          32                               19
Oklahoma                           32t                              19
California (2015)                                                   18.6
Colorado                           30                               18
Minnesota                          30t                              18
Wyoming                            30t                              18
Arizona                            27                               17
Nevada                             27t                              17
Arkansas                           27t                              17
All State Prisons, 2001-2014                                        16
Indiana                            24                               16
Illinois                           24t                              16
Texas                              24t                              16
Oregon                             24t                              16
Pennsylvania                       24t                              16
Tennessee                          18                               15
Kansas                             17                               14
Ohio                               16                               13
South Carolina                     16t                              13
New Jersey                         16t                              13
Washington                         16t                              13
Mississippi                        16t                              13
Missouri                           11                               12
Maine                              10                               11
U.S. Federal Prisons (2001-2014)                                    10
Virginia                           9                                10
Georgia                            9t                               10
Kentucky                           7                                9
Louisiana                          7t                               9
West Virginia                      5                                8
Florida                            5t                               8
North Carolina                     3                                7
Alabama                            2                                6
North Dakota                       1                                5

                                                                                           34 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038          Filed 01/28/21            Page 339 of 405
                                                                           Annual Suicide Report     2015



CDCR Rates vs. Community Rates: It is notable that the rate of suicide in the community
within the United States reached a 30 year high in 2014, reaching an overall national rate of 13.4
per 100,000. The rate of suicide rose 24% overall between 1999 and 2014 18 . The U.S. rate
increased again in 2015 to 13.8 per 100,000. 19 For adult males in the U.S., the rate of suicides
was 21.1 per 100,000 in 2014 20 and 21.5 per 100,000 in 2015 21, topping the rate of suicides in
the (mostly male) CDCR in 2014 (17.0 per 100,000) and 2015 (18.6 per 100,000). Figure 6
shows the rate of suicides in adult males in the U.S., in U.S. prisons, and in the CDCR for the
years 2010 to 2015. Suicide rates for state prisons are not available after 2014.

Figure 6: Suicide rates for adult males in the CDCR, State Prisons, and the U.S., 2010-2015

                    30

                    25

                    20

                    15

                    10

                     5

                     0
                               2010      2011           2012         2013           2014             2015
     CDCR Overall              21.1      20.3           24.4         22.6             17             18.6
     U.S. State Prisons         16        14             16           15              20
     CDCR Males                21.8      21.6           24.8         22.8            16.2            17.8
     U.S. Males                19.8       20            20.4         20.3            20.7            21.5

                         CDCR Overall    U.S. State Prisons       CDCR Males           U.S. Males


E. Summary Review of Findings and Trends

In reviewing suicides within the CDCR during the reporting year, 2015, a suicide rate of 18.6 per
100,000 is noted. The rate of CDCR suicides is below the average rate of all U.S. state prison
systems combined in 2015 22. The rate of suicides in the CDCR in 2014 was also lower than the
average suicide rate for state prisons in 2014; the last year in which such data is available.
Additionally, the rise in the community rates of suicide, particularly for males, has increased

18
   http://www.nytimes.com/2016/04/22/health/us-suicide-rate-surges-to-a-30-year-high.html?_r=0
19
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
20
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2014/StatesSexTABLE2014.pdf
21
   http://www.suicidology.org/Portals/14/docs/Resources/FactSheets/2015/2015datapgsv1.pdf?ver=2017-01-02-
220151-870
22
   Based on 2014 U.S. Prison data

                                                                                                    35 | P a g e
Case 2:90-cv-00520-KJM-SCR              Document 7038         Filed 01/28/21       Page 340 of 405
                                                                    Annual Suicide Report    2015


significantly over the past decade. Adult males in the community in the U.S. were more likely to
die by suicide than male inmates within the CDCR in both 2014 and 2015.

Some trends are noted in years 2014 and 2015. First, fewer inmates aged 25-54 died by suicide
than in prior years. Second, the rates of suicide in Caucasian and Hispanic inmates in CDCR
have fallen rather significantly in the past 10 years. The majority of suicides in the CDCR have
occurred within these two racial groups for many years. Third, a decline in the frequency of
suicides in segregated housing units was noted in 2015; this finding may reflect the decreasing
percentage of the inmate population housed in such settings as well as the many efforts
implemented to improve safety from suicide in these settings. Other factors reviewed appear to
simply indicate yearly and/or unstable fluctuations in suicides, such as in timing of suicides (e.g.,
month of suicide, time of discovery), frequency in specific institutions, and the rate of
involvement in mental health systems of care.

In looking at the group of individuals who died by suicide in 2015 within the CDCR, specific
risk factors remain clear: Caucasian race, single/divorced marital status, serious or chronic
medical disease or pain, spring and fall months, history of violent offenses, housing in higher
security settings, life or long sentences, single-cell housing, lack of job assignment, mental
health treatment prior to and during incarceration, prior suicide attempts, and prior psychiatric
hospitalization. Other variables seem to be possible trends to monitor, such as increased suicides
in older inmates (those age 60 or above), fewer suicides within segregated housing units, and
more suicides on or around holiday periods. The reasons for suicide for inmates within the
CDCR remains rather idiosyncratic and complex, with most suicide reviewers determining
multiple precipitants (or triggers) for suicide. Suicides most commonly occurred on account of
in-prison stressors (safety concerns, receipt of additional charges, transfers, etc.); medical illness,
pain or disability; acute psychiatric symptoms; conflicts with others; and important dates
(anniversaries of losses or crimes, holidays).

Chapter II. Response to Suicide and Suicide Attempts

Institutional reporting of self-harm incidents and suicides: All incidents of self-harm in the
CDCR are reviewed by institutional staff members (including mental health clinicians) and all
incidents of self-harm are entered and tracked on a self-harm database. These processes allow for
tracking patients in High Risk Management Lists or Program(s) within a facility. A sample High
Risk Management Program policy is found in Appendix I. Suicides are reported by the Chief
Medical Officer or designee to stakeholders, including the SMHP and the OSM. Processes
involved in institutional reporting of self-harm events and suicides are found in Appendix II.

Determination of unknown causes of death: When deaths occur in a CDCR institution in
which the cause of death is not immediately determined, the cases are classified as “Unknown
Deaths.” These cases receive special attention until the cause of death is determined, particularly



                                                                                            36 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 341 of 405
                                                                   Annual Suicide Report    2015


as any that could possibly involve suicide need to be determined in a timely fashion. The process
for reviewing these deaths and making a determination may be found in Appendix III

In 2015, a total of 44 cases were tracked as the cause of death was listed provisionally as
unknown. Nineteen of the 44 cases had no provisional cause of death, whereas 25 cases had a
suspected or “probable” cause of death listed. In two cases, suspicion of a suicide was present
and was confirmed by autopsy, toxicology finding, and/or coroner’s report. These cases, Case T,
who died of an overdose on a prescribed medication, and Case P, who died of asphyxiation
during an acute intoxication illicit drug, are reviewed later in this report. Additionally, two cases
were determined to be accidental overdoses due to findings of ingested balloons during autopsy;
ingesting balloons filled with narcotics is a method for concealing and/or transporting illicit
drugs in prison (Cases OO and PP).

Of the remaining four cases, 23 were determined by the Death Review Committee (DRC) to
have died by natural causes: Pulmonary embolism, myocardial infarction, coronary artery
disease, hypertension, cardiomyopathy, and so forth. Three of the remaining cases were
determined to be deaths by homicide.

The 14 remaining cases met criteria for additional review, as they involved either overdose (10
cases), the case was pending further information (three cases), or the death potentially related to
mental health treatment needs (one case). In this later death (Case AA), the cause of death was
provisionally termed inanition secondary to acute psychosis. That is, the patient was thought to
have died on account of the medical consequences of refusing to eat. His lack of intake was
attributed to acute psychosis. Though the initial finding of inanition was mentioned, reviewers on
the Combined Death Review Summary noted the pathologist’s use of the term “well-nourished”
and determined the patient had gained roughly 20 pounds in the two years prior to his death. The
patient denied suicidal ideation upon evaluation six days before his death and there was no
indication that he purposefully engaged in any behavior with the intention of dying or hastening
his death. The category of death was changed by the DRC to natural, unexpected

The three cases pending further information were determined by the DRC to be deaths of various
causes. The cause of one death was due to “excitement delirium.” In this case (Case BB), the
inmate struggled with officers who were trying to apply restraints; this exertion led to neuronal
excitotoxic injury per autopsy. The second case (Case CC) was determined to have ingested both
morphine and Citalopram, though both medications were prescribed. The inmate had multiple
additional medical problems, including cardiovascular disease, and the death was determined to
be accidental. The inmate’s cellmate at the time reported normal mood, participation in routines,
and so forth the evening of the death, with no history of suicide attempts or statements of wishes
to die. The third case (Case DD) was unknown for a period of time due to the complexity of
medical symptoms present prior to the death, including reports of blackouts, other neurological
symptoms, and cardiovascular issues. The final cause of death was determined to be natural and
secondary to cardiovascular disease.

                                                                                           37 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 342 of 405
                                                                  Annual Suicide Report    2015


The 10 remaining cases (Cases EE to NN) were reviewed using the guidelines noted above as the
cause of death in each was overdose. Upon review of these cases, the best explanation for each
was unintentional, accidental overdose. In each case, the Combined Death Review Summary
determined that the cause of death was an accidental overdose. None of the cases involved
ingestion of medications that do not have abuse potential (e.g., Tylenol). Rather, all ten deaths
involved intoxication/ingestion with an illicit drug or drug(s) of abuse. Specifically, three cases
died due to methamphetamine intoxication (Cases EE, FF, and GG), two to Fentanyl intoxication
(a powerful synthetic Opioid; Case HH and II), one case to a combination of heroin and
methamphetamine intoxication (Case JJ), one to heroin intoxication (Case KK), one to morphine
intoxication (Case LL), one to methadone and morphine intoxication (Case MM), and one to
intoxication with an unknown or unspecified opiate (Case NN). Of these 10 cases, none left a
suicide note and none made recent statements suggesting suicidal ideation or desire. Appendix
IV contains additional information on the SMHP’s review of overdose cases.

Suicide Attempts and Suicides Prevented: In 2015, there were a total of 502 incidents of self-
harm with intent to die that did not result in death. That is, 502 suicide attempts were in some
way prevented, interrupted, aborted, averted, or otherwise were not fatal during the year.

Of the 502 attempts, 285 involved incidents of self-harm with intent to die that resulted in either
no injury or mild injury. An additional 217 incidents of self-harm involving moderate-to-severe
injury and intent to die (suicide attempts) were reported to the CDCR’s self-harm database.
These 217 incidents include some combination of: The inmate used non-lethal means and
intended to die but was discovered, the inmate reported having recently engaged in self-harm
with the intent to die but was not discovered and did not perish, or CDCR staff members
interrupted a suicide attempt in progress by an inmate that may otherwise have been lethal.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review
report may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. In 2015, a total of 115 QIPs were generated from Suicide Case Reviews, resulting in
an average of 4.8 QIPs per suicide. Nursing QIPs are referred to the DRC. Custody and mental
health QIPs are typically addressed to the institution where the deceased person resided but may
also be written for prior institutions and/or for the DHCS SPR FIT. Table 20 provides a listing of
responsible persons or teams for the QIPs assigned in 2015.




                                                                                          38 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21       Page 343 of 405
                                                                 Annual Suicide Report    2015




Table 21. QIPs assigned within the CDCR by recipient, 2015 Suicides

 Quality Improvement Plan                         Frequency                Percent of Total
 Chief of Mental Health/Chief Executive           53                       46
 Officer
 Warden/Custody                                   32                       28
 Death Review Committee/Nursing/Medical           17                       15
 DHCS SPR FIT                                     11                       10
 Design Standards Branch                          1                        <1
 Contract Bed Facility                            1                        <1
 Total                                            115                      100


As can be seen in Table 21, the Suicide Case Review process generates quality improvement
plans that are multidisciplinary. The responses to an inmate’s suicide are therefore addressed
with a broad lens, looking at many ways of addressing what went wrong (if applicable; one case
of the 24 had no listed QIPs). Notably, nearly half of the formal QIPs generated in 2015 were
focused on mental health concerns, with the Chief of Mental Health and/or Chief Executive
Officer of a CDCR facility tasked to address the concern(s). Mental health concerns ranged from
evaluations not completed within timeframes established by policy to poor quality of suicide risk
evaluation to inadequate treatment and safety planning. The specific reasons for individual QIPs
are presented in the individual case review section (Chapter 3).

Determination whether a suicide is preventable or foreseeable: The following definitions
of foreseeable and preventable used in the review of 2015 suicides and in this report are the
definitions previously used in the annual suicide reports written by the Special Master’s experts:

Foreseeable: A “foreseeable” suicide is one which, based upon available information reasonably
known, is reasonably anticipated based upon the presence of a substantial or high risk for a
suicide attempt which would require reasonable clinical, custodial, or administrative
intervention. Foreseeability is assessed by determining the adequacy and accuracy of how
suicide risk was evaluated. Assessment of the degree of risk may be high, moderate, or low to
none. In contrast to a high and immediately detectable risk, a “moderate risk” of suicide,
indicates a more ambiguous set of circumstances that requires significant clinical judgment based

                                                                                         39 | P a g e
Case 2:90-cv-00520-KJM-SCR                     Document 7038             Filed 01/28/21          Page 344 of 405
                                                                                 Annual Suicide Report      2015


on adequate training, as well as a timely assessment, to determine the level of risk in the most
appropriate manner and relevant interventions to prevent suicide.

Preventable: A “preventable” suicide is one in which it is probable that, had some additional
information been gathered or some additional interventions undertaken, as required by existing
policy, the suicide would not have occurred. Preventability is assessed by determining whether
risk management and/or suicide prevention policies and procedures, local operating procedures
and the requirements set forth in the Program Guide were followed adequately. Suicides that
may have been preventable include not only cases in which additional information might have
been gathered or additional interventions undertaken, but also cases involving issues with
emergency response by custody and clinical staff.

Using the above definitions 23 , CDCR’s Statewide Mental Health Program’s Suicide Case
Review Committee determined that in 2015, 11 of the 24 suicides were foreseeable and 17 of the
24 suicides might have been preventable had some additional information been gathered or some
additional interventions undertaken.

Audits of SCR Quality: The DHCS Quality Management Unit audits all Suicide Case Reviews
(SCRs) for 15 items. SCRs are scored with required elements marked present or absent. In 2015,
SCRs generally met audit criteria at a high rate, reported in Table 21.

Table 22: Results of Quality Audits, 2015 Suicide Case Review reports

Audit Item                                                                  Present          Absent         % Present
1. Does the Executive Summary describe the means of death,                  23               1              96
the emergency response taken, and the MH LOC of the patient?
2. Are the sources for the SCR identified?                                  24               0              100
3. Are substance abuse issues reported, if applicable?                      24               0              100
4. Does the Institutional Functioning section include information           24               0              100
on institutional behavior, including disciplinary history?
5. Does the Mental Health History review the adequacy of                    24               0              100
mental health care and screening?
6. Are medical concerns discussed (e.g., chronic pain, terminal             24               0              100
illness) or is the absence of medical conditions noted?
7. Is the quality of the most recent SREs (past year) reviewed,             14               6 (4 N/A)      70
with comment on risk level, safety planning, and risk and
protective factors?
8. Does the Suicide History section review all prior attempts, as           24               0              100
applicable?
9. Are significant pre-suicide events discussed (e.g., receipt of           23               1              96
bad news or existence of a safety concern)?
10. Was a risk formulation offered specific as to why the person            24               0              100
was vulnerable to suicide?

23
   These definitions do not apply the legal standards for causation, foreseeability, or deliberate indifference. For
these reasons, the use of these definitions in this report do not constitute any admission of causation, fault, or
liability.

                                                                                                          40 | P a g e
Case 2:90-cv-00520-KJM-SCR                Document 7038          Filed 01/28/21           Page 345 of 405
                                                                           Annual Suicide Report    2015


11. Does the review comment on the adequacy of the emergency         18              4 (2 N/A)      82
response?
12. Are all violations of policy and breaches of standards of care   24              0              100
in mental health, medical, and nursing addressed in the
reviewer’s concerns, if applicable?
13. Were custody policies followed? If not, were violations          23              0 (1 N/A)      100
noted in the report?
14. Were all concerns raised by reviewers (custody, nursing, and     24              0              100
mental health) represented in Quality Improvement Plan
recommendations?
15. Were the Quality Improvement Plan recommendations                23              1              96
adequate to address the concerns? (e.g., QIP should not simply
say conduct an inquiry and report findings).
Total                                                                339             13             96


As evident in Table 22, on most audit criteria, reviewers were found to meet quality standards
with 96% of all audit items marked as present. A notable exception in quality audits appears to
be in reviewing most recent SREs. In examining this finding, six SCRs did not comment on all
aspects of the most recent SREs. For example, the reviewer discussed risk factors but did not
provide an analysis of the adequacy of risk formulation. One other item was absent in four cases:
Comments on the adequacy of emergency response. Emergency response timelines were
reported by nursing and custody in all SCRs. In the four cases, reviewers did not specifically
state that the emergency response was adequate, though this appears to be the case in each
occasion.

Timeliness of Suicide Case Reviews and Suicide Reports: The process of responding to
suicides, completing reviews, writing and editing reports, tracking QIP compliance, and so on is
involved. Timelines for each step in suicide response have been developed and are specified in
the MHSDS Program Guides, 2009 Revision. Internal deadlines have also been developed as a
way to ensure timelines for each step of the suicide response process are met. The number of
days specified for each step in suicide response, for both Program Guide and internal deadlines,
is found in Appendix VI.

In reviewing timeliness of 2015 suicides, the assignment of a suicide reviewer and the visit of the
reviewer to the institution were completed on time in all but two cases; both cases were
originally “unknown deaths” (Cases P and T) and thus not determined to be suicides until further
information was obtained. Due dates on Cases P and T were recalculated when the cases were
determined to be suicides. Both were then reviewed in a timely manner.

Original suicide reports are generally completed within 30 to 40 days after the death. The
established 30-day limit was met in nine cases (of 24 reports). Five reports (including Cases M
and V) were completed 40 days or more after the death. All reports were available by the time



                                                                                                   41 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 346 of 405
                                                                  Annual Suicide Report    2015


Suicide Case Reviews were held. Fifteen of the 24 SCRs were completed within timelines. Of
the nine SCRs held late, delays ranged from one day to nine days.

Once suicide reports are reviewed at the SCR, edits are made and a final report is due to be sent
to institutions within 60 days of the death. Timeline compliance becomes increasingly difficult at
this step, with only five of the 24 reports finalized and sent to institutions by the 60 day mark.
Delays at this step can affect the ability of institutions and other recipients of QIPs to complete
QIPs by the deadline (150 days after the death). However, in 13 cases, QIP response timelines
were met. QIP responses also require review and approval, with a report of QIP implementation
due to the OSM by 180 days after the suicide.

As the CDCR endeavors to complete all steps of the suicide review process in a timely manner, a
focus on ensuring original reports are completed on time, on decreasing the number of days used
for editing suicide reports after the SCR, and on accelerating the review, response, and approval
of QIPs is underway. The DHCS SPR FIT will explore further ways to expedite review processes
for implementation during the 2017 calendar year.

Chapter III. Findings in Individual Case Reviews

Introduction to Individual Case Reviews: The presentation of information such as suicide rates
and demographic variables in suicide deaths provides a sense of data trends, comparisons
between correctional systems, and so forth. That is, suicide rates and numbers give us a macro
look at causes and contributors to suicide and to variables that require monitoring. The data
presented in prior chapters has implications for practice within the CDCR, implications that will
be reviewed in the Conclusions section to follow.

Individual case reviews, on the other hand, represent a micro look at the idiosyncratic, often
multi-determined reasons that an individual takes his or her own life. The sources of distress
noted in the cases below range from a response to gang threats to an inmate’s family to the
vagaries of severe medical and mental illness to grief over the loss of lovers and loved ones. No
two cases look quite alike.

What cannot be overly idiosyncratic are the actions of staff members of all disciplines. These
staff members as a whole are responsible to prevent suicide. Suicide prevention in correctional
settings is no small task. CDCR staff of all disciplines must follow policy and procedure, must
show diligence and compassion in their work, and must be professional in their day-to-day
interactions and responsibilities. Individual case reviews thus speak not only to the
idiosyncrasies of the suicidal patient but also to the actions and professionalism of staff leading
up to a suicide, in reaction to a suicide in progress, and in response to the death.

Commonalities in individual case reviews: Tables 22 and 23 list variables commonly found
between suicides. The tables contain either factual data or qualitative determinations about the


                                                                                          42 | P a g e
          Case 2:90-cv-00520-KJM-SCR                Document 7038       Filed 01/28/21      Page 347 of 405
                                                                              Annual Suicide Report    2015


          adequacy of staff response and/or the ability of staff members to meet quality of care
          expectations. Narrative comments are noted after each table.

          Before presenting these tables, it should be noted that inadequacy of risk assessment, treatment
          planning, custody rounds, and so forth result in QIPs. In Suicide Case Review (SCRs) reports,
          reviewers may comment on what was done well within an institution and may state areas where
          policy was correctly followed. However, these comments are not required as it is assumed staff
          members will follow policy and will do a professional job in working with inmates. In contrast,
          reviewers must identify any and all departures from policy or from standards of care, creating
          formal Quality Improvement Plans (QIPs) applicable to each identified issue. Reviewers may
          also point out clinical or custodial practices that could be improved either at an institutional level
          or throughout all institutions; these practice suggestions can be addressed through QIP processes
          as well. It should also be noted here that institutional responses to QIPs are sent to the SMHP
          and DAI leadership for review. If any QIP response is felt to be inadequate, the SMHP and/or the
          DAI will contact the institution to request clarification or request additional development or
          implementation of the QIP. QIPs are not considered finished until approved at the headquarters
          level.

          Table 23 lists qualitative judgments of staff performance in suicide cases. A “no” answer can
          reflect anything from a singular error in the treatment or care of the patient to a pattern of poor
          care, whereas a “yes” finding reflects a range of actions and behaviors that were consistently
          professional and adequate.

Table 23: Findings of Individual Case Reviews, part 1

 Inmate      Suicide      Adequate      Adequate       Good       Adequate     Adequate    Adequate      Treatment
              Risk       Suicide Risk   Treatment     Quality     Nursing      Custody    Emergency      Refusal?
            Adequately   Management?      Plan?       Mental      Rounds?      Checks?    Response?
            Assessed?                                 Health
                                                     Contacts?
   A            Y             Y           N/A           Y            Y            Y           Y               Y
   B            Y            N/A          N/A           Y            Y            Y           Y               Y
   C            N             N           N/A           N            Y            N           Y               N
   D            Y            N/A          N/A          N/A          N/A           N           N               Y
   E            Y             Y            Y            Y           N/A           Y           Y               Y
   F            Y             Y           N/A           N*          N/A           Y           Y               Y
   G            Y            N/A          N/A          N/A           N            N           Y               Y
   H            N             N           N/A           Y            Y            Y           N               Y
   I            Y             Y            N            N           N/A           Y           N               Y
   J            Y            N/A          N/A          N/A           Y            Y           N               Y
   K            Y             Y            Y            Y           N/A           Y           Y               Y
   L            N             N            N            N            Y           N**          Y               Y
   M            N             N            Y            Y            N            N           N               Y
   N            N             N            N            N            N            Y           Y               N
   O            N             N            N            N            N            N           N               Y
   P            N             N            N            N           N/A           Y           N               Y
   Q            N             N            N            N            Y            Y           N               N


                                                                                                      43 | P a g e
    Case 2:90-cv-00520-KJM-SCR               Document 7038          Filed 01/28/21      Page 348 of 405
                                                                          Annual Suicide Report    2015


R           Y              Y              Y           Y            N/A               Y         N        Y
S           Y              Y              Y           Y            N/A               Y         Y        Y
T           N              N              N           N              Y               Y         Y        Y
U           Y              Y              N           N              N               Y         Y        Y
V           N              N              N           N              Y               Y         N        Y
W           Y              Y              Y           Y              Y               Y         Y        Y
X           Y              Y              Y          N***            Y            N****        Y        Y
    *Based on poor documentation of last visit. **Based on allowance of window covering. ***Based on frequent
    refusal of services; HRL was provided. ****Based on allowance of an obstruction to viewing

    Starting from the far left column, problems with at least one suicide risk evaluation were found
    in 10 cases (42%). Problems ranged from issues with reviewing or gaining access to suicide
    attempt histories (two cases), failing to include information already reported about suicide
    attempt history (two cases), poor identification or documentation of risk factors (four cases), to
    failure to complete suicide risk evaluations when they were required by clinical standards or
    policies (two cases). Issues with suicide risk evaluations are particularly problematic, as
    inadequate assessment most likely leads to difficulties with safety planning (e.g., not having
    information on what triggered past attempts) and risk management (e.g., not managing the actual
    level of risk as risk had been underestimated). Therefore, it is not surprising that all cases
    identified as having problems with SREs are also considered to have problems with risk
    management.

    Issues with adequacy of suicide risk management practices were noted in 11 cases (46%). In at
    least one situation, risk management efforts were inadequate or failed to address the level of
    suicide risk indicated. Additionally, in some cases suicide risk evaluations indicated very low
    risk and in some cases policies were followed such that the inmate did not require evaluation;
    these cases are marked as not applicable (N/A). In cases marked N or No in Table 22, issues
    were quite varied. These included placement of a patient on suicide precautions in an unsafe cell
    in one case, a failure to conduct a SRE within timelines in another case, problems with full
    implementation of high risk management lists or programs in two cases, failure to plan for an
    inmate’s reaction to bad news in one case, and provision of KOP medications in another case
    where the inmate had mentioned a previous plan to die by overdose.

    Another area impacted by the quality of suicide risk evaluation is mental health treatment
    planning. If risk for suicide is underestimated in a case, it stands to reason that treatment
    planning will also miss key components of what should be addressed clinically. In six cases,
    adequate treatment planning was noted. In seven cases, poor treatment planning was found. In
    the remaining two cases, risk evaluation and treatment planning was hampered by a patient’s
    unwillingness to engage in treatment or evaluation services. In such cases, treatment planning
    should focus on efforts to engage the patient, attempts to gain historical and collateral
    information, and so forth.

    The quality of mental health contacts was rated as not applicable in three cases where there were
    few or no evaluations beyond mental health screening. For cases rated Y (nine cases or 43% of

                                                                                                  44 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 349 of 405
                                                                  Annual Suicide Report    2015


applicable cases), the decided majority of clinical contacts were positive and in line with
professional expectations. For the 12 cases rated N (57%), at least one clinical contact was below
standards, such as incidents where poor documentation was present or where patient treatment
refusals were not addressed.

Nursing rounds and/or nursing observations are required for inmates in segregated housing
settings, inpatient settings, and while a patient is on suicide watch or precautions either in
alternative housing or in MHCB. Cases marked N/A are those in which the inmate or patient was
never in such a setting. Problems in nursing rounds were found in five of the remaining 16 cases
(31%) , specifically: One case where required psychiatric technician rounds were not
documented (in ASU), one case where nursing observations for a patient on 15 minute checks
were not staggered, one case where a nursing check required each shift did not ensure that the
patient was living/ breathing, one case of delays in starting an order for 15 minute checks, and
one case where checks in alternative housing were not documented or staggered. In 11 (69%) of
applicable cases nursing rounds were done adequately.

Custody checks occur in all institutions for all inmates. For example, custody conducts
institutional counts multiple times in each 24 hour period. In 17 cases (71%), custody checks
were rated as adequate and conducted per policy. Of the remaining seven cases, four involved
situations where window coverings or draping of bunks was allowed despite custody policy
forbidding the practice. In another case, an inmate kept a blanket over his head, with custody
checks not ensuring living/breathing. In the remaining two cases, rounds were completed later
than specified by policy around the time of the death.

Emergency response by custody officers, nursing staff, and medical staff are considered in
ratings of emergency response. In 14 cases (58%), no issues with emergency response were
noted. In four cases, issues with bringing complete cut-down kits were found. In three cases,
issues with timely AED placement or AED functioning were reported, and in two cases delays in
emergency response occurred. Other issues were rather idiosyncratic; such as the incident of an
ambulance going to the wrong institution and a case where CPR was discontinued during
transport to the TTA.

Issues related to patient refusal of evaluation were cited in three cases (12.5%). In these cases,
patients with safety or privacy concerns declined to be brought out to confidential settings for
clinical contacts while also likely withholding information when contacted at cell-front was
noted. In these cases, reviewers recommended QIPs to address patient refusal and to promote
treatment planning when a patient declines to come out of cell for confidential contacts. The
problem of patients not wanting to be seen talking to mental health, yet needing these services, is
a difficult issue to combat.

Table 24 lists additional common findings of case by case reviews.



                                                                                          45 | P a g e
Case 2:90-cv-00520-KJM-SCR                        Document 7038         Filed 01/28/21       Page 350 of 405
                                                                             Annual Suicide Report    2015


Rigor mortis is a condition of the body postmortem that indicates a person has been deceased for
at least four hours. 24 In 2015, only one case was found to be in rigor mortis at discovery. This
case occurred in a CTC. By comparison, four cases were found in rigor mortis in 2014. This may
suggest improvements in the quality of safety/welfare checks, the implementation and use of
Guard One throughout institutions in the CDCR, or simple chance variance.

The method used for each suicide is listed for the reader’s reference. As in prior years and in
other prison systems, hanging is easily the most common method of suicide in incarcerated
populations, accounting for the means for 83% of the suicides in the CDCR in 2015.




Table 24: Findings of Individual Case Reviews, part 2

          Inmate    Patient      Method Used       Prior        Higher        Housing/        MHSDS
                    Found in                       Suicide      Level of      Cellmate        Status at
                    Rigor                          History/     Care          Present?        Time of
                    Mortis?                        # of Prior   Indicated?                    Death &
                                                   Attempts                                   LOC?
          A         N            Hanging           Y/2          N             GP/Y            N
          B         N            Hanging           N/0          N             ASU/N           N
          C         N            Asphyxiation      N/0          Y*            ASU/N           N
          D         N            Hanging           N/0          N             SHU/N           N
          E         N            Hanging           Y/1          N             GP/N (out to    N
                                                                              work)
          F         N            Hanging           Y/2          N             GP/N            N
          G         Y            Asphyxiation      N/0          N             CTC(GP)/N       N
          H         N            Overdose          Y/1          N             ASU/N           N
          I         N            Hanging           N            Y**           GP/N            N
          J         N            Hanging           N/0          N             GP/N            N
          K         N            Hanging           Y/3          N             ASU/N           CCCMS
          L         N            Hanging           Y/6          Y             GP/N            CCCMS
          M         N            Hanging           Y/1          N             GP/N            CCCMS
          N         N            Jump              Y/1          Y             SNY/N           CCCMS
          O         N            Hanging           Y/1          Y             STRH/N          CCCMS
          P         N            Asphyxiation/     Y/3          N             CTC/N           CCCMS
                                 Overdose
          Q         N            Hanging           Y/1-3***     Y             ASU/N           CCCMS
          R         N            Hanging/          Y/3          N             GP/N            CCCMS
                                 Cutting
          S         N            Hanging           Y/1          N             GP/N            CCCMS
          T         N            Overdose          Y/5          Y             GP/N            EOP
          U         N            Hanging           N/0          N             GP/N            EOP
          V         N            Hanging           Y/3-7        Y****         ASU/N           EOP
          W         N            Asphyxiation      N/0          N             GP/N (out to    EOP
                                                                              work)
          X         N            Hanging           Y/2          Y*****        ASU/N           EOP

24
     https://en.wikipedia.org/wiki/Rigor_mortis

                                                                                                     46 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038           Filed 01/28/21         Page 351 of 405
                                                                            Annual Suicide Report     2015



     *Inclusion in the MHSDS seemed warranted **Per policy, should not have been discharged from CCCMS
     ***Incidents on 1/7/14, 4/22/14, and 10/7/15 were without clear intent ****Recommended during Regional
     Team visit, December, 2014 *****Due to worsening psychosis

There is a robust literature on the heightened chronic risk of suicide for individuals with prior
attempts. This risk is especially robust when a person has a history of two or more suicide
attempts. 25 It is thus not surprising that 16 of the 24 cases (67%) who died by suicide in 2015
also had a history of prior attempts, with 10 cases (42%) having a history of multiple attempts.
Deaths occurring on a person’s first attempt are correlated with the use of a highly lethal method,
such as firearms in the community and hanging in the case of prisons. Hanging is a highly
accessible means for suicide in prisons. The ability of a person to abort a suicide attempt mid-
way through the event is usually impossible in hanging. 26

Clinicians can use several interventions for risk management purposes, including transfer to
inpatient hospitalization, transfer to a more intensive level of care, or placement in a high risk
management program. Inpatient psychiatric hospitals, for example, are able to restrict means to
hanging by eliminating tie off points. In 2015, reviewers found reason to indicate that more
intensive risk management may have been needed in nine cases (37.5%). Of these cases, one was
recommended for a higher level of care by a visiting Regional Team, two should have been
considered for placement or retention in the MHSDS, one showed signs of psychotic
decompensation, two should have been considered for higher levels of care due to frequent
refusal of services, two were removed from high management lists or programs, and one had
received bad news and had threatened to harm himself if this news was received.

Housing status is listed next with findings regarding whether a cellmate was present or not at the
time of the suicide. In 23 cases (96%), there was either no cellmate present or the deceased had
been in a single cell at the time of the suicide. In the one case where a cellmate was present, the
deceased hung himself during the overnight hours.

Finally, the level of care for each case at the time of death is listed. The high frequency of
suicides within the MHSDS is both to be expected and a cause for continued quality
improvement efforts.

Chapter IV. Review of Suicide Prevention Initiatives in 2015

Introduction: The development and implementation of Quality Improvement Plans following
deaths by suicide is but one of many pieces of a comprehensive suicide prevention strategy.
These plans occur too late for the deceased, but correct problems and offer training and


25
   E.g., Forman, Berk, Henriques, Brown, & Beck, 2004. History of multiple suicide attempts as a behavioral marker
of severe psychopathology, American Journal of Psychiatry, 161, 437-443.
26
   https://www.hsph.harvard.edu/means-matter/means-matter/case-fatality/

                                                                                                     47 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 352 of 405
                                                                              Annual Suicide Report      2015


prevention plans that may contribute to decreasing the risk of suicide in an institution and in a
system in the future.

There are many additional aspects of a comprehensive suicide prevention strategy. 27 Such a
strategy includes ensuring a solid screening process occurs at various points of incarceration,
establishing a referral process, written procedures and policies for suicide prevention are
maintained and updated as needed, and there are effective methods for evaluating proof of
practice of existing and/or on-going suicide prevention programs and initiatives. In addition,
comprehensive suicide prevention programs must have a commitment to staff training, with the
provision of on-going training on suicide risk detection and referral to all correctional
employees. In addition, the complexities and specifics of suicide risk evaluation, risk
management, and intervention training must be provided to mental health staff. Comprehensive
programs also assure easily available mental health services for inmates who request and/or are
referred for these services, along with a variety of care options and levels. Suicide prevention
materials must be readily provided for inmates and for those who interact with inmates (e.g.,
family members, work supervisors). Communication between disciplines and shifts must be
prioritized, particularly regarding high risk inmates. 28

The CDCR has worked diligently to ensure that a comprehensive suicide prevention program is
in place. This effort has been shared with and reviewed by the Office of the Special Master and
the OSM’s experts for many years. It is beyond the scope of this report to review all suicide
prevention program efforts over these many years. Rather, the information provided in this
section reviews advancements in the CDCR suicide prevention program during the 2015
calendar year and shortly thereafter.

Suicide prevention efforts developed, initiated, and/or implemented during the reporting
year: Numerous initiatives were either under development at the close of 2015 or had been
implemented during the year. Each initiative is described below with notation of the status of the
project on December 31, 2015 as well as the current status of each effort.

     •   New Five-Day Follow-Up Form: Patients are known to be at elevated risk for suicide
         upon release from inpatient settings per studies conducted in the community. 29 The Five-
         Day Follow-Up Form (CDCR MH-7230-B) used by the CDCR is intended to ensure
         clinical contacts with patients returning from inpatient settings in cases where the reason
         for admission was danger to self. Whereas the old form had been contained on one page
         for all five days, leaving little room for documentation, the new form developed has two
         pages with sufficient room for recording the patient’s comments and the clinician’s

27
   Hayes, L.M. (2013). Suicide Prevention in Correctional Settings: Reflections and Next Steps. International
Journal of Law and Psychiatry, 36, 188-194.
28
   Preventing Suicide in Jails and Prisons, World Health Organization, 2007
29
   Qin, P., & Nordentoft, M. (2005). Suicide Risk In Relation to Psychiatric Hospitalization, Archives of General
Psychiatry, 62, 427

                                                                                                       48 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21     Page 353 of 405
                                                                Annual Suicide Report    2015


      assessment of the patient. The new form also contains several structured, suicide-specific
      questions so as to ensure clinicians and psychiatric technicians are asking about suicidal
      thoughts, desire, and intention. The new form also requires mental health clinicians to
      complete a safety/treatment plan with the patient. The new form was routed and approved
      by all required committees by the end of 2015. Involved unions were noticed. The form
      was readied for distribution and materials for Training for Trainers were prepared and
      delivered by webinar in January, February, and May, 2016. Training for Trainers
      materials were co-taught by mental health and nursing staff. The form was released for
      use on June 10, 2016.

  •   ASU Post-Placement Screening Questionnaire: All inmates are screened prior to
      placement in segregated housing units for mental health symptoms. Once placed in
      segregated housing, all inmates are contacted daily by psychiatric technicians. In
      addition, identified mental health patients are seen on a regular basis by mental health
      clinicians. As inmates may experience distress upon placement, the ASU Post-Placement
      Screening Questionnaire is a brief measure (12 to 13 items) that is administered by a
      psychiatric technician to non-MHSDS inmates and assesses an inmate’s level of distress
      and the presence or absence of suicidal thoughts or behavior. The screening questionnaire
      has set scoring rules that, once scored, guide the psychiatric technician regarding whether
      a referral to mental health is indicated, and if so, to what degree of urgency. Inmates who
      refuse the screen are to be referred to mental health on an urgent basis. The new form
      (CDCR MH-7790) was also routed and approved by all required committees by the end
      of 2015. Involved unions were noticed. The form was readied for distribution and
      trainings (co-taught by mental health and nursing staff) were prepared, again via the
      Training for Trainers format. The PowerPoint presentation for the form had been
      reviewed and approved. This form was also released for use on June 10, 2016.

  •   Provision of Beds for Alternative Housing Cells: Several tours and audits of suicide
      prevention practices at various institutions had noted the lack of a physical bed in certain
      alternative housing cells. These cells are used with patients who are awaiting transfer to a
      MHCB and patients in these cells are typically on Suicide Watch (direct, one-on-one
      observation). Without available beds, patients were placed temporarily in cells with
      mattress placed directly on the floor. As this could be experienced as punishment, the
      CDCR agreed to ensure beds were placed in all alternative housing cells. A bed (Norix
      Stack-a-Bunk) was selected and was purchased for this purpose. Beds were delivered to
      all institutions in need of them by the end of 2015. A Mental Health Services policy was
      drafted for patients pending MHCB transfer that includes provision of a Stack-a-Bunk in
      alternative housing. This policy remains under review currently.




                                                                                        49 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21     Page 354 of 405
                                                                Annual Suicide Report    2015


  •   Updated Initial SRE Mentoring Training for Trainers: The SRE Mentoring training slides
      and webinar were updated to place more emphasis on mentoring safety/treatment
      planning, to develop more of an understanding of the interplay of chronic and acute risk
      factors in cases, to further explore the role of the mentor in assessing and expanding
      clinician competencies around suicide risk evaluation, and to further teach the Quality of
      Care Tool for SRE Mentors. The revised training was offered on several occasions in
      2015 and 2016 and was well received. Additional revisions were made to the presentation
      in November, 2016.

  •   Development of a SRE Mentoring ‘Booster’ Training: The requirement for an annual
      ‘booster’ training was discussed and a presentation developed for current mentors. The
      ‘booster’ training was re-cast as an advanced course in suicide risk evaluation mentoring,
      with a focus on risk assessment competencies, methods for competency assessment, and
      ways to enhance SRE skills in clinicians at all levels of proficiency. The training was
      undergoing revisions at the end of 2015 with a plan to implement training in 2016. This
      training indeed occurred in 2016, with the mentoring booster training attended live by 50
      current mentors in November, 2016 and with numerous others taking the course by
      webinar in December, 2016.

  •   Memorandum Clarifying SRE Mentoring Requirements: A memorandum was drafted in
      2015 outlining and revising the requirements for SRE Mentoring. Clinicians working in
      Mental Health Crisis Bed settings were required to complete mentoring annually,
      whereas other clinicians were maintained on an every two year schedule. Clinicians were
      also notified of two SRE audits; one to be conducted by institutional program supervisors
      and the other by headquarters staff. Each mental health clinician will have an audit of a
      completed SRE at least once every six months. Processes for corrective action when audit
      criteria are not met were described as well. Finally, the expectation that SRE Mentors
      would receive annual ‘booster’ training was written. This memorandum was released on
      March 15, 2016. Institutional program supervisors began auditing SREs using the Chart
      Audit Tool, reporting results through the Quality Management Portal. Headquarters
      audits have been modified to solely focus on inter-rater reliability checks on institutional
      audits.

  •   Memorandum Clarifying SRE Training: SRE Training is a 7-hour CME-approved course
      that is provided to all CDCR mental health clinicians within 180 days of hire and every
      two years thereafter. The SMHP updates the 7-hour SRE class annually. The updated
      class is provided to a large group of institutional clinicians who then teach the class at
      their home institutions. This process of annual updates in Training for Trainers also
      ensures trainers are adherent to the content and focus of the course. A memo clarifying
      SRE Training requirements was drafted in 2015, noting that the requirement extends to

                                                                                        50 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21     Page 355 of 405
                                                                Annual Suicide Report    2015


      clinicians hired through a registry and to telepsychiatry. Training for Trainers occurred in
      October, 2014 for the 2015 training year and in October, 2015 for the 2016 training year.
      This memorandum was pending release at the end of 2015 and was released on March 24,
      2016.

  •   Memorandum Clarifying SPR FIT Coordinator Duties: A memorandum was released on
      August 14, 2015 instructing all institutions to designate one Senior Psychologist,
      Specialist to the role of institutional SPR FIT Coordinator, tasked with leading suicide
      prevention efforts at each facility. The role also includes coordination of mental health
      assessments/evaluations and mental health training/orientation. A duty statement for the
      position was attached to the memorandum. The memorandum and clarification of duties
      was designed to ensure all institutions had dedicated resources within mental health
      programs to coordinate suicide prevention efforts. This memorandum was released on
      August 14, 2015 and implemented; the memorandum is found in Appendix VII.

  •   Memorandum Regarding SRE Tracking: A memorandum was released on October 23,
      2015 mandating that all institutions use appointment schedulers to simultaneously enter
      SREs completed by clinicians into the patient record and into the Mental Health Tracking
      System (MHTS). Clinicians were required to enter scheduled and unscheduled SRE
      appointments on daily work logs. This process is automated in EHRS institutions, but
      must be entered in this manner in institutions using the eUHR. The memorandum ensures
      proper tracking of suicide risk evaluations and timely scheduling and completion of
      follow-up risk evaluations. This memorandum is found in Appendix VIII.

  •   Updated Cadet Training: An update to training provided at the cadet training academy on
      the Mental Health Services Delivery System (MHSDS) and on Suicide Prevention was
      drafted and reviewed in 2015. Training for trainers on the updated version was provided
      on November 30, 2015. Lindsay Hayes attended the updated training as it was being
      given to a cadet class, providing feedback on the training in December, 2015. The
      training and accompanying lesson plans were undergoing revisions in light of Mr. Hayes’
      feedback at the end of 2015. This revised training was distributed on May 11, 2016.

  •   Workgroup on Keep-on-Person (KOP) Medications: In response to a headquarters QIP
      (from Case H in 2015), a workgroup was assembled to discuss how prescribed
      medications should be distributed in high-risk settings, such as in ASU Intake Cells. The
      workgroup met several times, considering input from pharmacy, custody, nursing,
      medical, and mental health representatives. Suggestions for limiting KOP medications in
      certain settings, relying on the Complete Care Model to communicate when medications
      should be administered as Direct Observation Therapy (DOT), and other potential
      solutions were discussed. Workgroup meetings focused on integrating clinical practices

                                                                                        51 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038             Filed 01/28/21         Page 356 of 405
                                                                             Annual Suicide Report      2015


         with KOP medications with new policy on the use of Over-The-Counter (OTC)
         medications. In addition, concerns about KOP medications will be an issue to be
         discussed at morning huddles.

     •   Training in Safety Planning: In response to reviews by regional staff, headquarters staff,
         and Mr. Hayes, training entitled “Safety/Treatment Planning for Suicide Risk
         Assessment” was created in 2014 by Dr. Robert Canning. The class was updated in 2015
         with a slightly revised title, “Safety/Treatment Planning within Suicide Risk Assessment
         and Management.” The class included new content focusing on the on-going role of
         safety planning in managing suicide risk within the inmate population. Continuing
         medical education (CME) units are available to clinicians who take this course;
         attendance is mandatory for all clinical staff. The revised class was provided on four
         occasions between August and October, 2015Safety planning training was offered on
         multiple occasions in 2016, with training then planned every six months in order to
         accommodate newly-hired clinical staff. The role of safety/treatment planning was also
         incorporated into other updated trainings in 2016 (e.g., in suicide prevention
         videoconferences, the 7-hour SRE course, and in SRE Mentoring classes).

     •   Training in Complex Diagnostic Cases: This training, entitled, “Differential Diagnosis in
         Complex Mental Health Cases” was developed to assist treatment teams in considering
         cases involving self-harm. Clinicians and clinical teams can err in underestimating or
         overestimating risk for suicide, 30 particularly when cases present with complex
         diagnostic presentations and when patients engage in negative 31 or positive impression
         management. 32 The under- or over-reporting of symptoms of distress and the within-
         patient variances in reporting suicidal ideation or desire for death can cause considerable
         clinical confusion. For example, a patient who reports self-harm behavior due to “needing
         to get off the yard” can be seen as manipulative and may represent little else in the case.
         However, for a more vulnerable patient the pressure exerted by other inmates can be a
         source of considerable distress and may indeed give rise to a desire to die. An approved
         version of this training was presented to mental health clinicians on multiple occasions in
         2016.

     •   Training in Culturally-Competent Suicide Risk Assessment: In response to a 2015 QIP
         (Case E), training was designed to offer primary care physicians and mental health

30
   Horon, McManus, Schmollinger, Barr, & Jimenez (2013). A study of the use and interpretation of standardized
suicide risk assessment measures within a psychiatrically hospitalized correctional population. Suicide and Life-
Threatening Behavior, 43, 17-38.
31
   Sullivan & King (2010). Detecting faked psychopathology: A comparison of two tests to detect malingered
psychopathology using a simulation design. Psychiatry Research, 176, 75-81.
32
   Bagby & Marshall (2003). Positive impression management and its influence… A comparison of analog and
differential preference group designs. Psychological Assessment, 15. 333-339.

                                                                                                      52 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038           Filed 01/28/21        Page 357 of 405
                                                                           Annual Suicide Report    2015


         clinician’s specific approaches and tools to assess suicide risk in patients of various
         cultures and belief systems. Training included introductions to the DSM-5’s Cultural
         Formulation Interview, 33 the Cultural Assessment of Risk for Suicide (CARS), 34 and the
         Cultural and Protective Suicide Scale for Incarcerated Persons (CAPSSIP). 35 Interactive
         vignette-based practice of suicide risk inquiry in diverse cases was integrated within the
         training. The course was offered, with CME credits, on four occasions in 2015. Several
         hundred physicians and mental health clinicians attended the course.

     •   Training of Board of Prison Hearings (BPH) Commissioners: Two informational talks
         were developed for the BPH. First, the perception that participation in the MHSDS would
         cause a BPH denial (and the reaction of clinicians to this perception) was listed as a QIP
         in Case H. Case H requested to be taken out of the MHSDS prior to an upcoming BPH
         appearance, a request that was granted by his IDTT. In addition, two cases in 2015 (also
         Cases H and I) may have considered receiving a RVR as removing the possibility of
         parole. For these reasons, members of the SMHP met with administrators within the BPH
         on two occasions in 2015 to discuss the best way of going about offering information to
         commissioners. After these meetings, two trainings were developed. The first occurred in
         October, 2015, with commissioners briefed on the topic of how mental health clinicians
         evaluate RVRs and the role depression, psychosis, and other mental health conditions in
         influencing behavior temporarily or when untreated. The second training was scheduled
         with the intention of exploring perceptions about mental illness and future risk of
         violence. An area of focus for the second training was on encouraging treatment
         participation and treatment compliance as a way of decreasing violence risk. This second
         training occurred in January, 2016.

     •   BPH Commissioner and BPH Evaluator Access to the Urgent Response Mailbox: As a
         result of discussions between BPH administrators and SMHP representatives, a letter was
         sent to all BPH commissioners and all evaluators working for the BPH to notify them of
         the availability of the Urgent Response mailbox. The mailbox allows BPH
         commissioners or evaluators to alert headquarters mental health staff regarding any
         concerns for suicide in inmates or patients who are scheduled to go before the BPH or
         who appear distressed at or after a BPH hearing. For example, a patient who makes
         concerning statements during a pre-BPH evaluation can be referred to headquarters
         mental health personnel, who then notify the mental health program at the patient’s

33
   Lewis-Fernandez, Aggarwal, Hinton, L, Hinton, D, & Kilmayer (2015). Handbook on the Cultural Formulation
Interview. American Psychiatric Association Publishing, Washington, DC.
34
   Chu, Floyd, Diep, & Bongar (2013). A tool for the culturally competent assessment of suicide: The Cultural
Assessment for Suicide (CARS) Measures. Psychological Assessment, 25, 424-434.
35
   Horon, Williams, & McManus (Manuscript in review). The Culture and Protective Suicide Scale for Incarcerated
Persons (CAPSSIP): A measure for evaluating suicide risk and protection within correctional populations.
Submitted to Psychological Services.

                                                                                                   53 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038        Filed 01/28/21      Page 358 of 405
                                                                Annual Suicide Report    2015


      institution. Similarly, an inmate who appears highly distressed by a parole denial during a
      BPH hearing can be referred by any of the commissioners present, ensuring a mental
      health contact occurs on that same day. This project has been implemented. The Urgent
      Response Mailbox was being used by BPH commissioners and evaluators by the close of
      2015.

  •   Suicide Prevention Pamphlets: Inmate and Family Member: Suicide prevention
      pamphlets were designed for inmates and for family members during 2015. The
      pamphlets were specifically intended for suicide prevention purposes. Inmate pamphlets
      provided information on how to ask for help, noted common myths about suicide, and
      described feelings that may go along with suicidal thoughts. The varieties of ways
      inmates can be referred or self-referred for mental health contact are listed. The family
      and friends pamphlet provides a list of warning signs for suicide, clarifies common myths
      about suicidal people, and provides a mental health contact number. The pamphlets were
      distributed in July, 2015, accompanied by a memorandum dated July 30, 2015. The
      memorandum specified that inmate pamphlets were to be made available in all housing
      units, with family/friend pamphlets available in visiting areas. The process for ordering
      additional pamphlets was also detailed. Both pamphlets were distributed during the year
      in English. Pamphlets in Spanish for both inmates and friends/family members had been
      prepared and were moving towards printing by the end of 2015. All pamphlets are
      currently available and can be reordered and redistribution at any time. The memorandum
      sent to institutions and the pamphlets created and distributed are found in Appendix IX.

  •   ASU Activity Workbooks: ASU Workbooks were created in order to provide in-cell
      activities for inmates and patients in segregated housing units. The workbooks contain a
      variety of activities that inmates might use to distract themselves from the stress of the
      ASU placement, as ASU, particularly early in the placement, is known to be a high risk
      time/location for suicide. In addition, the workbooks contain suicide prevention messages
      and referral information scattered throughout the other content. The workbooks also serve
      as an item that custody officers and psychiatric technicians can use to encourage
      interaction with inmates and patients. Version 1 of the workbooks was re-ordered during
      the calendar year 2015, an indication of the regular use of these workbooks. The
      workbooks are available in English and Spanish. Additionally, a second version of the
      workbook was in development. The use of tablet-based activity booklets, using the tablets
      currently available in the inmate canteen, was also discussed. Implementation of Version
      1 of the workbook had been very successful. Version 2 of the ASU Activity Workbook
      was approved by the end of 2015 and workbooks were distributed throughout 2016.

  •   Columbia Suicide Severity Rating Scale (C-SSRS) Training and Inclusion in the EHRS:
      The C-SSRS is a well-established, empirically established, standardized suicide risk

                                                                                        54 | P a g e
Case 2:90-cv-00520-KJM-SCR                    Document 7038            Filed 01/28/21         Page 359 of 405
                                                                              Annual Suicide Report      2015


         measure 36 that has been incorporated as part of all suicide risk evaluations in the CDCR’s
         Electronic Health Record System (EHRS) beginning in 2015. The primary author of the
         measure, Kelly Posner, Ph.D. (from Columbia University, New York), was invited to
         present on the measure in 2015. She accepted and presented the C-SSRS to a group of 50
         CDCR clinician-trainers from over 30 institutions in October, 2015. The training was
         video-recorded and was just under two hours long. A group of handouts and a brief
         PowerPoint slideshow was constructed to aide clinicians in becoming familiar with
         administering the C-SSRS. The C-SSRS assists mental health clinicians by providing a
         structured way to inquire about suicidal history, to evaluate the intensity of suicidal
         ideation, and to assess the potential and actual lethality of suicide attempts. The recorded
         video presentation by Dr. Posner, handouts and other materials were distributed in
         February, 2016. Clinician trainers received two hours of approved CME credit on the C-
         SSRS based on the recorded (DVD) presentation. All institutions that received the EHRS
         in 2016 held C-SSRS training prior to their respective EHRS start dates.

     •   Collaborative Assessment and Management of Suicidality (CAMS) training: The CDCR
         began discussions with David Jobes, Ph.D., a clinical researcher at the Catholic
         University of America (Washington, D.C.) during 2015. Discussions centered on training
         a group of clinicians within the CDCR on CAMS. Dr. Jobes agreed to present on the
         principles of CAMS, a treatment intervention specific to working with suicidal patients,
         during a statewide suicide prevention videoconference in October, 2015. CAMS
         represents a promising intervention for mental health clinicians within the CDCR, as the
         therapy has wide community use, good empirical backing, 37 good support with other
         established treatments, 38 and flexibility to be used in a variety of settings. CAMS may be
         effective in targeting patients with high chronic risk for suicide, patients on high risk lists
         or in high risk programs, and patients with recent contemplation of or engagement in self-
         harm with intent. By the end of 2015, a purchase order to train an initial group of 50
         clinicians in CAMS was in process. A list of clinicians was identified at all institutions
         with mental health missions to be the first group to receive and use CAMS. CAMS note
         templates were under preparation for inclusion in the EHRS. Training began in January,
         2016 and continued until July, 2016. CAMS trainings occurred by using on-line training
         modules and a series of follow-up consultation calls with CAMS experts. A second round
         of clinician training is being arranged for 2017.

36
   Posner, Brown, Stanley, (2011). The Columbia-Suicide Severity Rating Scale: Initial validity and internal
consistency findings from three multisite studies with adolescents and adults. American Journal of Psychiatry, 168,
1266-1277.
37
   Jobes, Wong, Conrad, Drozd, & Neal-Walden (2005). The Collaborative Assessment and Management of
Suicidality versus treatment as usual: A retrospective study with suicidal outpatients. Suicide and Life-Threatening
Behavior, 25, 483-497.
38
   Andreasson, et al. (2016). Effectiveness of Dialectical Behavior Therapy versus Collaborative Assessment and
Management of Suicidality for reduction of self-harm in adults with borderline personality disorder and traits.
Depression and Anxiety, 33, 520-530.

                                                                                                       55 | P a g e
Case 2:90-cv-00520-KJM-SCR           Document 7038         Filed 01/28/21      Page 360 of 405
                                                                 Annual Suicide Report    2015




  •   Self-Harm Tracking and Predictive Algorithm: Self-harm incidents at every institution
      continue to be entered in MHTS. The data is used to identify institutions with high
      numbers of events and to track trends within and between institutions. In addition, using a
      technique called machine learning, the data will be used in developing a predictive
      algorithm. Machine learning algorithms can identify variables and variable combinations
      that may not at the surface appear related to increased short-term risk of self-harm, but
      can statistically establish these risks. The model allows for refinement as additional data
      points are entered. Work on a machine learning algorithm was begun in 2015, led by
      David Leidner, Ph.D., a specialist in informatics and data science. Dr. Leidner piloted an
      initial algorithm for predicting self-harm. Initial inquiries were made with several
      academic institutions regarding partnerships in developing the algorithm. More recently,
      a federal grant application was submitted in consultation with Drs. Ronald Kessler and
      Matthew Nock at the Harvard Medical School. The grant project hopes to refine the
      machine learning algorithm, increasing its predictive power and potentially alerting
      clinicians to patients with high degrees of likelihood of self-harm in the near future.

  •   On-Going Training through Monthly Suicide Prevention Videoconferences: Monthly
      suicide prevention videoconferences continue to occur. Institutional SPR FIT teams and
      mental health clinicians participate in the videoconference by viewing presentations in
      conference rooms using VTC connections or, when unable to attend in this manner,
      through phone lines. In 2015, the suicide prevention videoconference was used to review
      suicides and trends in suicides within the department, to brief staff on new or revised
      policies and procedures, to notify staff of suicide prevention trainings and resources (e.g.,
      membership in the American Association of Suicidology), and to provide didactic
      trainings. Trainings covered during the year included:
          o Behavioral markers for suicide, even when suicide is denied
          o Introductions to evaluating suicide risk in the EHRS
          o Methods for improving safety plans
          o The use of suicide intention scales (with vignette practice)
          o Understanding chronic risk for suicide
          o Understanding the interplay between chronic and acute risk for suicide and
              imminent/warning signs for suicide
          o Staff self-care and monitoring of reactions to suicidal patients
          o Introduction to CAMS.

  The suicide prevention videoconference is a continuing suicide prevention effort.
  Presentations continued in 2016.

  •   Revisions to the SRE and inclusion of additional suicide risk assessments in the EHRS:
      As noted above, the inclusion of the C-SSRS as part of every SRE conducted within the

                                                                                         56 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038            Filed 01/28/21        Page 361 of 405
                                                                          Annual Suicide Report     2015


        CDCR is planned as part of EHRS implementation. The C-SSRS adds a structured set of
        questions inquiring about the intensity of suicidal ideation and about the range of suicide
        attempts and suicidal behaviors in which the patient has engaged over his or her lifetime.
        In addition, the SRE in the EHRS adds detailed information about past suicide attempts
        when applicable, noting the timing of the attempt, the means used, the potential and
        actual lethality/medical consequence, and so forth. These additions should help clinicians
        construct more accurate judgments of acute and chronic risk, while ensuring greater
        accuracy in considering historic vulnerability to suicide. In addition, the EHRS contains
        seven suicide risk assessment tools that may be used as needed by clinicians. These
        additional tools can help with understanding cultural protective and risk factors in
        cases, 39 evaluate readiness 40 and/or capability for suicide, 41 evaluate motivations for
        suicide attempts, 42 and so forth. Each of these tools was provided by researchers to the
        CDCR. All of the measures mentioned above had been included in the ‘build’ of the
        EHRS, with the C-SSRS prominently featured within the EHRS SRE. Training in the
        additional suicide risk assessment tools available in the EHRS occurred via webinar in
        2016, with additional trainings offered in monthly videoconferences. Live and webinar
        trainings are planned for 2017.

Progress on each of these initiatives during 2016 will be reviewed in the 2016 Annual Report,
along with all new initiatives undertaken in the 2016 calendar year.

Chapter V. Conclusions

Introduction: The numerous efforts undertaken by the CDCR to reduce suicides, aided by the
consultation of the OSM, have been productive. While it may be impossible to say how many
suicides were prevented in 2015, the on-going efforts and new initiatives for suicide prevention
hold promise in reducing suicides within the CDCR. The rate of suicide in the CDCR in 2014
and 2015 dipped below the average rate of suicides in U.S. prisons in 2014 (the last reporting
year available) and the percentage of suicides occurring in segregated housing units declined in
both years. Efforts during the reporting year ranged from QIPs at the institutional level to
continuing work to train clinicians in suicide risk evaluation and risk management to changes in
policy and procedure to innovative projects. Yet, work remains to be done and efforts are on-
going.

Summary of Findings: In 2015, 24 suicides occurred within the CDCR, 22 males and two
females, at a rate of 18.6 per 100,000 inmates. Caucasian inmates and inmates in the age groups
30-34, 45-54, and over 60 died by suicide at a higher frequency then would be expected given

39
   CAPSSIP; ibid
40
   Chronic Readiness Questionnaire; Horon, McManus, & Sanchez-Barker (2013)
41
   Acquired Capability for Suicide Scales—Fearlessness About Death; Ribeiro, Witte, Van Orden, Selby, Gordon,
Bender, & Joiner (2014)
42
   Reasons for Attempting Suicide Questionnaire; Holden & Delisle (2006)

                                                                                                  57 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 362 of 405
                                                                   Annual Suicide Report    2015


their respective percentages within the CDCR population. Suicides occurred more commonly in
unmarried inmates with limited educational and vocational experiences. Health factors were
implicated in nearly half of the deaths by suicide in 2015. The frequency of suicide in segregated
housing has declined, but remains an area of continued focus. Inmates sentenced to life also had
a higher risk of suicide than inmates with determinant sentences. The first year of incarceration
was also correlated with higher risk. Only one (4%) suicide occurred in a cell with a cellmate
present (the cellmate was sleeping at the time), suggesting a protective impact of dual person or
dorm housing. Suicides were more likely in individuals with past attempts (67%), a finding that
is both expected and suggestive of potential interventions for (living) suicide
attempters/survivors. A broad range of precipitants for suicide were found in 2015, with in-
prison stresses repeatedly seen as underlying suicidal motives.

In comparison to the past 10 years, the suicide rate in the CDCR in 2015 of 18.6 per 100,000 is
the third lowest rate, with 2014 (17.0 per 100,000) and 2009 (14.9 per 100,000) the years with
the lowest rates. Two suicides of female inmates occurred in 2014 and 2015, higher than the
number of suicides in such settings in all but two of the prior 20 years. The frequency of suicide
over a 15-year period is highest in prisons with large mental health programs (1-2 suicides per
year) and lowest in settings with either minimal mental health programs or predominantly
inpatient missions (0.0 to 0.4 suicides per year on average). In 2015 and in the past 10 years in
general, suicides occur most frequently in March, May, and October.

The frequency and rate of suicide within the CDR has declined over the past 10 years (2006-
2015). In 2015, there were fewer suicides by Caucasians and Hispanic/Latinos, the two groups
with the highest frequency of suicide in the CDCR, and fewer suicides in individuals ages 25-54.
Suicides of inmates age 55 and over trended higher in 2015 compared to the previous five years.
Suicides in segregated housing units have also declined in frequency compared to prior years,
though the setting continues to have an elevated risk of suicide compared to other housing types.
Inmates who qualify and have been placed in the MHSDS likewise continue to have an increased
risk for suicide, with MHSDS rates of 52.6 per 100,000 in the past 10 years (2006-2015) versus a
rate of 10.3 per 100,000 in non-MHSDS inmates over the same period.

As referenced above, the rate of suicide in U.S. Prisons rose to 20.0 per 100,000 inmates in 2014,
the last year such statistics are available. This rate is higher than the rate of suicide in the CDCR
in 2014 and in 2015. The community rate and U.S. Prison rate increased in 2014 and 2015. Men
incarcerated in the CDCR had a lower rate of suicide then men in the community in 2014 and
2015.

When a non-lethal self-harm incident occurs within the CDCR, institutions are required to report
the event using a database of such incidents. When a suicide occurs, a broad and intensive series
of reviews is set in motion. These internal and external reviews evaluate the performance of staff
members within and across disciplines, evaluate the emergency response, discuss the event in
terms of procedural and policy considerations, and determine what corrective action plans must

                                                                                           58 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 363 of 405
                                                                Annual Suicide Report    2015


be put in place to ensure qualitative improvements to suicide prevention programs. In 2015, a
total of 115 quality improvement plans were initiated and completed, addressing case-specific,
institution-specific, and departmental level actions need to enhance suicide prevention efforts.
Personnel at the headquarters level review all deaths within the CDCR and carefully evaluate all
deaths initially listed as “unknown” or as caused by overdose in conjunction with the Death
Review Committee. Suicide case reports are carefully edited and reviewed for quality, with
quality audits completed by Quality Management staff. With very few exceptions, Suicide Case
Reviews meet all or nearly all audit criteria. Experts working with the OSM participate in SCRs.

Suicides occurring in the CDCR in 2015 were understandably rather idiosyncratic and often
multi-determined. Each of the 24 suicides in the year was reviewed to illustrate the complexities
of the case and how suicidal outcomes can manifest within very different individuals. Case
findings are also tabulated to look at key issues in improving suicide prevention. Among these
findings are continued difficulties with suicide risk evaluations, suicide risk management, and
treatment planning by mental health clinicians, manifested in a variety of ways over the 10 to 11
cases where these issues were identified. The need for higher levels of care considerations was
also indicated in a number of cases. Issues with custody rounds, such as allowance of in-cell
draping, concerns with emergency response, such as failing to bring full cut-down kits to an
emergency, and problems with nursing/psychiatric technician checks were noted in a number of
cases as well. Only one inmate was found in a state of rigor mortis in 2015, an improvement over
past years.

Numerous suicide prevention initiatives continued, created, or initiated in 2015 were also
reviewed. These initiatives strive to ensure a comprehensive suicide prevention strategy remains
in place and continues to grow and develop as the population of the CDCR changes. Initiatives
arose from many sources: QIPs, suggestions by Mr. Lindsay Hayes, audits of clinician
performance, results of mentoring of clinicians trained in suicide risk evaluation and treatment
planning, discussions and coordination with others (e.g., BPH commissioners), inspiration from
public suicide prevention campaigns, discussions with and consultation with renowned
Suicidologists, and even advances in informatics and other technologies. The development of the
EHRS also set in motion a number of opportunities for innovation in the service of improving
patient safety.

Report implications and future steps: A group of 10 report implications are enumerated below.
The order of these implications is based on the order in which each finding was presented in the
annual report. Future steps regarding each implication are to be discussed during DHCS SPR FIT
meetings in 2017.

   1. Suicides in older adults: As was noted in Table 2, inmates over the age of 60 make up 6%
      of the population within the CDCR. However, 21% of suicides within the CDCR in 2015
      were within this age group, making this the age group most overrepresented in number of
      suicides. High rates of suicide are found in the community in elderly males, particularly

                                                                                        59 | P a g e
Case 2:90-cv-00520-KJM-SCR                 Document 7038           Filed 01/28/21       Page 364 of 405
                                                                         Annual Suicide Report    2015


        Caucasian males, during their mid- and late 70s and 80s. For mental health clinicians, the
        use of measures of connectedness with elderly patients should be discussed. The
        Interpersonal Needs Questionnaire (INQ) 43 is included as an optional assessment in the
        EHRS and is a fine choice in such cases.

     2. Suicides in inmates with co-morbid medical conditions: Nearly half (46%) of the inmates
        who died by suicide in 2015 were considered to have serious and/or chronic medical
        problems. This group of inmates had medical problems ranging from chronic low back
        pain or headaches to cases of liver disease, cancer, hemiparesis, diabetic neuropathy,
        cardiac problems, and worsening blindness. Community surveys of suicide in patients
        with significant medical problems have had varying results, with roughly 10% of
        suicides seen as attributable to medical disorder or to terminal illness. 44 In comparison,
        the one year (2015) total of 11 suicides of 24 in the CDCR is rather elevated and thus a
        potentially promising area to increase suicide prevention efforts. Several institutions
        have implemented pain management committees and pain management groups for
        inmates, and the success of these endeavors is being looked at closely.

     3. Suicides in segregated housing units: Despite a decline in the frequency of suicide
        in segregated housing units, the rate of suicide in these units remains high
        compared to other housing settings within the CDCR. The three deaths occurring in
        dedicated intake cells is also concerning. Each of these three suicides occurred
        using different methods (hanging from a sprinkler head, hanging from ventilation
        grate holes, and overdose on KOP medications). A great deal of effort has already
        gone into improving safety and suicide prevention procedures in these settings, and
        it may be too early to fully ascertain the success of those efforts. However, further
        discussion of the implications of this finding may lead to new innovations.

     4. Suicides in Inmates with Life Sentences: As 54% of suicides in 2015 occurred in
        patients with life sentences, compared with a roughly 20% proportion of the
        population overall, ‘Lifers’ represent a potential target for intervention. From a
        prevention standpoint, a number of efforts have been taken to try to combat this
        finding, including conducting training for BPH commissioners and evaluators,
        broadening the Urgent Response referral system to commissioners and evaluators,
        and training clinicians to ‘bracket’ BPH hearings with mental health contacts.
        Clinicians were advised during suicide prevention videoconference training to
        evaluate the degree of a patient’s distress present before and after the hearing, to

43
   Cukrowicz, Cheavens, Van Orden, Ragain, & Cook (2013). Perceived burdensomeness and suicide ideation in
older adults. Psychology and Aging, 26, 331-338.
44
   https://www.theguardian.com/society/2011/aug/23/suicide-chronic-illness-study



                                                                                                 60 | P a g e
Case 2:90-cv-00520-KJM-SCR                   Document 7038            Filed 01/28/21         Page 365 of 405
                                                                             Annual Suicide Report      2015


        discuss the patient’s thoughts on the outcome of the hearing, and to respond
        proactively to what may be experienced as bad or distressing news. Further
        education regarding the risk of suicide in inmates with sentences of Life without
        the Possibility of Parole is planned. Further interventions may also include holding
        “open lines” on general population lines, where inmates who do not require
        placement in MHSDS may seek time-limited services.

     5. Suicides in Inmates during the First Year of Incarceration: In 2015, five of the 24 suicides
        occurred within the first year of incarceration, representing 21% of suicides. Three of the
        suicides occurred in inmates who were in reception centers (Cases A, M, & S). In
        reviewing the five cases, there is not a great deal of consistent or readily attributable
        commonalities between the deaths. However, based on 2015 data, additional attention to
        the variable ‘early in sentence’ is important to consider. The DHCS SPR FIT may wish to
        discuss ways to encourage clinicians in reception centers and those working with new
        arrivals to institutions (who are in their first year of incarceration) to exercise a more
        conservative approach to risk management with these individuals, to possibly include
        enhanced outreach.

     6. Prevalence of Suicide in Single Cells and Double Cells without Assigned Cellmates: The
        CDCR has recognized the potential protective gain of cellmates for many years, noting
        the majority of suicides occur in cells with single occupancy. The same is true for 2015,
        with 96% of suicides occurring without a cellmate present at the time of the death. While
        it is true that inmates can wait for their cellmates to leave the cell for work or
        programming (this was true in two cases in 2015), there is still a preponderance of
        suicides in inmates with no assigned cellmate (20 of the 24 in 2015). Cellmates have
        interrupted suicide attempts, called for help during attempts, talked others into aborting
        attempts, and provided social support in many cases. The DHCS SPR FIT may discuss
        ways to encourage double cell or dorm placements in institutions, understanding that this
        is an optimal arrangement for most inmates.

     7. Suicide Attempt History: Ten of the inmates who died by suicide in 2015 had made
        multiple past suicide attempts, with another six having made one prior attempt. Thus,
        two-thirds of those who died by suicide had made at least one prior attempt. The lifetime
        risk of death by suicide increases with single attempts and much more so after a second
        attempt; this is true in psychiatric and non-psychiatric samples. In psychiatric samples,
        the finding is particularly true in individuals with schizophrenia and bipolar disorder 45




45
  Tidemalm, Langstrom, Lichtenstein, & Runeson (2008). Risk of suicide after suicide attempt according to
coexisting psychiatric disorder: Swedish cohort study with long-term follow-up. British Medical Journal, 337.

                                                                                                      61 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038           Filed 01/28/21        Page 366 of 405
                                                                           Annual Suicide Report    2015


        and in patients shortly after release from hospitalization. 46 The CDCR has already
        instituted post-hospitalization follow-up contacts by policy, with procedures such as five-
        day follow-ups, MHCB discharge custody checks, and so forth. The DHCS SPR FIT may
        consider and discuss additional interventions for suicide survivors, such as developing a
        pilot program to pilot the use of CAMS treatment with identified high risk patients;
        patients who have recent suicide attempts or a history of multiple prior attempts. As
        noted, CAMS is a targeted intervention that is specific to suicide risk. The treatment
        includes patient ratings of what most fuels suicidal desire for them and what has
        historically contributed to a wish to die by suicide, while challenging this wish for death
        with considerations of making life worth living.

     8. Focus on Common Triggers or Motives for Suicide: Logically, in-prison stresses such as
        safety or enemy concerns, victimization fears, gang pressures, or new charges can be seen
        as sufficient to trigger or motivate suicidal contemplation. These motives were well
        represented in suicide case reviews conducted in 2015. However, mental health clinicians
        can sometimes underestimate the impact of in-prison stresses, noting either the inmate’s
        role in the difficulty or the responsibility of custody staff in managing these issues. In
        other occasions, clinicians rely on reported mental health symptoms without assessing
        current distress. Additional highlighting of ways to integrate the role of in-prison stresses
        in inmate suicide within on-going suicide risk evaluation and suicide prevention trainings
        may be helpful.

     9. Prevalence of Suicide in Mental Health Patients: The difference in rates of suicide over a
        10-year period between identified mental health patients (52.6 per 100,000) and non-
        mental health inmates (10.3 per 100,000) is striking. While this suggests the CDCR has
        been doing a good job of screening and identifying inmates in need of mental health
        services, it also suggests that more can be done to prevent suicide in identified MHSDS
        participants. Of course, suicide is associated with a number of mental health disorders,
        and individuals who self-harm are placed in the MHSDS, suggesting that the rate in
        mental health populations will always be larger. 47 However, MHSDS staff members
        receive increasingly extensive and intensive suicide risk evaluation and suicide risk
        management training in the service of their patients. Increasing the focus on and training
        for suicide-specific interventions and suicide-specific treatment planning may be the most
        advantageous next step and may be carried forward by the headquarters SPR FIT. The
        provision of specialized training in CAMS, 48 DBT, 49 and/or CBT for Suicidality50 is a
        worthwhile consideration for discussion.


46
   Haukka, Suominen, Partonen, & Lonnquist (2008). Determinants and outcomes of serious attempted suicide: A
nationwide study of Finland, 1996-2003. American Journal of Epidemiology, 167, 1155-1163.
47
   http://depts.washington.edu/mhreport/facts_suicide.php
48
   Jobes, D. (2016). Managing Suicidal Risk: A Collaborative Approach (2nd Edition). Guilford Press, New York.

                                                                                                   62 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21        Page 367 of 405
                                                                           Annual Suicide Report     2015




     10. Capitalizing on Innovations: The introduction of the Mental Health Tracking System
         (MHTS) in 2014 and the creation of an electronic health record system in 2015 created
         significant opportunities. First, in creating MHTS, critical information is entered daily
         into a data warehouse; this information can be used not only to track incidents of self-
         harm but also to correlate with other system information. The EHRS is also able to load
         information into the data warehouse. In this way, information is available to generate
         predictive algorithms for self-harm incidents in the CDCR, another way of identifying
         high-risk inmates that can alert clinicians to inmates in need of intervention. Additionally,
         the EHRS provides a way to integrate empirically-supported measures for evaluating
         suicide risk into clinical practice, lends tools for tracking the impact of safety and
         treatment planning efforts, and offers ways to evaluate the effectiveness of specific
         treatment interventions. These innovations should be embraced as advancements in
         suicide prevention.




Appendix I: Sample High Risk Management Program Policy




49
   Linehan, M. (1993). Cognitive-Behavioral Treatment of Borderline Personality Disorder. Guilford Press, New
York.
50
   Byran, C., Ed. (2015). Cognitive-Behavioral Therapy for Preventing Suicide Attempts. Routledge Press, New
York.


                                                                                                   63 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 368 of 405
                                                  Annual Suicide Report    2015




                                                                          64 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 369 of 405
                                                  Annual Suicide Report    2015




                                                                          65 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 370 of 405
                                                  Annual Suicide Report    2015




                                                                          66 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 371 of 405
                                                  Annual Suicide Report    2015




                                                                          67 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 372 of 405
                                                  Annual Suicide Report    2015




                                                                          68 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 373 of 405
                                                  Annual Suicide Report    2015




                                                                          69 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 374 of 405
                                                  Annual Suicide Report    2015




                                                                          70 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 375 of 405
                                                  Annual Suicide Report    2015




                                                                          71 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 376 of 405
                                                                 Annual Suicide Report    2015


Appendix II: Self-harm and Incident Reporting

Institutional reporting of self-harm incidents: All incidents of self-harm in the CDCR are
reviewed by institutional staff members, including mental health clinicians. When an incident of
self-harm occurs, regardless of the severity of injury sustained, mental health clinicians discuss
the event with the patient and determine whether the intent was to die (thus a suicide attempt) or
if the self-harm served some other purpose, such as to relieve tension states, without any
intention to die. The self-harm database also includes data on self-harm incidents that result in
death.

All incidents of self-harm are entered on a self-harm database. The self-harm database serves as
a way for mental health clinicians to track incidents within a facility, to allow Regional and
SMHP staff members a view of the frequency of self-harm across facilities, to identify patients
for High Risk Management Lists or Program(s) within a facility, and to further examine risk
factors. A sample High Risk Management Program policy is found in Appendix I.

When a suicide attempt involving serious bodily injury occurs in the CDCR, the incident is
documented using CDCR Form 837, Serious Incident Report, and institution mental health staff
members are notified of the incident. Each incident is also relayed through one of two reporting
processes; the Daily Briefing Report (DBR) or the Administrative Officer of the Day (AOD)
report. The information in either report is sent to the administration of the Division of Adult
Institutions (DAI) and forwarded to the CDCR’s SMHP. In some cases, a suicide attempt
involving serious bodily injury results in death at a later time; the DBR or AOD report are
updated in this case to reflect that a death by suicide has occurred. In such cases, the DBR or
AOD report is updated to inform the DAI and the DAI Mental Health Compliance Team of a
death by suicide.




                                                                                         72 | P a g e
Case 2:90-cv-00520-KJM-SCR               Document 7038          Filed 01/28/21     Page 377 of 405
                                                                     Annual Suicide Report    2015




Institutional reporting of suicide: In the event of the discovery of a suicide attempt in progress,
emergency medical interventions are made until such time as the individual is pronounced
deceased by a qualified physician. Correctional officers who come upon a suicide attempt in
progress are to sound an alarm and initiate life saving measures until relieved by health care
personnel. Officers are trained in CPR and in procedures to respond to emergencies, including in
bringing cut-down kits to the scene of a suicide in progress. 51 Custody officers will assist health
care staff members, including institutional responders and paramedics, in transporting the patient
to the TTA and/or ambulance. In cases in which emergency interventions are not successful, the
watch commander or senior custody officer is notified of the suicide and in turn notifies the
Warden or the AOD of the death. 52 A CDCR Form 837, Serious Incident Report, is completed
on all suicides.

The Chief Medical Executive or physician designee makes a report of the death by suicide within
eight hours of the event. Medical information is provided in the CDCR Form 7229A Initial
Inmate Death Report. This form, once completed, is distributed internally, to the county
coroner’s office, and to the Death Review Coordinator at headquarters. A separate form is
completed by institutional mental health staff, form CDCR MH-7229B Inmate Suicide. This
form is typically completed by the institutional SPR FIT Coordinator and contains information
on prior suicide attempts, the results of recent suicide risk evaluations, etc. 53 The form is retained
at the facility and sent to the SMHP. Once received, SMHP support staff ensures the suicide is
entered into a log, reports the event to nursing leadership, and alerts the SMHP Suicide Response
Coordinator to the event.




51
   MHSDS Program Guides, 2009 Revision, pages 12-10-21 to 12-10-23
52
   MHSDS Program Guides, 2009 Revision, pages 12-10-24
53
   Id.

                                                                                             73 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 378 of 405
                                                                  Annual Suicide Report    2015




Appendix III: Determination of Unknown Causes of Death

Determination of unknown causes of death: On occasion, a death will occur within a CDCR
institution in which the cause of death is not immediately determined. These cases are classified
as “Unknown Deaths.” These cases receive special attention until the cause of death is
determined. In order to track these deaths, a group of employees at the SMHP are assigned to
review all notifications of deaths within the CDCR. As noted, each institution within the CDCR
is required to make a report of death and to provide documentation on the provisional cause of a
death in a CDCR 7229A. A completed CDCR 7229A contains a preliminary summary of the
circumstances of the death and lists any underlying/significant medical conditions. These
documents are uploaded to a SharePoint site that can be accessed by members of the Death
Review Committee and the SMHP. Additionally, the Death Review Coordinator for the CCHCS
produces a daily report on all CDCR deaths.

In 2015, a total of 330 inmates perished in the CDCR, with 159 of the decedents (48%) involved
in the MHSDS at the time of death. Whenever a Coleman class member dies, the OSM is
notified of the circumstances and cause of the death by the SMHP. In all cases in which the
cause of death is provisionally listed as a suicide, an additional mental health review is
completed by the institution and documented using a CDCR 7229B. In all such cases and
whenever any inmate dies from suicide, the OSM is notified of the circumstances and the
specifics of the suicide. At times, notifications to the OSM may be updated with the receipt of
additional information, such as results from autopsies, toxicology screens, and so forth.

In the event that a death notification lists the cause of death as unknown or undetermined, the
SMHP will track the case until the death is classified. On some occasions, the cause of death is
classified quickly by institutional medical review. In other cases, the cause of death remains
undetermined pending the receipt of autopsy or toxicology results. In such cases, the Death
Review Committee will investigate the death and produce an initial cause of death as well as a
final cause of death determination. In the meantime, the SMHP communicates with the
institution and with the DRC on these cases until the cause of death is determined. A member of
the SMHP also sits on the DRC to ensure all unknown deaths are reviewed and, when applicable,
that the possibility of suicide has been closely and objectively considered.

The SMHP reviews unknown deaths in order to ensure that all deaths are accurately identified as
either due to suicide or not due to suicide. Cases are identified for this additional review when
the cause of death is overdose, to determine if the overdose is most likely accidental or
intentional (suicide). Other cases are identified when the cause of death is potentially related to

                                                                                          74 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 379 of 405
                                                                 Annual Suicide Report    2015


mental health treatment needs and/or when the death may have resulted as the long-term
consequence of a self-harm behavior.

The following guidelines are used to determine unknown deaths:



Reviewers Determination of Unknown Deaths Guidelines

   1. Review the method of death to determine if there may have been an alternative reason
      (other than suicide) for the behavior (e.g., autoerotic asphyxiation, confusion and
      inability to form intent, purposeful intoxication, etc.).


   2. If an overdose on substances is it reasonable the substance (illicit or prescribed) may have
      been used in an attempt to become intoxicated? (e.g., Tylenol is not likely to be used to
      become intoxicated; Klonopin may be).

   3. Review recent mental health history and any past history of suicide attempts/self-harm
      behavior (check self-harm log). Did the inmate:
         • Voice suicidal ideation (including conditional suicidal ideation)?
         • Have admits to MHCB?
         • Engage in self-harm behavior?
         • Have a history of depression or mood disturbance?
         • Have a history of psychosis?

   4. Review substance abuse history.
         • What substances were used?
         • Have there been any past overdoses?
                o If yes, what did the inmate say about them at the time?
         • What substance abuse treatment was offered?
         • How recent are reports of current use?

   5. Review recent custodial information.
         • Was the inmate facing criminal charges?
         • Did the inmate lose an appeal?
         • Did the inmate have any recent losses?
         • Was there any bad news readily apparent?

   6. Review medical information for the presence of:
         • Chronic pain
         • Terminal illness

   7. Was there a suicide note or a note that could be construed as such?



                                                                                         75 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 380 of 405
                                                                  Annual Suicide Report    2015




Appendix IV: Review of Individual Suicide Case Reviews

Cases EE to NN were deaths initially classified as unknown deaths. Each of these cases was
eventually determined to involve death due to drug overdose.

Case EE was provisionally determined to have had an illicit drug overdose per the CDCR 7229A
completed at this death. Toxicology results indicated methamphetamine intoxication. Autopsy
reports also determined no other cause of death; the death was ruled as an accidental drug
overdose secondary to methamphetamine intoxication. Additionally, three baggies containing
methamphetamine were found on EE during autopsy, secreted in various bodily orifices. The
Combined Death Review Summary (CDRS) also determined methamphetamine overdose to be
the cause of death. The case had no known history of suicide attempts, had not received recent
bad news, and did not leave a suicide note. Case EE had an extensive substance abuse history as
well. All evidence in the case argued for an accidental overdose and not an intentional overdose
(a suicide).

Case FF was provisionally determined to have had an anoxic brain injury that occurred on
account of an illicit drug overdose (per the CDCR 7229A completed at his death). Toxicology
results indicated methamphetamine intoxication. Autopsy reports determined the cause of death
as an accidental drug overdose secondary to methamphetamine intoxication. Case FF was known
to have significant substance abuse problems and had been found by custody officers the day
before his death in possession of inmate-manufactured alcohol. The Combined Death Review
Summary (CDRS) also determined methamphetamine overdose to be the cause of death. The
case had no known history of suicide attempts, had not received recent bad news, and did not
leave a suicide note. He had a history of chronic back pain but pain medications were not
implicated in his death. The evidence in this case is strong for an accidental overdose rather than
for an intentional overdose (a suicide).

Case GG was listed as an unknown death per the CDCR 7229A. However, toxicology results
were positive for methamphetamine intoxication. Autopsy reports determined the cause of death
to be acute methamphetamine intoxication. Additionally, multiple bindles were found on Case
GG during autopsy. The Combined Death Review Summary (CDRS) determined
methamphetamine toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case GG had an
extensive substance abuse history as well. He had a history of knee pain for which he was treated


                                                                                          76 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 381 of 405
                                                                Annual Suicide Report    2015


with Tylenol; however, this medication was not implicated in his death. The evidence in the case
argues for an accidental overdose and not an intentional overdose (a suicide).

Case HH was listed as an unknown death/probable overdose on his CDCR 7229A. However,
toxicology results were positive for Fentanyl, a synthetic opioid. Autopsy reports determined the
cause of death to be acute Fentanyl intoxication. The Combined Death Review Summary
(CDRS) determined Fentanyl toxicity to be the cause of death. Additionally, the inmate’s cell
was searched, with a syringe and drug paraphernalia found in his property. No suicide note was
found. Case HH had an extensive substance abuse history as well and had received a RVR on
6/29/15 for Possession of a Controlled Substance for Distribution. He was placed in ASU for
several weeks but had returned to general population housing. On the other hand, Case HH did
have a history of suicide attempts, including an intentional overdose attempt in 1995. He had
also received recent bad news three months prior to his death. He was informed that his
grandmother had died and he responded by swallowing a razor blade at the time. Case HH had a
history of chronic back pain for which he was treated with Tylenol and Naproxen. These
medications were not implicated in his death. The evidence in the case is complex, though there
appears to be stronger evidence for an accidental overdose than for an intentional overdose.

Case II was listed as possible drug overdose on the CDCR 7229A completed at his death.
Toxicology results were positive for Fentanyl intoxication. Autopsy reports determined the cause
of death to be accidental drug overdose/Fentanyl intoxication. The Combined Death Review
Summary (CDRS) also determined Fentanyl toxicity to be the cause of death. The case had no
known history of suicide attempts, had not received recent bad news, and did not leave a suicide
note. He also had no known chronic pain issues. Case II had an extensive substance abuse history
and was found at autopsy with multiple needle marks on his arm, with illicit drugs and syringes
found in his cell as well. The evidence in the case argues strongly for an accidental overdose
rather than an intentional overdose.

Case JJ was listed as an unknown death and provisionally as a death due to respiratory failure
secondary to drug overdose (on CDCR 7229A). Case JJ was discovered in his cell with a syringe
in his hand. The syringe was found to contain heroin, acetyl codeine, and papaverine (an opioid).
Methamphetamine was not found in the tested syringe but was present per toxicology results.
Prescribed medications were also found in his system but reported to “not excessive.” The
autopsy report determined the cause of death to be accidental drug overdose by the combined
effects of acute heroin and methamphetamine intoxication and the prescribed medications.
Multiple drug injection marks were found on the body. The Combined Death Review Summary
(CDRS) also determined the cause of death to be overdose. The case had a history of suicide
attempts, using attempted hanging and exsanguination. He was treated at the EOP level of care
and had prior inpatient stays. The patient’s father had passed away one month before the death.
Mental health notes reported that clinicians were working with the patient on bereavement issues


                                                                                        77 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 382 of 405
                                                                Annual Suicide Report    2015


and that Case JJ was denying suicidal thoughts, plans, or intent. Case JJ also had known chronic
back pain and an extensive substance abuse history. The evidence in the case argues is somewhat
equivocal, suggesting that suicidal motive could have been present but denied by the patient.
However, the evidence is stronger for ongoing IV drug use, as noted by the track marks found in
many places on the body, and for an accidental overdose, as noted from the contents of the
syringe found at the time of discovery.
Case KK was listed as possible drug overdose per his CDCR 7229A. Toxicology results were
positive for heroin intoxication. Autopsy reports similarly determined the cause of death to be
heroin intoxication. Additionally, a number of hypodermic needles were found in Case KK’s
cell, suggesting a pattern of illicit drug use. The Combined Death Review Summary (CDRS)
determined heroin toxicity to be the cause of death. The case had no known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. Case KK had an
extensive substance abuse history. He had a history of back pain. The majority of evidence in the
case argues for an accidental overdose rather than an intentional overdose (a suicide).

Case LL was listed as an unknown death per the CDCR 7229A. Case LL was known to have
significant medical issues, including hepatic cirrhosis and Hepatitis C, prior to his death.
However, toxicology results were positive for morphine intoxication. Autopsy reports
determined that morphine intoxication was a tertiary cause of death with cirrhosis being the
primary cause of death. The Combined Death Review Summary (CDRS) agreed with this
determination; that is, that morphine ingestion was not the primary cause of death. Notably, Case
LL did have a history of chronic neck and low back pain and he was treated with opiates. He also
had a history of substance abuse problems. Case LL did not have a known history of suicide
attempts, had not received recent bad news, and did not leave a suicide note. The evidence in the
case is suggestive of a death from medical illness with secondary accidental overdose with
morphine. There is little or no evidence of an intentional overdose (a suicide).

Case MM was listed as an unknown death on the CDCR 7229A completed at the time.
Toxicology results were elucidating, with both morphine and methadone found. The patient did
have chronic back pain and was on multiple prescribed medications for pain. However, upon
Death Review Committee study, both medications were found to be elevated, suggesting acute
toxicity/intoxication. Additionally, Case MM’s cell was found to have syringes, despite the fact
that his opioid medications were crushed for administration. The medications were crushed on
account of the severity of the inmate’s substance abuse difficulties. The autopsy report on the
case determined the cause of death was “acute morphine and methadone intoxication (hours).”
The autopsy noted left-ventricular cardiac hypertrophy, pulmonary edema, and cirrhosis of the
liver as well. Case MM was known to have hypertension, diabetes mellitus, type 2, hepatitis C,
and end-stage liver disease. Case MM was in the MHSDS at the CCCMS level of care. He was
treated for anxiety and was in treatment groups for pain management. Mental health notes do not
document concerns about suicidality and largely focus on pain symptoms. No suicide note was


                                                                                        78 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21     Page 383 of 405
                                                                Annual Suicide Report    2015


found in the case and there was no known receipt of bad news. The majority of evidence in the
case argues for an accidental overdose rather than an intentional overdose (a suicide).

Case NN was provisionally listed as an unknown/possible drug overdose death on CDCR 7229A.
His cellmate was initially suspected in his death, but no signs of trauma were found on the body.
A cell search produced drug packaging materials. Case NN was known to have significant
substance abuse issues. Post-mortem toxicology findings were positive for opiates, with autopsy
results indicating acute opiate toxicity as the cause of death. The Combined Death Review
Summary (CDRS) concluded that opiate ingestion/toxicity was the cause of death. Case NN was
in the MHSDS at the CCCMS level of care. He reportedly was placed in CCCMS after being
charged with heroin possession in 2014; he reported some distress upon placement in ASU. He
improved while in ASU but was retained in CCCMS. Case NN had no known history of suicide
attempts. He did have back pain issues, for which he was treated with Ibuprofen. Case NN had
not received recent bad news and did not leave a suicide note. The evidence in the case weighs
strongly on the side of an accidental overdose of opiates. There is little or no evidence of an
intentional overdose (a suicide).




                                                                                        79 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038            Filed 01/28/21     Page 384 of 405
                                                                          Annual Suicide Report    2015




Appendix V: Suicide Response Procedures

Reporting of a suicide to stakeholders: When an inmate dies by suicide, members of the
SMHP complete two formal notification processes. First, a death notification is written and sent
to the OSM and contains details of the suicide. Second, a summary of the suicide is composed
and sent to the Deputy Director of the SMHP and the Undersecretary of the DHCS. The Public
Information Officer at the institution is assigned with any local notifications or reports regarding
the death, including notifying the next of kin of the suicide.

Institutional internal review process: The internal process for reviewing suicides at CDCR
institutions includes reviews by mental health, custody, and nursing/medical personnel employed
at that site. The reviews are conducted first within disciplines and then within joint institutional
reviews, such as during SPR FIT and emergency medical response committee meetings.

Each institution within the CDCR has a Suicide Prevention and Response Focused Improvement
Team, or SPR FIT, with a Senior Psychologist-Specialist assigned to coordinate local prevention
and response efforts. The institution’s SPR FIT is established and maintained by the Mental
Health Program subcommittee, with both committees part of local Quality Management

Committees. 54 Each institutional SPR FIT is responsible for monitoring and tracking all self-
harm events, ensuring that appropriate treatment and follow-up interventions occur. When deaths
by suicide occur, the local SPR FIT Coordinator is required to notify the SMHP, to provide
assistance to mental health, custody, and nursing suicide reviewers, and to ensure the
implementation of Quality Improvement Plans (QIPs) resulting from the suicide review. 55

External review processes: CDCR’s response to suicides includes several external reviews by
trained representatives from various disciplines, including nursing, medical, custody, and mental
health. Within three days of the suicide, reviewers are assigned from these disciplines at what is
commonly referred to as the headquarters level. The role of each discipline’s review is discussed
separately below, but these disciplines collaborate with each other during the suicide review
process, sharing initial findings, conducting reviews together, etc.

Trained custody and mental health reviewers conduct an on-site visit together within seven days
of a suicide. Reviewers look at the deceased’s property, listen to recorded phone calls, check
trust account records, and talk with the Investigative Services Unit (ISU) of the specific prison.

54
     MHSDS Program Guides, 2009 Revision, pages 12-10-2 to 12-10-4
55
     Id

                                                                                                  80 | P a g e
Case 2:90-cv-00520-KJM-SCR             Document 7038        Filed 01/28/21      Page 385 of 405
                                                                  Annual Suicide Report    2015


Reviewers evaluate the emergency response that took place during or after the suicide and
review the medical and mental health services rendered in the case, if applicable. Reviewers will
also talk with officers, clinicians, work or school supervisors, and cellmates who may have
known the patient. Reviewers may gather information from other sources as well, such as
through interviews of family members. After thorough chart review, reports are generated by
each discipline, with a combined report, the Suicide Report, distributed and discussed in the
Suicide Case Review.

Suicide Case Review (SCR) meetings review findings in the case within and across disciplines
while sharing information with institutional leadership. The Suicide Report contains quality
improvement plans (QIPs) that are presented at the SCR; these plans cross disciplines as well.
Nursing, medical, and mental health disciplines additionally have peer review bodies that are
able to review staff member performance whenever such a need is indicated. The external review
process is completed when all QIPs have been successfully implemented or resolved in the case.

DAI Mental Health Compliance Team (MHCT) reviews: The reviews completed by DAI’s
MHCT focuses on the performance of custody staff members related to the suicide. The MHCT
member reviews custody documentation and institutional records (i.e., SOMS). The MHCT
member’s role is to determine whether departmental suicide prevention practices and policies
were followed by custody and counseling staff involved in the case. The MHCT reviewer, for
example, evaluates whether custody officers followed procedure within an emergency response,
how quickly the response was called once a suicide in progress has been discovered, and whether
all custody staff responding to the suicide had received required training (e.g., in CPR) within set
timelines (e.g., annually). The context of the suicide may necessitate additional review items.
Most notably, if the individual was in a segregated or restricted housing unit at the time of the
suicide, the MHCT reviewer will evaluate performance on tasks such as timeliness and quality of
welfare checks, as specified by policy, whether inmates new to an ASU were placed in intake
cells, and so forth. The MHCT reviewer also determines a timeline for the emergency response
and for significant events leading up to the suicide. Finally, the MHCT reviewer will document
any concerns noted and will recommend corrective action/QIPs.

Nursing reviews: At the same time as a suicide is reviewed by DAI’s MHCT, a Nurse
Consultant Program Reviewer (NCPR) is assigned by a Headquarters Chief Nurse Executive.
The NCPR does not make an on-site visit, but reviews all health care record documentation as to
the quality of nursing care in the case. Psychiatric technician practice is also covered within the
nursing review. The NCPR and mental health case reviewer frequently consult on cases during
the review period.

The NCPR generates a Nursing Death Review Summary (NDRS). The NDRS lists the primary
cause of death, notes whether coexisting conditions were present prior to the death, summarizes
medical history, reports what medications and medical treatment the patient was receiving, and
documents significant events that occurred medically for the patient prior to and at the time of

                                                                                          81 | P a g e
Case 2:90-cv-00520-KJM-SCR            Document 7038        Filed 01/28/21      Page 386 of 405
                                                                 Annual Suicide Report    2015


discovery. The NCPR determines if nursing standards of care were met within the emergency
response to the suicide and whether nursing standards of care were met in the overall medical
care of the patient prior to the time of death.

Death Review Committee reviews: The CCHCS DRC reviews all causes of inmate mortality
within the CDCR. When suicides occur, the DRC assigns a physician to serve as the medical
reviewer. This physician works with the NCPR to look at all aspects of medical care received by
the patient and will yield an opinion as to the cause of death. As needed, the SMHP reviewer
may also consult with the CCHCS physician reviewer. The physician and NCPR produce a
Combined

Death Review Summary (CDRS) on each case. The CDRS contains both an administrative
review and a clinical mortality review of the case. In cases of suicide, the suicide case review
report (discussed below) is reviewed by the Death Review Unit and addends or is integrated with
the Combined Death Review Summary. 56

Statewide Mental Health Program (SMHP) reviews: Simultaneously to custody, medical, and
nursing reviews, a trained member of the SMHP is assigned to review each suicide. The assigned
Mental Health Suicide Reviewer (MHSR) is typically a Sr. Psychologist, Specialist, who is
tasked with completing a Suicide Case Review (SCR). The MHSR schedules an on-site visit
with the institution and is accompanied by the custody reviewer. The site-visit is conducted
within seven calendar days of the death. The site review consists of an inspection of the location
of the suicide and of the means used in the death, a review of the deceased’s personal property,
and interviews of inmates, officers, medical, or mental health staff members who knew,
interacted with, and/or treated the deceased. The deceased’s property is inspected to see if there
is any information present related to the suicide, such as a suicide note, letters to the inmate
informing he/she of bad news, and so forth. Interviews focus on behavior and statements made in
the days prior to the suicide, with questions about anything the deceased may have said about
being distressed or suicidal in past days, weeks, or months. Photographs of the scene at the time
of death and photographs of the autopsy are also made available. Phone records, trust accounts,
toxicology reports, and other sources of information are also made available. The MHSR may
contact family members of the deceased to gain additional information about the individual’s
state of mind, statements made prior to the suicide, etc.

In addition to the on-site review, the MHSR reviews extensive documentation from medical and
custodial files. The focus of the MHSR’s review will vary based on the factors in the case,
though all relevant information is reviewed in each case. In some cases, the review will
concentrate on mental health treatment while in the CDCR, in others on the quality of suicide
risk assessment, in others on the presence or absence of distress when an inmate is placed in
administrative segregation, and so on. SMHP psychiatry staff review the psychiatric care and

56
     IMSPP Volume 1, Chapter 29.2

                                                                                         82 | P a g e
Case 2:90-cv-00520-KJM-SCR                  Document 7038         Filed 01/28/21     Page 387 of 405
                                                                       Annual Suicide Report    2015


consult with the MHSR. The MHSR will review information from each of the institutions where
the deceased resided and will look at whether mental health policy and procedure was followed
at each setting.

Joint CDCR/DSH Suicide Reviews: When a suicide occurs of an individual who resides at a
DSH facility, or when a suicide occurs within 30 days of transfer from a DSH hospital, a joint
review is conducted. The DSH’s Mortality Interdisciplinary Review Committee (MIRC) reviews
suicides that occur within the DSH, with input from the Suicide Case Review Committee
(SCRC) at the CDCR. Joint CDCR MHSRs and MIRC reviewers look at the case collaboratively
to evaluate the mental health, medical, custodial, and nursing care rendered in the case. A joint
report is generated in each situation, with corrective action plans developed jointly. 57 The SCRC
reviews QIP responses created through this process conjointly with the MIRC.

Determination and tracking of Quality Improvement Plans: Each Suicide Case Review
report may include formal Quality Improvement Plans (QIPs) as applicable to the case. QIPs are
developed based on the concerns raised by custody, nursing/medical, and/or mental health case
reviewers. QIPs may represent areas of deviation from policy or procedure, departures from
standards of care, or systemic issues that require examination, modification or innovation. QIPs
may be written for any discipline and can focus on the specific institution where the suicide
occurred. If systemic issues are identified, the QIP can be directed to the DCHS Suicide
Prevention and Focused Response Team (DCHS SPR FIT), a team that can address statewide
policies and practices. The DCHS SPR FIT team includes representatives from nursing, custody,
legal, mental health, and mental health quality management. This representation allows the team
to review issues and find solutions in a manner that is inclusive of disciplines and effective in
addressing problems.

During Suicide Case Review teleconferences, the Suicide Case Review Committee (SCRC) will
assemble and the case reviewer will read sections of the Suicide Report. The SCRC is made up
of members of the CDCR Statewide Mental Health Program, DAI MHCU, Nursing Executives,
the Office of Legal Affairs, and medical personnel (as needed). The SCRC also discusses the
QIPs raised within the Suicide Case Review with the institution. Institutional staff can respond to
and/or clarify concerns raised in the report, can raise additional concerns, or can discuss ways of
meeting the requirements of QIPs. Since late 2015, experts from the Coleman court are present
by phone and can raise additional concerns or issues. QIPs can also be written as pending
concerns that need to be addressed if a fact or finding awaits further information, such as
awaiting the results of a coroner’s report to determine the time of death.

Audits of SCR Quality: The DHCS Quality Management Unit audits all SCRs for 15 items.
SCR’s are scored with required elements marked present or absent.



57
     DSH Administrative Letter AL2015-19, issued November 2015.

                                                                                               83 | P a g e
Case 2:90-cv-00520-KJM-SCR          Document 7038       Filed 01/28/21      Page 388 of 405
                                                              Annual Suicide Report    2015




Appendix VI: Suicide Response Court-ordered and Internal Deadlines for Suicide Reports




                                                                                      84 | P a g e
  Case 2:90-cv-00520-KJM-SCR                 Document 7038            Filed 01/28/21        Page 389 of 405
                                                                             Annual Suicide Report    2015


 Appendix VII: Memorandum “Designation of Suicide Prevention, Assessment and Training
 Coordinator”

Coleman Deadlines per Program Guide *                       Internal Deadlines
Assign suicide reviewer         Within 2 days
Reviewer visits institution     Within 7 days
Suicide report received at HQ   Within 30 days
                                                            Report reviewed, edited, QIPs 5 days prior to
                                                            developed and sent to all case case review
                                                            review participants with request
                                                            for feedback from reviewers      (no later than DAY
                                                                                             40 after DOD)
Suicide Case Review                   Within 45 days
                                                            Final report edits                    Within 1-2 days
                                                            Signed by MH Deputy Director          Within 1-2 days
                                                            Signed by DAI                         Within 3-5 days
Final suicide report to institution   Within 60 days
QIPs completed at the Institution     Within 120 days       **Please note: this internal          Within 45 days of
                                                            deadline is set for institutions to   institution’s
                                      (**See internal       ensure SPR-FIT ability to comply      receipt of final
                                      deadline that         with the Coleman deadline in the      report
                                      requires       this   event that QIPs are inadequate
                                      sooner       from     and require amendment                 (no later than DAY
                                      institution)                                                105 after DOD)
                                                            QIPs completed and QIP report
                                                            submitted to HQ
Institution’s   QIP      Report Within 150 days
completed and submitted to HQ
                                (**See internal
                                deadline that
                                requires       this
                                sooner       from
                                institution)
                                                            QIPs reviewed by committee            Within 10 days
                                                            QIPs signed by MH Deputy Dir.         Within 1-2 days
                                                            QIPs signed by DAI                    Within 3-5 days
Implementation of QIP report Within 180 days
sent to Special Master


* deadlines are calculated from date of death (DOD)




                                                                                                     85 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 390 of 405
                                                  Annual Suicide Report    2015




                                                                          86 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 391 of 405
                                                  Annual Suicide Report    2015




                                                                          87 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 392 of 405
                                                  Annual Suicide Report    2015




                                                                          88 | P a g e
Case 2:90-cv-00520-KJM-SCR        Document 7038      Filed 01/28/21      Page 393 of 405
                                                           Annual Suicide Report    2015




Appendix VIII: Memorandum “Completed Contacts Associated with Suicide Risk Evaluation”


                                                                                   89 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 394 of 405
                                                  Annual Suicide Report    2015




                                                                          90 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 395 of 405
                                                  Annual Suicide Report    2015




                                                                          91 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 396 of 405
                                                  Annual Suicide Report    2015




                                                                          92 | P a g e
Case 2:90-cv-00520-KJM-SCR      Document 7038     Filed 01/28/21     Page 397 of 405
                                                       Annual Suicide Report    2015


Appendix IX: Memorandum “Suicide Prevention Pamphlets for Inmates” (with pamphlets
attached)




                                                                               93 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21     Page 398 of 405
                                                  Annual Suicide Report    2015




                                                                          94 | P a g e
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 399 of 405




                     EXHIBIT G
            Case 2:90-cv-00520-KJM-SCR                          Document 7038   Filed 01/28/21   Page 400 of 405
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION                                GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




           August 28, 2019

           Special Master Lopes
           Pannone Lopes Devereaux and O’Gara LLC
           Northwoods Office Park, Suite 215N
           1301 Atwood Avenue
           Johnston, RI 02919

           Michael Nunez
           Rosen Bien Galvan and Grunfeld
           101 Mission Street, Sixth Floor
           San Francisco, CA 94105

           VIA EMAIL

           Dear Special Master Lopes and Michael Nunez:

           I write in response to Plaintiffs’ June 17, 2019 letter regarding the California Department of
           Corrections and Rehabilitation’s (CDCR) May 14, 2019 revision of their 2015 Annual Suicide
           Report. A final version of that report is attached and includes both clean and track change
           versions. CDCR respectfully requests that the Special Master file the final version of the 2015
           Annual Suicide Report.

           Defendants have worked diligently to prepare this report while at the same time focusing on
           addressing the underlying concerns about suicide prevention practices noted in the report. Since
           2015, Defendants have undertaken significant suicide prevention efforts. For example,
           Defendants have developed new mental health forms, updated and delivered suicide prevention
           trainings for custody and healthcare staff, revised suicide prevention practices to ensure the
           safety of patients, developed new policies, and modified physical plants to ensure patients in
           crisis or at higher risk for self-harm are housed in suicide resistant cells. Many of these efforts
           are discussed within the report.

           While working to improve their suicide prevention practices, Defendants also worked closely
           with the Special Master team to develop the 2015 Annual Suicide Report. Defendants began
           drafting the 2015 Annual Suicide Report in early 2016. On August 11, 2016 Defendants
           provided the Special Master with an outline of the 2015 Annual Suicide Report. A revised copy
           was provided to the Special Master and Plaintiffs on September 22, 2016. In December 2016,
           Defendants provided the Special Master’s experts with a forty-page draft of the executive
           summary, the report’s introduction, and its summary of findings. After conferring with the
           Special Master team about the forty-page draft and further developing the remainder of the
Case 2:90-cv-00520-KJM-SCR             Document 7038         Filed 01/28/21      Page 401 of 405

Special Master Lopes
Michael Nunez
Page 2


report, Defendants then provided a complete draft of the report to the Special Master in June
2017.

Following additional meetings with the Special Master team and revisions to the draft,
Defendants provided a draft of the report to the Plaintiffs and Special Master in February 2018.
Plaintiffs then provided written comments and questions on April 23, 2018. On June 13, 2018,
Defendants responded to Plaintiffs’ comments and questions and provided them with a revised
draft of the report. On May 14, 2019, after conferring with the Special Master, Defendants
provided Plaintiffs and the Special Master with another revised draft of the report, in which they
removed language the Plaintiffs and Special Master objected to discussing the definitions of
“foreseeable” and “preventable.” Plaintiffs provided comments and questions on June 19, 2019,
many of which were previously raised in their April 23, 2018 letter.

The parties met to discuss the most recent draft and the Plaintiff’s June 19, 2019 letter at a June
27, 2019 workgroup. Those concerns are addressed below.

  I.   Definitions of Foreseeability and Preventability

In response to Plaintiffs’ prior objections, Defendants made extensive edits to the 2015 Annual
Suicide Report and removed language to which Plaintiffs had objected. Nonetheless, and despite
having had a draft of the report for nearly a year and a half, Plaintiffs for the first time in their
June 19, 2019 letter raise a new objection – that the definitions used by Defendants in their 2015
Annual Suicide Report do not match, word for word, the definitions used by the Special Master’s
experts in their annual suicide reports. Specifically, Plaintiffs assert that the definitions used by
Defendants are narrower than those used by the Special Master. Defendants reject that assertion.

The definitions used in Defendants reports have been used by Defendants since 2015 and were
first published in most individual suicide reports issued in 2015 and every suicide report issued
in 2016. Defendants acknowledge that the definitions do not match the definitions used by the
Special Master word for word. In fact, Defendants developed the definitions in consultation with
the Special Master in 2015 after the Special Master team had recommended that CDCR begin
determining whether each suicide was foreseeable or preventable during the suicide case review
teleconferences. Under the oversight of the Special Master, CDCR intentionally modeled the
definitions found in the 2015 Annual Suicide Report after the definitions used by the Special
Master’s experts in their prior reports. On multiple occasions in 2015, CDCR discussed the
process of applying the definitions with the Special Master and his team and received their
feedback. The modifications facilitate the consistent and reliable application of definitions to
individual case reviews by a multidisciplinary group of CDCR staff.

While the revised definitions may have slightly different wording, Defendants dispute that the
changes had any practical impact on the determinations by the suicide case review committees.
Defendants’ suicide case review process is highly critical of the facts and circumstances
surrounding each suicide. Defendants’ determination of foreseeability and preventability is no
exception. In 2015, forty-six percent of completed suicides were determined to be foreseeable
Case 2:90-cv-00520-KJM-SCR            Document 7038         Filed 01/28/21      Page 402 of 405

Special Master Lopes
Michael Nunez
Page 3


and seventy-one percent were determined to be preventable. For comparison, Kerry Hughes
found that nearly seventy-four percent of completed suicides in 2014 were foreseeable or
preventable. (ECF no. 5428 at 5.)

Defendants will not use the Special Master’s definitions to re-analyze each 2015 suicide as it
would be impractical to reassess each case four years later. Defendants, however, have removed
the statement in the 2015 Annual Suicide Report which stated that Defendants definitions are the
same as those used by the Special Master’s experts. (Report at 39-40.)

 II.   Case Reviews

Plaintiffs’ object to the length and analysis of CDCR’s case reviews attached to the 2015 Annual
Suicide Report. This objection lacks merit. The 2015 Annual Report is derived from CDCR’s
comprehensive individual suicide reports, some of which are up to thirty pages in length. Each
individual report includes a detailed analysis of the patients’ history and mental health treatment
in CDCR, as well as quality improvement plans aimed at correcting deficiencies. Those reports
are released to the Special Master and Plaintiffs within months of a patient’s death. Accordingly,
it is a waste of time and resources for CDCR to reproduce such comprehensive reports for
inclusion in the Annual Report, a report which is intended to analyze the trends and findings of
all individual suicide reports from four years ago. A corrected case review has been included
with the revision of this report. (Appendix A).

III.   Revision of Self-Harm Definitions

In their June 19, 2019 letter, Plaintiffs object to CDCR’s updated self-harm definitions to
comport with community standards and instead request that CDCR revert to outmoded
terminology found in the 2009 Program Guide. (Letter at page 5.) Plaintiffs do not provide a
compelling reason to disregard the community standard definition of self-harm, nor explain why
CDCR should instead use outdated Program Guide definitions in CDCR’s Annual Suicide
Report. Additionally, Plaintiffs fail to point to any policy or order requiring CDCR to use such
definitions, or any definitions at all, in their Annual Suicide Report. If Plaintiffs are unclear
about terminology used in the report, they can easily refer to the definitions of those terms,
which are included in the report. (Report at 8-9.)

IV.    Suicide Trigger Events

CDCR has revised Tables 12 and 13 regarding suicide triggers to clarify the suspected suicide
trigger analysis. (Report at 19-21.) The purpose of the tables has not changed. Table 12
includes common suspected precipitants to suicides in 2015, by category. Table 13 provides each
individual suicide case’s suspected precipitant. A footnote to Table 13 has been added clarifying
that “[p]recipitants tabulated for Table 12 are separated by semicolons in Table 13 (when more
than one precipitant was determined by the Suicide Case Reviewer.)”
Case 2:90-cv-00520-KJM-SCR              Document 7038          Filed 01/28/21      Page 403 of 405

Special Master Lopes
Michael Nunez
Page 4


 V.    Statistical Issues

Plaintiffs re-raise a host of statistical questions in their June 19, 2019 letter. And as stated in
CDCR’s June 13, 2018 letter, “CDCR has drafted a statistically comprehensive report regarding
suicides that occurred in 2015, providing a thorough picture of the suicide prevention system and
areas for improvement.” Like any statistics based report, there is no end to the number of charts
and graphs that could be added to the 2015 Annual Suicide Report. However, adding additional
statistics to the report will only serve to further delay the finalization of this report. With limited
exception, and as discussed further below, no additional statistical analysis is forthcoming for
2015.

Table 15 was updated to include a footnote clarifying that the population data post-2007 includes
both in- and out-of-state inmates. (Report at 23.) CDCR reviews all suicides of CDCR inmates,
regardless of whether the suicide occurred in or out of state. Accordingly, CDCR uses the total
in-state and out-of-state population to determine the suicide rate.

The report was updated to further clarify that 2014 is the last available year for national suicide
data in state prisons and jails, and that comparisons between CDCR and national figures are
based on 2014 data. (Report at 35.) Figure 6 has also been updated to provide additional years
of data for the table comparing CDCR’s suicide rate against the rates for other state prison
systems and males in the United States. (Report at 35.)

VI.    Report Implications and Future Steps

During the June 27, 2019 workgroup call, CDCR committed to providing updates on remedial
measures outlined in the 2015 Annual Suicide Report. The report has been updated to clarify
that updates to each “Report implications and future steps” section will be included in future
annual reports. (Report at page 60.)

CDCR thanks you for your comments and suggestions regarding CDCR’s 2015 Annual Suicide
Report. The final report represents hundreds of hours of painstaking work and analysis designed
to provide CDCR administrators and staff with a clear picture of the suicide prevention system
and identify areas for improvement. CDCR requests that the Special Master file the final 2015
Annual Suicide Report and recommend Defendants assume the responsibility for producing
future annual reports.


Sincerely,

/s/ Nick Weber

NICK WEBER
Attorney
Office of Legal Affairs
Case 2:90-cv-00520-KJM-SCR   Document 7038   Filed 01/28/21   Page 404 of 405




                     EXHIBIT H
            Case 2:90-cv-00520-KJM-SCR                          Document 7038   Filed 01/28/21   Page 405 of 405
STATE OF CALIFORNIA —DEPARTMENT OF CORRECTIONS AND REHABILITATION                                GAVIN NEWSOM, GOVERNOR

OFFICE OF LEGAL AFFAIRS
Jennifer Neill
General Counsel
P.O. Box 942883
Sacramento, CA 94283-0001




           July 2, 2020

           Special Master Lopes
           Pannone Lopes Devereaux and O’Gara LLC
           Northwoods Office Park, Suite 215N
           1301 Atwood Avenue
           Johnston, RI 02919

           Special Master Lopes:

           I write regarding the Annual Report on Suicides in the California Department of Corrections and
           Rehabilitation January 1, 2015 – December 31, 2015.

           The close collaboration on this report with you and your team over the years, and the multiple
           rounds of detailed feedback the California Department of Corrections and Rehabilitation (CDCR)
           has received from your team and Plaintiffs, have helped CDCR create an important tool to self-
           monitor and improve its suicide prevention processes. While CDCR understands that you and
           Plaintiffs have requested further edits to the report, the report has been waiting to be published in
           roughly its current form now for over two years, and Plaintiffs have expressed frustration that
           CDCR has not yet published the report.

           Since we have been unable to reach complete agreement on all issues with respect to formatting
           and content, CDCR is moving forward without further delay in publishing the 2015 Annual Suicide
           Report on CDCR’s public website. (https://www.cdcr.ca.gov/reports/) The report will be
           published on the website as soon as it is formatted for accessibility. However, CDCR will continue
           to welcome the feedback of your team and Plaintiffs as future reports are developed.

           Also, with the enactment of SB 960 in 2018, CDCR now has a statutory obligation to submit to
           the Legislature an annual suicide report on CDCR’s efforts to respond to and prevent suicides and
           attempted suicides among inmates. CDCR produced its first report last October and submitted it
           to the Legislature, and plan in the future to consolidate its annual suicide reports into a single
           comprehensive suicide report that will be made available to the Legislature, the court, and the
           public at large.

           Sincerely,

           /s/ Nick Weber

           NICK WEBER
           Attorney
           Office of Legal Affairs
